     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 1 of 255
                                                                          REDACTED


                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK


IN RE: TRIBUNE COMPANY FRAUDULENT CONVEYANCE               Consolidated
LITIGATION                                                 Multidistrict Action

                                                           No. 11 MD 2296 (RJS)
MARC S. KIRSCHNER, as Litigation Trustee for the TRIBUNE
LITIGATION TRUST,                                          No. 12 MC 2296 (RJS)

                                      Plaintiff,

                         -against-

DENNIS J. FITZSIMONS, ENRIQUE HERNANDEZ JR., BETSY         No. 12 CV 2652 (RJS)
D. HOLDEN, ROBERT S. MORRISON, WILLIAM A. OSBORN,
J. CHRISTOPHER REYES, DUDLEY S. TAFT, MILES D.
WHITE, JEFFREY CHANDLER, ROGER GOODAN, WILLIAM
STINEHART JR., CHANDLER BIGELOW, DONALD C.                 FIFTH AMENDED
GRENESKO, MARK W. HIANIK, DANIEL G. KAZAN, CRANE           COMPLAINT
H. KENNEY, THOMAS D. LEACH, LUIS E. LEWIN, R. MARK
MALLORY, HARRY AMSDEN, STEPHEN D. CARVER,
THOMAS S. FINKE, ROBERT GREMILLION, DAVID DEAN
HILLER, TIMOTHY P. KNIGHT, TIMOTHY J. LANDON,
RICHARD H. MALONE, DURHAM J. MONSMA, IRVING L.
QUIMBY, JOHN E. REARDON, SCOTT C. SMITH, JOHN J.
VITANOVEC, KATHLEEN M. WALTZ, DAVID D. WILLIAMS,
JOHN D. WORTHINGTON IV, CHANDLER TRUST NO. 1,
SUSAN BABCOCK, JEFFREY CHANDLER, CAMILLA
CHANDLER FROST, ROGER GOODAN, WILLIAM
STINEHART, JR., JUDY C. WEBB, WARREN B. WILLIAMSON,
TRUSTEES; CHANDLER TRUST NO. 2 AND CHANDLER SUB-
TRUSTS, SUSAN BABCOCK, JEFFREY CHANDLER,
CAMILLA CHANDLER FROST, ROGER GOODAN, WILLIAM
STINEHART, JR., JUDY C. WEBB, WARREN B. WILLIAMSON,
TRUSTEES; PHILIP CHANDLER RESIDUARY TRUST NO. 2,
MAY C. GOODAN TRUST NO. 2, RUTH C. VON PLATEN
TRUST NO. 2, DOROTHY B. CHANDLER MARITAL TRUST
NO. 2, DOROTHY B. CHANDLER RESIDUARY TRUST NO. 2,
HOC TRUST NO. 2 FBO SCOTT HASKINS, HOC TRUST NO. 2
FBO JOHN HASKINS, HOC TRUST NO. 2 FBO ELIZA
HASKINS, HOC GST EXEMPT TRUST NO. 2. FBO SCOTT
HASKINS, HOC GST EXEMPT TRUST NO. 2. FBO JOHN
HASKINS, HOC GST EXEMPT TRUST NO. 2. FBO ELIZA
HASKINS, ALBERTA W. CHANDLER MARITAL TRUST NO. 2,
EARL E. CROWE TRUST NO. 2, PATRICIA CROWE WARREN
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 2 of 255




RESIDUARY TRUST NO. 2, HELEN GARLAND TRUST NO. 2
(FOR GWENDOLYN GARLAND BABCOCK), HELEN
GARLAND TRUST NO. 2 (FOR WILLIAM M. GARLAND III),
HELEN GARLAND TRUST NO. 2 (FOR HILLARY DUQUE
GARLAND), GARLAND FOUNDATION TRUST NO. 2,
MARIAN OTIS CHANDLER TRUST NO. 2, ROBERT R.
MCCORMICK FOUNDATION, CANTIGNY FOUNDATION,
SAMUEL ZELL, EQUITY GROUP INVESTMENTS, L.L.C., EGI-
TRB, L.L.C., SAM INVESTMENT TRUST, TOWER CH, L.L.C.,
TOWER DC, L.L.C., TOWER DL, L.L.C., TOWER EH, L.L.C.,
TOWER GREENSPUN DGSPT, LLC, TOWER GREENSPUN
JGGSTP, LLC, TOWER GREENSPUN SGFFT, LLC, TOWER
GREENSPUN, L.L.C., TOWER HZ, L.L.C., TOWER JB, L.L.C.,
TOWER JK, L.L.C., TOWER JP, L.L.C., TOWER JS, L.L.C.,
TOWER KS, L.L.C., TOWER LL, L.L.C., TOWER LM, L.L.C.,
TOWER LZ, L.L.C., TOWER MH, L.L.C., TOWER MS, L.L.C.,
TOWER MZ, L.L.C., TOWER NL, L.L.C., TOWER PH, L.L.C.,
TOWER PT, L.L.C., TOWER SF, L.L.C., TOWER TT, L.L.C.,
TOWER VC, L.L.C., TOWER WP, L.L.C., GREATBANC TRUST
COMPANY, DUFF & PHELPS, LLC, VALUATION RESEARCH
CORPORATION, MORGAN STANLEY & CO. LLC f/k/a
MORGAN STANLEY & CO. INCORPORATED, MORGAN
STANLEY CAPITAL SERVICES, INC., and the defendants listed in
the attached Exhibit A,

                           -and-

AUTOMOBILE MECHANICS’ LOCAL 701 PENSION FUND
a/k/a AUTOMOBILE MECHANICS’ LOCAL NO. 701 UNION
AND INDUSTRY PENSION FUND, FRANK W. DENIUS, THE
DFA INVESTMENT TRUST COMPANY, GDK INC., HUSSMAN
STRATEGIC GROWTH FUND a/k/a THE HUSSMAN
INVESTMENT TRUST, JOHN P. HUSSMAN, TRUSTEE, EDWIN
R LABUZ IRA, AMERIPRISE TRUST COMPANY f/k/a H&R
BLOCK FINANCIAL ADVISORS, CUSTODIAN, DENISE
MECK, NATIONWIDE S&P 500 INDEX FUND, A SERIES OF
NATIONWIDE MUTUAL FUNDS, NEW YORK STATE
TEACHERS RETIREMENT SYSTEM, DOROTHY C.
PATTERSON IRREVOCABLE TRUST #2 U/A/D 12-21-93, THE
NORTHERN TRUST COMPANY, AS SUCCESSOR TRUSTEE,
BLANDINA ROJEK, and VTRADER PRO, LLC, on behalf of
themselves and a class of similarly situated persons and legal
entities,

                                        Defendants.
          Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 3 of 255




                                                     TABLE OF CONTENTS

NATURE OF THE ACTION ...........................................................................................................2
JURISDICTION AND VENUE ....................................................................................................10
THE PARTIES ............................................................................................................................... 11
           A.         The Director Defendants ........................................................................................ 11
           B.         The Officer Defendants..........................................................................................16
           C.         Additional Officers Who Received Monetary Transfers Related To The
                      LBO........................................................................................................................19
           D.         The Subsidiary D&O Defendants ..........................................................................19
           E.         The Controlling Shareholder Defendants ..............................................................24
           F.         The Zell Defendants ...............................................................................................26
           G.         The Advisor Defendants ........................................................................................30
           H.         The Shareholder Defendants ..................................................................................32
           I.         The Class Representative Defendants ....................................................................32
CLASS ALLEGATIONS ...............................................................................................................34
FACTS ...........................................................................................................................................36
I.         Tribune’s Business And Its Operations ..............................................................................36
II.        Overview Of The Tribune LBO .........................................................................................37
III.       Prior To The LBO, The Secular Decline In The Publishing Industry And Tribune’s
           Deteriorating Performance Led The Controlling Shareholders To Begin Looking
           For An Exit Plan From The Company ...............................................................................39
           A.         The Publishing Industry—And Tribune To A Greater Extent—Were In The
                      Midst Of A Deep Secular Decline During The Period Leading Up To The
                      LBO........................................................................................................................39
           B.         The Chandler Trusts Voice Serious Concerns About The Company’s
                      Future And Begin Agitating For Change ...............................................................42
           C.         The Tribune Board Acquiesces In The Chandler Trusts’ Demands, And
                      The Controlling Shareholders Inject Themselves Into The Special
                      Committee Process.................................................................................................46
IV.        Zell Proposes The Highly-Leveraged LBO, And Structures It To Respond To The
           Controlling Shareholders’ Concerns ..................................................................................49
V.         Wall Street Derides Zell’s Proposal As The Company’s Performance Continues To
           Deteriorate..........................................................................................................................52
           A.         Rating Agencies And Analysts Raise Concerns About The Zell Proposal ............52
           B.         The Company’s Performance Raises Even More Concerns Among Certain
                      Of The Defendants .................................................................................................53

                                                                        i
        Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 4 of 255




VI.     The Parties Charged With Protecting The Company Are Lured By Financial
        Incentives To Support Zell’s Proposal ...............................................................................54
        A.        Zell Induces The Officer Defendants And Subsidiary D&O Defendants To
                  Recommend And Facilitate The LBO....................................................................54
        B.        The Company’s Financial Advisors Are Incentivized To Favor The LBO ............57
VII.    Incentivized To Favor The LBO, The Officer Defendants Create Fraudulent,
        Unrealistic Projections .......................................................................................................59
VIII.   The Company Struggles To Find A Firm Willing To Opine That The Company
        Would Be Solvent Following The LBO .............................................................................63
        A.        Duff & Phelps Declines To Provide Tribune With A Solvency Opinion For
                  The LBO, Instead Providing The ESOP With A “Viability Opinion” ...................63
        B.        Tribune Retains VRC To Issue A Solvency Opinion After Houlihan Lokey
                  Voices Concerns Over The LBO ............................................................................71
IX.     Lured By The Financial Incentives Associated With The LBO, The Controlling
        Shareholders And Tribune Directors Facilitate And Approve The Transaction ................73
        A.        Zell Induces The Controlling Shareholders And Chandler Trust
                  Representatives To Support The LBO By Proposing A Higher Purchase
                  Price For Shareholders ...........................................................................................73
        B.        The Special Committee And Tribune Board Breach Their Fiduciary Duties
                  By Approving The LBO.........................................................................................76
X.      The Company Begins Implementing The Disastrous LBO Amid A Growing
        Chorus Of Criticism Of The Transaction ...........................................................................82
        A.        Tribune Announces The LBO And Begins Taking The Steps Necessary To
                  Consummate The Transaction................................................................................82
        B.        In Connection With The LBO, Tribune Enters Into Loan Agreements That
                  Are Designed To Hinder, Delay, And Defraud Its Existing Creditors ...................83
        C.        The LBO Was A Single Unitary Transaction With Two Steps ...............................86
        D.        Rating Agencies, Wall Street Analysts, News Publications, And Investors
                  React Negatively To The LBO...............................................................................89
XI.     The Company Engages In Intentional Fraud In Order To Close Step One........................92
        A.        The D&O Defendants, Controlling Shareholders, Zell, And Advisor
                  Defendants Purport To Rely On The Outdated, Unreasonably Optimistic
                  February 2007 Projections In Order To Obtain A Step One Solvency
                  Opinion ..................................................................................................................92
        B.        The Officer Defendants Instruct VRC To Deviate From Industry Practice
                  In Issuing Its Solvency Opinions ...........................................................................98




                                                                   ii
        Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 5 of 255




XII.    VRC Improperly Renders The Step One Solvency Opinion .............................................99
XIII.   The Company’s Fiduciaries Ignore The Company’s Performance And The
        Cacophony Of Voices Warning Against The LBO And Permit The Transaction To
        Proceed.............................................................................................................................101
        A.         The Special Committee And The Tribune Board Breach Their Fiduciary
                   Duties In Connection With Step One ...................................................................101
        B.         The Subsidiary D&O Defendants Approve The Subsidiary Guarantees
                   Through A Grossly Deficient And Conflicted Process ........................................102
        C.         Step One Of The LBO Closes ..............................................................................104
XIV.    The Publishing Industry And Tribune Continue To Decline Between The Close Of
        Step One And Step Two ...................................................................................................105
        A.         The Secular Decline In The Publishing Industry Worsens ..................................105
        B.         Tribune Significantly Underperforms The February 2007 Projections And
                   Is Further Downgraded ........................................................................................106
XV.     The LBO Lenders Begin To Question The Company’s Solvency ...................................107
XVI. The Company Engages In Intentional Fraud In Order To Close Step Two ..................... 110
        A.         The Officer Defendants Create Unreliable, Overly Optimistic Projections
                   In Order To Obtain A Solvency Opinion At Step Two......................................... 110
        B.         The Officer Defendants Reap The Benefits Of Altering The Definition Of
                   Fair Value, And Instruct VRC To Artificially Lower The Amount Of
                   Company Debt When Assessing Balance Sheet Solvency .................................. 113
        C.         Certain Officer Defendants Misrepresent To VRC That An Outside
                   Financial Advisor Agreed That Tribune Would Be Able To Refinance Its
                   Debt ...................................................................................................................... 115
XVII. VRC Ignores Its Own Internal Analysis And Adopts Management’s Inflated
      October 2007 Projections In Issuing Its Step Two Solvency Opinion ............................. 116
XVIII. Tribune’s Fiduciaries Fail, Once Again, To Protect The Company ................................. 119
        A.         The Tribune Board And Special Committee Breach Their Fiduciary Duties
                   In Connection With VRC’s Step Two Solvency Opinion .................................... 119
        B.         Morgan Stanley Fails To Inform Tribune of Its Concerns That Tribune
                   Would Be Insolvent If Step Two Closed ..............................................................121
        C.         Zell Uses His Influence To Ensure That The LBO Is Consummated ..................125




                                                                     iii
         Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 6 of 255




XIX. The LBO Closes And Tribune Collapses Under Its Massive Debt Burden .....................128
XX.      Morgan Stanley’s Insider Trading ....................................................................................131
GROUNDS FOR RELIEF ...........................................................................................................134
         COUNT ONE:
             Avoidance And Recovery Of The Shareholder Transfers (Of At Least $8
             Billion) As Actual Fraudulent Transfers Under Sections 548(a)(1)(A) And
             550(a) Of The Bankruptcy Code Against The Shareholder Defendants And
             The Shareholder Class .........................................................................................134
         COUNT TWO:
             Violations Of Delaware General Corporation Law Sections 160 And/Or
             173 Against The Director Defendants And Zell...................................................138
         COUNT THREE:
             Breach Of Fiduciary Duty Against The Director Defendants ..............................139
         COUNT FOUR:
             Breach Of Fiduciary Duty Against The Officer Defendants................................142
         COUNT FIVE:
             Breach Of Fiduciary Duty Against Zell ...............................................................145
         COUNT SIX:
             Aiding And Abetting Breaches Of Fiduciary Duty By The D&O
             Defendants And By The Controlling Shareholder Defendants Against The
             Zell Defendants ....................................................................................................147
         COUNT SEVEN:
             Avoidance And Recovery Of The EGI-TRB Transfers (Of At Least
             $258,918,859) As Constructive And/Or Actual Fraudulent Transfers Under
             Sections 548(a)(1)(A) And (B) And 550(a) Of The Bankruptcy Code
             Against EGI-TRB ................................................................................................150
         COUNT EIGHT:
             Alter Ego Liability Against EGI, Sam Investment Trust, And Zell .....................151
         COUNT NINE:
             Preference Against Zell And EGI-TRB To Recover The Exchangeable
             Note Transfer (Of At Least $206,418,859) And The EGI-TRB Fee
             Transfers (Of At Least $2.5 Million) ...................................................................153
         COUNT TEN:
             Preference Against EGI To Recover The EGI Reimbursements (Of At
             Least $586,759)....................................................................................................154
         COUNT ELEVEN:
             Avoidance And Recovery Of The EGI Reimbursements (Of At Least
             $586,759) As Constructive And/Or Actual Fraudulent Transfers Under
             Sections 548(a)(1)(A) And (B) And 550(a) Of The Bankruptcy Code
             Against EGI .........................................................................................................154


                                                                iv
Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 7 of 255




COUNT TWELVE:
    Breach Of Fiduciary Duty Against The Subsidiary D&O Defendants ................155
COUNT THIRTEEN:
    Aiding And Abetting Breach Of Fiduciary Duty Against The Subsidiary
    D&O Defendants And Amsden............................................................................158
COUNT FOURTEEN:
    Breach Of Fiduciary Duty Against The Chandler Trusts And The
    Foundations ..........................................................................................................159
COUNT FIFTEEN:
    Aiding And Abetting Breach Of Fiduciary Duty Against The Chandler
    Trust Representatives And The Controlling Shareholders ...................................163
COUNT SIXTEEN:
    Aiding And Abetting Breach Of Fiduciary Duty Against VRC ...........................164
COUNT SEVENTEEN:
    Professional Malpractice Against VRC ...............................................................166
COUNT EIGHTEEN:
    Avoidance And Recovery Of The VRC Transfers (Of At Least $1.5
    Million) As Constructive And/Or Actual Fraudulent Transfers Under
    Sections 548(a)(1)(A) And (B) And 550(a) Of The Bankruptcy Code
    Against VRC ........................................................................................................167
COUNT NINETEEN:
    Aiding And Abetting Breach Of Fiduciary Duty Against GreatBanc And
    Duff & Phelps ......................................................................................................168
COUNT TWENTY:
    Avoidance And Recovery Of The Morgan Stanley Advisor Fees (At Least
    $10 Million) As Constructive And/Or Actual Fraudulent Transfers Under
    Sections 548(a)(1)(A) And (B) And 550(a) Of The Bankruptcy Code
    Against Morgan Stanley.......................................................................................170
COUNT TWENTY ONE:
    Aiding And Abetting Breach Of Fiduciary Duty Against Morgan Stanley .........171
COUNT TWENTY TWO:
    Professional Malpractice Against Morgan Stanley ..............................................173
COUNT TWENTY THREE:
    Preference Against Morgan Stanley To Recover The Morgan Stanley
    Reimbursement (Of At Least $46,020) ................................................................174
COUNT TWENTY FOUR:
    Fraud/Insider Trading Against Morgan Stanley ...................................................175
COUNT TWENTY FIVE:
    Breach Of Fiduciary Duty Against Morgan Stanley ............................................176



                                                        v
         Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 8 of 255




          COUNT TWENTY SIX:
              Aiding And Abetting Breach Of Fiduciary Duty Against MSCS ........................178
          COUNT TWENTY SEVEN:
              Breach Of Contract, Including Breach Of Covenant Of Good Faith And
              Fair Dealing, Against MSCS................................................................................178
          COUNT TWENTY EIGHT:
              Willful Violation Of The Automatic Stay Against MSCS ...................................179
          COUNT TWENTY NINE:
              Equitable Subordination And Disallowance Of The MSCS Claim And
              Denial Of Setoff Against MSCS ..........................................................................180
          COUNT THIRTY:
              Turnover To Recover Under The Swap Agreement (Of At Least $59.6
              Million) Against MSCS .......................................................................................180
          COUNT THIRTY ONE:
              Unjust Enrichment Against The D&O Defendants, Subsidiary D&O
              Defendants, Controlling Shareholders, Zell Defendants, Tower
              Defendants, VRC, GreatBanc, Duff & Phelps, And Morgan Stanley..................181
          COUNT THIRTY TWO:
              Recharacterization Of The Exchangeable Note As Equity Pursuant To 11
              U.S.C. § 105 .........................................................................................................182
          COUNT THIRTY THREE:
              Equitable Subordination And Disallowance Of The D&O Creditor Claims,
              Subsidiary Creditor Claims, Zell Claims, EGI-TRB Claims, And Tower
              Claims ..................................................................................................................184
          COUNT THIRTY FOUR:
              Avoidance And Recovery Of The Insider Payments (Of At Least $81
              Million) As Constructive And/Or Actual Fraudulent Transfers Under
              Sections 548(a)(1)(A) And (B) And 550(a) Of The Bankruptcy Code
              Against The Defendants Listed Herein And In Exhibit C ...................................186
          COUNT THIRTY FIVE:
              Preference Against The D&O Defendants, The Subsidiary D&O
              Defendants, And The Additional Officer Recipients To Recover The
              Insider Payments (Of At Least $81 Million)........................................................188
          COUNT THIRTY SIX:
              Avoidance Of The Indemnification Obligations As Constructive And/Or
              Actual Fraudulent Transfers Under Sections 548(a)(1)(A) And (B) And
              550(a) Of The Bankruptcy Code Against The D&O Defendants, The
              Subsidiary D&O Defendants, And The Additional Officer Recipients ...............189
RESERVATION OF RIGHTS .....................................................................................................191
PRAYER FOR RELIEF ...............................................................................................................191



                                                                   vi
        Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 9 of 255




        Plaintiff, Marc S. Kirschner, as Litigation Trustee (the “Litigation Trustee”) for the

Tribune Litigation Trust (the “Litigation Trust”), on behalf of the Chapter 11 estates of the

debtors and debtors-in-possession in the above-captioned Chapter 11 cases (collectively, the

“Debtors”),1 respectfully alleges as follows:




        1
           The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, were: Tribune Company (0355); 435 Production Company (8865); 5800 Sunset Productions
Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California Community News Corporation (5306); Candle
Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc. (3844); Chicago
Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company
(3437); Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand
Microwave Licensee, Inc. (1579); Chicagoland Publishing Company (3237); Chicagoland Television News, Inc.
(1352); Courant Specialty Products, Inc. (9221); Direct Mail Associates, Inc. (6121); Distribution Systems of
America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing Investments, LLC (6327);
forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings
Corporation (5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc.
(7416); Heart & Crown Advertising, Inc. (9808); Homeowners Realty, Inc. (I507); Homestead Publishing Co.
(4903); Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc. (2663); Internet Foreclosure Service, Inc.
(6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc. (7943);
KSWB Inc. (7035); KTLA Inc. (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los
Angeles Times International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing
Company (6522); NBBF, LLC (0893); Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services,
Inc. (4817); Newspaper Readers Agency, Inc. (7335); North Michigan Production Company (5466); North Orange
Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel Communications Company
(3775); Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027); Shepard’s Inc. (7931); Signs of Distinction, Inc. (3603); Southern
Connecticut Newspapers, Inc. (1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-
Sentinel Company (2684); The Baltimore Sun Company (6880); The Daily Press, Inc. (9368); The Hartford Courant
Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337); Times Mirror Land and Timber
Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution
Company (9066); Towering T Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438);
Tribune Broadcasting Company (2569); Tribune Broadcasting Holdco, LLC (2534); Tribune Broadcasting News
Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties, Inc. (1629); Tribune
CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479);
Tribune Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance,
LLC (2537); Tribune Finance Service Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc.
(4522); Tribune Manhattan Newspaper Holdings, Inc. (7279); Tribune Media Net, Inc. (7847); Tribune Media
Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York Newspaper Holdings, LLC
(7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634);
Tribune Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television
Northwest, Inc. (2975); ValuMail, Inc. (9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette
Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., f/k/a WTXX Inc. (1268); WCWN LLC (5982);
WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each of these Debtors is
435 North Michigan Avenue, Chicago, Illinois 60611.

                                                       1
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 10 of 255




                                  NATURE OF THE ACTION

        “[W]hat the Trusts saw was a four-star black-diamond run headed straight
       downhill. . . . [W]e wanted off the ski slope.”

               –   William Stinehart, member of Tribune’s Board of Directors and
                   representative of the Chandler Trusts, Tribune’s largest shareholder,
                   describing Tribune’s prospects prior to the leveraged buyout that
                   rescued the Trusts and their fellow shareholders, but buried the
                   Company in ruinous debt.

       “God understands, but may not forgive us for what are bout to do to good Olde
       TRB.”

               –   Joseph Hays, of the McCormick Foundation, Tribune’s second largest
                   shareholder, on the day Tribune’s Board approved the Company’s
                   LBO.


       1.      This lawsuit arises out of the destruction of Tribune Company by greed, fraud,

and financial chicanery. The facts of this case show how a desire to make fast bucks for

shareholders led to the bankruptcy of one of America’s most venerable media companies, with

massive job cuts and huge losses for Tribune’s creditors. Under the law, those creditors, which

lent billions of dollars to Tribune, were supposed to be paid before the shareholders of the

Company. Instead, the wealthy trusts and foundations that controlled Tribune instigated a

leveraged buyout that funneled more than $8 billion to them, other corporate insiders, and

thousands of fellow shareholders, enriched the Company’s management with tens of millions of

dollars of bonuses and other financial incentives, and paid huge fees to Wall Street advisors.

Tribune was left an insolvent wreck, and filed for bankruptcy less than one year after the

transaction was completed.

       2.      By this action, Tribune’s Litigation Trustee seeks to hold responsible those who

orchestrated and benefited from what defendant Samuel Zell, the Chicago billionaire at the

center of the debacle, called “the deal from hell.” Substantial fault, ranging from gross


                                                 2
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 11 of 255




negligence to intentional fraud, can be laid at the feet of virtually every participant in the

transaction. Consumed by self-interest, these defendants cared not what happened to Tribune

and its existing creditors so long as they got their own money out or their fees paid.

       3.      The defendants here include the members of Tribune’s Board of Directors, who

collectively received more than $28 million in LBO proceeds. These directors breached their

fiduciary duties of care, loyalty, and good faith in approving a transaction that loaded Tribune

with unsustainable levels of debt in order to finance payments to shareholders, including

themselves.

       4.      The Tribune officers named as defendants were rewarded even more richly than

Tribune’s Board, receiving collectively more than $79 million in LBO proceeds and special

compensation, all contingent on consummation of the LBO. In order to reap this massive

windfall, Tribune’s managers created and clung to patently unrealistic projections of future

earnings to give the illusion that Tribune would be able to handle the avalanche of debt it would

incur in the LBO, despite the Company’s underperformance in a declining industry. Tribune’s

financial advisors turned a blind eye to management’s transparent manipulations so the advisors

could collect the large fees that would be due them only if the deal proceeded. These advisors

knew, or were reckless or grossly negligent in not knowing, that the LBO would render Tribune

insolvent, but decided to pretend otherwise or keep silent.

       5.      The directors and officers of Tribune’s operating subsidiaries—the entities that

owned virtually all of Tribune’s assets—permitted the subsidiaries to guarantee the LBO debt

incurred by Tribune without so much as a meeting or board vote, despite the fact that the

subsidiaries received no value of any kind in exchange for their guarantees. The subsidiary

directors and officers thereby advanced the LBO lenders’ quest to unfairly prime Tribune’s pre-



                                                  3
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 12 of 255




existing creditors in the event of a bankruptcy, breached their own fiduciary duties to the

subsidiaries, and aided and abetted breaches of duties owed by the other defendants.

       6.      But the biggest beneficiaries of the LBO were Tribune’s shareholders who, after

seeing their shares drop in value by one-third from 2003 to 2006, were cashed out at a premium

price of $34 per share, with roughly half the shares purchased in June 2007 and the rest in

December 2007. Topping the list of the shareholders were the Chandler Trusts, which got

$1.5 billion for their shares. They were followed by the McCormick and Cantigny

Foundations—led by Tribune’s Chief Executive Officer, Dennis J. FitzSimons—which received

more than $1 billion. Billions of dollars more were distributed to investment funds, trusts,

pension funds, wealthy individuals, and others, all of whom “jumped the line” in order

improperly to bail out of Tribune ahead of its lawful creditors. (Although there were tens of

thousands of shareholders, only the largest ones—those who received at least $50,000 each—are

individually named in this complaint and are included in a proposed defendant class.)

       7.      From the outset, Tribune was a terrible candidate for a highly leveraged buyout, a

form of transaction in which a company’s shares are purchased with money borrowed by the

corporation itself. Because an LBO encumbers a company with substantial—or, in this case,

massive—debt, it is risky even under the best of circumstances. As was contemporaneously

acknowledged by many observers, Tribune’s LBO was doomed to fail from its inception, as it

was effectuated during a time of dramatic, relentless, and irreversible declines in the newspaper

industry, which was seeing both advertisers and subscribers abandon traditional print media and

migrate to online alternatives. The resulting drop in revenues and profits was universally

regarded by industry experts and analysts as a fundamental shift from which the industry could

not expect to recover. Tribune, which relied on newspaper publishing for 75% of its revenue,



                                                 4
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 13 of 255




was suffering not only from this industry-wide decline, but also from Company-specific

obstacles that rendered it one of the worst-performing businesses in its sector.

       8.      Alarmed by the declining value of its investment, Tribune’s largest shareholder,

the Chandler Trusts, began agitating in 2006 for the Company to consummate a strategic

transaction designed to provide value to shareholders. The Trusts were painfully aware of the

headwinds facing Tribune. Indeed, one of the Trusts’ representatives on Tribune’s Board argued

that the Company’s performance would not improve in the foreseeable future, and that the

projections prepared by Tribune management were overly optimistic and unsupportable. The

Chandler Trusts warned that if the Tribune Board failed to take prompt action, the Trusts would

“begin actively purs[uing] possible changes in Tribune’s management.”

       9.      The Company responded in September 2006 by appointing a special committee of

directors to explore strategic alternatives. The Special Committee initially concentrated on

transactions that would involve the Company incurring relatively modest amounts of additional

debt to fund a stock dividend or other deal that would leave Tribune’s shareholders—including

Tribune’s directors and officers—still owning the Company. During this period, while Tribune’s

fiduciaries still believed they had “skin in the game,” the Board and management focused

intently on the quality of the Company’s financial projections, and sought to ensure that Tribune

would be able to service the debt associated with any proposed transaction. Yet these fiduciaries’

approach quickly changed when the risk of insolvency was shifted entirely away from

themselves and onto Tribune’s creditors through the LBO proposed by Zell.

       10.     Zell submitted his LBO bid for Tribune in February 2007, proposing an unusual

takeover structure that would ultimately enable him to obtain control of the multibillion-dollar

corporation while investing only $306 million of his own money in the Company. Zell’s deal



                                                 5
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 14 of 255




called for the Company to increase its total debt from approximately $5.6 billion to a whopping

$13.7 billion to purchase or redeem its outstanding shares, refinance its existing bank debt, and

pay investment banking fees and other costs associated with the transaction. Immediately upon

the Company’s announcement that it was contemplating the LBO, Wall Street analysts and rating

agencies uniformly derided the deal, characterizing it as “way too risky,” with many explicitly

predicting the LBO would “put the company into bankruptcy.”

       11.     Although Zell’s proposal was far riskier to the Company than any transaction the

Board and Special Committee had seriously considered in the past, the LBO provided that

Tribune’s directors, officers, and other shareholders would no longer bear the risk of the

Company’s failure, since they would be cashed out of the Company entirely. Suddenly, the

attitude of Tribune’s Board and management toward increased leverage changed. They now

became concerned only with ensuring that shareholders would be paid a high price for their

shares, regardless of whether the increased share price burdened the Company and its creditors

with an unsustainable level of debt. Once presented with an escape route from the Company,

Tribune’s directors, officers, and controlling shareholders no longer cared about Tribune’s

survival.

       12.     In order to give the false impression that the Company’s future earnings would be

sufficient to service its enormous debt load following the LBO, certain of Tribune’s officers

prepared fraudulent “base case” financial projections in February 2007, predicting a miraculous,

near-term financial recovery by Tribune notwithstanding the deteriorating state of the publishing

industry and of Tribune’s own business. Seeking to perpetuate the illusion of sound financial

health, senior management concealed their projections from many of the executives responsible




                                                 6
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 15 of 255




for Tribune’s day-to-day operations, fearing that such executives would disavow senior

management’s wildly optimistic, “hockey stick” projections for the coming year.

       13.     Management’s pie-in-the-sky projections were obviously wrong even when they

first were circulated in February 2007. Their unreliability was confirmed by the time the first

step of the LBO was about to close in June 2007. By then, Tribune’s actual results for most of

the first two quarters were in. Those results showed that Tribune’s performance was already

lagging management’s 2007 base case by a significant margin, and that meeting management’s

February projections would have required the Company to first miraculously reverse its decline,

and then suddenly and substantially outperform its 2006 performance. Nevertheless,

management refused for months to revise the discredited February projections. When Tribune

management finally prepared a modified set of projections in October 2007, they offset the

expected lower financial performance for the remainder of 2007 by fraudulently increasing the

Company’s projected growth rate for 2008 and beyond. Tribune’s directors, officers, advisors,

and Zell continued to cite the rosy projections as a justification for closing the LBO, even after

the Company’s progressive deterioration showed that it would be virtually impossible for the

Company to achieve them.

       14.     Company advisors Merrill, Lynch, Pierce, Fenner & Smith Incorporated and

Citigroup Global Markets, Inc. were incentivized to promote the LBO over other proposals being

considered by the Company because their retention agreements expressly provided that they

could participate as lenders in the transaction. Providing such financing would enable these

banks to reap tens of millions of dollars in financing fees on top of the tens of millions of dollars

they were already being paid for their advisory services. They were thus heavily biased in favor

of the LBO, which they zealously advocated to the Tribune Board and Special Committee,



                                                  7
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 16 of 255




notwithstanding that they had significant misgivings about the transaction. Not only did these

banks acquiesce in what they knew were unreasonable and unreliable projections engineered by

management at both steps of the LBO, Citigroup played an active role in preparing the financial

modeling that underlay those inflated projections.

       15.     Morgan Stanley similarly abdicated its duty in pursuit of an enhanced payday. As

a trusted advisor to the Company’s Board and its Special Committee, by May 2007 it had been

paid more than $10 million in fees for work relating to the LBO. But Morgan Stanley wanted

more—in the form of a discretionary fee spelled out in its engagement letter—and it knew that if

the LBO did not proceed, it would get paid nothing else. So while its senior representatives were

participating in numerous meetings of the Board and Special Committee concerning the LBO in

the fall of 2007, they were simultaneously concealing Morgan Stanley’s own internal analyses

showing that the Company faced insolvency if the LBO were consummated. With the hope of

garnering a discretionary fee upon closing if it kept quiet about the LBO’s likely devastating

impact, Morgan Stanley chose to abandon its fiduciary duties.

       16.     Morgan Stanley and its affiliate, Morgan Stanley Capital Services, compounded

this wrongful conduct by engaging in an insider trading scheme in which Morgan Stanley, while

in possession of material non-public information concerning Tribune’s financial condition and

bankruptcy plans, purchased the Company’s publicly traded debt at a steep discount, with the

intent to set off the full face value of the debt against the amount the affiliate owed Tribune under

a swap agreement in the event of Tribune’s bankruptcy.

       17.     Both steps of the LBO were conditioned upon the issuance of solvency opinions

stating that the Company would be balance-sheet solvent, adequately capitalized, and able to pay

its debts as they came due following consummation. This was an opportunity for Tribune’s



                                                 8
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 17 of 255




fiduciaries to halt the LBO if it became apparent that the transaction posed unacceptable risks to

the Company. Yet instead of treating the solvency opinion requirement as an opportunity to fully

vet the wisdom of the LBO given the Company’s steadily worsening financial condition,

Tribune’s management and the Company’s advisors treated it only as an obstacle to circumvent.

       18.     Tribune originally approached Duff & Phelps to provide a solvency opinion in the

event of an LBO, but Duff & Phelps determined it could not do so without violating accepted

practices for analyzing company solvency. Still eager for fees, Duff & Phelps agreed to

repackage its analysis as a “viability opinion,” which it provided to the trustee of the Tribune

employee stock ownership plan (“ESOP”) that would become the new owner of Tribune after the

LBO. With the Duff & Phelps opinion in hand, the ESOP trustee facilitated the LBO by voting

all of the ESOP’s shares in favor of the transaction instead of seeking to stop it.

       19.     After yet another firm refused the solvency opinion engagement based on its

conclusion that it could not opine that Tribune would be solvent following the LBO, Tribune’s

management hastily agreed to pay a third firm, Valuation Research Corporation (“VRC”), the

highest fee VRC had ever earned for issuing solvency opinions. Tribune’s management directed

VRC not only to rely on the Company’s tainted projections, but also to depart from the accepted

definition of fair value—something VRC had never done before—to enable VRC to inflate the

Company’s value for purposes of finding solvency. Management also instructed VRC to

discount the amount of Tribune’s subordinated debt obligations for purposes of the solvency

analysis. In addition, to induce VRC to issue its solvency opinion at the second step of the LBO,

certain Tribune officers misrepresented to VRC that Morgan Stanley had agreed that Tribune

would be able to refinance approximately $8 billion of debt in 2014 and 2015 even if the

Company was underperforming its base case projections.



                                                  9
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 18 of 255




       20.     The LBO imposed nearly $14 billion of debt on a Company that, at the time the

second step of the LBO closed in December 2007, was worth no more than $10.4 billion and

that, by its own admission, was worth no more than $7 billion just months later. As many in the

financial and newspaper publishing industries predicted, the Company filed for bankruptcy less

than one year later, causing enormous loss to the Company and its pre-LBO creditors, who

received only cents on the dollar. The goal (and natural consequence) of the LBO—to hinder,

delay, and defraud the Company’s existing creditors in order to provide value to the Company’s

shareholders ahead of those creditors—had been achieved.

       21.     The Litigation Trustee therefore brings this action in order to remedy the harm

caused by this fraudulent scheme, by compensating Tribune and its unpaid creditors for the

wrongs committed by Zell, Tribune’s controlling shareholders, and the director, officer, and

advisor defendants in connection with the LBO, and by requiring Tribune’s shareholders to

restore to Tribune’s unpaid creditors the priority of payment to which they are legally entitled.

                                JURISDICTION AND VENUE

       22.     The United States Bankruptcy Court for the District of Delaware (the

“Bankruptcy Court”) has jurisdiction over this adversary proceeding under 28 U.S.C. §§ 157 and

1334 and the Standing Order of the United States District Court for the District of Delaware (the

“District of Delaware”) referring to the Bankruptcy Judges of the District of Delaware all cases

and proceedings arising under title 11 of the United States Code (the “Bankruptcy Code”).

       23.     This adversary proceeding constitutes a “core” proceeding as defined in 28 U.S.C.

§ 157(b)(2)(A). In the event that this or any other appropriate Court finds any part of this

adversary proceeding to be “non-core,” Plaintiff consents to the entry of final orders and

judgments by the Bankruptcy Court, pursuant to Rule 7008 of the Federal Rules of Bankruptcy

Procedure. Plaintiff also consents to the entry of final orders or judgments by the Bankruptcy

                                                10
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 19 of 255




Court if it is determined that the Bankruptcy Court, absent consent of the parties, cannot enter

final orders or judgments consistent with Article III of the United States Constitution.

       24.     Venue in the District of Delaware, the transferor district, is and was proper under

28 U.S.C. §§ 1408 and 1409 because this adversary proceeding arises under and in connection

with cases commenced under the Bankruptcy Code.

       25.     Venue in this Court presently is proper under 28 U.S.C. § 1407 and an order of the

Judicial Panel on Multidistrict Litigation (“JPML”) transferring this action to this Court for pre-

trial administration.

                                          THE PARTIES

       26.     Plaintiff is the Litigation Trustee of the Tribune Litigation Trust, which was

created pursuant to the Fourth Amended Plan of Reorganization (the “Plan”) for the Tribune

Company (“Tribune” or the “Company”) and its related Debtor subsidiaries. Following an

evidentiary confirmation hearing respecting a prior version of the Plan that lasted more than two

weeks, and a subsequent confirmation hearing respecting the Plan, the Bankruptcy Court

confirmed the Plan on July 23, 2012. Pursuant to the Plan, certain causes of action commenced

on behalf of the Debtors’ estates, including those asserted herein, were transferred to the

Litigation Trust. The Litigation Trustee has been granted authority and standing to pursue those

causes of action on behalf of the beneficiaries of the Litigation Trust, the Debtors’ creditors,

which received only a fraction of their allowed claims against the Debtors in the Debtors’

bankruptcy proceeding.

       A.      The Director Defendants

       27.     Defendant Dennis J. FitzSimons (“FitzSimons”) was the President and Chief

Executive Officer (“CEO”) of Tribune and the Chairman of Tribune’s Board of Directors (the

“Tribune Board”) at the time of the LBO. As an officer of Tribune, FitzSimons was integrally

                                                 11
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 20 of 255




involved in planning, negotiating, and facilitating the LBO. As a director of Tribune, FitzSimons

voted in favor of the LBO, and caused the Company to purportedly rely on financial projections

and solvency opinions that FitzSimons knew, or was reckless or grossly negligent in not

knowing, were materially flawed. Also at the time of the LBO, FitzSimons was the Chairman of

the Robert R. McCormick Foundation (the “McCormick Foundation”), one of Tribune’s largest

shareholders prior to the LBO. Through that position, which he still holds, FitzSimons

effectively controlled the McCormick Foundation. At the time of the transaction, FitzSimons

was also a member of the board of directors of the Cantigny Foundation (the “Cantigny

Foundation,” and together with the McCormick Foundation, the “Foundations”), another of

Tribune’s largest shareholders, and an affiliate of the McCormick Foundation, and still holds that

position. FitzSimons was also a director of one or more of the Subsidiary Guarantors (defined

below) at the time of the LBO. Upon information and belief, FitzSimons lives in Illinois.

FitzSimons filed three proofs of claim in the Debtors’ Chapter 11 cases.

       28.     Defendant Enrique Hernandez Jr. (“Hernandez”) was a director of Tribune at the

time of the LBO. As a director, Hernandez approved the LBO, and caused the Company to

purportedly rely on financial projections and solvency opinions that Hernandez knew, or was

reckless or grossly negligent in not knowing, were materially flawed. Hernandez also served as

a member of the special committee (the “Special Committee”) of the Tribune Board that was

formed in September 2006 to oversee the Company’s exploration of alternatives and which

ultimately recommended that the full Tribune Board approve the LBO. Upon information and

belief, Hernandez lives in California. Hernandez filed one proof of claim in the Debtors’

Chapter 11 cases.




                                                12
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 21 of 255




       29.     Defendant Betsy D. Holden (“Holden”) was a director of Tribune at the time of

the LBO and remains a director. As a director, Holden approved the LBO, and caused the

Company to purportedly rely on financial projections and solvency opinions that Holden knew,

or was reckless or grossly negligent in not knowing, were materially flawed. Holden also served

as a member of the Special Committee that recommended that the full Tribune Board approve

the LBO. Upon information and belief, Holden lives in Illinois. Holden filed one proof of claim

in the Debtors’ Chapter 11 cases.

       30.     Defendant Robert S. Morrison (“Morrison”) was a director of Tribune at the time

of the LBO. As a director, Morrison approved the LBO, and caused the Company to purportedly

rely on financial projections and solvency opinions that Morrison knew, or was reckless or

grossly negligent in not knowing, were materially flawed. Morrison also served as a member of

the Special Committee. Upon information and belief, Morrison lives in Illinois. Morrison filed

one proof of claim in the Debtors’ Chapter 11 cases.

       31.     Defendant William A. Osborn (“Osborn”) was a director of Tribune at the time of

the LBO. As a director, Osborn approved the LBO, and caused the Company to purportedly rely

on financial projections and solvency opinions that Osborn knew, or was reckless or grossly

negligent in not knowing, were materially flawed. Osborn also served as Chair of the Special

Committee. Upon information and belief, Osborn lives in Illinois. Osborn filed one proof of

claim in the Debtors’ Chapter 11 cases.

       32.     Defendant J. Christopher Reyes (“Reyes”) was a director of Tribune at the time of

the LBO. As a director, Reyes approved the LBO, and caused the Company to purportedly rely

on financial projections and solvency opinions that Reyes knew, or was reckless or grossly

negligent in not knowing, were materially flawed. Reyes also served as a member of the Special



                                               13
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 22 of 255




Committee. Upon information and belief, Reyes lives in Illinois. Reyes filed one proof of claim

in the Debtors’ Chapter 11 cases.

       33.     Defendant Dudley S. Taft (“Taft”) was a director of Tribune at the time of the

LBO. As a director, Taft advocated in favor of the LBO, and caused the Company to purportedly

rely on financial projections and solvency opinions that Taft knew, or was reckless or grossly

negligent in not knowing, were materially flawed. Taft also served as a member of the Special

Committee. Upon information and belief, Taft lives in Ohio. Taft filed one proof of claim in the

Debtors’ Chapter 11 cases.

       34.     Defendant Miles D. White (“White”) was a director of Tribune at the time of the

LBO. As a director, White approved the LBO, and caused the Company to purportedly rely on

financial projections and solvency opinions that White knew, or was reckless or grossly negligent

in not knowing, were materially flawed. White also served as a member of the Special

Committee. Upon information and belief, White lives in Illinois. White filed one proof of claim

in the Debtors’ Chapter 11 cases.

       35.     Defendant Jeffrey Chandler (“Chandler”) was a director of Tribune at the time of

the LBO and until his resignation on or about June 4, 2007, the date on which the first step of the

LBO closed. Chandler served on the Tribune Board as a representative of the Chandler Trusts

(defined below), of which he is a trustee and beneficiary. The Chandler Trusts were at that time

among Tribune’s largest shareholders. As a director, Chandler discussed and advocated in favor

of the LBO, and caused the Company to purportedly rely on financial projections and a solvency

opinion that Chandler knew, or was reckless or grossly negligent in not knowing, were materially

flawed. Upon information and belief, Chandler lives in California.




                                                14
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 23 of 255




       36.       Defendant Roger Goodan (“Goodan”) was a director of Tribune at the time of the

LBO and until his resignation on or about June 4, 2007. Goodan served on the Tribune Board as

a representative of the Chandler Trusts, of which he is a trustee and beneficiary. As a director,

Goodan discussed and advocated in favor of the LBO, and caused the Company to purportedly

rely on financial projections and a solvency opinion that Goodan knew, or was reckless or

grossly negligent in not knowing, were materially flawed. Upon information and belief, Goodan

lives in Washington.

       37.       Defendant William Stinehart Jr. (“Stinehart”) was a director of Tribune at the time

of the LBO and until his resignation on or about June 4, 2007. Stinehart served on the Tribune

Board as a representative of the Chandler Trusts, of which he is a trustee. As a director, Stinehart

discussed and advocated in favor of the LBO, and caused the Company to purportedly rely on

financial projections and a solvency opinion that Stinehart knew, or was reckless or grossly

negligent in not knowing, were materially flawed. Upon information and belief, Stinehart lives

in California.

       38.       Defendants Chandler, Goodan and Stinehart are sometimes collectively referred to

as the “Chandler Trust Representatives.” Defendants FitzSimons, Hernandez, Holden, Morrison,

Osborn, Reyes, Taft, White, Chandler, Goodan, and Stinehart are sometimes collectively referred

to as the “Director Defendants.”

       39.       The Director Defendants each had a significant monetary incentive to approve

and facilitate the LBO. The Director Defendants, individually or through trusts, retirement plans,

or related entities, received at least the following material amounts by selling their Tribune

shares in connection with the LBO, for a total of more than $28.1 million:




                                                 15
       Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 24 of 255




                                      Director Defendants
                                                    Amount Received by Selling or
               Defendant Name
                                                     Redeeming Shares in the LBO
                   FitzSimons                               $21,215,999
                   Hernandez                                  $462,701
                     Holden                                   $371,950
                    Morrison                                  $524,528
                     Osborn                                   $484,058
                      Reyes                                   $586,441
                       Taft                                  $3,431,892
                      White                                   $295,732
                    Chandler                                  $380,358
                    Goodan                                    $257,550
                    Stinehart                                 $137,394
                      Total                                 $28,148,603

       40.     Defendant FitzSimons also received more than $28 million in additional special

monetary incentives that were triggered by the LBO. The Foundations, on whose behalf

FitzSimons sat on the Tribune Board, received more than $1 billion by selling or redeeming their

Tribune shares in connection with the LBO. The Chandler Trusts, whose interests were

represented on the Tribune Board by defendants Chandler, Goodan, and Stinehart, received more

than $1.5 billion by selling their Tribune shares in connection with the LBO.

       B.      The Officer Defendants

       41.     The defendants listed in the following paragraphs 42-47, together with

FitzSimons, are collectively referred to as the “Officer Defendants.” The Officer Defendants

were keenly involved in the Company’s review, acceptance, and facilitation of the LBO; created

the fraudulent projections on which the LBO was premised; and worked closely with the

Company’s solvency advisor—defendant VRC—to manipulate the solvency opinions they issued

and ensure that VRC would opine, falsely, that the Company was solvent at each step of the

LBO.




                                               16
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 25 of 255




       42.     Defendant Chandler Bigelow (“Bigelow”) was Tribune’s Treasurer at the time of

the LBO, and is currently Tribune’s Chief Financial Officer. Bigelow was also an officer of one

or more of the Subsidiary Guarantors (defined below) at the time of the LBO, and executed the

Subsidiary Guarantees (defined below) on behalf of all of the Subsidiary Guarantors. Upon

information and belief, Bigelow lives in Illinois. The Debtors listed Bigelow as the holder of one

or more unsecured claims on Schedule G of the Debtors’ Schedules.

       43.     Defendant Donald C. Grenesko (“Grenesko”) was Tribune’s Senior Vice President

of Finance and Administration at the time of the LBO. Upon information and belief, Grenesko

lives in Illinois. Grenesko filed two proofs of claim in the Debtors’ Chapter 11 cases.

       44.     Defendant Mark W. Hianik (“Hianik”) was Tribune’s Assistant General Counsel

and Assistant Secretary at the time of the LBO. Hianik was also a director and officer of one or

more of the Subsidiary Guarantors at that time. Upon information and belief, Hianik lives in

Illinois. Hianik filed two proofs of claim in the Debtors’ Chapter 11 cases.

       45.     Defendant Daniel G. Kazan (“Kazan”) was Tribune’s Vice President of

Development at the time of the LBO, and currently is Tribune’s Senior Vice President,

Investments. Upon information and belief, Kazan lives in Illinois. Kazan filed one proof of

claim in the Debtors’ Chapter 11 cases.

       46.     Defendant Crane H. Kenney (“Kenney”) was Tribune’s Senior Vice President,

General Counsel and Secretary at the time of the LBO. Kenney was also a director and officer of

one or more of the Subsidiary Guarantors at that time. Upon information and belief, Kenney

lives in Illinois. Kenney filed one proof of claim in the Debtors’ Chapter 11 cases.

       47.     Defendant Harry Amsden (“Amsden”) was the Vice President of Finance of

Tribune Publishing Company, a subsidiary of Tribune, and an officer of Tribune National



                                                17
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 26 of 255




Marketing Company, another subsidiary of Tribune, at the time of the LBO. Notwithstanding

that Amsden was an officer of these Tribune subsidiaries, he was integral in helping to facilitate

the LBO on Tribune’s behalf. Thus, Amsden owed fiduciary duties not only to Tribune

Publishing Company and Tribune National Marketing Company, but also directly to Tribune.

Upon information and belief, Amsden lives in Illinois. Amsden filed one proof of claim in the

Debtors’ Chapter 11 cases.

       48.     Collectively, the Director Defendants and the Officer Defendants are referred to

herein as the “D&O Defendants.” All claims of the D&O Defendants reflected on the Debtors’

Schedules or any proofs of claim filed by, or on behalf of, any of the D&O Defendants are

collectively referred to herein as the “D&O Creditor Claims.”

       49.     Each of the Officer Defendants had a substantial monetary incentive to approve

the LBO. First, the Officer Defendants, individually or through trusts, retirement plans, or

related entities, knew that they would collectively receive more than $36 million by selling or

redeeming their Tribune shares in connection with the LBO; second, the Officer Defendants

knew they would collectively receive more than $42 million in additional special monetary

incentives if the LBO was consummated. The breakdown of the amounts received by the Officer

Defendants in connection with the LBO was as follows:




                                                18
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 27 of 255




                                      Officer Defendants
        Defendant Name                Amount Received by               Special Monetary
                                      Selling or Redeeming         Incentives Triggered by the
                                       Shares in the LBO                       LBO
              Amsden                            $0                           $867,324
              Bigelow                                                       $1,335,620
             FitzSimons                     $21,215,999                    $28,729,798
              Grenesko                      $10,668,400                     $6,733,557
               Hianik                                                        $809,019
                Kazan                                                       $1,253,027
               Kenney                       $3,570,087                      $3,129,789
                Total                       $36,192,626                    $42,858,134

       C.      Additional Officers Who Received Monetary Transfers Related To The LBO

       50.     Defendant Thomas D. Leach (“Leach”) was Tribune’s Senior Vice President of

Development at the time of the LBO. Upon information and belief, Leach lives in Illinois.

Leach filed one proof of claim in the Debtors’ Chapter 11 cases.

       51.     Defendant R. Mark Mallory (“Mallory”) was Tribune’s Vice President and

Controller at the time of the LBO. Upon information and belief, Mallory lives in Illinois.

Mallory filed two proofs of claim in the Debtors’ Chapter 11 cases.

       52.     Defendant Luis E. Lewin (“Lewin”) was Tribune’s Senior Vice President of

Human Resources at the time of the LBO. Upon information and belief, Lewin lives in Illinois.

       53.     Defendants Leach, Mallory, and Lewin are sometimes collectively referred to as

the “Additional Officer Recipients.” Each of the Additional Officer Recipients received

proceeds by selling or redeeming their shares in the LBO, and special monetary incentives

triggered by the LBO.

       D.      The Subsidiary D&O Defendants

       54.     The defendants listed in the following paragraphs 55-69, along with FitzSimons,

Bigelow, Hianik, and Kenney are collectively referred to as the “Subsidiary D&O Defendants.”

In complete dereliction of their fiduciary duties, the Subsidiary D&O Defendants authorized


                                               19
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 28 of 255




certain of the Tribune Subsidiaries (the “Subsidiary Guarantors”) to enter into guarantees (the

“Subsidiary Guarantees”) that transferred all of their post-LBO value to the parties financing the

LBO, but provided no value or benefit to the Subsidiary Guarantors. The Subsidiary D&O

Defendants authorized the Subsidiary Guarantees without any consideration of whether they

furthered the interests of the Subsidiary Guarantors or their creditors. As set forth in detail

below, the Subsidiary D&O Defendants, individually or through trusts, retirement plans, or

related entities, received a total of more than $50 million by selling or redeeming their Tribune

shares in connection with the LBO, and more than $71 million in additional special monetary

incentives premised upon consummation of the LBO.

       55.     Defendant Stephen D. Carver (“Carver”) was a director and officer of one or more

of the Subsidiary Guarantors at the time of the LBO. Upon information and belief, Carver lives

in Connecticut. Carver filed one proof of claim in the Debtors’ Chapter 11 cases.

       56.     Defendant Thomas S. Finke (“Finke”) was a director of one or more of the

Subsidiary Guarantors at the time of the LBO. Upon information and belief, Finke lives in

Illinois. Finke filed one proof of claim in the Debtors’ Chapter 11 cases.

       57.     Defendant Robert Gremillion (“Gremillion”) was a director and officer of one or

more of the Subsidiary Guarantors at the time of the LBO. Upon information and belief,

Gremillion lives in Illinois. Gremillion filed one proof of claim in the Debtors’ Chapter 11 cases.

       58.     Defendant David Dean Hiller (“Hiller”) was the publisher of the Los Angeles

Times and a member of the boards of directors of the McCormick Foundation and the Cantigny

Foundation at the time of the LBO. Hiller is currently the President and CEO of the McCormick

Foundation. Hiller was also a director and officer of one or more of the Subsidiary Guarantors at




                                                 20
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 29 of 255




the time of the LBO. Upon information and belief, Hiller lives in Illinois. Hiller filed one proof

of claim in the Debtors’ Chapter 11 cases.

       59.     Defendant Timothy P. Knight (“Knight”) was a director and officer of one or more

of the Subsidiary Guarantors at the time of the LBO. Upon information and belief, Knight lives

in New York. Knight filed seven proofs of claim in the Debtors’ Chapter 11 cases.

       60.     Defendant Timothy J. Landon (“Landon”) was a director of one or more of the

Subsidiary Guarantors at the time of the LBO. Upon information and belief, Landon lives in

Illinois. Landon filed one proof of claim in the Debtors’ Chapter 11 cases.

       61.     Defendant Richard H. Malone (“Malone”) was a director and officer of one or

more of the Subsidiary Guarantors at the time of the LBO. Upon information and belief, Malone

lives in Illinois. Malone filed one proof of claim in the Debtors’ Chapter 11 cases.

       62.     Defendant Durham J. Monsma (“Monsma”) was a director and officer of one or

more of the Subsidiary Guarantors at the time of the LBO. Upon information and belief,

Monsma lives in Connecticut. Monsma filed at least one proof of claim in the Debtors’

Chapter 11 cases.

       63.     Defendant Irving L. Quimby (“Quimby”) was a director and officer of one or

more of the Subsidiary Guarantors at the time of the LBO. Upon information and belief,

Quimby lives in Maryland. Quimby filed one proof of claim in the Debtors’ Chapter 11 cases.

       64.     Defendant John E. Reardon (“Reardon”) was the President of Tribune

Broadcasting Company, a subsidiary of Tribune, at the time of the LBO. Reardon was also a

director and officer of one or more of the Subsidiary Guarantors at the time of the LBO. Upon

information and belief, Reardon lives in Illinois. Reardon filed one proof of claim in the

Debtors’ Chapter 11 cases.



                                                21
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 30 of 255




       65.     Defendant Scott C. Smith (“Smith”) was the President of Tribune Publishing

Company, a subsidiary of Tribune, at the time of the LBO. Smith was also a director and officer

of one or more of the Subsidiary Guarantors at the time of the LBO. At the time of the LBO,

Smith was also a member of the boards of directors of the McCormick Foundation and the

Cantigny Foundation, and still holds those positions. Upon information and belief, Smith lives

in Illinois. Smith filed one proof of claim in the Debtors’ Chapter 11 cases.

       66.     Defendant John J. Vitanovec (“Vitanovec”) was the Executive Vice President of

Tribune Broadcasting Company, a subsidiary of Tribune at the time of the LBO. Vitanovec was

also a director and officer of one or more of the Subsidiary Guarantors at the time of the LBO.

Upon information and belief, Vitanovec lives in Illinois. Vitanovec filed one proof of claim in

the Debtors’ Chapter 11 cases.

       67.     Defendant Kathleen M. Waltz (“Waltz”) was a director and officer of one or more

of the Subsidiary Guarantors at the time of the LBO. Upon information and belief, Waltz lives in

Florida. Waltz filed one proof of claim in the Debtors’ Chapter 11 cases.

       68.     Defendant David D. Williams (“Williams”) was a director and officer of one or

more of the Subsidiary Guarantors at the time of the LBO. Upon information and belief,

Williams lives in Illinois. Williams filed one proof of claim in the Debtors’ Chapter 11 cases.

       69.     Defendant John D. Worthington, IV (“Worthington”) was a director and officer of

one or more of the Subsidiary Guarantors at the time of the LBO. Upon information and belief,

Worthington lives in Maryland.

       70.     The Subsidiary Guarantors for which each Subsidiary D&O Defendant served as

director and/or officer, and the relevant time period in which each Subsidiary D&O Defendant

held that position, are listed in Exhibit B. The Subsidiary D&O Defendants, by virtue of their



                                                22
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 31 of 255




positions as directors and/or officers of one or more Subsidiary Guarantors, owed fiduciary

duties to each Subsidiary Guarantor he or she served. All claims of the Subsidiary D&O

Defendants reflected on the Debtors’ Schedules or any proofs of claim filed by, or on behalf of,

any of the Subsidiary D&O Defendants are collectively referred to herein as the “Subsidiary

D&O Creditor Claims.”

       71.     The Subsidiary D&O Defendants, individually or through trusts, retirement plans,

or related entities, received at least the following amounts by selling their Tribune shares in

connection with the LBO, as well as at least the following amounts in special monetary

incentives that were triggered by the completion of the LBO, for a total of more than $122

million:

                                  Subsidiary D&O Defendants
           Defendant Name           Amount Received by         Special Monetary
                                    Selling or Redeeming    Incentives Triggered by
                                     Shares in the LBO             the LBO
               Bigelow                                            $1,335,620
                Carver                                             $512,710
                Finke                         $0                   $377,462
             FitzSimons                  $21,215,999             $28,729,798
             Gremillion                       $0                  $1,735,639
                Hianik                                             $809,019
                Hiller                                            $8,768,972
               Kenney                     $3,570,087              $3,129,789
               Knight                         $0                  $3,743,646
               Landon                     $3,059,380              $3,685,548
               Malone                                              $587,691
              Monsma                                                   $0
               Quimby                                               $74,668
               Reardon                    $3,975,910              $4,191,059
                Smith                    $10,012,065              $5,277,369
              Vitanovec                                           $4,113,042
                Waltz                         $0                  $2,092,178
              Williams                                            $1,933,946
             Worthington                                            $42,693
                Total                    $50,972,675             $71,140,849



                                                 23
       Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 32 of 255




        E.       The Controlling Shareholder Defendants

        72.      Defendants Chandler Trust No. 1, Chandler Trust No. 2, and the Chandler Sub-

Trusts2 (collectively, the “Chandler Trusts”) are California trusts established for the benefit of the

Chandler family. At the time of the LBO, the Chandler Trusts were among Tribune’s largest

shareholders. At that time, the Chandler Trust Representatives represented the Chandler Trusts’

interests on the Tribune Board. The Chandler Trusts demanded that Tribune explore potential

transactions and actively engaged with the Special Committee in reviewing and assessing various

strategic alternatives presented to and considered by the Special Committee, and in the Special

Committee’s ultimate determination to recommend the LBO to the Tribune Board. The Chandler

Trusts also negotiated with Zell to modify the LBO so that it would provide the Chandler Trusts

with more money sooner, and agreed to enter into a voting agreement that helped to ensure that

the LBO would be consummated. The Chandler Trusts sold over 48 million shares of Tribune

stock in connection with the LBO, including 27,774,388 shares at Step One (as hereinafter

defined) of the LBO, for which they received $944,329,192; and then the rest of their Tribune

holdings in a block trade three days after Step One, for which they received $634,777,414.

        73.      Defendant McCormick Foundation is a tax-exempt charitable foundation located

in Illinois. At the time of the LBO, the McCormick Foundation was among Tribune’s largest

shareholders. The investment and voting power of the McCormick Foundation is vested in a


        2
           The Chandler Sub-Trusts are: Philip Chandler Residuary Trust No. 2, May C. Goodan Trust No. 2, Ruth
C. Von Platen Trust No. 2, Dorothy B. Chandler Marital Trust No. 2, Dorothy B. Chandler Residuary Trust No. 2,
HOC Trust No. 2 FBO Scott Haskins, HOC Trust No. 2 FBO John Haskins, HOC Trust No. 2 FBO Eliza Haskins,
HOC GST Exempt Trust No. 2. FBO Scott Haskins, HOC GST Exempt Trust No. 2. FBO John Haskins, HOC GST
Exempt Trust No. 2. FBO Eliza Haskins, Alberta W. Chandler Marital Trust No. 2, Earl E. Crowe Trust No. 2,
Patricia Crowe Warren Residuary Trust No. 2, Helen Garland Trust No. 2 (For Gwendolyn Garland Babcock),
Helen Garland Trust No. 2 (For William M. Garland III), Helen Garland Trust No. 2 (For Hillary Duque Garland),
Garland Foundation Trust No. 2, and Marian Otis Chandler Trust No. 2. Upon information and belief, the trustees
of the Chandler Sub-Trusts, as well as of Chandler Trust No. 1 and Chandler Trust No. 2, are Susan Babcock,
Jeffrey Chandler, Camilla Chandler Frost, Roger Goodan, William Stinehart, Jr., Judy C. Webb, and Warren B.
Williamson.

                                                      24
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 33 of 255




board of five directors, all of whom are current or former Tribune executives (as mandated by the

McCormick Foundation’s incorporation documents), and included defendants FitzSimons, Hiller,

and Smith at the time of the LBO. The McCormick Foundation demanded that Tribune explore

potential transactions and actively engaged with the Special Committee in reviewing and

assessing various strategic alternatives presented to and considered by the Special Committee,

and in connection with the Special Committee’s ultimate determination to recommend the LBO

to the Tribune Board. The McCormick Foundation also negotiated with Zell to modify the LBO

so that it would provide the McCormick Foundation with more money sooner. Additionally, the

McCormick Foundation was actively involved in Tribune’s management through, among others,

defendant FitzSimons, who was intimately involved in helping to facilitate the LBO. The

McCormick Foundation sold or redeemed 28,023,788 shares of Tribune stock in connection with

the LBO, from which it received approximately $952,808,792 in cash proceeds.

       74.     Defendant Cantigny Foundation is a tax-exempt charitable foundation located in

Illinois that held shares of Tribune at the time of the LBO. The investment and voting power of

the Cantigny Foundation is vested in a board of five directors, all of whom are current or former

Tribune executives (as mandated by the Foundations’ incorporation documents), and included

defendants FitzSimons, Hiller, and Smith at the time of the LBO. The Cantigny Foundation is an

affiliate of the McCormick Foundation, and at the time of the LBO, the Foundations’ collective

holdings in Tribune stock made them, collectively, Tribune’s second largest shareholder. The

Cantigny Foundation demanded that Tribune explore potential transactions and actively engaged

with the Special Committee in reviewing and assessing various strategic alternatives presented to

and considered by the Special Committee, and in connection with the Special Committee’s

ultimate determination to recommend the LBO to the Tribune Board. The Cantigny Foundation



                                               25
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 34 of 255




also negotiated with Zell to modify the LBO so that it would provide the Cantigny Foundation

with more money sooner. Additionally, the Cantigny Foundation was actively involved in

Tribune’s management through, among others, defendant FitzSimons, who was intimately

involved in helping to facilitate the LBO. The Cantigny Foundation sold or redeemed 3,259,000

shares of Tribune stock in connection with the LBO, from which it received approximately

$110,806,000 in cash proceeds.

       75.     The Chandler Trusts, the McCormick Foundation, and the Cantigny Foundation

are collectively referred to as the “Controlling Shareholders.” Together, the Controlling

Shareholders held at least 33% of Tribune’s stock immediately prior to the LBO.

       F.      The Zell Defendants

       76.     Defendant Zell is a billionaire investor who is the controlling party of EGI-TRB,

L.L.C. (“EGI-TRB”)—the entity that entered into the Agreement and Plan of Merger (the

“Merger Agreement”) with Tribune on April 1, 2007, memorializing the materials terms of the

LBO. Zell was elected to the Tribune Board on May 9, 2007, before consummation of the first

step of the LBO, and became the Chairman of the Tribune Board and Tribune’s President and

Chief Executive Officer in December 2007 when the second step of the LBO was consummated.

Zell personally and directly received at least $77,452 in cash proceeds in connection with the

LBO. Upon information and belief, Zell lives in Illinois. Zell filed two proofs of claim in the

Debtors’ Chapter 11 cases.

       77.     Defendant Equity Group Investments, L.L.C. (“EGI”) is a private investment

company located in Illinois. Zell holds a controlling interest in EGI and is its President and

Chairman. During the period that is on or within the 90 days prior to December 8, 2008 (the

“90-Day Preference Period”), the date on which the Debtors filed for protection under the

Bankruptcy Code (the “Petition Date”), Tribune made payments of not less than $586,759 to EGI

                                                26
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 35 of 255




to reimburse EGI for expenses it allegedly incurred in connection with the LBO (the “EGI

Reimbursements”). EGI filed two proofs of claim in the Debtors’ Chapter 11 cases.

       78.     Defendant EGI-TRB is a Delaware limited liability company located in Illinois.

Founded for the sole purpose of consummating the LBO, EGI-TRB’s business was, at all

relevant times, to “engage in any activities which pertain to acquiring, owning, operating,

managing, financing, selling and otherwise dealing with” Tribune and the Tribune LBO. In

connection with step one of the LBO, EGI-TRB received a $200 million unsecured subordinated

note that was exchangeable for Tribune stock at Tribune’s option (the “Exchangeable Note”). As

set forth herein, EGI-TRB’s investment in exchange for the Exchangeable Note had the attributes

of an equity investment and should be recharacterized as such.

       79.     In or about December 2007 and in connection with the LBO, Tribune transferred

to EGI-TRB money or assets worth $206,418,859 (the “Exchangeable Note Transfer”) to satisfy

its purported debt obligation under the Exchangeable Note (the “Exchangeable Note

Obligation”). This transaction was akin to a sale of stock, in that the amount paid or credited by

Tribune to EGI-TRB was based upon the price that would have been paid to EGI-TRB had the

Exchangeable Note been converted to stock and the stock redeemed by Tribune (although such

conversion did not actually occur). Tribune also transferred money or assets worth

approximately $2.5 million to EGI-TRB for its legal fees and other expenses in connection with

the LBO (the “EGI-TRB Fee Transfers”).

       80.     EGI-TRB sold or redeemed 1,470,588 shares of Tribune stock in connection with

Step Two (as defined below) of the LBO, for which it received $50,000,000 (the “EGI-TRB

Stock Sale,” and, together with the EGI-TRB Fee Transfers, the Exchangeable Note Obligation,

and the Exchangeable Note Transfer, the “EGI-TRB Transfers”)). Upon information and belief,



                                                27
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 36 of 255




none of the EGI-TRB Fee Transfers were cleared or transferred to EGI-TRB through a financial

institution, financial participant, or securities clearing agency.

        81.     On December 20, 2007, in connection with the LBO, EGI-TRB purchased from

Tribune a $225 million subordinated promissory note due December 20, 2018 (the “Subordinated

Note”). The amounts purportedly owed or paid in connection with the Exchangeable Note

Transfer, the Subordinated Note purchase, the EGI-TRB Stock Sale, and a Tribune warrant

purchased by Zell that is described below were netted against one another, resulting in a payment

by EGI-TRB to the Company of approximately $56 million on December 20, 2007. Pursuant to

a subordination agreement dated as of December 20, 2007, entered into by EGI-TRB (the

“Subordination Agreement”), the claims arising from the Subordinated Note, including principal

and interest and all other obligations and liabilities of Tribune to EGI-TRB, are subordinate and

junior to all obligations, indebtedness, and other liabilities of Tribune with certain inapplicable

exceptions. Following execution of the Subordination Agreement, EGI-TRB assigned minority

interests in the Subordinated Note to the Tower Defendants (defined below). EGI-TRB filed two

proofs of claim in the Debtors’ Chapter 11 cases (the “EGI-TRB Proofs of Claim”). All claims

of EGI-TRB reflected on the Debtors’ Schedules or the EGI-TRB Proofs of Claim are

collectively referred to herein as the “EGI-TRB Claims.”

        82.     Defendant Sam Investment Trust is an irrevocable Illinois trust established for the

benefit of Zell and his family. Sam Investment Trust is the sole member and 100% owner of

EGI-TRB. EGI-TRB, as a limited liability company, is a pass-through entity that is disregarded

as an entity separate from Sam Investment Trust for federal tax purposes. Sam Investment Trust

is an irrevocable grantor trust, and Zell is therefore treated as the owner of all of the property of

Sam Investment Trust for federal income tax purposes.



                                                  28
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 37 of 255




       83.     EGI-TRB has no board of directors or similar board of managers. At all relevant

times, Zell was the President and Chief Executive Officer of EGI-TRB, with responsibility for

the general and active management of EGI-TRB. At all relevant times, William C. Pate, a

managing director of EGI, was the Vice-President of EGI-TRB. On information and belief, EGI-

TRB has no office of its own, and has no employees of its own other than Zell and employees of

EGI. EGI-TRB is and was at all relevant times completely dominated by Zell, directly, and

indirectly through Sam Investment Trust and EGI and its employees, each of which Zell controls.

EGI-TRB is and was at all relevant times merely an instrument for Zell, the Sam Investment

Trust, and EGI. EGI-TRB lacks and at all relevant times lacked sufficient capital to meet any

liabilities that might arise from the LBO. EGI-TRB has no assets other than the EGI-TRB

Claims, and is insolvent.

       84.     Defendants Zell, EGI, EGI-TRB and Sam Investment Trust are collectively

referred to as the “Zell Defendants.” All claims of the Zell Defendants (other than the EGI-TRB

Claims) reflected on the Debtors’ Schedules or any proofs of claim filed by, or on behalf of, any

of the Zell Defendants (other than EGI-TRB) are collectively referred to herein as the “Zell

Claims.”

       85.     Upon information and belief, defendants Tower CH, L.L.C., Tower DC, L.L.C.,

Tower DL, L.L.C., Tower EH, L.L.C., Tower Greenspun DGSPT, LLC, Tower Greenspun

JGGSTP, LLC, Tower Greenspun SGFFT, LLC, Tower Greenspun, L.LC., Tower HZ, L.L.C.,

Tower JB, L.L.C., Tower JK, L.L.C., Tower JP, L.L.C., Tower JS, L.L.C., Tower KS, L.L.C.,

Tower LL, L.L.C., Tower LM, L.L.C., Tower LZ, L.L.C., Tower MH, L.L.C., Tower MS, L.L.C.,

Tower MZ, L.L.C., Tower NL, L.L.C., Tower PH, L.L.C., Tower PT, L.L.C., Tower SF, L.L.C.,

Tower TT, L.L.C., Tower VC, L.L.C., and Tower WP, L.L.C. (collectively, the “Tower



                                                29
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 38 of 255




Defendants”) are assignees of EGI-TRB’s interests in the Subordinated Note. Upon information

and belief, the Tower Defendants are affiliated or closely aligned with EGI and EGI-TRB. Each

of the Tower Defendants filed at least one proof of claim in the Debtors’ Chapter 11 cases (the

“Tower Proofs of Claim”). All claims of the Tower Defendants reflected on the Debtors’

Schedules or the Tower Proofs of Claim are collectively referred to herein as the “Tower

Claims.”

       G.      The Advisor Defendants

       86.     The defendants listed in the following paragraphs 87-90 are collectively referred

to as the “Advisor Defendants.”

       87.     Defendant GreatBanc Trust Company (“GreatBanc”) is an Illinois corporation

headquartered in Illinois. GreatBanc was engaged by Tribune as trustee of its employee stock

ownership plan (“ESOP”) trust in connection with the LBO. GreatBanc negotiated the terms of

the ESOP’s investment in the LBO, including the price to be paid by the ESOP for the shares of

Tribune Common Stock to be purchased by the ESOP.

       88.     Defendant Duff & Phelps, LLC (“Duff & Phelps”) is a Delaware limited liability

company headquartered in Illinois. Duff & Phelps was initially engaged by Tribune to provide a

solvency opinion to Tribune in connection with either a spin-off of the Company’s broadcasting

operations and internal recapitalization, or the LBO. Tribune and the Special Committee then

engaged Duff & Phelps to explore Tribune’s adoption of an ESOP and the ESOP’s potential

participation in the proposed LBO. Shortly thereafter, GreatBanc engaged Duff & Phelps as its

financial advisor in connection with the LBO.

       89.     Defendant VRC is a financial advisory firm that provides fairness and solvency

opinions in support of transactions. VRC is headquartered in Wisconsin. Tribune retained VRC

to provide solvency opinions, and VRC provided solvency opinions, in connection with the

                                                30
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 39 of 255




LBO. VRC received payments from Tribune for certain fees and expenses in connection with

the LBO (the “VRC Transfers”), in an amount to be determined at trial but no less than

$1,500,000.

          90.   Defendant Morgan Stanley & Co. LLC f/k/a Morgan Stanley & Co. Incorporated

(“Morgan Stanley”) was engaged by the Company to act as a financial advisor to the Special

Committee of the Tribune Board in connection with the LBO. In addition, Morgan Stanley acted

as a financial advisor to the Company both in 2007 and 2008.

          91.   Defendant Morgan Stanley Capital Services, Inc. (“MSCS”) is an affiliate of

Morgan Stanley that entered into an interest rate swap with The Times Mirror Company, a

predecessor of the Company, in 1994.

          92.   Non-party Merrill, Lynch, Pierce, Fenner & Smith Incorporated (“Merrill”) acted

as a financial advisor to Tribune in connection with the LBO and served as one of the lead

arrangers for the credit facilities governing the LBO financing. Merrill is named as a defendant

in a separate action by the Litigation Trustee entitled Kirschner v. Citigroup Global Markets, Inc.

and Merrill, Lynch, Pierce, Fenner & Smith Incorporated, No. 12 CV 6055 (RJS) (the “Advisor

Action”), which was originally filed by the Committee in the Bankruptcy Court and was

transferred to this Court by the JPML for coordinated and consolidated pretrial proceedings with

this and other related actions.

          93.   Non-party Citigroup Global Markets, Inc. (“Citigroup”) acted as a financial

advisor to Tribune in connection with the LBO and served as one of the lead arrangers for the

credit facilities governing the LBO financing. Citigroup is named as a defendant in the Advisor

Action.




                                                31
       Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 40 of 255




        H.       The Shareholder Defendants

        94.      Tens of thousands of persons and entities received transfers in connection with the

purchase, repurchase, or redemption of Tribune stock as a result of the LBO (the “Shareholder

Transfers”). Upon information and belief, the defendants listed on Exhibit A, which is attached

hereto and incorporated herein, received at least the Shareholder Transfers shown therein.3 The

Litigation Trust sues the parties listed on Exhibit A as individually named defendants. The

Controlling Shareholders, the D&O Defendants, the Additional Officer Recipients, the

Subsidiary D&O Defendants, Zell, and EGI-TRB also received Shareholder Transfers as set forth

herein, and, together with the defendants listed on Exhibit A, are referred to herein as the

“Shareholder Defendants.” As set forth below, the Litigation Trust sues certain remaining,

unnamed recipients of Shareholder Transfers as absent class members.

        I.       The Class Representative Defendants

        95.      Upon information and belief, defendant Automobile Mechanics’ Local 701

Pension Fund a/k/a Automobile Mechanics’ Local No. 701 Union and Industry Pension Fund is

an Illinois fund that received at least                in cash proceeds in connection with the LBO.

        96.      Upon information and belief, defendant Frank W. Denius is an individual who

resides in Texas who received at least $1,797,988 in cash proceeds in connection with the LBO.

        97.      Upon information and belief, defendant The DFA Investment Trust Company is a

Delaware statutory trust that received in connection with its Tax-Managed U.S. Equity Series,

Tax-Managed U.S. Marketwide Value Series, and U.S. Large Cap Value Series at least

               in cash proceeds in connection with the LBO.

        3
           To comply with a protective order entered by the Bankruptcy Court as well as this Court’s local rules,
Plaintiff has redacted certain information from this Complaint and Exhibit A. Pursuant to paragraph 40 of Master
Case Order No. 3 [ECF No. 1395], Plaintiff will file unredacted versions of the Complaint and Exhibit A under seal
contemporaneously with the filing of this Fifth Amended Complaint. A list of the names of each defendant listed on
Exhibit A is attached as Exhibit A-1, which will be publicly filed with no redactions.

                                                       32
        Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 41 of 255




        98.     Upon information and belief, defendant GDK, Inc. is a Delaware corporation that

received at least              in cash proceeds in connection with the LBO.

        99.     Upon information and belief, defendant Hussman Strategic Growth Fund a/k/a

The Hussman Investment Trust, John P. Hussman, Trustee is a Maryland fund that received at

least               in cash proceeds in connection with the LBO.

        100.    Upon information and belief, defendant Edwin R. Labuz IRA, Ameriprise Trust

Company f/k/a H&R Block Financial Advisors, Custodian is a Florida IRA that received at least

          in cash proceeds in connection with the LBO.

        101.    Upon information and belief, defendant Denise Meck is an individual who resides

in Texas who received at least             in cash proceeds in connection with the LBO.

        102.    Upon information and belief, defendant Nationwide S&P 500 Index Fund, a series

of Nationwide Mutual Funds, is a Pennsylvania fund that received at least              in cash

proceeds in connection with the LBO.

        103.    Upon information and belief, defendant New York State Teachers Retirement

System is a New York pension fund that received at least              in cash proceeds in

connection with the LBO.

        104.    Upon information and belief, defendant Dorothy C. Patterson Irrevocable Trust #2

U/A/D 12-21-93, of which The Northern Trust Company is the successor trustee, is an Illinois

trust that received at least            in cash proceeds in connection with the LBO.

        105.    Upon information and belief, defendant Blandina Rojek is an individual who

resides in Vermont who received at least              in cash proceeds in connection with the

LBO.




                                                33
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 42 of 255




        106.    Upon information and belief, defendant VTrader Pro, LLC is a California limited

liability corporation that received at least          in cash proceeds in connection with the LBO.

        107.    Defendants Automobile Mechanics’ Local 701 Pension Fund a/k/a Automobile

Mechanics’ Local No. 701 Union and Industry Pension Fund, Frank W. Denius, The DFA

Investment Trust Company, GDK, Inc., Hussman Strategic Growth Fund a/k/a The Hussman

Investment Trust, John P. Hussman, Trustee, Edwin R. Labuz IRA, Ameriprise Trust Company

f/k/a H&R Block Financial Advisors, Custodian, Denise Meck, Nationwide S&P 500 Index

Fund, a series of Nationwide Mutual Funds, New York State Teachers Retirement System,

Dorothy C. Patterson Irrevocable Trust #2 U/A/D 12-21-93, Blandina Rojek, and VTrader Pro,

LLC are collectively referred to as the “Class Representative Defendants.”

                                     CLASS ALLEGATIONS

        108.    Pursuant to Rule 23(b)(1) & (b)(3) of the Federal Rules of Civil Procedure, made

applicable to this adversary proceeding by Rule 7023 of the Federal Rules of Bankruptcy

Procedure, the claims set forth in Count One of this Complaint are brought against the Class

Representative Defendants, individually and as representatives of a defendant class of similarly

situated persons and legal entities (the “Shareholder Class”).

        109.    The Shareholder Class is comprised of (i) all persons or legal entities that directly

or indirectly received payments, including the initial recipients and subsequent transferees, made

in exchange for the purchase and/or redemption by Tribune of at least 1,471 shares of Tribune

common stock in connection with the LBO, and that in consequence were the beneficial or legal

recipients of at least $50,000 in payments by Tribune, and (ii) the guardians, trustees, partners,

administrators, custodians, fiduciaries, estates, executors, owners, representatives, beneficiaries,

members, and managers of such persons or legal entities, to the extent they must be named as



                                                 34
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 43 of 255




defendants in order to pursue the claim set forth in Count One of this Complaint against such

persons or legal entities. All persons and legal entities (other than the Class Representative

Defendants) that are timely and effectively served with a summons and complaint in this action

are excluded from the Shareholder Class as of the date of such service (the “Excluded Persons”).

       110.    Tribune’s total payments in connection with the LBO for the purchase or

redemption of the approximately 243,121,164 outstanding shares of Tribune stock in connection

with the LBO exceeded $8 billion. The Shareholder Transfers left the Company insolvent,

inadequately capitalized, and unable to pay its debts as they came due.

       111.    Upon information and belief, the Shareholder Class includes hundreds or

thousands of recipients. Accordingly, the Shareholder Class is so numerous that joinder of all of

its members is impracticable.

       112.    There are questions of law and fact common to the Shareholder Class that

predominate over any issues that may involve individual members of the Shareholder Class,

including without limitation:

       a.      Whether Tribune, by and through certain of its officers and directors, made the
               Shareholder Transfers with the actual intent to hinder, delay, and defraud
               Tribune’s creditors;

       b.      Whether Tribune received less than reasonably equivalent value in exchange for
               the Shareholder Transfers;

       c.      Whether Tribune was insolvent at the time of the Shareholder Transfers, or
               became insolvent as a result of the Shareholder Transfers;

       d.      Whether, at the time of the Shareholder Transfers, Tribune was engaged in
               business or a transaction, or was about to engage in business or a transaction, for
               which Tribune was left with unreasonably small capital; and

       e.      Whether, at the time of the Shareholder Transfers, Tribune intended to incur, or
               believed that it would incur, debts that would be beyond its ability to pay as such
               debts matured.



                                                35
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 44 of 255




        113.   The Class Representative Defendants will fairly and adequately protect the

interests of the entire Shareholder Class. Any possible defenses of the Class Representative

Defendants are typical of those of the Shareholder Class. Additionally, if the Litigation Trustee

obtains a judgment in his favor on the claims to avoid and recover the Shareholder Transfers set

forth in Count One herein, then the Class Representative Defendants alone will be liable for a

minimum of $195,196,739.

        114.   The prosecution of separate actions against the individual members of the

Shareholder Class would create a risk of (a) inconsistent or varying adjudications with respect to

individual members of the Shareholder Class that would establish incompatible standards of

conduct, and/or (b) adjudications with respect to individual members of the Shareholder Class

that, as a practical matter, could be dispositive of the interests of the other members not parties to

the individual adjudications or would substantially impair or impede their ability to protect their

interests.

        115.   A defendant class action is superior to other available methods for fairly and

efficiently adjudicating this controversy because, inter alia, it avoids a multiplicity of individual

adjudications with respect to the many thousands of individual members of the Shareholder

Class, thereby conserving the resources of the Debtors’ estates and of the Court.

                                              FACTS

I.      Tribune’s Business And Its Operations

        116.   Prior to filing for bankruptcy protection in December 2008, Tribune was

America’s largest media and entertainment company, reaching more than 80% of U.S.

households through its newspapers and other publications, its television and radio broadcast

stations and cable channels, and its other entertainment offerings. Headquartered in Chicago,



                                                 36
       Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 45 of 255




Illinois, Tribune’s operations were conducted through two primary business segments:

(i) publishing, and (ii) broadcasting and entertainment. Tribune’s publishing segment owned

major newspapers in many of the most significant markets in the United States, including the

Chicago Tribune, the Los Angeles Times, the Baltimore Sun, the South Florida Sun-Sentinel, the

Orlando Sentinel, and the Hartford Courant. Tribune’s broadcasting and entertainment segment

owned numerous radio and television stations in major markets.

       117.    As of the date that Tribune initiated its bankruptcy case, the publishing segment

employed approximately 12,000 full-time equivalent employees, and the broadcasting and

entertainment segment employed an additional 2,600 full-time equivalent employees.

II.    Overview Of The Tribune LBO

       118.    A leveraged buyout is a transaction in which the shares of a corporation—the

“target”—are purchased with debt that is borrowed by the target corporation itself. The effect of

a leveraged buyout is to encumber the assets of the target corporation with debt that benefits not

that corporation, but rather its new owner and former shareholders, and to substitute a significant

amount of debt in the place of equity in the corporation’s capital structure. In this case, Tribune

incurred nearly $11 billion in debt to finance its two-step leveraged buyout (the “LBO”),

bringing its total debt to more than $13 billion. At least 25% of the payouts to shareholders in

the LBO went to D&O Defendants, the Subsidiary D&O Defendants, the Controlling

Shareholders, and the Zell Defendants. The LBO debt was used to line the pockets of Tribune’s

shareholders, directors, officers, and advisors, and left Tribune’s creditors holding the proverbial

bag.

       119.    The Tribune LBO was a unitary transaction implemented in two steps at the

behest of the Company’s Controlling Shareholders. As the diagram below illustrates, prior to the

LBO, Tribune had approximately $5.6 billion in funded debt obligations (i.e. bank or bond debt,

                                                 37
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 46 of 255




or debt arising from similar financial instruments), and the Subsidiary Guarantors—where the

majority of the Company’s value resided—had none. At the first step of the transaction (“Step

One”), which closed on June 4, 2007, Tribune borrowed approximately $7 billion. That new

debt was guaranteed by the Subsidiary Guarantors, thereby ensuring that the LBO lenders would

be paid before the Company’s existing creditors in the event of a bankruptcy. Of that new debt,

approximately $4.3 billion was used to purchase shares from Tribune’s existing shareholders at

$34 per share. At the second step of the transaction (“Step Two”), which closed on December

20, 2007, Tribune borrowed an additional approximately $3.7 billion, which was also guaranteed

by the Subsidiary Guarantors. Tribune then paid out that $3.7 billion, plus $300 million from

other sources, to purchase the remainder of its outstanding shares from its shareholders at the $34

per share price.

       120.    Over the course of the two steps, an additional approximately $2.8 billion of the

LBO Debt was used to retire Tribune’s existing bank debt (the “2006 Bank Debt”), which had to

be paid in full upon consummation of a transaction like the LBO pursuant to the governing credit

agreements. Approximately $284 million more was paid in fees to advisors and lenders

financing the LBO, and approximately $150 million was paid as special monetary incentives to

the Tribune insiders who helped facilitate and consummate the deal. Thus, the entirety of the

LBO debt—and then some—was used to pay Tribune’s shareholders, LBO advisors, LBO

lenders, and management, and left Tribune saddled with nearly $2.8 billion of pre-LBO debt,

plus $10.7 billion of new LBO debt (the “LBO Debt”). Tribune also received $306 million from

Zell, which represents the full cost that Zell paid to purchase control of the Company, and which

imposed on the Company additional purported debt obligations to EGI-TRB of $225 million.




                                                38
       Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 47 of 255




This left Tribune with approximately $13.7 billion in total debt—more than double the

Company’s total debt prior to the LBO.




III.   Prior To The LBO, The Secular Decline In The Publishing Industry And Tribune’s
       Deteriorating Performance Led The Controlling Shareholders To Begin Looking
       For An Exit Plan From The Company

       A.      The Publishing Industry—And Tribune To A Greater Extent—Were In The
               Midst Of A Deep Secular Decline During The Period Leading Up To The
               LBO

       121.    As the foregoing diagram illustrates, a leveraged buyout places a significant

amount of debt on the target corporation, but the proceeds of that debt are used for purposes

other than the corporation’s operations or growth. If a company’s performance is not likely to

enable it to service a substantial amount of new debt, then the company is a particularly poor

candidate for a leveraged buyout, and will become a likely candidate for bankruptcy following

the leveraged buyout.


                                                39
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 48 of 255




       122.    This was certainly the case with Tribune. At the time that the LBO was planned

and executed, the newspaper publishing business—which accounted for approximately 75% of

Tribune’s revenues—was in the midst of a severe secular decline. As shown in the graph below,

by 2006, the newspaper publishing industry had experienced declines in circulation for almost

two decades.




       123.    A secular shift was also occurring in the distribution of advertising dollars across

alternative advertising media. The newspaper publishing industry was expected to have lost

9.8% of its share of the U.S. advertising market over the 10-year period from 1998 to 2008.

Conversely, the Internet was expected to increase its market share by 9.7% over the same period.

In addition, as shown in the graph below, the growth rate in quarterly newspaper advertising

expenditures began to decrease from the fourth quarter of 2004, and turned negative in the

second quarter of 2006. By the second quarter of 2007, the quarterly rate of decline was over

10% on a year over year basis.



                                                40
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 49 of 255




       124.    These changes were structural, not cyclical, and represented a fundamental shift

of advertising away from print media. The long-term secular decline plaguing the newspaper

publishing industry was a great concern to the industry, and was widely reported on and

discussed in various high-profile traditional media outlets during the period leading up to the

LBO. Industry experts and analysts also agreed that the declines in circulation levels and

advertising revenues were not likely to abate. For example, on March 15, 2007, the Morton-

Groves Newspaper Newsletter—a leading industry newsletter that had been in operation for over

20 years—noted that the “business environment faced by publishers and media companies today

has changed forever. Instead of an industry cycle with advertising recovering as the economy

recovers, we have a secular shift.” Similarly, on March 23, 2007, Morgan Stanley observed that

“February will likely go on record as one of the worst months for the newspaper industry in

recent years,” and stated that “it appears rather clear to us that new revenue streams are simply

not enough to offset the secular shift of print to online.”




                                                  41
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 50 of 255




       125.    To make matters worse, in the five years preceding the LBO, Tribune experienced

significant declines in its circulation levels that were more severe than the overall industry. In an

industry report dated March 2007, Deutsche Bank noted that the Company, as a national

newspaper publisher, was experiencing greater circulation losses than local newspapers. The

Morgan Stanley Publishing Handbook reported that daily circulation for the Company’s seven

largest newspapers in September 2006 decreased by 4.9% from September 2005, as compared to

the industry average decrease of 4.0% for the same period. Similarly, March 2007 daily

circulation of the Company’s newspapers decreased by 4.1% from March 2006, as compared to

the industry average decrease of 2.7% over the same period. Thus, Tribune’s daily circulation

fell at a rate that was 50% greater than the newspaper publishing industry as a whole in the 12

months prior to the Tribune Board’s approval of the LBO. The Company’s loss in classified

advertising revenues—which represented over 28% of Tribune’s publishing segment’s total 2006

revenue—in the first quarter of 2007 was also greater than the industry average loss across all

major categories. In short, the Company was performing so poorly that there could have been no

reasonable expectation that it would be able to satisfy the additional $8 billion of debt that it

incurred in the LBO. Consummation of the LBO in the face of the Company’s sharply

deteriorating performance and the publishing industry’s secular decline resulted in what the New

York Times referred to as “one of the most absurd deals ever.”

       B.      The Chandler Trusts Voice Serious Concerns About The Company’s Future
               And Begin Agitating For Change

       126.    In response to the declining state of the newspaper industry, beginning in late

2005, the Tribune Board undertook a strategic review of the broadcasting and entertainment

sector of the Company’s business and considered possible changes to the structure and

ownership of its properties. The Company retained the services of Merrill on or about October


                                                 42
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 51 of 255




17, 2005, to assist in this evaluation, and approved in advance Merrill’s participation in financial

transactions that might develop from the strategic review. The Company later retained Citigroup

to assist in the evaluation as well, and provided Citigroup with the same advance approval to

participate in financial transactions resulting from the review. Pursuant to their advisory

engagements with the Company, both Merrill and Citigroup stood to reap millions of dollars in

fees, which would increase if the Company entered into a transaction at their recommendation.

       127.     In May 2006, the Board, with the advice of Merrill and Citigroup, decided to

engage in a leveraged recapitalization transaction (the “2006 Leveraged Recapitalization”), in

which it ultimately repurchased 55 million shares of its then-outstanding stock for a total of

nearly $1.8 billion through a public tender offer and a private transaction with the Foundations.

Following the 2006 Leveraged Recapitalization, the Chandler Trusts held approximately 20% of

the Company’s stock, and became the Company’s largest shareholders. The Foundations held

approximately 13% of the Company’s outstanding stock, and became the second-largest

shareholders.

       128.     Faced with the Company’s rapidly declining performance, the Chandler Trusts

began exerting their influence over Tribune.




       129.     In a publicly filed letter to the Tribune Board dated June 13, 2006 and signed by

defendant Stinehart—himself a member of the Tribune Board—Stinehart, purportedly acting in


                                                 43
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 52 of 255




his capacity as Trustee for the Chandler Trusts, complained that “[o]ver the past two years,

Tribune has significantly underperformed industry averages and there is scant evidence to

suggest the next two years will be any different.” Stinehart reiterated his view that the

Company’s financial condition would continue to deteriorate over the foreseeable future:

       In addition to the failure of its primary strategy, the company is confronted with a
       fundamental erosion in both of its core businesses and the consequences of failing
       to invest aggressively in growing new businesses.

       Since 2003, Tribune’s revenue and EBITDA have underperformed its peers, and,
       unfortunately, analyst estimates for the next two years indicate that they expect
       the same bleak picture.

       Not only has Tribune underperformed the industry averages, but the company has
       lagged business segment performance for each of the companies in the
       comparable list over the last two years. . . . This trend is only expected to
       continue for the next two years.

       Much as they have in the previous two years, management doggedly projects a
       turnaround, with steady revenue and operating cash flow growth over the next
       four years. This projected turnaround is hard to believe with no proposed change
       in strategy and little prospect for an upturn in the core businesses. Management
       has already revised estimates down since December 2005, suggesting the likely
       direction of future changes. With the current plan in place, we believe the risk of
       further deterioration in print and broadcast outweighs the projected growth in
       interactive, a segment that, while growing, still makes up less than 9% of
       revenues (including joint ventures).

       130.    In his letter, Stinehart pointedly reminded the Tribune Board that, “the [Chandler]

Trusts are the largest investor in the Company, and, more than any other shareholder, it is in their

interest to see that either current value is maximized or a value enhancing strategic repositioning

occurs.” To that end, Stinehart demanded that the Tribune Board “promptly appoint a committee

of independent directors to oversee a thorough review of the issues facing Tribune and to take

prompt decisive action to enhance stockholder value.”

       131.    Notably, one of the actions urged by Stinehart in his letter was the exploration of a

leveraged buyout. After observing that realistic projections suggested that the Company’s per


                                                44
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 53 of 255




share value could be as low as (or even lower than) $21 per share (compared to the inflated $34

per share payout that shareholders later received in the LBO), Stinehart stated that given the

current market conditions of easy money, a leveraged buyout would enable shareholders to cash

out of the Company at an elevated share price, and to escape the “huge downside risks” that the

Company was facing. Thus, Stinehart stated to the rest of the Tribune Board:

       In addition, in light of inquiries received from very credible private equity firms,
       and the very liquid, low cost financing markets, it seems quite likely that a
       leveraged buyout could be accomplished at a price in excess of $35 per share.
       This would provide shareholders cash value at or above the high end value
       implied in management’s plans without any exposure to the huge downside risk of
       the as yet unaddressed fundamental strategic challenges of Tribune’s business. If
       a separation of broadcasting and newspapers cannot be accomplished by year end,
       the company should actively pursue inquiries from private equity firms.
       (Emphasis added.)

       132.    Stinehart concluded the letter by stating, “We are prepared to work directly and

cooperatively with [a special] committee to further our common objective of maximizing value.”

Stinehart also threatened, however, “to begin actively purs[uing] possible changes in Tribune’s

management and other transactions to enhance value realized by all Tribune stockholders” if

timely action was not taken by the Tribune Board.

       133.    An agenda of “talking points” prepared by the Chandler Trusts on or about July

17, 2006 for the next Tribune Board meeting underscores the Chandler Trusts’ extreme

dissatisfaction with Tribune’s declining performance, noting that the “Chandler Trusts have seen

almost 40% of the value of their Tribune holdings evaporate into thin air. We believe action

must be taken to recover as much as possible of this loss . . . .”

       134.    The Chandler Trusts also planned to stress that the Company needed to act “in a

short timeframe. As Tribune is not a growth company, time is not on our side. Consequently, we

have a real sense of urgency about action.”



                                                  45
       Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 54 of 255




        135.    In subsequent sworn testimony, Defendant Stinehart explained his and the

Chandler Trusts’ view of Tribune’s financial prospects in the early 2007 time period, and their

efforts to effect a transaction that benefitted the Chandler Trusts’ interests:

        We looked out and we saw a ski slope. Management looked at the ski slope as
        though it [were] a bunny hill and you can traverse across by cost-cutting and catch
        the Internet chair lift and go to the top, but what the [Chandler] Trusts saw was a
        four-star black-diamond run headed straight downhill. Cost-cutting gets you
        nowhere, and the chair lift’s broken. Essentially there were two different versions
        of where the world was going, and we wanted off the ski slope. We originally
        wanted to get everybody off the ski slope, but we saw the world differently, and
        we had a special constituency that wanted off.

        C.      The Tribune Board4 Acquiesces In The Chandler Trusts’ Demands, And The
                Controlling Shareholders Inject Themselves Into The Special Committee
                Process

        136.    In response to the demands made by the Chandler Trusts, in September 2006, the

Tribune Board announced that it had established the Special Committee to oversee the

Company’s exploration of alternatives. Defendants Hernandez, Holden, Morrison, Osborn,

Reyes, Taft, and White, a majority of whom were deemed to be “‘audit committee financial

experts’ as defined in applicable securities laws,” were named to the Special Committee. Officer

Defendants FitzSimons, Grenesko, and/or Kenney attended all but one of the Special Committee

meetings.

        137.    In or around October 2006, the Company retained Morgan Stanley to act as the

financial advisor to the Special Committee. The Company agreed to, and did, pay Morgan

Stanley more than $10 million in fees and expenses (the “Morgan Stanley Advisor Fees”) for

serving in that role.




        4
         The term “Board,” as used in paragraphs 136 through 151, means defendants FitzSimons, Hernandez,
Holden, Morrison, Osborn, Reyes, Taft, White, Chandler, Goodan and Stinehart.

                                                     46
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 55 of 255




       138.    On October 2, 2006, defendant Stinehart again wrote to the Tribune Board, on

behalf of the Chandler Trusts, to ensure that the Chandler Trusts would play a significant role in

the Special Committee’s deliberations. Stinehart wrote:

       We appreciate Bill Osborn’s [the Chairman of the Special Committee] call to
       [me] last week. . . . We believe such collaboration is important to assure that the
       Chandler Trusts will be in a position to support the conclusions of the special
       committee. This is especially important since several of the alternatives under
       consideration would likely require a vote of the stockholders and possibly other
       affirmative action by the [Chandler] Trusts.

Stinehart advised the Tribune Board that the Chandler Trust Representatives would agree not to

participate in the Special Committee, provided that

       they are assured full and bona fide cooperation and regular communication
       between the special committee and its advisors and the Chandler Trusts and their
       advisors. This must include, at a minimum, the opportunity to discuss with the
       special committee and its advisors important issues . . . in order that the views of
       the Chandler Trusts may be considered by the special committee as it proceeds.

       139.    At the beginning of 2007, Controlling Shareholder pressure on the Tribune Board

intensified when the Foundations—which collectively held approximately 13% of Tribune’s

outstanding common stock and were Tribune’s second largest shareholder group—also began

advocating for change that would serve their own interests.

       140.    On or about January 4, 2007, the Foundations announced that they had retained

Blackstone Group L.P. (“Blackstone”) to advise them in connection with their investment in

Tribune. At the time, Blackstone was working on a separate multibillion-dollar deal with Zell,

who would soon set his sights on acquiring control of Tribune.

       141.    On or about January 10, 2007, the Foundations advised the Special Committee

that it would be “difficult to do a transaction” without the support of the Controlling

Shareholders, who collectively owned 33% of Tribune. That same day, the advisors to the

Foundations acknowledged in an internal email that it was time for the Controlling Shareholders


                                                 47
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 56 of 255




to begin exerting their control over the Special Committee, stating that the Special Committee

needed to “know[] very specifically what the goals and objectives of 33 percent of the owners

[are]. . . . The independence of the special committee of the Tribune Board has been important

up till now. But it is time for everyone to declare their intentions.”

       142.       Shortly thereafter, the Foundations’ advisors reiterated that “it is important to

make the Foundations’ interest and objectives known at the very least to the special committee of

the board and Dennis [FitzSimons]. . . . [We] also feel, to the degree possible, that management

should be aware of [the Foundations’] perspective and that they are in support of the position(s)

we take.”

       143.       On January 22, 2007, counsel for the Chandler Trusts reached out to the

Foundations to explore the possibility of pooling their combined holdings to exert even greater

control over the Company and the “[d]irection . . . the Tribune should go.” Conscious of the

legal consequences of joining forces in this way, counsel for the Controlling Shareholders sought

to paper the record by writing that they “should avoid reaching any agreement or understanding

between us.” In fact, however, the Chandler Trusts and the Foundations intended to do exactly

the opposite—to reach an agreement and understanding to use their voting power and influence

to control Tribune—but to do so in a way they hoped would insulate them from the

responsibilities that arise from taking such an active role in the Company’s future. Upon

information and belief, the Chandler Trusts and the Foundations did reach such an agreement and

understanding, and the Chandler Trusts and the Foundations in fact acted in concert at all

relevant times.

       144.       Minutes from Special Committee meetings in early 2007 reveal that the

Controlling Shareholders injected themselves into the Special Committee process at every step of



                                                    48
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 57 of 255




the decision-making process. The minutes show that the Special Committee repeatedly sought

the Controlling Shareholders’ views on potential strategic alternatives and spent significant time

reporting on and discussing conversations with and letters sent by the Controlling Shareholders,

and that the Controlling Shareholders’ advisors were engaged in direct discussions with

Tribune’s management.

IV.    Zell Proposes The Highly-Leveraged LBO, And Structures It To Respond To The
       Controlling Shareholders’ Concerns

       145.    In late January 2007, Zell emerged as a potential bidder for Tribune. Upon

information and belief, Zell reached out to the Controlling Shareholders prior to making a

proposal to Tribune. On February 7, 2007, five days after Zell sent his initial proposal to the

Tribune Board, the Chicago Tribune reported that he had spoken with the McCormick

Foundation about his interest in structuring a proposal for Tribune. The article recognized that

Zell would need the McCormick Foundation’s support to make any deal work. The minutes of

the February 12, 2007 Special Committee meeting reveal that Zell representatives also met with

Chandler Trusts representatives concerning Zell’s proposal, and that the Chandler Trusts sent a

letter to the Special Committee respecting those meetings.

       146.    On February 2, 2007, defendant EGI wrote to the Tribune Board to propose a

transaction in which an EGI affiliate (ultimately, EGI-TRB) would acquire all of Tribune’s

outstanding common stock for $30 per share, pursuant to a merger in which Tribune would be

the surviving corporation. Tribune would then elect to be treated as an S corporation for federal

income tax purposes, with the result that Tribune would no longer be subject to federal income

taxes, subject to certain limitations. A newly-formed ESOP, which would also be exempt from

federal income taxes subject to certain exceptions, would thereafter acquire the majority of

Tribune’s outstanding common stock for approximately $800 million. EGI’s proposal


                                                49
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 58 of 255




contemplated that EGI-TRB would provide approximately $1 billion of equity financing, and

arrange for debt financing in the aggregate amount of $10.7 billion. The proposal also

contemplated that approximately $2.2 billion of the Company’s existing indebtedness would

remain outstanding, which would bring the Company’s total debt from less than $5 billion to

approximately $12.9 billion—9.9 times the Company’s 2006 earnings before interest, taxes,

depreciation, and amortization (“EBITDA”)—and would make the Company one of the most

highly leveraged in the publishing industry.

       147.    On February 19, 2007, EGI submitted a revised LBO term sheet to Tribune

(including defendants FitzSimons and Grenesko). The revised terms increased the consideration

to be paid to shareholders to $33 per share, and, remarkably, reduced EGI-TRB’s equity

investment to only $225 million (later increased such that Zell invested just $306 million of the

nearly $11 billion needed to consummate the LBO). EGI’s new proposal contemplated that

Tribune would incur a whopping $11.3 billion in additional debt—on top of the existing $2.2

billion of debt that would remain after the LBO—to finance the remaining cash payments to

stockholders and the fees and expenses related to the transaction, and to refinance the Company’s

existing bank debt (the “2006 Bank Debt” defined above). The term sheet also provided that

Tribune would enter into an Investor Rights Agreement that would grant EGI-TRB the right to

designate two members to the Tribune Board, and provide Zell with other minority consent rights

(including the right to serve as chairman of the Tribune Board).

       148.    On or about February 24, 2007, the Special Committee directed Tribune’s

management and financial advisors to solicit the views of the Chandler Trusts and the

Foundations with respect to Zell’s proposal. Tribune’s financial advisors sent materials related to




                                                50
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 59 of 255




Zell’s proposal to the Controlling Shareholders, and engaged in discussions with them respecting

the proposal.

       149.     The Foundations and the Chandler Trusts responded with separate letters

expressing concerns regarding the delays and completion risk associated with Zell’s proposal.

The McCormick Foundation’s concerns centered on the price that Zell was offering shareholders,

the time that it would take to close the deal (which the Foundations estimated to be between 9

and 12 months given the need to obtain approval from the Federal Communications Commission

(the “FCC”), and the risk that, given that delay, the deal would not actually close. The Chandler

Trusts echoed these concerns, writing to the Special Committee that Zell’s one-step proposal

could allow “the value of Tribune stock to decline during the interim period” before the

transaction closed. The Controlling Shareholders concluded their letters by stating that they

were not willing to sign voting agreements supporting Zell’s proposal.

       150.     In response to the Controlling Shareholders’ concerns, the Special Committee

requested that any further proposal submitted by EGI include a recapitalization that would

provide an upfront distribution to Tribune’s stockholders. EGI responded by submitting a

revised proposal on March 4, 2007, which contemplated that prior to a merger, Tribune would

effect a first step tender offer at $33 per share in cash as a means of providing a portion of the

cash consideration to Tribune’s stockholders more quickly and with greater certainty.

       151.     Over the course of the next few weeks, Tribune sought to increase the price to be

paid to Tribune’s stockholders in the LBO. During this time, the Special Committee and Tribune

provided the Controlling Shareholders with regular updates respecting Zell’s proposal, and Zell

and EGI also negotiated directly with the Chandler Trusts and the Chandler Trust

Representatives in order to reach agreement on terms for the LBO that would be acceptable to



                                                 51
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 60 of 255




the Chandler Trusts. Throughout this process, none of the Controlling Shareholders, or any of

their representatives on the Tribune Board, raised any concerns to Tribune or the Tribune Board

about what would happen to the Company once it incurred the mountainous debt necessary to

provide the Controlling Shareholders and their Tribune Board representatives with their lucrative

payouts.

V.     Wall Street Derides Zell’s Proposal As The Company’s Performance Continues To
       Deteriorate

       A.      Rating Agencies And Analysts Raise Concerns About The Zell Proposal

       152.    While the Company and the Controlling Shareholders analyzed Zell’s proposal,

various analysts expressed concern that the Company could not survive under the burden of the

debt it would place on the Company. For example, on March 16, 2007, Lehman Brothers

(“Lehman”) issued an equity research report stating: “In our opinion, this is way too high a

portion of debt, especially given the secular pressures on the newspaper and TV station

operations, with or without the ESOP tax benefits in our opinion (which are relatively small).”

The report continued, “We think putting this much debt on Tribune’s newspapers and TV stations

is way too risky and makes it very possible to put the company into bankruptcy somewhere down

the road, especially if the economy slows, with or without the added tax savings from the ESOP

financing.”

       153.    Credit rating agencies expressed similar concerns. In a letter to defendant

Bigelow dated March 29, 2007, Standard & Poor’s (“S&P”) stated that if the Zell leveraged

buyout moved forward, “the company is expected to default in 2009 when its cash flow and

revolving credit capacity are unable to cover its interest expense, capital expenditures, and

working capital needs.”




                                                52
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 61 of 255




       154.    Similarly, notwithstanding Zell’s efforts to “ma[k]e some contact at a senior

level” at Moody’s in order to obtain a favorable debt rating for the LBO, Moody’s wrote to

defendant Grenesko on March 29, 2007, that it was “concerned that the significant amount of

leverage is occurring at a time of pressure on the company’s advertising revenue and operating

margins from online and cross media competition and cyclical fluctuations in the U.S. economy.”

       B.      The Company’s Performance Raises Even More Concerns Among Certain
               Of The Defendants

       155.    The Company continued its downward spiral during the early months of 2007. In

early March 2007, the advisors for the Special Committee and Tribune, Morgan Stanley and

Citigroup, discussed the Company’s declining performance—“down 5% in February, and 9% in

January”—and whether Tribune was going “to modify their management plan for the second

time in a month.” Citigroup noted that while Tribune was not going to revise its business plan, it

“had less confidence in the plan at present,” and “certain members of publishing management

were concerned” that “if the current business trajectory continue[d]” the Company would run

afoul of the covenants in its loan documents.

       156.    The Company’s declining financial performance also caused Tribune to

temporarily second-guess its decision to continue pursuing the Zell proposal. For example, on

March 10, 2007, a Managing Director at Company advisor Merrill stated that “in light of recent

operating performance no comfort in putting the kind of leverage necessary for Zell proposal to

work and have board get comfortable with employees owning the equity.”

       157.    On March 11, 2007, an EGI employee sent an email to bankers at JPMorgan

Chase Bank, N.A. (“JPMorgan”) informing them that “as of late Friday night Tribune signaled to

us that they had decided not to pursue either deal. The reasons given are a bit skimpy and I am

not sure if this will stick but for now we are in limbo.” When asked why Tribune had decided


                                                53
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 62 of 255




not to pursue the LBO, the EGI employee responded that Tribune’s Chief Executive Officer and

Board Chairman, defendant FitzSimons, “spent three days with the [Company’s] publishers and

got cold feet on the leverage.” Notably, the amount of leverage associated with the LBO did not

decrease in any material way subsequent to March 11, 2007. To the contrary, the only things that

changed between March 11, 2007 and the date the LBO was approved and undertaken were that

the Company’s financial condition worsened, while management negotiated lucrative financial

incentives that would be paid to them in connection with the LBO, and the proposed

consideration paid to shareholders increased from $33 per share to $34 per share.

VI.    The Parties Charged With Protecting The Company Are Lured By Financial
       Incentives To Support Zell’s Proposal

       A.      Zell Induces The Officer Defendants And Subsidiary D&O Defendants To
               Recommend And Facilitate The LBO

       158.    Notwithstanding the concerns over the LBO raised by the Company and its

advisors in mid-March, 2007, Zell was ultimately able to induce the Officer Defendants and

Subsidiary D&O Defendants to support the LBO by enticing them with lucrative financial

benefits that would be awarded only if the LBO was consummated. In February 2007, EGI sent

a proposed management equity incentive plan to, among others, Grenesko and Kenney at

Tribune, with a copy to Zell. The plan was then forwarded to FitzSimons and Bigelow. The

plan would provide key members of Tribune’s management with “phantom” shares with an

economic value equal to a percentage of Tribune’s outstanding capital stock. An internal list of

“deal points” that a top EGI executive wrote on February 27, 2007 suggested that a 5% stock

option plan for management could be used to induce management to represent that the Company

could achieve $100 million in cash savings.

       159.    On March 16, 2007, Bigelow instructed Tribune’s financial advisors to make

several changes to the “Zell model,” including to increase the change of control payments by $20

                                               54
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 63 of 255




million for possible transitional compensation. On March 26, 2007, Kazan emailed Bigelow

regarding the “management equity plan,” and noted that Osborne “was supposed to talk to Zell

today.” The next day, Kazan advised Bigelow that management was pushing Zell to increase the

value of the management equity plan from 5% of Tribune’s stock to 10%. Ultimately, Zell and

the Tribune Board agreed that upon consummation of the LBO, executives and employees of

Tribune and/or its subsidiaries who played “a critical role in overseeing the completion of the

transaction” would receive from the Company (a) $6.5 million (later reduced to approximately

$5 million) in cash awards (the “Success Bonus Payments”) and (b) phantom stock that allowed

management to reap the economic benefits of stock ownership without actually owning stock

(the “Phantom Equity Payments”), which was beneficial for tax purposes. The phantom stock

was awarded in two tranches equal to 5% and 3% of Tribune’s common stock. The 5% tranche

vested over three years. Half of the 3% tranche vested upon consummation of Step Two, and the

other half vested one year later. Officer Defendants Amsden, Bigelow, FitzSimons, Grenesko,

Kazan, Kenney, Leach, and Mallory, and Subsidiary D&O Defendants Gremillion, Hiller,

Knight, Landon, Reardon, Smith, Vitanovec, and Waltz all received Success Bonus Payments

and/or Phantom Equity Payments.

       160.    The Phantom Equity Payments and Success Bonus Payments were not the only

financial incentives pushing the Officer Defendants toward facilitating and recommending the

LBO. Consummation of the LBO would (and did) activate the premature vesting of millions of

dollars in restricted stock units and stock options through an incentive compensation plan. The

LBO also triggered enormous “change of control” severance payments (the “Executive

Transition Payments,” and together with the Phantom Equity Payments and Success Bonus

Payments, collectively, the “Insider Payments”) for officers let go after the LBO that were equal



                                                55
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 64 of 255




to three times the employee’s highest annual salary during the past three years and six times the

employee’s target bonus for the current year. The Merger Agreement expressly provided that the

LBO would constitute a “Change of Control” under all of Tribune’s various employee benefit

plans, and that the surviving company—not just pre-LBO Tribune—was obligated to pay the

Executive Transition Payments (the “Executive Transition Obligation”). These Executive

Transition Payments resulted in more than $10 million for FitzSimons, who knew by late March

that he would be terminated following the LBO.

       161.    As set forth in paragraphs 49 and 71, all of the Officer Defendants—each of

whom played a critical role in ensuring that the LBO was consummated—and several of the

Subsidiary D&O Defendants, benefitted greatly from these special monetary incentives. The

final terms of the LBO provided that the Officer Defendants and Subsidiary D&O Defendants

would collectively receive nearly $80 million in special monetary incentives for closing the deal,

in addition to the aggregate payments of more than $60 million that they would receive for

selling or redeeming their Tribune shares in connection with the LBO.

       162.    Upon information and belief, Zell and EGI also communicated to certain of the

D&O Defendants that they would be rewarded with a future role at Tribune if they helped

facilitate the LBO. For example, upon information and belief, Zell and/or his subordinates at

EGI signaled to Bigelow—who kept Zell apprised of the Special Committee process

notwithstanding an instruction to keep the information confidential—that if the LBO closed,

Bigelow would be promoted to Chief Financial Officer of Tribune. Zell made good on this

promise in or around March 2008, three months after the second step of the LBO closed.

       163.    By structuring and/or agreeing to these special incentives, Zell enticed the Officer

Defendants to recommend the LBO to the Special Committee, and those Officer Defendants then



                                                56
        Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 65 of 255




in turn committed intentional fraud in order to facilitate the LBO’s consummation. At a March

30, 2007 meeting with the Special Committee, defendant FitzSimons, who received more than

$37 million in connection with the LBO, reported to the Special Committee “that it was

management’s recommendation that the Company proceed with Zell’s proposal.”

        B.     The Company’s Financial Advisors Are Incentivized To Favor The LBO

        164.   The Company’s financial advisors, Merrill and Citigroup, were also incentivized

to favor the LBO over the other proposals being considered by the Company. Although Morgan

Stanley was the Special Committee’s financial advisor, the Company’s advisors—Merrill and

Citigroup—solicited bids from third parties that expressed an interest in pursuing a strategic

transaction with the Company, advised the Company respecting the bids, and repeatedly met

with the Special Committee.

        165.   Both Merrill’s and Citigroup’s retention agreements expressly provided that the

banks could participate as lenders in any strategic transaction in which the Company engaged.

Providing such financing would enable the banks to reap tens of millions of dollars in financing

fees, on top of the tens of millions of dollars they were already earning for their advisory

services. As such, both Merrill and Citigroup were incentivized to encourage Tribune to

consummate a substantial sale or recapitalization so that they could participate in those financing

fees.

        166.   At the same time that Merrill and Citigroup were advising the Company on Zell’s

proposal, they were already negotiating for themselves and their affiliates to provide financing

for the LBO, which, in addition to financing fees, would entitle them to receive interest at

premium rates that were far higher than those they were earning from the Company’s 2006 Bank

Debt, and security in the form of the Subsidiary Guarantees. Merrill and Citigroup were thus



                                                 57
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 66 of 255




inherently biased in favor of the LBO, which, if selected, would reward them with enormous

financial benefits.

       167.    During the months leading up to the approval of the LBO, representatives of both

Merrill and Citigroup met with the Special Committee on a near-weekly basis. Both Merrill and

Citigroup strongly advocated in favor of the LBO, notwithstanding that internal emails from both

banks showed that they had significant misgivings about the transaction. Indeed, Michael Costa,

a senior member of Merrill’s investment banking team and a principal advisor to Tribune,

explained that the Company’s initial uncertainty surrounding the LBO reflected a lack of

“comfort in putting the kind of leverage necessary for [the] Zell proposal to work” in light of the

Company’s deteriorating performance. Similarly, just a week before the Special Committee

approved the LBO, Julie Persily, a senior member of Citigroup’s leveraged finance team, wrote

to Christina Mohr, who was Citigroup’s principal advisor to Tribune, that she was “extremely

uncomfortable with Zell.” Persily said she was “very concerned” about the rising debt level

associated with the LBO in light of the Company’s declining EBITDA, which she characterized

as “scary” from a (prospective) lender’s perspective.

       168.    Despite their professed concerns about the crippling amount of debt the LBO

would require the Company to take on, when in March 2007 the Company briefly turned away

from the Zell proposal in favor of a more modest recapitalization plan, Merrill’s and Citigroup’s

concerns quickly turned to the fees they might forfeit as a result. In an email dated March 10,

2007, Citigroup’s Mohr wrote to Persily and other colleagues at Citigroup, informing them that

“[t]he company wants to go to the recap[italization] route and has told Zell that they are pencils

down on his proposal.” After considering the lower debt associated with the recapitalization




                                                58
       Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 67 of 255




proposal, Persily wrote to Mohr, “Bummer. Say g’bye to another 18mm of fees (gross).” Mohr

responded in kind: “Tell me about it.”

       169.    The Company purportedly recognized its advisors’ conflicts and sought to

mitigate them through its retention of Morgan Stanley to advise the Special Committee. But

Morgan Stanley also suffered from conflicts of interest, as Morgan Stanley’s engagement letter

made $7.5 million of Morgan Stanley’s fee contingent on the preparation of an opinion

concerning, or the closing of, a financial transaction, recapitalization, or restructuring plan for

Tribune. The engagement letter also provided for a discretionary “additional” fee. Morgan

Stanley later aggressively sought such a discretionary fee, although the Company declined to pay

it. Furthermore, notwithstanding that Morgan Stanley was hired because it agreed in its

engagement letter not to participate as a lender in the LBO—and thus be free of the conflicts

attendant to potential lenders—it repeatedly and persistently pressed for a role as a lender. Thus,

even apart from its other conflicts of interest, by pursuing a lending position in the LBO Morgan

Stanley also created the very conflict it was hired to avoid. Like Merrill and Citigroup, Morgan

Stanley stood to gain substantially more if the LBO proceeded than if another transaction was

consummated.

VII.   Incentivized To Favor The LBO, The Officer Defendants Create Fraudulent,
       Unrealistic Projections

       170.    While certain of the Officer Defendants—including Bigelow, Grenesko, and

Kazan—were negotiating with Zell over the amount of the special monetary incentives they

would receive if the LBO was consummated, those same Officer Defendants prepared a revised

set of long-term projections (the “February 2007 Projections”). This was the fourth set of long-

term projections issued by the Company in less than a year. The February 2007 Projections were

prepared in the midst of an accelerating, long-term, secular decline in the publishing industry,


                                                  59
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 68 of 255




which industry accounted for approximately three-quarters of Tribune’s revenues. Moreover, as

noted, the Company’s publishing assets were performing poorly at the time of the LBO even by

the standards of the troubled publishing industry. The Officer Defendants were aware of these

secular declines and of Wall Street consensus estimates predicting decreasing EBITDA over the

projection period, but nevertheless prepared unrealistic and unfoundedly optimistic projections

that they knew the Company would not be able to meet.

       171.    Incredibly, the February 2007 Projections predicted that the Company would

materially outperform 2006 in the latter half of 2007, and that its performance would continue to

improve in subsequent years. To give but one example, the projections assumed that the

Company’s small Interactive business, which accounted for just 4% of the Company’s revenues

in 2006, would somehow double its growth during the 2007-2011 projection period. Merrill and

Citigroup commented that the “Tribune Management Projections [were] generally more

aggressive than Wall Street research,” were “[a]bove consensus for Revenues and EBITDA

through 2008,” and that “2008 [was] considerably higher than even [the] most aggressive Wall

Street estimate.”




                                               60
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 69 of 255




       172.    Emails among the Officer Defendants show that the Officer Defendants knew that

the February 2007 Projections were premised on unrealistic assumptions—and that they had

been prepared without input from the members of Tribune management who may have

questioned those assumptions. For example, the projections assumed that the Company would

receive cash income from its joint ventures, notwithstanding that, historically, this was not the

case, and that the Company did not and could not control those joint ventures because it held

only a non-controlling interest in them. Defendant Landon was the person in management

familiar with the joint ventures, and knew that the joint ventures had not distributed all their

profits as cash before, and that there was no reason to expect them to begin doing so.

Nevertheless, Landon was not asked whether the February 2007 Projections’ assumption about

the joint ventures was justifiable, or even told about the assumption. Rather, in an August 2007



                                                 61
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 70 of 255




email with the subject line “Joint Venture Cash Distributions,” Peter Knapp, the Company’s

publishing group controller, wrote to Landon, “[W]e need to start having the cash generated at

our joint ventures come back to us because that is what we are assuming in the model.” Landon

responded shortly thereafter, remarking that such an assumption was “unrealistic” and

inconsistent with the Company’s actual intention:

       Not sure our other partners will be supportive of this. Certainly management will
       not be. This is a really tricky conversation and it would seem we have set very
       unrealistic expectations. (Emphasis added).

       173.    Landon’s response showed that, incredibly, the Officer Defendants did not vet the

February 2007 Projections with the members of management who were actually knowledgeable

about the assumptions on which the projections were based. Landon confirmed in his email that

the Officer Defendants did not confer with him about their joint-venture cash-flow assumptions,

stating that “the first time I was aware that we were expected to take cash distributions for [sic]

the ventures [was] in the last month,” and specifically remarking that the assumption was “pretty

inconsistent with the conversations [the Company] was having” with one of its joint venture

partners.

       174.    The Company also appears to have massaged its expense data. For example, in

December 2006, defendant Kazan questioned the capital expenditure forecast that was ultimately

incorporated into the February 2007 Projections. Kazan stated, “On the capex, we don’t really

have an explanation for the $35 million reduction (which, by the way, was spread over Pub,

Broadcasting and Corporate), so I wouldn’t highlight this—just begs someone to ask why and we

don’t really have an answer.”




                                                 62
        Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 71 of 255




VIII. The Company Struggles To Find A Firm Willing To Opine That The Company
      Would Be Solvent Following The LBO

        A.     Duff & Phelps Declines To Provide Tribune With A Solvency Opinion For
               The LBO, Instead Providing The ESOP With A “Viability Opinion”

        175.   A “solvency opinion” is a recognized and commonly used vehicle in leveraged

transactions to provide assurances to lenders, the borrower (i.e., the target company itself) and

other participants that the company will not fail after and as a result of the transaction, and that

the transaction will not effect a fraudulent conveyance. Typically rendered by a reputable,

independent financial advisory firm, a proper solvency opinion is the result of a standardized,

legally condoned methodology that is designed to test whether a company will be able to survive

under the weight of the additional leverage it intends to incur. A proper solvency opinion is

generally a prerequisite to any leveraged transaction on the scale of the Tribune LBO, and is the

central safeguard against overloading the company with debt and putting existing creditors at

risk.

        176.   On February 13, 2007, the Tribune Board engaged Duff & Phelps to provide, for a

fee of $1.25 million, an opinion as to the solvency and capitalization of Tribune following either

an internal recapitalization and spin-off of the Company’s broadcasting unit or, in the alternative,

the LBO.




        177.   On February 26, 2007, Tribune engaged GreatBanc to serve as the trustee of the

ESOP for the LBO transaction. Tribune agreed to pay GreatBanc $1 million as compensation for

its role in evaluating the LBO on behalf of the ESOP, and made half of GreatBanc’s total fee

contingent upon the occurrence of a shareholder vote in favor of the merger. GreatBanc’s

engagement agreement with Tribune specifically provided that GreatBanc would engage Duff &

                                                  63
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 72 of 255




Phelps as its independent financial advisor. But, given that it was already acting as a financial

advisor to Tribune under the terms of its February 13, 2007 engagement letter, Duff & Phelps

was hardly independent.

       178.    Duff & Phelps agreed to perform for GreatBanc essentially the same solvency

analysis that it was performing for Tribune in connection with evaluating the proposed LBO. In

an engagement agreement with Tribune’s Special Committee (which automatically transferred to

GreatBanc), Duff & Phelps agreed to provide advice as to the “financial feasibility” of the LBO,

and acknowledged that it also had been engaged by Tribune to provide an opinion as to the

solvency and capitalization of Tribune after giving effect to a number of transactions, including

the LBO. The February 26, 2007 agreement was superseded by a March 8, 2007 agreement

between Duff & Phelps and GreatBanc directly. That agreement reiterated the dual capacity in

which Duff & Phelps was functioning and provided that, if all parties intended that a solvency

opinion was required in connection with the LBO, Duff & Phelps would render that opinion to

GreatBanc and the Tribune Board would be given the right to rely on it. Tribune agreed to pay

Duff & Phelps a fee of $1 million for the work it performed on behalf of GreatBanc.

       179.    Until just days before the approval of the LBO, Duff & Phelps simultaneously

worked on a draft solvency analysis for Tribune and multiple analyses—including valuation and

fairness analyses—for GreatBanc. A “solvency team” performed analyses for Tribune, while an

“ESOP team” performed analyses for GreatBanc.




       180.    In the period between March 19, 2007 and March 28, 2007, Duff & Phelps

concluded that it could not render a solvency opinion to the Tribune Board in connection with the



                                                64
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 73 of 255




LBO because the transaction would render Tribune insolvent—unless Duff & Phelps took into

account approximately $1 billion in future income tax savings that Tribune hoped to realize by

converting to a Subchapter S corporation following the merger. An S corporation passes income

directly to its shareholders, thus avoiding income taxation at the corporate level. Moreover, the

portion of an S corporation’s ownership that is held by an ESOP is not subject to income tax at

the federal level (and usually not at the state level). Tribune intended to avoid the payment of

these taxes—and retain in the Company the cash that ordinarily would have been used to pay

them—by converting itself into an S corporation that was 100% owned by the ESOP following

the LBO.

       181.    Duff & Phelps ultimately concluded, however, that it could not consider future

(and uncertain) tax savings under any of the applicable legal or valuation standards that it was

required to use to assess Tribune’s post-transaction solvency. Handwritten notes on a draft Duff

& Phelps/GreatBanc engagement letter read: “Solvency Opinion—very specific definition under

[Delaware] law. Could not sell co[mpany] to anyone and repay debt. Need S corp benefits.

Assets will not exceed liabilities w/o looking at S corp benefits.” Upon information and belief,

Tribune knew that Duff & Phelps would not provide a standard “solvency opinion” for the LBO

because Duff & Phelps could not take the S corporation tax benefits into account in issuing such

an opinion.

       182.    In a March 19, 2007 meeting, Duff & Phelps advised GreatBanc that “there [was]

no case law to support considering tax savings of the ESOP in [determining] solvency” and, as a

result, any “Solvency Opinion to the Board [could not] factor in ESOP tax benefits.” This was

tantamount to Duff & Phelps saying to GreatBanc that it had concluded that the proposed ESOP

transaction would render Tribune insolvent.



                                                65
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 74 of 255




       183.     GreatBanc should have walked away from the transaction at this point. But, with

half of its fee hanging in the balance, GreatBanc forged ahead. Duff & Phelps, for its part,

continued to work to evaluate the fairness of the LBO to the ESOP and to analyze the post-

transaction value of Tribune, taking the expected S corporation tax savings into account.

       184.     Both GreatBanc and Duff & Phelps knew that their roles were central to the

consummation of the LBO by the D&O Defendants. On March 21, 2007, defendant Osborn

invited Marilyn Marchetti, Senior Vice President of GreatBanc, and Elyse Bluth, Managing

Director of Duff & Phelps, to participate in a Special Committee meeting and to bring the

Special Committee up to speed on the work that GreatBanc and Duff & Phelps were doing to

evaluate the LBO. During the meeting, Marchetti noted the considerations that GreatBanc would

take into account as the ESOP trustee, and Bluth reviewed the “background work that would go

into generating a valuation report and a solvency opinion for the Zell/ESOP proposal.”

       185.     On or around March 28, 2007, Duff & Phelps prepared a preliminary solvency

analysis of the LBO that plainly demonstrated that, using a low-end estimation of Tribune’s post-

transaction enterprise value, Tribune’s liabilities would exceed its assets by over $300 million

unless $900 million in anticipated tax savings from the S corporation/ESOP structure were taken

into account.




       186.     In a March 29, 2007 meeting of GreatBanc’s ESOP Committee, Duff & Phelps

presented its preliminary report on the post-transaction value of Tribune. Robert Bartell, head of

the Duff & Phelps solvency team, cautioned the ESOP Committee that the anticipated benefits of

the S corporation tax shield were critical to Duff & Phelps’ analysis and that Duff & Phelps was



                                                66
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 75 of 255




“able to issue its financing opinion because of the anticipated benefits of the S corporation tax

shield. If those tax benefits [were] not considered, [Duff & Phelps] would be unable to render its

opinion.” With this crucial caveat, Duff & Phelps stated that, “in its opinion, on a post-

transaction basis, taking into account the S corporation tax shield, the fair salable value of the

Company’s assets is greater than its liabilities” and that “taking into account the S corporation

tax shield, the Company will be able to pay its debts as they come due” (emphasis added).

       187.    On or around March 28, 2007, Duff & Phelps advised the Tribune Board that it

could not provide a solvency opinion in connection with the LBO. Intending to move forward

with the LBO and knowing that Duff & Phelps could not provide the solvency opinion that was a

precondition to the consummation of the transaction, the Tribune Board terminated Duff &

Phelps’ engagement. Upon information and belief, GreatBanc knew that the Tribune Board

terminated Duff & Phelps’ engagement because Duff & Phelps could not provide the solvency

opinion that it needed.

       188.    On March 31, 2007, GreatBanc revised the terms of Duff & Phelps’ engagement

to require that Duff & Phelps deliver, for a fee of $750,000, an opinion as to “the financial

viability of [Tribune], as a going concern, and on a going-forward basis” following the close of

the LBO. Duff & Phelps agreed to evaluate (i) whether the fair market value of Tribune’s assets

would exceed the value of its liabilities on a post-transaction basis; and (ii) whether Tribune, as a

going concern and on a going-forward basis, would be able to pay its debts as they became due.

Significantly, Duff & Phelps defined “fair market value” to include anticipated tax savings—

even though it had never before defined fair market value in such fashion.

       189.    Duff & Phelps rendered its so-called “viability opinion” on April 1, 2007, along

with an opinion as to the fairness of the LBO to the ESOP. Duff & Phelps supported the viability



                                                 67
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 76 of 255




and fairness opinions with an “ESOP Analysis” which, among other things, purported to

calculate the post-transaction enterprise value of Tribune. The viability opinion was the

equivalent of a solvency opinion with one, important exception: it took into account the tax

savings which Duff & Phelps had determined could not properly be considered under applicable

legal standards. For that reason, the viability opinion expressly disclaimed that it was a solvency

opinion and further disclaimed:

           The Determinations are not intended to be, and do not conform to,
           (a) determinations of insolvency as promulgated by § 101(29)(A) of the U.S.
           Bankruptcy Code or (b) determinations of fraudulent transfers under the
           Uniform Fraudulent Transfer Act and other state laws dealing with fraudulent
           conveyance and the Determinations do not include the standard analyses and
           determinations typically included in a standard Duff & Phelps solvency
           opinion.

Given this disclaimer, GreatBanc knew that it could not rely on Duff & Phelps’ viability opinion

for an assessment of Tribune’s post-transaction solvency.

       190.    GreatBanc knew that it could not rely on Duff & Phelps’ fairness opinion,

viability opinion, or the ESOP Analysis on which those opinions were based for at least three

other reasons. First, although Duff & Phelps acknowledged that its viability opinion was based

upon the assumption that the Company would be able to realize the anticipated S corporation tax

savings, it also acknowledged that it had done nothing to evaluate or determine the likelihood

that Tribune would be able to realize any portion of the tax savings, and that it was making no

assurances in that regard. Significantly, GreatBanc itself had raised concerns about whether

Tribune would be able to elect S corporation status for 2008 and recognize the attendant tax

savings for that year. Duff & Phelps dismissed those concerns, despite the fact that the accuracy

of its analysis would literally rise or fall on the accuracy of its assumptions concerning the

anticipated tax savings.



                                                 68
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 77 of 255




       191.    Second, even assuming Tribune’s ability to recognize in full the anticipated tax

savings—which, by the time of the April 1, 2007 ESOP Analysis, Duff & Phelps had revised

upward to $1 billion over 10 years—Duff & Phelps calculated the post-transaction equity value

of Tribune to be within a range of negative $322 million at the low end to positive $1.278 billion

at the high end. Given the data to which they had access, the projections of industry analysts and

the downward growth trends observed both at Tribune and comparable companies in the

industry, both GreatBanc and Duff & Phelps knew, or were reckless or grossly negligent in not

knowing, that the “low end” estimate of Tribune’s post-transaction worth was substantially more

realistic than the “high end” estimate.

       192.    Third, even Duff & Phelps’ negative $322 million “low end” estimate of Tribune’s

post-transaction value was overstated because it was based on a number of assumptions that both

GreatBanc and Duff & Phelps knew, or were reckless or grossly negligent in not knowing were,

inaccurate. For example, although it was aware that Tribune’s total operating cash flow was in

decline, and Duff & Phelps projected flat or declining free cash flow in Tribune’s

broadcasting/entertainment and publishing businesses over the next 10 years, Duff & Phelps still

assumed without any basis that Tribune would have a positive growth rate for those businesses’

free cash flow for the years following the 10-year projection.




       193.    GreatBanc should have abandoned the LBO based upon what Duff & Phelps’

analysis revealed about the post-transaction value of Tribune. Instead, on April 1, 2007,

GreatBanc’s ESOP Committee approved the LBO. That day, Marchetti of GreatBanc and Bluth

of Duff & Phelps participated in a telephonic meeting of the Tribune Board. Marchetti reported



                                                69
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 78 of 255




that (i) GreatBanc had received an opinion from Duff & Phelps that the terms of the proposed

transaction were fair and reasonable from a financial point of view, (ii) the proposed transaction

had been approved by GreatBanc’s ESOP transaction review committee, and (iii) GreatBanc was

prepared to proceed with document execution. By that time, GreatBanc and Duff & Phelps were

keenly aware of the fiduciary duties that the D&O Defendants owed to Tribune and its creditors.

       194.    Later on April 1, 2007, Tribune, GreatBanc (as trustee for the ESOP), and the Zell

entity EGI-TRB entered into the Merger Agreement. Tribune and GreatBanc (on behalf of the

ESOP) also entered into the ESOP Purchase Agreement, pursuant to which Tribune sold

8,928,571 shares of Tribune Common Stock to the ESOP at a price of $28 per share.

       195.    On August 14, 2007, during a brief meeting of GreatBanc’s ESOP Committee,

Marchetti reported word from Tribune’s senior management that the Company’s second quarter

financial performance was lower than expected, but that the proposed transaction was not at risk.

At the close of the meeting, with little discussion and despite Tribune’s disappointing second-

quarter performance, the ESOP Committee unanimously approved voting the ESOP’s shares in

favor of the merger, and GreatBanc voted those shares accordingly on August 21, 2007.

       196.    Nor did GreatBanc exercise its right to halt Step Two of the LBO in advance of

the December 20, 2007 closing date. The Merger Agreement gave GreatBanc the power to

terminate in the event that a “Company Material Adverse Effect” occurred before closing. The

material change in the financial condition of Tribune—which was operating in a highly

leveraged state that left almost no margin for error—constituted a Material Adverse Effect under

the terms of the Merger Agreement. Yet GreatBanc took no steps to stop the transaction that the

D&O Defendants and Controlling Shareholders were so intent on bringing to a close.




                                                70
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 79 of 255




       B.       Tribune Retains VRC To Issue A Solvency Opinion After Houlihan Lokey
                Voices Concerns Over The LBO

       197.     As noted, Duff & Phelps advised the Tribune Board that it could not provide a

solvency opinion in connection with the LBO on or about March 28, 2007. Finding a solvency

opinion firm to provide the requisite opinion turned out to be no easy task. Tribune first

approached Houlihan Lokey (“Houlihan”), a prominent solvency opinion firm, which informed

Tribune on March 29, 2007 that it would not bid for the engagement. In soliciting Houlihan’s

involvement, Tribune’s management did not tell Houlihan that Duff & Phelps had considered the

transaction and concluded that it would render the Company insolvent. But even without

knowing that Duff & Phelps had concluded that the Company would be insolvent following the

LBO, Houlihan independently reached the same conclusion, stating that it would be “tough” to

find Tribune solvent based on the preliminary information with which it was provided. In

December 2007, Houlihan commented that the “Com[pa]ny was insolvent in [M]ay and [is]

more so now.”

       198.     Based on communications from Duff & Phelps and Houlihan, the Officer

Defendants, including Bigelow and Grenesko, knew that they could not obtain an industry-

standard solvency opinion in connection with the LBO. They therefore scrambled to find

another firm that was willing to provide a non-standard opinion that the Company could use to

close the deal. On March 30, 2007, Bigelow emailed a lesser known solvency opinion firm—

defendant VRC. Bigelow told VRC that he “would very much like to speak with someone about

solvency opinion work,” and requested that VRC respond to him that very day. Later that same

day, Bigelow provided preliminary information to VRC.

       199.     VRC’s initial reaction was that the proposed transaction was “[h]ighly [u]nusual

(because of S-Corp ESOP tax benefits) and highly leveraged,” and that the Company consisted


                                                71
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 80 of 255




of “good, stable but deteriorating businesses.” One VRC executive wrote: “This may be just

acceptable risk levels, but we will need to be compensated. My fee estimate would be $600-

700k. . . .” Another VRC executive responded: “I would say at least $750[K] and maybe

significantly more depending on levels and if they need bringdowns, etc.” The reply revealed

VRC’s misgivings notwithstanding the potential for a high fee: “I’d like to discuss HLHZ

[Houlihan] not wanting to bid. Raises the risk by itself.”

       200.    In order to compensate for its misgivings about this risky assignment, VRC

charged Tribune $1.5 million, the highest fee it had ever charged for a solvency opinion.

       201.    On April 11, 2007, Tribune formally engaged VRC to provide the Tribune Board

with solvency opinions at Step One and Step Two. VRC’s engagement letter, which was

negotiated and edited by certain of the Officer Defendants, including Bigelow and Hianik, and

signed by Bigelow, required a modification of the legal and industry standard definition of “fair

value,” which is determined based on the assumption that the company at issue is being

purchased by a “hypothetical buyer.” Instead, as set forth below, the definition contained in the

engagement letter permitted VRC to assume, for purposes of its balance sheet solvency opinion,

that the party purchasing Tribune was an S corporation wholly owned by an ESOP:

       Fair Value – The amount at which the aggregate or total assets of the subject
       entity (including goodwill) would change hands between a willing buyer and a
       willing seller, within a commercially reasonable period of time, each having
       reasonable knowledge of the relevant facts, neither being under any compulsion to
       act, and, for purposes of the Step Two Opinion, both having structures similar to
       the structure contemplated in the Transactions by the subject entity (an S-
       Corporation, owned entirely by an ESOP, which receives favorable federal
       income tax treatment), or another similar structure resulting in equivalent
       favorable federal income tax treatment. (Emphasis added.)

This manipulation of the standard definition of “fair value” enabled VRC to calculate fair market

value in the very same manner Duff & Phelps had concluded was contrary to legal and industry

standards. Bryan Browning, a VRC Senior Vice President who was involved in the LBO

                                                72
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 81 of 255




solvency analysis and who had worked on 400 to 500 solvency opinions, later testified that he

had never before worked on a solvency opinion that modified the definition of fair value in that

fashion. The decision to manipulate the definition of fair value in this manner completely

eviscerated the protections that should have been afforded to the Company and its creditors by

the solvency opinion requirements set forth in the LBO transaction documents.

       202.    Although the engagement letter stated that VRC could assume and rely upon the

reasonableness of the Company’s financial forecasts and projections, and the correctness of the

Company’s determination of favorable federal income tax treatment to be received as part of the

LBO, the engagement letter expressly provided as follows:

       VRC will, however, advise, after discussion with management with respect
       thereto, and based on its inquiries and its experience in reviewing such liabilities,
       (i) whether anything has come to VRC’s attention in the course of its engagement
       which has led it to believe that any such financial forecasts and projections are
       unreasonable or that any such information or data is inaccurate in any material
       respect, or (ii) whether VRC has reason to believe that it was unreasonable for
       VRC to utilize and rely upon such financial forecasts, projections, information
       and data, or that there has been any material adverse change with respect to the
       Company.

IX.    Lured By The Financial Incentives Associated With The LBO, The Controlling
       Shareholders And Tribune Directors Facilitate And Approve The Transaction

       A.      Zell Induces The Controlling Shareholders And Chandler Trust
               Representatives To Support The LBO By Proposing A Higher Purchase
               Price For Shareholders

       203.    On March 30, 2007, the Special Committee directed defendant Osborn, who

worked through Company management, including defendants FitzSimons and Kenney, to

improve and finalize the Zell proposal. Over the course of the next 24 hours, Tribune, the ESOP,

EGI, and the Chandler Trusts negotiated the agreements respecting Zell’s proposal. In the course

of these negotiations, EGI-TRB agreed to increase the price to be paid to Tribune’s stockholders

to $34 per share. EGI-TRB further agreed that its initial $250 million investment in Tribune


                                                73
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 82 of 255




would be based on a $34 per share price, and that its total investment would increase to $315

million in connection with the merger—as opposed to the $1 billion equity investment Zell had

originally proposed. That total consisted of the $225 million Subordinated Note and $90 million

for a warrant, against which the Company credited $6 million in interest that EGI-TRB

purportedly earned on the $200 million note it received in connection with Step One, and $2.5

million in fees incurred by Zell and/or EGI-TRB in connection with the transaction, such that the

total amount of money that Zell ultimately invested in Tribune was just $306 million.

       204.    As part of these negotiations, the Chandler Trusts agreed to enter into a voting

agreement with the Company whereby they agreed to vote their shares in favor of the LBO, and

against any alternative transaction, in exchange for certain registration rights. The Chandler

Trusts further committed that they would not transfer their shares without also obtaining from

any recipient a similar commitment to vote the transferred shares in favor of the LBO, and

against any alternative transaction.

       205.    As the parties involved in the LBO widely acknowledged, the voting agreement

with the Chandler Trusts virtually guaranteed shareholder approval for the LBO. After the

Chandler Trusts’ and other Tribune shares were tendered during Step One, the Foundations and

Zell controlled close to 50% of the remaining outstanding shares. Accordingly, only a tiny

percentage of holders of the remaining shares needed to vote in favor of the merger in order for

shareholder approval to be secured.

       206.    The Chandler Trusts’ decision to support the LBO stood in stark contrast to prior

positions they, and their representatives on the Tribune Board, had taken with respect to other

proposed transactions. For example, in May 2006, defendants Stinehart, Goodan, and Chandler,

acting in their capacities as the Chandler Trusts’ representatives on the Tribune Board,



                                                74
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 83 of 255




“expressed concern regarding adding the . . . leverage” associated with the 2006 Leveraged

Recapitalization, “given the uncertainties of the Company’s operating performance,” and refused

to vote in favor of the transaction. Notably, the 2006 Leveraged Recapitalization brought the

Company’s total debt from $3.7 billion to $5.8 billion. By contrast, one year later, the LBO

raised the Company’s debt from less than $5 billion to nearly $14 billion, at a time when the

Company was—predictably—performing significantly worse than it had been when the 2006

Leveraged Recapitalization was being considered.

       207.    The only possible explanation for the Chandler Trusts’ and Chandler Trust

Representatives’ change of heart is that the Chandler Trusts no longer cared about the Company’s

viability, because the LBO enabled them to make a swift exit from the Company at a price that

far exceeded their estimate of Tribune’s actual per-share value, and placed the entire risk of the

Company’s failure on the Company, its employees, and its remaining stakeholders (primarily, the

Tribune creditors who would remain following the LBO). To use Stinehart’s analogy, by

entering into the Voting Agreement and helping to facilitate the LBO, the Chandler Trusts, and

defendants Stinehart, Goodan, and Chandler, were ensuring that their “special constituency”

would be airlifted “off the ski slope,” while the Company’s existing creditors were buried by an

avalanche of LBO Debt.

       208.    Given the Chandler Trusts’ and Chandler Trust Representatives’ dismal view of

Tribune’s prospects, there is no way that they could have believed that Tribune could survive

with more than $13 billion of debt on its balance sheet. By negotiating the LBO with Zell,

advocating in favor of the LBO once it had been modified to satisfy their demands, and agreeing

to vote their Tribune shares in favor of the LBO, the Chandler Trusts breached their fiduciary

duties as controlling shareholders, and aided and abetted the breaches of fiduciary duties



                                                 75
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 84 of 255




committed by the D&O Defendants and Subsidiary D&O Defendants. The Chandler Trust

Representatives also breached their fiduciary duties as members of the Tribune Board.

       209.   The Foundations similarly breached their fiduciary duties to creditors, and aided

and abetted the D&O Defendants’ and Subsidiary D&O Defendants’ breaches. The Foundations’

attitude toward the LBO was similar to that of the Chandler Trusts and Chandler Trust

Representatives.



                                                                                     Once the

Foundations had an opportunity to exit the Company altogether at a premium price, however,

their prior concerns about leverage vanished, and they agreed to saddle the Company with a debt

to EBITDA ratio of significantly greater than seven times. Indeed, the Foundations took an

active role in ensuring that the LBO would be consummated.

       210.   On Saturday, March 31, 2007, Joseph Hays, the spokesperson for the McCormick

Foundation, sent an email to the McCormick Foundation’s financial advisors at Blackstone that

“[t]hose that I spoke with today say management was on the phone all day ‘finishing the deal,’

and that it looks to them like the Zell deal will be announced tomorrow, Sunday.” Hays sent a

separate email to a senior advisor at Blackstone the next day, writing, “God understands, but may

not forgive us for what are bout to do to good Olde TRB.” Like any reasonable person with

knowledge of the publishing industry and the Company’s financial condition, Hays knew that

approval of the LBO meant an end to Tribune as a going concern.

       B.     The Special Committee And Tribune Board Breach Their Fiduciary Duties
              By Approving The LBO

       211.   On April 1, 2007, the Special Committee unanimously recommended that the

Tribune Board approve the “Zell/ESOP transaction to acquire Tribune for $34 per share.” The


                                               76
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 85 of 255




Director Defendants (other than Taft who was absent and Stinehart, Goodan, and Chandler, who

abstained from voting) then voted to agree to Zell’s proposal, and caused Tribune to enter into

the Merger Agreement contemplating that the LBO would proceed in a two-step transaction. In

the first step, Tribune would incur approximately $7.015 billion in debt to retire its existing bank

facility, and purchase approximately 50% of the Company’s outstanding shares (126,000,000

shares) in a tender offer for $34 per share. In the second step, Tribune would incur

approximately $3.7 billion in additional debt to purchase its remaining outstanding shares for

$34 per share in a go-private merger following certain regulatory and shareholder approvals.

       212.    The LBO enabled the members of the Special Committee to reap aggregate

payments of more than $6 million, and enabled the other members of the Tribune Board to

collectively pocket tens of millions of dollars more from stock sales and special incentives, all at

Tribune’s expense. The members of the Special Committee and the Tribune Board, in

respectively recommending and approving the LBO, breached the fiduciary duties of care, good

faith, and loyalty that they owed to the Company and to its creditors.

       213.    Minutes from the Special Committee and Tribune Board meetings show that the

Special Committee and Tribune Board completely disregarded the interests of the Company and

its existing creditors, and focused exclusively on providing shareholders with the highest price

for their shares that could be achieved. Neither the Special Committee nor the Board considered

whether incurring an additional $8 billion of debt to fund such a high price constituted a breach

of fiduciary duty to the Company and its creditors, given the Company’s deteriorating financial

condition and dismal future outlook.

       214.    To the contrary, the proxy statement accompanying the Company’s tender offer at

Step One stated that the Special Committee considered the trends contributing to the secular



                                                 77
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 86 of 255




decline in newspaper publishing, such as the “weakened demand” for newspaper advertising and

the “declines and potential declines in newspaper circulation,” as factors that weighed in favor of

recommending the LBO and of shareholders tendering their shares. In short, the Special

Committee recommended to shareholders that they should get out while the getting was good.

The Special Committee, and the Board in accepting its recommendation, wholeheartedly

endorsed the Controlling Shareholders’ exit plan, without considering the effect these negative

trends would have on the Company and its residual risk-takers—the pre-LBO creditors—

following the LBO.

       215.    The Special Committee and Tribune Board should have abandoned the LBO when

Duff & Phelps concluded that it could not provide a solvency opinion, or when Houlihan refused

to even bid on the solvency opinion engagement. Instead, the Special Committee and Tribune

Board went shopping for a customized solvency opinion and, for the right price, found a willing

provider in VRC. The Special Committee and Tribune Board also should have considered the

universally negative reaction to the LBO among news outlets, industry analysts, and rating

agencies. Yet minutes of the Special Committee and Tribune Board meetings between the time

that the LBO was proposed by Zell and the time that the Company approved the transaction

reflect no discussion of these criticisms.

       216.    Moreover, the Director Defendants failed to acknowledge that the negative trends

facing the publishing industry and the Company rendered the February 2007 Projections—which

projected that the Company’s performance would begin improving steadily in the latter half of

February—patently unreasonable. This was a particularly egregious failure. Because a

leveraged buyout places such a high amount of leverage on the target, it is essential that the base

case projections on which the leveraged buyout is premised be reasonable and reliable. Had the



                                                78
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 87 of 255




Director Defendants paid even minimal attention to the challenges facing the newspaper

publishing industry at the time of the LBO, they could not have continued to rely on the February

2007 Projections.

         217.   It is also crucially important that a leveraged buyout be tested using reasonable

downside projections, so that the target can ensure that it will be able to service its increased debt

and continue operating as a viable company even in the face of a significant downturn.

Nevertheless, neither the Special Committee nor the Tribune Board requested that management

or the Company’s advisors perform the quality of downside testing of the Company’s projections

that the Tribune Board had previously insisted on in connection with the 2006 Leveraged

Recapitalization, which involved far less leverage than the LBO, and was consummated during a

period of comparatively better financial performance for the Company and the industry as a

whole.

         218.   In connection with its consideration of the 2006 Leveraged Recapitalization, the

Tribune Board considered whether the Company could sustain an additional $2 billion in debt.

The members of the Tribune Board at the time insisted on testing the 2006 transaction assuming

the onset of a recession similar to that of 2001. Specifically, the Tribune Board examined a

scenario in which revenues declined by 15%, and then recovered by 5% annually over the next

three years.

         219.




                                                 79
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 88 of 255




       220.    There can be no question that the Director Defendants knew better than to rely on

management’s obviously flawed projections in approving the LBO. According to Tribune Board

minutes dated February 13, 2007, Special Committee members Holden, Osborn, Reyes, and Taft

were all deemed “audit committee financial experts” within the meaning of applicable securities

laws. According to the SEC, an Audit Committee Financial Expert must have, among other

things, an understanding of generally accepted accounting rules and financial statements; the

ability to apply such principles in connection with accounting for estimates; and experience with

financial statements that present a breadth and level of complexity of accounting issues that can

reasonably be expected to be raised by the company’s financial statements.

       221.    Other Special Committee members were equally sophisticated. For example,

White held a Stanford MBA, worked as a management consultant at McKinsey, and became

Chairman and CEO of Abbott Laboratories; Morrison received an MBA from Wharton, and

served as CEO of the 3M Company, Kraft Foods, and Quaker Oats, and as Vice Chairman of the

Coca Cola Company; and Hernandez is or has been the President and Chief Executive Officer of

Inter-Con Security Systems, Chairman of the board of Nordstrom, Inc., and a director on the

boards of McDonald’s Corp., Chevron Corp., and Wells Fargo & Co.




                                                80
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 89 of 255




       222.    In short, the absurdity of the proposed LBO should have been even more obvious

to the highly sophisticated, financially literate members of the Tribune Board and Special

Committee than it was to the rest of the world.

       223.    Significantly, prior to the submission of Zell’s proposal, the Special Committee

spent substantial time reviewing the Company’s projections and its ability to handle increased

leverage (albeit, materially less leverage than the LBO Debt) in connection with its consideration

of various strategic alternatives in which shareholders would continue to maintain an ownership

interest in the Company.




Once the Special Committee shifted its attention to the Zell proposal contemplating that

shareholders would cash out of the Company completely, however, discussion by the Special

Committee or the Tribune Board respecting the reliability of the Company’s projections or the

Company’s ability to handle additional leverage ceased completely. At that point, in derogation

of their obligations to the Company and the parties that would continue to hold an interest in its

performance following the LBO, the Special Committee and Tribune Board focused exclusively

on the value that would be provided to shareholders by the LBO.

       224.    Although the Chandler Trust Representatives abstained from voting on the LBO,

they were still Tribune fiduciaries at this time. Thus, they had an obligation to voice their views,


                                                  81
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 90 of 255




as they had in the past, that the February 2007 Projections prepared by the Officer Defendants

could not be believed, that the negative trends facing the Company, and the Company’s

deterioration, could only be expected to continue, and that the leverage being incurred in the

LBO was egregious, and posed enormous risks to the Company’s survival. Given these views,

the Chandler Trust Representatives knew that the Company could not withstand the burden of the

LBO Debt. They could not discharge their fiduciary duties simply by sitting out of the vote, and

did not discharge these duties.

X.     The Company Begins Implementing The Disastrous LBO Amid A Growing Chorus
       Of Criticism Of The Transaction

       A.      Tribune Announces The LBO And Begins Taking The Steps Necessary To
               Consummate The Transaction

       225.    On April 1, 2007, Tribune entered into Step One and Step Two financing

commitment letters that obligated JPMorgan, Merrill, Citigroup and Bank of America, N.A.

(“Bank of America”), and affiliated entities of each of them (collectively, the “Lead Banks”), to

provide up to $12.2 billion in financing in order to consummate the LBO.

       226.    On April 2, 2007, Tribune publicly announced that it had agreed to Zell’s

proposal. Tribune’s press release stated in relevant part:

       With the completion of its strategic review process, Tribune Company today
       announced a transaction which will result in the company going private and
       Tribune shareholders receiving $34 per share. Sam Zell is supporting the
       transaction with a $315 million investment. Shareholders will receive their
       consideration in a two-stage transaction.

       Upon completion of the transaction, the company will be privately held, with an
       Employee Stock Ownership Plan (ESOP) holding all of Tribune’s
       then-outstanding common stock and Zell holding a subordinated note and a
       warrant entitling him to acquire 40 percent of Tribune’s common stock. Zell will
       join the Tribune board upon completion of his initial investment and will become
       chairman when the merger closes.




                                                 82
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 91 of 255




       The first stage of the transaction was a cash tender offer for approximately 126
       million shares at $34 per share. The tender offer will be funded by incremental
       borrowings and a $250 million investment from Sam Zell . . . .

       The second stage is a merger expected to close in the fourth quarter of 2007 in
       which the remaining publicly-held shares will receive $34 per share. Zell will
       make an additional investment of $65 million in connection with the merger,
       bringing his investment in Tribune to $315 million.

       227.    An Investor Rights Agreement executed in connection with the LBO granted Zell

the power to veto major transactions, even though his investment in the Company was nominally

structured as “debt” and a warrant rather than equity. Under the terms of the Investor Rights

Agreement, transactions with a value of more than $250 million, among others, would require

the approval of the Tribune Board, which would include two directors of Zell’s choice. Such

transactions, along with any changes to the Company’s by-laws, would require approval of a

majority of the Tribune Board’s independent directors as well as that of one of Zell’s appointees.

On May 9, 2007, Zell was appointed a member of the Tribune Board. Consistent with the reality

of Zell’s position as the new controlling equity holder, the parties involved in the LBO routinely

referred to Zell’s “loans” to the Company as equity investments.

       228.    On April 23, 2007 EGI-TRB made its initial $250 million investment in the

Company in exchange for (a) 1,470,588 shares of Tribune’s common stock at a price of $34 per

share and (b) a $200 million unsecured subordinated exchangeable promissory note of Tribune

(the Exchangeable Note), which required Tribune to make a payment to EGI-TRB at Step Two in

the same amount that EGI-TRB would have received if it had held stock that was cashed out at

$34 per share as a part of the completion of the LBO.

       B.      In Connection With The LBO, Tribune Enters Into Loan Agreements That
               Are Designed To Hinder, Delay, And Defraud Its Existing Creditors

       229.    On May 17, 2007, Tribune entered into a Senior Loan Agreement that obligated

the Lead Banks to loan Tribune $8 billion in senior debt to be used at Step One, and $2 billion in

                                                83
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 92 of 255




incremental funds to be used at Step Two. On December 20, 2007, Tribune entered into a Bridge

Credit Agreement that obligated the Lead Banks to loan Tribune an additional $1.6 billion in

subordinated senior debt in connection with Step Two. In all, these obligations totaled $11.2

billion.

           230.   The Lead Banks knew that the LBO posed a high risk that the Company would

have to file for bankruptcy. For example, on March 28, 2007, a senior JPMorgan employee

wrote in an internal email that he was concerned about the structure of the LBO because the

Lead Banks would not be entitled to “post [bankruptcy] petition interest.”

           231.   Thus, in order to protect themselves in the event of a bankruptcy, the Lead Banks

were willing to arrange and finance the LBO only if they could effectively subordinate Tribune’s

existing debt (the “Non-LBO Debt”) to the LBO Debt, so that, if the Company filed for

bankruptcy, the lenders that extended the LBO Debt to the Company, or their successors

(collectively, the “LBO Lenders”), would be paid before any of the Company’s other creditors.

The Special Committee and Tribune Board agreed to this aspect of the LBO financing without

any discussion or consideration whatsoever.

           232.   Under the Company’s existing credit agreements and the indentures governing its

bond debt (the “Bond Debt”), the Company’s bondholders had a right to share equally in any

payments made to the Company’s bank lenders in the event of a bankruptcy. The Lead Banks

sought to obtain priority of payment over the Bond Debt, by insisting that the Subsidiary

Guarantors, which held the majority of the Company’s value, guarantee all of the LBO Debt,

including the amounts used to refinance the 2006 Bank Debt. Because the Subsidiary

Guarantors had not guaranteed the Bond Debt, these Subsidiary Guarantees ensured that the

LBO Lenders would be paid in full before the bondholders could receive any payments derived



                                                  84
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 93 of 255




from the value at the Subsidiary Guarantors. As a result, by causing the Subsidiary Guarantors to

enter into the Subsidiary Guarantees, the Company effectively transferred the value of the

Company’s equity interest in the Subsidiary Guarantors to the LBO Lenders.

       233.    The Subsidiary Guarantors did not receive anything in exchange for the

Subsidiary Guarantees, as all of the funds made available by virtue of the LBO Debt went first to

Tribune, and then to its shareholders or advisors, existing bank lenders, or the Lead Banks.

       234.    The Lead Banks also took other steps that were intended to make it more difficult

for the Company’s non-LBO lenders to share equally with the LBO Lenders in any bankruptcy

recoveries. Those steps included the creation of two new Company subsidiaries, Tribune

Broadcasting Holdco, LLC (“Holdco”) and Tribune Finance, LLC (“Finance”). Holdco became

the holding company for the Company’s broadcasting subsidiaries through the Company’s

transfer to Holdco of the stock of the previous broadcasting holding company, Tribune

Broadcasting Company. Finance became a creditor of the Company’s principal publishing

subsidiaries through a complex circle of transactions, accomplished through a series of book

entries, that obligated the publishing subsidiaries to Finance through substantial intercompany

obligations, even though Finance had not provided any value to the publishing subsidiaries.

       235.    Holdco and Finance effectively controlled all the value of the other Subsidiary

Guarantors, through Holdco’s ownership of the broadcasting subsidiaries, and Finance’s “loans”

to the publishing subsidiaries. Holdco and Finance were Subsidiary Guarantors, and the

Company pledged its stock in Holdco and Finance to further secure the LBO Debt (the

“Pledge”).

       236.    The Company and the Lead Banks agreed to the creation of Holdco and Finance

and the complex related transactions to hinder, delay, and impede the ability of non-LBO lenders



                                                85
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 94 of 255




to challenge the Subsidiary Guarantees in the event of a bankruptcy. Specifically, the Company

and Lead Banks believed that because Holdco and Finance had no pre-existing creditors, a

plaintiff would be unable to challenge their Subsidiary Guarantees as fraudulent.

       237.    In late May 2007, a JPMorgan analyst who was working on the LBO explained in

colorful terms how the Subsidiary Guarantees ensured that JPMorgan and the other LBO Lenders

would be paid in full in a Tribune bankruptcy, notwithstanding that the Company’s value was

less than the total debt it would have following consummation of the LBO:

       There was a WSJ article today that talked about how TRB . . . has no room for
       mistake no more. The article also talked about how there is a wide speculation
       that the company might have put so much debt that all of its assets aren’t gonna
       cover the debt, in case of (knock knock) you-know what. Well that is actually
       basically what we (JK and me and rest of the group) are saying too, but we’re
       doing this ’cause [Tribune’s assets are] enough to cover our bank debt. So, lesson
       learned from this deal: our (here, I mean JPM’s) business strategy for TRB, but
       probably not only limited to TRB, is “hit and run”—“we’ll s_ck the sponsor’s a$$
       as long as we can s_ck $$$ out of the (dying or dead?) client’s pocket, and we
       don’t really care as long as our a$$ is well-covered. Fxxk 2nd/private guys—
       they’ll be swallowed by big a$$ banks like us, anyways”.

       C.      The LBO Was A Single Unitary Transaction With Two Steps

       238.    The Tribune Board approved both Step One and Step Two on April 1, 2007.

Consistent with this unitary approval, the market accurately viewed Step One and Step Two as

part of a single, unitary transaction, designed to allow Tribune to become a privately held

company that could reap the tax benefits afforded to an S corporation owned by an ESOP. Thus,

the LBO made economic sense for its participants only if Step Two closed, which was necessary

in order for the anticipated tax savings resulting from the ESOP structure to be realized. EGI-

TRB acknowledged the central importance of the S corporation/ESOP structure to both it and the

LBO at the outset of its bidding process, stating that “the tax structure is the only thing that made

[the LBO] financially attractive for us.”



                                                 86
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 95 of 255




        239.    Consistent with EGI’s views, an internal Bank of America “Deal Screen

Memorandum” dated March 5, 2007 listed the tax benefits and potential reduction in capital

gains taxes from future asset sales resulting from the Company’s S corporation/ESOP structure,

none of which would occur until the close of Step Two, as the first items in the “Transaction

Rationale” for the LBO. Similarly, in a letter dated March 29, 2007, Moody’s called the S

corporation election “a critical component of the company’s plan,” noting that “[t]he tax-free

status and the effective elimination of the significant amount of deferred tax liabilities . . . is a

critical mitigating factor to the minimal amount of equity and is thus a key assumption factored

into” Moody’s rating.

        240.    As discussed above, the only reason that the transaction was consummated in two

steps was because the Controlling Shareholders would not agree to vote in favor of or support the

LBO unless it provided an upfront payment to shareholders that was not delayed by the time it

would take to obtain the FCC approval necessary to complete the transaction. Had there been a

way to structure the transaction so that only one step was necessary, it would have been so

structured. Thus, neither of the two steps was intended to occur on its own, and each was

designed to be dependent on the other. For example:

        a.      the Company’s press release announcing the deal prior to the close of Step One
                referred to the LBO as a “two-stage transaction,” and explained that, “[u]pon
                completion of the transaction, the company will be privately held, with an
                Employee Stock Ownership Plan (ESOP) holding all of Tribune’s then-
                outstanding common stock”;

        b.      the Tribune Board approved both Steps One and Two at the same time;

        c.      the commitment letters providing for the Step One and Step Two financing (the
                “Step One Commitment Letter” and “Step Two Commitment Letter,”
                respectively) were executed at the same time, and obligated the lenders to provide
                the requisite financing to permit Step Two to occur;

        d.      the loan agreement entered into at Step One provided for the secured financing for
                both Step One and Step Two;

                                                  87
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 96 of 255




       e.      a single Merger Agreement executed at Step One required the Company to
               exercise reasonable best efforts to effect both Step One and Step Two of the LBO;

       f.      the Step One and Step Two Commitment Letters cross-referenced each other, and
               the Step One Commitment Letter made the execution and delivery of the Merger
               Agreement without waiver, amendment, or modification a condition precedent to
               the Company’s initial borrowings at Step One;

       g.      the Step One Commitment Letter and Step Two Commitment Letter explicitly
               conditioned the borrowing under these facilities on the continued existence of the
               financing commitments (for both Step One and Step Two) set out in the Merger
               Agreement; and

       h.      the fairness opinions on shareholder consideration issued by Merrill and Morgan
               Stanley, on which the Tribune Board relied in approving the LBO in April 2007,
               evaluated and referred to the Merger Agreement as the governing document, and
               considered the share acquisitions at Step One and Step Two together.

       241.    The documents maintained by and communications among the Lead Banks also

show that the LBO was a unitary transaction with two steps. For example, all of the Lead Banks

analyzed the LBO, which they referred to as a “two-step transaction,” as one transaction, and

sought internal approval to participate in both steps in advance of Step One. Moreover, a senior

member of the Merrill team commented that the rating agencies would “immediately rate

Tribune for the entirety of the buyout transaction when the purchase agreement is signed,” noting

that JPMorgan, Citigroup, and Merrill “would commit to both steps in order to ensure financing

for the whole transaction.”

       242.    Additionally, at the time of Step One, Step Two was, at minimum, highly likely to

occur. As noted, and as widely acknowledged by the parties involved, shareholder approval for

the LBO was effectively secured from its inception, as the voting agreement with the Chandler

Trusts virtually guaranteed it. As Tribune management consistently acknowledged, obtaining

shareholder approval was never a significant hurdle.

       243.    The parties also believed that FCC approval, another condition of consummation

of the deal, would be obtained because the LBO entailed no new combination of assets, and

                                               88
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 97 of 255




therefore the merger merely involved the renewal of existing cross-ownership waivers. As

recognized by rating agencies and news analysts, FCC approval in these circumstances was

expected.

       D.      Rating Agencies, Wall Street Analysts, News Publications, And Investors
               React Negatively To The LBO

       244.    On April 2, 2007, two of the three major credit rating agencies, Fitch and S&P,

downgraded Tribune’s debt in response to the approval of the LBO. S&P stated:

       [B]ased on our analysis of the proposed capital structure, we have determined that
       if shareholders approve the transaction as outlined, we would lower the corporate
       credit rating to ‘B’, with a stable outlook.

       The expected ‘B’ rating would reflect the company’s highly leveraged capital
       structure, weakened credit measures, and reduced cash flow-generating capability
       as a result of its LBO and associated heavy interest burden. The rating would also
       underscore Tribune’s exposure to the very challenging revenue climates and
       competitive market conditions affecting its newspaper and broadcasting
       operations, and its aggressive financial policy.

       245.    On April 19, 2007, S&P downgraded Tribune’s credit rating on its unsecured

notes to CCC+ indicating a high default risk. S&P reported that “given the amount of priority

debt ahead of these notes, we will assign them a recovery rating of ‘5’ upon the close of the

proposed bank transaction, indicating the expectation for negligible (0% -25%) recovery of

principal in the event of a payment default.” On April 23, 2007, Moody’s also downgraded

Tribune, citing the significantly increased leverage that the Company would incur as a result of

the LBO.

       246.    Similarly, citing the increased debt Tribune planned to take on by virtue of the

LBO, Fitch expressed its belief that the deal would be “detrimental to bondholders,” and

maintained a negative outlook on the Company. On May 3, 2007, Fitch announced that

Tribune’s ratings would remain on “rating watch negative.” Fitch stated that the downgrading

reflected the “significant debt burden the announced transaction places on the company’s balance

                                                89
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 98 of 255




sheet while its revenue and cash flow have been declining,” especially in light of “meaningful

secular headwinds that could lead to more cash flow volatility in the future.” Fitch believed that

“these factors could impair the company’s ability to service its debt, particularly if coupled with

a cyclical downturn.”

       247.    Wall Street analysts’ responses were consistent with the rating agency downgrades

and concerns over the transaction. For example, on April 2, 2007 Barclays Capital stated:

       We think it is possible that TRB is leveraged higher than the total asset value of
       the company (after taxes), which makes recovery valuations difficult if the
       economy and/or advertising market slows.

       248.    On April 3, 2007, an analyst from Gabelli & Co. stated, “I certainly hope no one

else is thinking of doing what Tribune has done. It’s a mess.” Similarly, a Goldman Sachs

analyst reported that same day that “with estimated annual interest expense of over $1bn/yr and

estimated EBITDA of $1.3bn, the transaction leaves little room for error, particularly in this

challenging newspaper operating environment.” The analyst pointed out that the high leverage

from the deal left Tribune in a “precarious financial position.”

       249.    Also on April 3, Bloomberg News quoted an industry analyst who stated that, for

the LBO to succeed, Tribune either had to significantly cut costs or experience “significant

growth.” The analyst remarked that “[t]here just isn’t a scenario that shows how this industry or

this company is going to get significantly better.” The article essentially predicted—correctly—

that, absent a miracle, Tribune could not survive the LBO.

       250.    A Lehman analyst reported on April 26, 2007 that the “[p]roposed deal leaves

TRB with debt-to-2007E-EBITDA of 11.5x . . . which we believe is far too high for secularly

declining businesses . . . . Debt payments should overwhelm EBITDA, by our calculations.”

       251.    Financial analysts and rating agencies were not alone in recognizing the

devastating consequences of the proposed LBO. As soon as the LBO was announced, a growing

                                                 90
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 99 of 255




chorus of news outlets also began reporting on the substantial risk of the proposed transaction,

openly questioning the proposal’s soundness, and highlighted the crushing debtload that the LBO

would create. For example, on April 2, 2007, the Baltimore Sun—one of Tribune’s own

newspapers—questioned the wisdom of the proposed LBO: “The deal, which would return

Tribune to private ownership, would make the company one of the most heavily indebted

enterprises in the media industry at a time of falling readership and declining advertising

revenues.” The report commented further that Tribune’s rivals were “dumbfounded” by the deal.

       252.    On April 3, 2007, the New York Times reported that the proposed sale came with

some “big risks,” observing that the LBO “would saddle the company with $13 billion in debt

even as advertising sales and circulation decline.” An article appearing in the Times three days

later characterized the proposed LBO as “one of the most absurd deals ever.”

       253.    In an April 4, 2007 article entitled “How Will Tribune Pay Its Debts?” the Wall

Street Journal stated:

       The big question hanging over Tribune’s $8.2 billion buyout deal unveiled
       Monday is this: How do they plan to do that [repay its debt], given that the
       newspaper industry faces uncertain prospects? Financed almost entirely by debt,
       the buyout will leave the newspaper and TV concern staggering under more than
       $12 billion in debt when existing borrowings are included. That is about 10 times
       Tribune’s annual cash flow, a ratio several times higher than typically carried by
       most media businesses.

       254.    On April 16, 2007, Businessweek also raised serious concerns as to the highly

leveraged nature of the proposed LBO:

       How leveraged? The just-announced deal orchestrated by investor Sam Zell
       leaves the company with more than $13 billion in debt. To put that in its proper
       perspective, Tribune’s cash flow in ’06—earnings before interest, taxes,
       depreciation, and amortization, or EBITDA—was $1.3 billion. Thus its debt
       exceeds last year’s EBITDA by about ten times. This is an angina-inducing
       multiple even for veteran media players accustomed to playing with debt, some of
       whom get nervous above six. And Tribune’s cash flow comes in large part from
       big-city Old Media properties, which are not noted for their stability right now.
       (Tribune’s revenues declined by more than 5% in February.)

                                                91
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 100 of 255




       255.   By contrast, an extensive search of contemporaneous accounts reveals no articles

or analyst reports suggesting that the LBO made sense or was a positive move for the Company.

The D&O Defendants must have been—and certainly should have been—aware of the

universally negative reaction to the LBO.

       256.   The market’s negative perception of the LBO hindered the Lead Banks’ ability to

syndicate the LBO Debt. When asked if the problems were “[s]omething about this deal or the

mkt,” a Merrill banker responded: “[The issue is] [t]his deal—market is busy, but fine.

Misjudged level that investors would require here. Working people through the structure has

been a challenge, but major pushback has been on newspaper business.”

       257.   Similarly, on May 11, 2007, a JPMorgan Banker reported internally:

       Since we launched two weeks ago, the deal has struggled in the market. Investor
       concerns include total leverage (8.9x EBITDA), low equity check from Sam
       [Zell], continuing deterioration of newspaper industry fundamentals, price and
       overhang from expected Second step of the transaction which will occur later this
       year.

XI.    The Company Engages In Intentional Fraud In Order To Close Step One

       A.     The D&O Defendants, Controlling Shareholders, Zell, And Advisor
              Defendants Purport To Rely On The Outdated, Unreasonably
              Optimistic February 2007 Projections In Order To Obtain A Step
              One Solvency Opinion

       258.   Incentivized to ensure that the LBO was consummated so that they could obtain

the lucrative payments associated with selling their shares in the LBO and the special monetary

incentives offered by Zell, the D&O Defendants, the Controlling Shareholders, Zell, and the

Advisor Defendants purported to rely on the unrealistic February 2007 Projections even as each

month’s below-projection performance showed conclusively that they could not be achieved.

       259.   As should have been reasonably expected, the Company’s actual operating cash

flows through May 2007, right before Step One closed, materially failed to meet even the



                                               92
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 101 of 255




relatively modest projections for early 2007 set forth in the February 2007 Projections, and

definitively showed that the projections were unreasonable. As of May 2007, operating cash

flow for six newspapers accounting for more than 91% of the Company’s publishing business

was 24% off of 2006 results, and 14% off of the February 2007 projections. Similarly, the

Company’s publishing segment as a whole was 21.5% off of its 2006 results, and 12% off of the

February 2007 Projections.

       260.    To make up the ground the publishing segment lost through May and achieve the

February 2007 Projections for the full calendar year, the publishing segment’s weekly operating

cash flow for June through December 2007 would have to have been 38% higher than it was

from January through May. This meant that the Company would have had to exceed the 2006

actual results by 7.2% for the remainder of the year—an impossible proposition since the

publishing segment’s results were already trailing 2006 by 21.5%.




                                                93
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 102 of 255




       261.    No reasonable person could have expected this to occur given the state of the

publishing industry at that time and the Company’s historical performance. Indeed, as noted in

June 2006 by Stinehart, “over the past two years, Tribune . . . significantly underperformed

industry averages and there [wa]s scant evidence to suggest the next two years w[ould] be any

different” (emphasis added).

       262.    The Officer Defendants were aware of the Company’s dismal performance, as

they received weekly “flash reports” showing that the February 2007 Projections were unrealistic

almost immediately after they were disseminated. Up-to-date financial information was

regularly provided to the Director Defendants. For example, in preparation for the Tribune

Board’s May 9, 2007 meeting, FitzSimons sent to the Tribune Board the Company’s first-quarter

results, which showed total operating profits down 22% from 2007, with the observation that

“the newspaper industry’s going through a very difficult first half.” Such up-to-date financial



                                                94
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 103 of 255




information was also likely known by, and was certainly available to, the Controlling

Shareholders, Tribune advisors, and Zell. Additionally, on May 20, 2007, in defending against

shareholder litigation relating to the LBO, Tribune proffered the declaration of an expert witness

who stated that absent the LBO, the Company’s per share value could be “well below $32,”

particularly in light of the Company’s weak financial performance since Zell’s proposal was

made.

        263.   Nevertheless, contrary to what the Company subsequently acknowledged as

proper corporate practice of updating its financial projections based upon “the most recent

information available” as soon as such information became available, the Officer Defendants

decided not to publicly update Tribune’s February 2007 Projections until after Step One closed,

and after VRC relied on those projections to render its Step One solvency opinion. Similarly, the

Director Defendants, Controlling Shareholders, Tribune advisors, and Zell continued to cite the

February 2007 Projections as a justification for the deal, even though they knew, or were reckless

or grossly negligent in not knowing, that these projections could not be achieved. Emails among

the Officer Defendants, EGI, and Tribune’s advisors show, however, that notwithstanding the

Officer Defendants’ failure to update the February 2007 Projections prior to the close of Step

One, the Officer Defendants knew that they should have done so. On March 20, 2007, an EGI

executive disclosed to the EGI team that defendant “Chandler [Bigelow] indicated on [March]

9th that management needed to sit down and refine their projections for 2007.” On March 21,

2007, Tribune circulated a document showing actual results for January and February compared

to February 2007 Projections. Kazan stated to Bigelow that they needed to discuss the results

with defendant Grenesko before including them in a rating agency presentation or showing them




                                                95
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 104 of 255




to EGI, as “[t]his is tricky b/c we’ve told Nils [Larsen of EGI] that we aren’t [sic] changing our

plan based on the results from the first two periods.”

       264.    Emails among defendant Amsden and EGI-TRB representative Mark Sotir

(“Sotir”) also show that the Officer Defendants did downwardly revise the February 2007

Projections internally weeks prior to the Step One close, but decided not to distribute the revised

numbers outside of the Company or to the Tribune Board. The emails reference “new

‘projections’ which are a new look at the full year numbers,” but state that Amsden was reluctant

to disclose the new projections to EGI because of “potential legal concerns.”

       265.    Emails among the Officer Defendants also show that the Officer Defendants

engaged in subsequent discussions respecting whether the revised projections should be

disclosed. For example, Knapp wrote the following email to defendant Bigelow and others on

April 30, 2007:

       Brian [Litman] and Chandler [Bigelow]: You guys need to help get with Don
       [Grenesko] and Crane [Kenney] to figure out whether or not we are doing an
       updated projection next week knowing that if we do, we may end up with some
       consistency issues to the recent document disclosures. Harry [Amsden] is
       insisting that we HAVE to and I told him I thought the 6th floor was thinking we
       weren’t and he should get to Don [Liebentritt] and figure it out.

       266.    Consistent with the contemporaneous emails showing that the Company knew

that the February 2007 Projections were unrealistic both at the time they were created and at the

close of Step One, the Company was unable to proffer a single witness during the pendency of its

bankruptcy proceeding who could attest to the honesty or reasonableness of any aspect of the

February 2007 Projections.

       267.    On June 8, 2007, only four days after Step One closed, Sotir asked other EGI-

TRB representatives if they could meet with the “Trib finance team” on June 12, 2007. Sotir

wrote, “[T]hey may show us their revised forecast, but are still discussing with lawyers what


                                                96
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 105 of 255




level of detail they can discuss.” Presumably, that “revised forecast” was not prepared during the

four days between the Step One close and June 8, 2007.

       268.    The decision to continue to purport to rely on the outdated, unreliable February

2007 Projections at the close of Step One was a crucial failing by the Company’s fiduciaries.

Because the February 2007 Projections were both unrealistically optimistic and significantly

higher than the Company’s actual performance, the downside cases used to test the LBO—(i)

“Downside Case A,” which reflected a 2% decline in publishing revenue per year and flat

operating cash flow for the broadcasting segment, and (ii) “Downside Case B,” which reflected a

3% decline in publishing revenue per year and a 1% per year decline in the operating cash flow

for broadcasting—were, at best, base cases rather than downside cases. Indeed, the Company

acknowledged in May 2007 that its performance for the first quarter of 2007 was “significantly

below” the February 2007 Projections and “closest to its ‘Downside Case B,’” and that its

performance for April 2007 was substantially worse. Defendant Bigelow had acknowledged in

writing in March 2007 that if the Company consummated the LBO and performed in accordance

with even “Downside Case A,” then the Company would have “no equity value,” and thus be

insolvent. Remarkably, the Company’s even worse “Downside Case B” performance did not

cause Bigelow, or any of the other Company fiduciaries, to suggest that the Company should

abandon or restructure the LBO.

       269.    As noted, both the Special Committee and Tribune Board had access to up-to-date

financial information showing Tribune’s dismal performance. The members of the Special

Committee and Tribune Board thus knew—or were reckless or grossly negligent in not

knowing—that VRC’s opinion was premised on flawed projections and a flawed and inadequate

downside case. As such, even if VRC otherwise applied appropriate valuation methodology—



                                               97
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 106 of 255




which it did not—the Special Committee’s and Tribune Board’s purported reliance on VRC or

management was wholly unwarranted and in bad faith.

       B.      The Officer Defendants Instruct VRC To Deviate From Industry
               Practice In Issuing Its Solvency Opinions

       270.    Faced with the reality that the traditional methodology used to prepare a solvency

opinion would show that the LBO would render the Company balance sheet insolvent,

inadequately capitalized, and unable to pay its debts as they came due, and lured by the lucrative

financial benefits that consummation of the LBO would bestow upon them, the Officer

Defendants, including Bigelow and Hianik, prevailed upon VRC to use a series of improper

methodologies to prepare its Step One solvency opinion.

       271.    First, the Officer Defendants instructed VRC to ignore the debt that the Company

planned to incur at Step Two when issuing the Step One solvency opinion. As outlined above,

the LBO was conceived of and promoted, first to Tribune and then to the public, as a single,

unitary transaction with fully committed financing. Thus, the legal and economic reality of the

LBO required that all of the debt incurred in the transaction be considered in the Step One

solvency analysis. Indeed, the draft solvency opinions originally submitted to the Officer

Defendants by VRC were prepared precisely in this manner. In an effort to hide the disastrous

effect that the LBO would have on the Company and ensure that they received the payments

associated with consummation of the transaction, however, the Officer Defendants and VRC

agreed to consider only the Step One debt, thus artificially reducing the Company’s liabilities for

purposes of the solvency analysis.

       272.    Second, as noted above, the Officer Defendants and VRC agreed that in

performing its solvency analyses, VRC would depart from the standard definition of “fair value”

that it had used in every other solvency opinion it had ever prepared. Specifically, rather than


                                                98
       Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 107 of 255




assuming that Tribune would be purchased by a hypothetical willing buyer, VRC agreed to opine

on Tribune’s solvency assuming that the buyer would be structured to receive the same favorable

tax treatment as the ESOP utilized for the LBO—that is, that the buyer would be another ESOP.

As Duff & Phelps had previously recognized                                          , there was no

precedent and no justification for making this alteration in the definition of fair value, other than

to artificially pump up value for solvency purposes.

        273.   Nevertheless, on June 4, 2007, defendants Grenesko and Bigelow delivered

certificates to the Lead Banks certifying that the Company was solvent as of that date.

XII.    VRC Improperly Renders The Step One Solvency Opinion

        274.   VRC uncritically and erroneously accepted the Officer Defendants’ improper

directions to depart from the standard definition of “fair value” and to ignore the Step Two debt

when issuing its Step One solvency opinion. It also relied upon Tribune’s unrealistic February

2007 Projections without a hint of skepticism, notwithstanding that VRC knew, from reviewing

Tribune’s interim financial statements through at least the period ended March 31, 2007, that the

Company’s performance was already off plan by the time the LBO was approved. Indeed, there

was virtually no instance throughout the course of its Tribune engagement in which VRC did not

simply adopt management’s instructions, projections, and assumptions at face value, even though

VRC’s own engagement letter contemplated that it would review any financial data provided by

management critically.

        275.   VRC itself realized that the aggregate amount of debt at both steps of the

transaction should be considered in its Step One solvency analysis. Draft VRC solvency

opinions related to the Step One solvency analysis assumed consolidation of the aggregate debt

related to both steps of the LBO.



                                                 99
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 108 of 255




       276.      That changed, however, when Tribune revised VRC’s draft solvency opinion and

instructed VRC to consider only the Step One debt. VRC expressed reservations about Tribune’s

gerrymandered approach. As Mose “Chad” Rucker, a VRC Managing Director, noted in an

email dated April 22, 2007, “One major issue is the deletion of step 2. All of projections and

analysis assume consum[m]ation of step 2.” Nevertheless, VRC complied with Tribune’s

instruction so as not to jeopardize the high engagement fee it had bargained for in connection

with a transaction that VRC viewed as risky.

       277.      In addition to improperly disregarding Step Two debt and improperly

manipulating the definition of fair value, VRC committed several other significant errors in

connection with its Step One solvency analysis. For example, VRC changed how it weighted the

discounted cash flow (“DCF”) valuation methodology in its overall analysis. The DCF valuation

approach yielded a value for Tribune that was significantly lower than that obtained through

other valuation methods. Several drafts of VRC’s Step One solvency analysis weighted the DCF

method more heavily than the other valuation methodologies. At the same time, VRC initially

gave relatively little weight to the “comparable transactions” method, which yielded a much

higher valuation figure. However, in its final solvency analysis, VRC reduced the weight given

to the low DCF valuation and increased the weight given to the high comparable transactions

value, thereby increasing Tribune’s overall valuation figure. This shift in VRC’s methodological

weighting further tipped the balance in favor of finding Tribune solvent at Step One.

       278.      Other significant errors contained in VRC’s Step One solvency analysis included

the following:

       a.        VRC’s DCF model failed to deduct the costs of the planned Tribune Interactive
                 business acquisition and the costs of internal development investments in
                 determining cash flow, resulting in a substantial overstatement in operating asset
                 value.


                                                 100
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 109 of 255




        b.      VRC used discount rates in its DCF analysis that were too low (resulting in an
                overstatement of value) given the uncertainty associated with Tribune’s ability to
                achieve expected long-term growth rates in the publishing segment, particularly
                given the significant growth contemplated in the Interactive business.

        c.      The exit multiples in VRC’s DCF analysis assumed long-term growth rates that
                were unreasonable in light of the general secular decline in the publishing
                business and in Tribune’s profitability, and that exceeded even the growth rates
                contemplated by Tribune management in the February 2007 Projections.

        d.      VRC failed to apply any minority or marketability discounts in connection with
                its determination of the value of Tribune’s equity investments, despite the fact that
                Tribune held less than a 50% ownership interest in most of those investments and
                most of the investments were in non-public, closely held businesses.

        e.      VRC relied on comparable company and transaction valuation approaches
                informed by companies materially different than Tribune or its investments.

        279.    On May 24, 2007, VRC delivered to Tribune its Step One solvency opinion,

which concluded that the Company would be solvent immediately after and giving effect to the

consummation of the Step One transactions.

XIII. The Company’s Fiduciaries Ignore The Company’s Performance And The
      Cacophony Of Voices Warning Against The LBO And Permit The Transaction To
      Proceed

        A.      The Special Committee And The Tribune Board5 Breach Their Fiduciary
                Duties In Connection With Step One

        280.    The Tribune Board met only twice between the time that the LBO was approved

and the time that Step One closed, and the Special Committee met only once during that period.

The Director Defendants were all financially sophisticated, and information demonstrating the

folly of the February 2007 Projections was provided to them. The Tribune Board received

regular reports of the Company’s performance and thus had the information necessary to

determine that the February 2007 Projections were not realistic. Nevertheless, neither the

Tribune Board nor the Special Committee minutes reflect any meaningful analysis of the

5
 The term “Board,” as used in paragraph 280 means defendants FitzSimons, Hernandez, Holden, Morrison, Osborn,
Reyes, Taft, White, Chandler, Goodan, Stinehart, and Zell.

                                                    101
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 110 of 255




February 2007 Projections on which the VRC Step One Solvency Opinion was based, nor

consideration of whether the Company’s actual performance, which was significantly below that

forecast in the February 2007 Projections, rendered the VRC Step One Solvency Opinion

unreliable or the LBO inadvisable. Additionally, although the Director Defendants knew, or

were reckless or grossly negligent in not knowing, of all of the flaws in the VRC analysis,

including VRC’s extraordinary change to the definition of fair value, none of the Director

Defendants questioned why VRC had made the modification or whether or how it would affect

VRC’s conclusions. Rather, enticed by the financial incentives and the ability to escape the

Company’s downward spiral at a premium price, both the Special Committee and the Tribune

Board charged head-long into a transaction that reaped tens of millions of dollars for their

members, but left the Company insolvent, inadequately capitalized, and unable to pay its debts as

they came due. In so doing, the Special Committee and the Tribune Board breached the

fiduciary duties of care, good faith, and loyalty that they owed to the Company.

        281.    Moreover, neither Stinehart, Goodan, nor Chandler, who knew that the optimistic

outlook embodied in the February 2007 Projections was, in Stinehart’s words, “hard to believe,”

voiced any concern respecting the LBO. Satisfied that the interests of their “special

constituency” were protected, the Chandler Trust Representatives remained silent.

        B.      The Subsidiary D&O Defendants Approve The Subsidiary Guarantees
                Through A Grossly Deficient And Conflicted Process

        282.    On June 4, 2007, the Subsidiary D&O Defendants also abdicated their fiduciary

duties by authorizing the Subsidiary Guarantors to guarantee the LBO Debt used to consummate

Step One and part of Step Two of the LBO.6 These Subsidiary Guarantees were essential to the


6
 The following Subsidiary Guarantors were not signatories to the guarantees executed on June 4, 2007, but
executed joinders to those guarantees on December 20, 2007: Eagle Publishing Investments, LLC; Eagle New
Media Investments, LLC; Newport Media, Inc. (now known as Tribune MD, Inc.); Star Community Publishing

                                                    102
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 111 of 255




LBO. The LBO Lenders would not lend the LBO Debt unless they obtained guarantees from the

Subsidiary Guarantors to guarantee the LBO Debt used to consummate the LBO. Thus, without

the guarantees, Tribune could not obtain the LBO Debt, and without the LBO Debt, Tribune

could not consummate the LBO.

        283.    The Subsidiary Guarantors received none of the proceeds of the LBO Debt that

the Subsidiary Guarantees unconditionally obligated them to repay. Instead, more than $8 billion

of the proceeds were immediately used to consummate the LBO, such as buying Tribune’s

shares, paying inducements to Tribune’s directors and officers, and paying tens of millions of

dollars in fees to its lenders and advisors. Thus, while the Subsidiary Guarantees imposed a joint

and several multibillion-dollar debt on each Subsidiary Guarantor, they did not provide the

Subsidiary Guarantors, either individually or collectively, with any direct or indirect benefit or

value in return.

        284.    The Subsidiary D&O Defendants did not conduct any due diligence or

independent investigation in connection with the Subsidiary Guarantees prior to approving them.

The Subsidiary D&O Defendants did not hold a single board meeting to consider the execution

of the Subsidiary Guarantees, nor did the Subsidiary D&O Defendants hire an advisor to do so.

Instead, at Tribune’s request, the Subsidiary D&O Defendants approved the guarantees by

signing unanimous written consents.

        285.    In approving the Subsidiary Guarantees, the Subsidiary D&O Defendants did not

consider the interests of the Subsidiary Guarantors or their creditors. The Subsidiary D&O

Defendants did not consider whether the Subsidiary Guarantors received adequate consideration

in return for executing the Subsidiary Guarantees, or whether executing the Subsidiary


Group, LLC; Stemweb, Inc.; ForSaleByOwner.com; Homeowners Realty, Inc.; and Internet Foreclosure Service,
Inc.

                                                    103
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 112 of 255




Guarantees was in the best interest of the Subsidiary Guarantors or their creditors. For example,

defendant Landon, who served as a director of multiple Subsidiary Guarantors, acknowledged

that he viewed that role as “perfunctory” and not a matter of particular focus. According to him,

“my fiduciary responsibility was to Tribune, so I was watching their money.”

       286.    In approving the Subsidiary Guarantees, the Subsidiary D&O Defendants labored

under clear conflicts of interest. As noted, nearly all of the Subsidiary D&O Defendants stood to

gain substantial monetary special incentives that would be awarded if—but only if—the LBO

was consummated. The Subsidiary D&O Defendants also stood to receive millions of dollars by

selling or redeeming their Tribune stock in connection with the LBO, but again, only if the LBO

was consummated. The Subsidiary D&O Defendants were aware that the LBO could be

consummated only if the Subsidiary D&O Defendants approved the Subsidiary Guarantees. The

unanimous written consents the Subsidiary D&O Defendants signed approving the guarantees

expressly stated that the Subsidiary Guarantees were a “condition precedent to the Lenders

making advances” on the obligations incurred in connection with the LBO.

       C.      Step One Of The LBO Closes

       287.    On June 4, 2007, the Company consummated Step One of the LBO, and Tribune

repurchased and retired 126 million shares of common stock at a purchase price of $34 per share

using proceeds from the Senior Loan Agreement. Presented with an opportunity to cash out of a

rapidly deteriorating company at a premium price, Tribune’s shareholders tendered 92% of

Tribune’s stock, rendering the tender offer significantly oversubscribed. Tribune used the

remainder of the Step One proceeds to refinance the 2006 Bank Debt and commercial paper and

to pay transaction fees. The new debt carried significantly higher interest rates than the 2006

Bank Debt, causing material harm to Tribune.



                                               104
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 113 of 255




       288.    Consummation of Step One rendered the Company balance sheet insolvent,

unable to pay its debts as they came due, and inadequately capitalized.

XIV. The Publishing Industry And Tribune Continue To Decline Between The Close Of
     Step One And Step Two

       A.      The Secular Decline In The Publishing Industry Worsens

       289.    The newspaper publishing industry continued its secular decline through the

remainder of 2007. In a research report issued in July 2007, Fitch highlighted the negative

impact of secular and structural changes on the newspaper industry:

       Fitch believes newspapers will continue to face intense secular issues on the
       revenue side. Fitch expects national advertising and automotive classifieds to
       continue to be significantly pressured. Fitch believes these changes are structural,
       not cyclical, and does not believe the advertising lost in these categories will
       return to newspapers in any meaningful way in future periods. Help wanted and
       real estate classifieds sustained growth and profits at many newspaper companies
       in 2005 and the first half of 2006, but both categories have slowed significantly in
       recent periods. Fitch expects this trend to continue for the rest of 2007, driven by
       both cyclical and secular issues.

       290.    Fitch also reiterated its negative outlook for the newspaper industry, stating:

       With no meaningful catalysts for the remainder of 2007 or 2008 to reverse the
       operational pressure and secular uncertainty facing the newspaper industry, Fitch
       expects the event risk environment to remain heightened for bondholders.

       291.    Similarly, on September 6, 2007, S&P noted the continuing secular shift in the

distribution of advertising dollars from traditional media to new media, and affirmed its negative

outlook for the newspaper publishing industry:

       Advertising and circulation revenues, the bread and butter of newspaper
       publishers, continue to grow leaner as the industry deals with a number of serious
       problems and challenges. Among publishers’ hurdles are an ever-increasing array
       of new advertising media, which are cutting into newspapers’ share of the ad
       pie. . . . Newspaper publishers’ share of the advertising market is shrinking in the
       United States, and we expect that trend to continue for the foreseeable future. . . .

       The trend in declining newspaper ad share extends back more than five decades
       . . . . We do not expect the downtrend to end within the foreseeable future, if at
       all . . . . Standard & Poor’s forecasts little improvement for newspaper

                                                105
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 114 of 255




       advertising in 2008. For newspaper advertising as a whole, we anticipate a rise in
       ad spending of less than 1.0%.

       B.      Tribune Significantly Underperforms The February 2007 Projections And Is
               Further Downgraded

       292.    In its Form 8-K filed on July 25, 2007, Tribune reported second quarter 2007

consolidated revenues for the Company of $1.3 billion, down 7% from the prior year. Thus,

2007 second quarter performance was 5.9% off the February 2007 Projections on which the

Tribune Board’s approval of the transaction was based. Given that the February 2007

Projections had been created only four months earlier, this was an enormous miss that should

have been alarming. While the February 2007 Projections forecast that Tribune was going to

beat its 2006 performance, operating profit for publishing in the second quarter of 2007 was

more than 50% below publishing’s operating profit during the same period in 2006.

       293.    In July 2007, Fitch noted that the Company continued to face “meaningful secular

headwinds,” as well as challenges including declining circulation trends for newspapers,

pressures on newspaper advertising revenue streams, significant substitution risk, and

competition threat from online rivals:

         Fitch believes [Tribune’s] newspapers and broadcast affiliates (particularly in
         large markets where there is more competition for advertising dollars) face
         meaningful secular headwinds that could lead to more cash flow volatility in the
         future. With fixed-charge coverage estimated to be below 1.3 times (x), there is
         very little room to endure a cyclical downturn. In addition, the rating continues
         to reflect declining circulation trends for newspapers, pressures on newspaper
         advertising revenue streams, significant substitution risk and competitive threat
         from online rivals (particularly in high-margin classified categories), volatile
         newsprint prices, the threat of emerging technologies on the economics of the
         pure-play broadcasting business and the volatility of cash flow due to cyclical
         and political fluctuations.

         Importantly, publishing sector operating profits of $102 million were well
         below our $145 million figure and less than half of the $209 million reported in
         Q2/06. This is a clear cause for concern.



                                               106
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 115 of 255




       294.    On August 14, 2007, Lehman cut its earnings estimate for Tribune and stated that

“Tribune is significantly overlevered currently and should not be adding more debt to its capital

structure given the ongoing secular decline in the fundamentals across Tribune’s newspapers and

TV stations.” Lehman concluded that final consummation of the LBO would leave the Company

unable “to cover the estimated annual interest expense from operations let alone have excess free

cash flow to pay down debt each year.”

       295.    On August 20, 2007, S&P issued a research update, lowering Tribune’s corporate

credit rating to B+ from BB-, and citing “deterioration in expected operating performance and

cash flow generation compared to previous expectations.”

       296.    On November 27, 2007, the Company announced results for October 2007.

Consolidated revenues had declined 9.3% in that period in relation to the comparable period in

the prior year. As a result, Moody’s downgraded Tribune’s Corporate Family Rating to B1 from

Ba3. The downgrade reflected Moody’s

       estimate that projected advertising revenue, EBITDA and cash flow generation
       will be lower than previously anticipated in 2008 and 2009 as a result of the
       ongoing challenges associated with a difficult revenue environment facing the
       newspaper industry.

XV.    The LBO Lenders Begin To Question The Company’s Solvency

       297.    The LBO Lenders also recognized that in light of Tribune’s financial

performance, the LBO rendered the Company insolvent, inadequately capitalized, and unable to

pay its debts as they came due.

       298.    On July 26, 2007, various JPMorgan bankers centrally involved in the LBO

reported to JPMorgan Vice Chairman James B. Lee, Jr. (“Lee”) that JPMorgan was “totally

underwater on this underwrite [and] the deal is now underequitized and underpriced.”




                                               107
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 116 of 255




       299.    Additionally, in a memo marked “Highly Confidential, Internal Distribution

Only,” JPMorgan wrote:

       JPMorgan deal team’s DCF and sum of the parts analysis based on revised July
       projection indicate that the current valuation of Tribune is approximately $[10] to
       $[13] billion, potentially failing the solvency tests (i.e., debt amount exceeds
       value of Borrower).

       300.    Similarly, a Merrill banker informed EGI-TRB on August 20, 2007, that it was

“highly unlikely that [the Company’s solvency firm] can get there.” A Bank of America banker

echoed this sentiment on September 10, 2007, stating “I think the solvency opinion

might be difficult, in my opinion.”

       301.    Moreover, solvency analyses prepared by each of JPMorgan, Merrill and

Citigroup in the days leading up to the Step Two close concluded that the Company was

insolvent under various scenarios. Specifically:

       a.      Citigroup “didn’t believe the Company’s projections were achievable” and
               “created [its] own set.” Solvency analyses using these projections and Citigroup
               valuation parameters (rather than VRC’s) showed that the Company was insolvent
               by more than $1.4 billion.

       b.      Merrill’s solvency analyses showed that the Company was insolvent by more than
               $1.5 billion in the “low” cases, and by at least $287 million in the “mid” cases.

       c.      Solvency analyses prepared by JPMorgan on December 13 and December 18,
               2007 show that Tribune was insolvent in certain “low” and “stress” cases.

       302.    In light of these analyses, the LBO Lenders did not want to go forward with Step

Two, but believed they were contractually obligated to do so. In an email regarding a July 3,

2007 call with the Company, a Citigroup banker stated, “I expect a real problem. Let’s hope that

it is so bad that they trip the 9x covenant that they have to meet to close Step 2.” The Citigroup

banker reiterated this sentiment on July 20, 2007, stating:

       I’m told there are only 3 ways that the deal won’t close:

       -they miss the 9x gteed debt covenant

                                                108
       Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 117 of 255




        -they don’t get a solvency opinion
        -whatever the FCC determines causes a MAC [material adverse change] in the
        broadcasting business.

        I’m hoping for one of the first two.

        303.   The Officer Defendants were aware that the LBO Lenders harbored these

concerns. On November 8, 2007, the Lead Banks sent management a list of more than a dozen

questions regarding VRC’s solvency analysis, and then sent a second list of follow-up questions

on December 12, 2007. Based on these questions, the Officer Defendants understood that the

LBO Lenders—who now believed that the Company’s value might be insufficient even to repay

the LBO Lenders (which were first in line as a result of the Subsidiary Guarantees)—were

seriously considering backing out of the deal. In an effort to coerce the LBO Lenders into

consummating Step Two, the Officer Defendants hired the law firm of Quinn Emanuel as

litigation counsel, and threatened the LBO Lenders with litigation if they failed to close Step

Two.

        304.   In the days preceding the Step Two close, the LBO Lenders weighed their belief

that the Company was insolvent against their concern that the Company would sue them if they

did not fund Step Two. Notes from a December 14, 2007 meeting taken by a Bank of America

banker reflect the deliberations among the LBO Lenders, and the predominant belief among

them that the liability they would face if they refused to fund would be greater than any loss they

would incur for funding Step Two when the Company inevitably failed:

        JPM - Not 100% final but leaning
        Going ahead and funding
        Risk greater if do not fund

        MRL - Not 100% but leaning to not fund
        - Reasonable that not a solvent company
        - Not planning on being lone wolf

        Citi - Numerous and not significant to not fund

                                                109
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 118 of 255




       - More risk if end up in bk
       - Focus on understanding risk of not funding
       - Not yet landed
       . . . if in good faith—good defense

       305.    Not surprisingly, JPMorgan, Citigroup, and Bank of America each referred the

LBO Debt to their distressed groups prior to the Step Two close. And JPMorgan downgraded its

Tribune credit (following a series of prior downgrades) the day after Step Two closed.

XVI. The Company Engages In Intentional Fraud In Order To Close Step Two

       A.      The Officer Defendants Create Unreliable, Overly Optimistic Projections In
               Order To Obtain A Solvency Opinion At Step Two

       306.    Tribune’s financial projections were finally updated by the Officer Defendants

and presented, in part, to the Tribune Board in October 2007 (the “October 2007 Projections”).

As shown in the graph below, although the October 2007 Projections lowered the Company’s

expected financial performance for calendar year 2007 relative to the February 2007 Projections,

the October 2007 Projections predicted that the Company’s future growth rate would outperform

that predicted in the February 2007 Projections, notwithstanding that the outlook for the

publishing industry and Tribune had only declined since the February 2007 Projections were

prepared.




                                               110
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 119 of 255




       307.    For the years 2007–2010, the February 2007 Projections included an annual

growth rate of 3.9%, whereas the October 2007 Projections included an annual growth of 5.1%, a

30% increase. Similarly, the annual growth rate for the years 2010–2012 reflected in the

February 2007 Projections was zero, compared with a 2.5% annual growth rate for the same

period in the October 2007 Projections. There was no basis whatsoever to support the increase in

projected growth rates, which served to partially offset the revenue reductions in the earlier years

of the projection period.

       308.    The October 2007 Projections also erroneously assumed that the consolidated

growth rate of 2.4% from 2011 to 2012—a year in which advertising revenues were forecast to

spike due to the 2012 presidential election—would be replicated each and every year from 2013

through 2017. In other words, the October 2007 Projections improperly assumed that each of the


                                                111
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 120 of 255




five years following the 2012 presidential election year would also enjoy the benefit of a growth

bump occasioned by an election year. This fraudulent assumption resulted in a projected growth

rate for the last five years of the ten-year projection period that was five times greater than the

growth rate projected by management just eight months earlier. This growth rate assumption was

a conscious effort by certain of the Officer Defendants to counterbalance the decline in Tribune’s

2007 financial performance and other negative trends in Tribune’s business. This intentionally

fraudulent adjustment alone provided $613 million of additional “value” to support a conclusion

of solvency by VRC.

       309.    The October 2007 Projections were also dependent upon speculative growth

assumptions in the Company’s Interactive business. At the time, the Company’s Interactive

business was a small Internet-based division that had grown over ten years to approximately 4%

of the Company’s total operating revenues in 2006, and had performed at more than 4% below

expectations in 2007. Without any factual basis, the Officer Defendants increased the compound

annual growth rate for the Interactive business from 16.3% in the February 2007 Projections to

22.0% in the October 2007 Projections. The October 2007 Projections forecasted that revenues

from the Interactive business would more than triple by 2012, and account for more than 13% of

the Company’s total operating revenues and 31% of projected EBITDA in 2012.

       310.    As they had done with the February 2007 Projections, the Officer Defendants

concealed the October 2007 Projections from the members of Tribune management who would

have known that they were premised on fraudulent assumptions. For example, defendant

Landon, who was the head of the Company’s Interactive division at the time of the LBO, did not

see the projections for the Interactive division that were set forth in the October 2007 Projections

until after the Company had filed for bankruptcy. When asked about those projections, Landon



                                                 112
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 121 of 255




stated that he “would have expected the October forecast [for Interactive] to be flat or lower”

than the February 2007 Projections, and expressed surprise when he was told that the October

2007 Projections predicted greater growth than the February 2007 Projections. When he finally

saw the October 2007 Projections, Landon stated that he was “disappointed in the[] numbers,”

and didn’t “believe in the logic behind th[em].”

       311.    In addition to the overly aggressive assumptions respecting Interactive revenue

projections, the October 2007 Projections assumed significant increases in the cash distributions

from the Company’s equity investments, with a compound annual growth rate of 22.0% between

2007 and 2012. The premise of this increase was mainly focused on three investments;

CareerBuilder, Classified Ventures, and Food Network.

       312.    The Officer Defendants assumed that the cash received from these investments

would equal the Company’s share of accounting profits (i.e., equity income from investments).

This assumption, however, was inconsistent with past practice. Moreover, because the Company

held non-controlling interests in these joint ventures, it had no ability to control the timing or

amount of profits actually distributed as cash to the Company. Including this assumed cash flow

in the October 2007 Projections was yet another attempt by certain of the Officer Defendants to

fraudulently bolster the Company’s value so that VRC would be able to issue a Step Two

solvency opinion and the LBO would close. As with the February 2007 Projections, Tribune was

unable to proffer a witness during its bankruptcy proceeding who could attest to the honesty or

reasonableness of any aspect of the October 2007 Projections.

       B.      The Officer Defendants Reap The Benefits Of Altering The Definition Of
               Fair Value, And Instruct VRC To Artificially Lower The Amount Of
               Company Debt When Assessing Balance Sheet Solvency

       313.    As noted above, in order to increase the likelihood that VRC would be able to

opine that the Company would be solvent following the LBO, the Officer Defendants agreed

                                                 113
       Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 122 of 255




with VRC that VRC’s solvency analysis could alter the standard definition of fair value so that

the projected tax savings arising from the S corporation/ESOP structure could be included in the

balance sheet solvency test. When combined with VRC’s other deviations from standard

valuation methodology at Step Two, inclusion of the projected S corporation/ESOP tax benefits

enabled VRC to erroneously opine that the Company would be balance sheet solvent at Step

Two.

        314.   Additionally, in another attempt to artificially increase the Company’s value for

purposes of VRC’s solvency analysis, the Officer Defendants prevailed upon VRC to understate

the amount Tribune owed on its subordinated notes (the “PHONES Notes”) by ascribing to them

a liability of only $663 million, rather than the $1.256 billion face amount of the notes (less the

$340 million value of Time Warner shares that could be netted against the liability upon

redemption), and providing a representation letter signed by defendant Grenesko and, upon

information and belief, drafted by defendants Grenesko, Hianik, and Bigelow, that this was a

reasonable estimation of the liability arising from the PHONES Notes. The lower number was

derived from the Company’s financial statements, which calculated the PHONES Notes using a

mix of book and fair values pursuant to Financial Accounting Standard No. 133. There can be no

dispute, however, that the Company was required to pay the face amount of the PHONES Notes

(less the value of the Time Warner shares) in a liquidation or upon maturity of the PHONES

Notes, or that applicable law and standard valuation practice requires debt to be calculated at

face value for purposes of performing a balance sheet solvency test. Indeed, VRC valued the

PHONES Notes at face value in its Step One solvency opinion, and in all of the drafts of the Step

Two solvency opinion that it prepared prior to the Officer Defendants’ directed change.

Additionally, both JPMorgan and Merrill used the face value of the PHONES Notes (minus the



                                                114
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 123 of 255




value of the Time Warner shares) in the solvency analyses that they prepared prior to Step Two,

as did Blackstone, the financial advisor to the McCormick Foundation. Furthermore, the

Company itself considered the PHONES Notes at face value in the rating agency presentations it

prepared in March and October 2007.

       C.      Certain Officer Defendants Misrepresent To VRC That An Outside
               Financial Advisor Agreed That Tribune Would Be Able To Refinance Its
               Debt

       315.    Notwithstanding that it relied on the patently unreasonable October 2007

Projections and employed multiple methodological flaws urged by the Officer Defendants or of

its own making, VRC still concluded that the Company would face significant cash shortfalls in

2014 and 2015 unless it could refinance its debt that was set to mature in those years. VRC was

deeply “concerned about [this] refinancing risk.” VRC’s opinion letter committee also

concluded that VRC would not be able to issue a solvency opinion unless Tribune represented

that Tribune could refinance that debt. Thus, on or about December 1, 2007, VRC’s Rucker

placed a telephone call to defendant Bigelow, and advised that any representation from Tribune

as to the reasonableness of assuming that Tribune would have the ability to refinance its debt

should indicate that an outside financial advisor to Tribune agreed with any such assumption.

When Morgan Stanley refused to provide the representation, certain of the Officer Defendants

decided to mislead VRC into believing that Morgan Stanley had actually done so.

       316.    On or about December 2, 2007, certain of the Officer Defendants, including

Bigelow, Grenesko, and Kenney, placed a telephone call to VRC’s Browning. During that

conversation, Bigelow and/or Grenesko stated that Morgan Stanley had agreed that Tribune

could refinance its debt in 2014 even in a “downside” scenario. Upon information and belief,

however, Morgan Stanley had never represented that it agreed with management’s refinancing

assumptions. To the contrary, Morgan Stanley’s Managing Director Thomas Whayne told

                                               115
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 124 of 255




Bigelow explicitly on December 2, 2007 that Morgan Stanley was unable to make a

representation as to Tribune’s ability to refinance its debt.

       317.    Nonetheless, a Tribune representation letter to VRC dated December 20, 2007

that was signed by Grenesko and, upon information and belief, drafted by Grenesko, Bigelow,

and Hianik, stated in part: “Based upon (i) management’s best understanding of the debt and

loan capital markets and (ii) management’s recent discussions with Morgan Stanley, management

believes that it is reasonable and appropriate for VRC to assume that Tribune . . . would be able

to refinance.” VRC’s Step Two solvency opinion relied on that representation letter, expressly

citing management’s purported discussions with Morgan Stanley regarding the Company’s

ability to refinance its debt when it came due. VRC never sought or received confirmation of

Morgan Stanley’s view from, or otherwise discussed the Tribune representation letter with,

Morgan Stanley itself.

       318.    On December 20, 2007, defendants Grenesko and Bigelow delivered certificates

to the Lead Banks certifying that the Company was solvent as of that date.

XVII. VRC Ignores Its Own Internal Analysis And Adopts Management’s Inflated
      October 2007 Projections In Issuing Its Step Two Solvency Opinion

       319.    Faced with the daunting task of delivering a solvency opinion in connection with

Step Two of the LBO, VRC continued to rely on Tribune management’s increasingly

unreasonable assumptions and projections—even when VRC’s own internal work product

demonstrated that those projections were unreliable—and resorted to even more dubious

methods of analysis.

       320.    As alleged above, Tribune management’s October 2007 Projections unreasonably

assumed that the 2.4% revenue growth rate forecast for the 2012 presidential election year would

be duplicated in each of the following five years. Tribune provided VRC with a specific,


                                                 116
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 125 of 255




separate representation letter, signed by Grenesko and dated December 20, 2007, which

purported to justify this methodology. VRC’s solvency analysis incorporated management’s

“election year” assumption by extending the time period over which VRC calculated the

discounted present value of projected cash flows from five years (as in VRC’s Step One solvency

analysis) to ten years, which added approximately $613 million to Tribune’s DCF value at Step

Two as computed by VRC.

       321.    VRC’s wholesale adoption of management’s inflated October 2007 Projections

was patently unreasonable, and flew in the face of VRC’s own internal critique of management’s

numbers and assumptions. Specifically, VRC performed an internal assessment of the

reasonableness of Tribune management’s revenue and expense growth rate assumptions

informing the October 2007 Projections. This assessment was memorialized in several internal

VRC memoranda dated October 29, 2007. VRC analysts adjusted Tribune management’s

revenue and expense growth rate projections and incorporated the revised figures into a separate

DCF valuation. This internal VRC valuation contrasted sharply with the DCF valuation derived

from Tribune’s October 2007 Projections. Indeed, at their estimated midpoints, VRC’s valuation

was approximately $1.24 billion lower than the valuation derived from Tribune’s projections.

       322.    Among the several downward adjustments that resulted in a reduced enterprise

valuation by VRC, one of the most significant involved Tribune’s projections regarding its

Interactive business. The differences between Tribune management’s and VRC’s forecasts of

projected annual revenues for the Interactive unit were substantial—amounting to more than

$190 million for 2012 alone. In arriving at its downward adjustment, VRC considered a number

of negative factors affecting the Interactive business, including increased competition in the




                                                117
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 126 of 255




interactive sector, analysts’ estimated growth for the interactive business generally, and the

specific decline in Interactive growth experienced by Tribune in 2007.

       323.    Yet, despite the fact that the internal VRC analysis demonstrated that it was

inappropriate simply to accept the assumptions and conclusions fed to VRC by Tribune

management, in the end VRC inexplicably ignored all of the conclusions it reached in its own

analysis and proceeded to use the inflated October 2007 Projections without change in its Step

Two solvency opinion. In that opinion, VRC falsely stated that, in connection with its review of

the Company’s forecasts, “nothing has come to VRC’s attention to lead VRC to believe that it

was unreasonable for VRC to utilize and rely upon such financial forecasts, projections,

information and data.” In an email from Amsden to various other Officer Defendants, Amsden

remarked upon the apparent credulousness of VRC, noting that “[t]he bankers have asked much

more detailed financial questions than VRC did.”

       324.    In addition to its unreasonable adoption of the October 2007 Projections, VRC’s

Step Two solvency analysis carried over many of the same flaws and skewed assumptions that

infected its Step One solvency analysis, including VRC’s novel and unjustified definition of “fair

value,” the improper equal weighting that VRC assigned to its different valuation methodologies,

VRC’s failure to apply any minority or marketability discounts in connection with its

determination of the value of Tribune’s equity investments, and VRC’s reliance on comparable

company and transaction valuation approaches that used companies materially different from

Tribune or its investments.

       325.    VRC’s Step Two analysis included the following additional significant flaws:

       a.      VRC accepted the Officer Defendants’ direction to use a value nearly 50% lower
               than the face amount of the PHONES Notes for purposes of calculating the
               liability arising from those obligations.



                                                118
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 127 of 255




        b.      VRC used discount rates in its DCF analysis that did not properly reflect the risk
                of achieving forecasted future cash flows, particularly regarding assumptions for
                growth in Tribune’s Interactive business.

        c.      VRC ignored market-based information that was (or should have been) readily
                available to VRC that contradicted VRC’s Step Two opinion that Tribune was
                solvent as of December 20, 2007.

XVIII. Tribune’s Fiduciaries Fail, Once Again, To Protect The Company

        A.      The Tribune Board7 And Special Committee Breach Their Fiduciary Duties
                In Connection With VRC’s Step Two Solvency Opinion

        326.    As noted above, the Tribune Board (excluding Zell, and with Taft absent and the

Chandler Trust Representatives abstaining), voted to approve the LBO, including Step Two, on

April 1, 2007. On December 18, 2007, The Tribune Board (including Zell and Taft) met again in

connection with Step Two. The Special Committee purportedly gathered separately for a

meeting that lasted, at most, fifteen minutes, and, according to draft minutes that were never

finalized, resolved to recommend to the Tribune Board that it rely on the VRC Step Two

solvency opinion and direct management to take all steps necessary to consummate Step Two.

The Tribune Board did not hold an additional vote as to whether the Company should proceed

with Step Two.

        327.    As with the Step One solvency opinion, neither the Tribune Board nor the Special

Committee board minutes reflect any meaningful analysis of the projections on which the VRC

Step Two solvency opinion was based, or discussion of the faulty assumptions employed by

VRC. Given the Company’s worsening financial performance, the declining state of the

publishing industry, and the worsening state of the economy, no reasonable person could have

believed that incurring an additional $4 billion of debt would not plunge the Company further

into insolvency. Enabling the Company to consummate Step Two of the LBO did, however,

        7
         The term “Board,” as used in paragraphs 326 through 342, means defendants FitzSimons, Hernandez,
Holden, Morrison, Osborn, Reyes, Taft, White, and Zell.

                                                    119
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 128 of 255




ensure that the Director Defendants, Officer Defendants, and Foundations would be able to sell

their remaining shares in Tribune at a price that was well above the shares’ actual value, despite

the inevitable consequences of placing the mountainous LBO Debt on the Company. This was

the ESOP “escape” plan that Stinehart laid out in July 2006. By failing to act to prevent such

consequences, the Director Defendants breached the fiduciary duties of loyalty, good faith, and

due care that they owed to the Company.

       328.    Indeed, in taking the actions described above with respect to the LBO, the D&O

Defendants and Zell abandoned Tribune’s interests. The D&O Defendants and Zell knowingly

and intentionally acted in the sole pursuit of their personal individual interests (including

receiving tens of millions of dollars in cash proceeds, bonus payments, and other monetary

special incentives from the LBO, or in Zell’s case, acquiring control of one of America’s most

prominent companies for a minimal equity investment), or in the interests of the Controlling

Shareholders and/or Zell Defendants. They did not act in order to achieve any benefit or

accomplish any legitimate corporate purpose for Tribune or its subsidiaries, in either the short

term or long term. To the contrary, they engaged in actions that did not confer any benefit upon

or serve any corporate purpose for Tribune and that could never have conferred any such benefit

or served any such purpose. The actions they took were entirely adverse to Tribune’s interests.

       329.    The Subsidiary D&O Defendants, by unanimous written consents dated as of

December 20, 2007, subsequently authorized additional Subsidiary Guarantees that were

necessary for Step Two to close without holding even a single meeting to consider the execution

of the guarantees or the effect they would have on the Subsidiary Guarantors. In approving the

Subsidiary Guarantees, the Subsidiary D&O Defendants did not consider the interests of the

Subsidiary Guarantors or their creditors, including whether the Subsidiary Guarantors received



                                                 120
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 129 of 255




adequate consideration in return for executing the Subsidiary Guarantees or whether executing

the Subsidiary Guarantees was in the best interest of the Subsidiary Guarantors or their creditors.

In addition, in approving the Subsidiary Guarantees, the Subsidiary D&O Defendants faced a

clear conflict of interest, in light of the significant monetary special incentives that the

Subsidiary D&O Defendants stood to receive if—but only if—the LBO closed, as well as the

millions of dollars the Subsidiary D&O Defendants stood to receive by selling or redeeming their

Tribune stock in Step Two of the LBO. In approving the Subsidiary Guarantees, the Subsidiary

D&O Defendants breached the fiduciary duties of loyalty, good faith, and due care that they

owed to the Subsidiary Guarantors.

       B.      Morgan Stanley Fails To Inform Tribune Of Its Concerns
               That Tribune Would Be Insolvent If Step Two Closed

       330.




       331.     Morgan Stanley understood from the beginning that this work concerning Step

Two included evaluating issues concerning Tribune’s solvency. A September 20, 2007 email

between senior Morgan Stanley representatives noted that: “The scope of the work will be: i)

reviewing the 5/9/07 solvency opinion rendered by Valuation Research Corp, ii) replicating their

analysis, and iii) making sure that VRC (based on their initial analysis) would still today render

an opinion that Tribune remains a solvent entity.”


                                                 121
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 130 of 255




       332.    Consistent with its understanding of the scope of its work, Morgan Stanley

prepared a number of valuations of the Company. Those valuations showed that the Company

would be insolvent after giving effect to Step Two under certain reasonable assumptions.

       333.    For example, an October 9, 2007 exchange between Morgan Stanley analysts

indicated that one analyst had calculated “a negative equity value” for Tribune following Step

Two. When the other analyst commented that that “[s]eems low,” the first analyst replied: “its

tribune .. their [sic] putting a 10.0x leverage multiple on a co. that bearly [sic] trades 9x!” She

further wrote, “I was explaining why the ev [presumably “equity value”] would be negative .. but

as a secret .. you should know this deal is happening because zell is soo f-n rich.. he’s putting in

$65MM to get 40% of a multi-billion dollar co.”

       334.




       335.




                                                 122
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 131 of 255




       336.   Taubman and Whayne, two of Morgan Stanley’s most senior representatives, were

present in Chicago at a meeting of the Company’s Board of Directors on October 17, 2007, but,

upon information and belief,




       337.   Morgan Stanley was well aware that its involvement extended to all aspects of the

financing discussions concerning the LBO.




       338.   Morgan Stanley representatives also participated in several other meetings of the

Tribune Board between October 17 and December 18, 2007, when Taubman and Whayne

attended a meeting of the Special Committee of the Board in Chicago. For example, Whayne,

Ashok Nayyar, and Charles Stewart of Morgan Stanley participated in a November 5, 2007

Tribune Board meeting. Taubman and Whayne also participated in a November 21, 2007

Tribune Board meeting. And Whayne participated in a December 4, 2007 Tribune Board

meeting at which VRC representatives Browning, Bill Hughes, and Rucker made a


                                             123
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 132 of 255




“comprehensive presentation” to the Board “regarding VRC’s solvency analysis and the solvency

opinion required to close the merger,” including “the various tests used by VRC in its solvency

analysis, comparable transactions, case comparisons and the assumptions VRC relied upon in

reaching its solvency determination.”

       339.      Morgan Stanley did not disclose to the Tribune Board or to the Special Committee

at any of these meetings, or otherwise, the results of its internal financial analyses indicating that

the Company would have a negative equity value, and thus be insolvent, following Step Two on

various assumptions.

       340.      Morgan Stanley’s failure to disclose its analyses showing that the Company could

be insolvent upon completion of the LBO advanced its own interest in obtaining an additional,

sizeable discretionary fee from the Company if the LBO closed. By May 2007, Morgan Stanley

had already been paid the Morgan Stanley Advisor Fees for work relating to the LBO. It was

owed no further payments for work it performed on the LBO after that date, yet its engagement

letter did provide for a possible discretionary fee. The only way Morgan Stanley would ever

receive additional discretionary compensation for its work on the LBO was if the LBO closed.

Morgan Stanley’s negative solvency analyses had the potential to jeopardize the completion of

the LBO, and Morgan Stanley’s subsequent fee. Morgan Stanley thus had an incentive not to,

and did not, disclose those negative solvency analyses or other analyses or assessments of the

Company’s solvency to the Company.

       341.      On December 11, 2007, Bigelow forwarded to Whayne an email containing

certain follow-up questions from the lead banks financing the LBO. Those questions included

the following:

       VRC indicates that it is relying, in part, on a representation from Tribune which
       states that based upon recent discussions with Morgan Stanley, the Company


                                                 124
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 133 of 255




       would be able to refinance debt in its downside forecasts without the need for
       additional assets sales. Did VRC meet with someone from Morgan Stanley and
       does VRC know whether Morgan Stanley understands that Tribune is relying
       upon its view?

       342.    Morgan Stanley thus had notice as of at least December 11, 2007 that in giving its

solvency opinion VRC was relying on a supposed Morgan Stanley representation that the

Company would be able to refinance the LBO Debt. But Morgan Stanley did not tell the Tribune

Board or the Special Committee prior to the closing of Step Two that Morgan Stanley had made

no such representation, or that management’s or VRC’s reliance on such a representation

concerning refinancing was misplaced, even though it had ample opportunity to do so when

Taubman and Whayne participated in meetings of the Tribune Board and the Special Committee

in Chicago on December 18, 2007. Instead, Morgan Stanley remained silent on this issue with

the Tribune Board and the Special Committee.

       343.    Morgan Stanley had the same incentive not to upset an important basis for VRC’s

Step Two solvency opinion as it did with respect to its internal financial analyses: disclosure

could jeopardize the LBO and thus Morgan Stanley’s ability to obtain a discretionary fee from

the Company.

       344.    In December 2007, Morgan Stanley in fact aggressively sought a discretionary fee

from the Company above and beyond the Morgan Stanley Advisor Fees, arguing that its efforts

had “significantly enhanc[ed]” the “certainty” that the LBO would close, but the Company

ultimately declined Morgan Stanley’s request.

       C.      Zell Uses His Influence To Ensure That The LBO Is Consummated

       345.    From the inception of the LBO, Zell sought to capitalize on his banking

relationships and reputation as a successful billionaire investor in order to coerce others into

helping to consummate the deal, with varying degrees of success. For example, on March 29,


                                                125
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 134 of 255




2007, after Houlihan notified the Company that it would not be bidding for the solvency work

based on its determination that it would be difficult to find that the Company would be solvent

following the LBO, Zell called a Houlihan managing director and demanded an explanation as to

why Houlihan was “holding up his deal.” Houlihan proved to be one of the few parties (if not

the only party) involved in the LBO that Zell was unable to bend to his will.

       346.    The LBO Lenders were more malleable. In an email dated February 6, 2007,

Julie Persily, a managing director at Citigroup, wrote to a colleague that “Merrill is on board with

this silly ESOP structure,” noting that “ML is Sam’s bank. They’ll do anything for him. (They

would not do this for KKR.)” A few months later another Citigroup banker remarked on Zell’s

control over the LBO Lenders, writing “Zell is dictating everything according to Chandler

[Bigelow].”

       347.    Additionally, on March 28, 2007, four days before the LBO Lenders committed to

fund Steps One and Two, Jeffrey Sell, the former head of the Special Credits Group at JPMorgan,

wrote to his supervisor that he had “told the team I’m not comfortable approving the new

structure [of the LBO] for the reasons cited but would understand if Sen[i]or Man[a]gem[e]nt

wanted to do this to further the Zell relationship.” Similarly, on March 30, 2007, JPMorgan Vice

Chairman Lee—a lifelong friend and business associate of Zell’s—asked Jamie Dimon,

Chairman, President, and Chief Executive Officer of JPMorgan, to personally intervene in efforts

to help Zell “finance the bump” in his offer from $33.50 to $34.00 per share. Lee also urged the

JPMorgan financing team to “be as helpful as we can” in extending additional financing to Zell,

despite the team’s warnings that doing so could result in a ratings downgrade. On or about

March 30, 2007, EGI advised Bigelow that it had “made some progress with our friendly

bankers” in connection with Zell’s efforts to obtain a favorable financing package for the LBO.



                                                126
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 135 of 255




        348.    Additionally, in September 2007, JPMorgan Managing Director Peter Cohen sent

Lee an email regarding meetings set to take place at JPMorgan regarding the troubled LBO, in

order to give Lee a chance to “weigh in, if necessary, on behalf of Sam so that short term

decisions don’t have negative impact on the broader relationship with Sam and Trib.” Cohen

wrote further, “I am sure you are in the middle of a ton of this stuff but it strikes me that Sam is

different.”

        349.    Zell also capitalized on his influence over JPMorgan in the days leading up to the

LBO, when the Lead Banks were weighing the pros and cons of backing out of the LBO. In a

December 18, 2007 email, Lee wrote of Zell and his claim of solvency: “I know this guy. . . . .

I am 100% confident if he gives his word to me, it will be done. I have banked him for over 25

years and his word is gold.” On December 19, 2007, Lee reported that he “just had a long call

with sam. He could not have been any clearer and more confident that the company is solvent,

no financial issues in year 1 . . . and his reputation being totally on the line. . . . . It was the kind

of call we needed to proceed given our concerns. . . . . I told him we were totally banking on him

to make this work, and he said ‘I don’t make commitments I can’t keep.” In an email later the

same day to JPMorgan’s CEO, Lee reiterated his support for the LBO based on Zell’s personal

“commitment” to Lee, and his spin on the deal, rather than on financial fundamentals: “Jamie I

spoke to sam this am to get his confirmation that the company was solvent and he was going to

make good on his commitment to me to make this deal work . . . . It was an excellent call—he

said all the right things.”

        350.    Others involved in the LBO also recognized Zell’s ability to make the deal happen

notwithstanding that it would render the Company insolvent. As one Morgan Stanley banker




                                                  127
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 136 of 255




viewed it after concluding that the Company would have “negative equity value” following the

LBO: “[T]his deal is happening because zell is soo f-n rich.”

       351.    As defendant FitzSimons stated in a December 19, 2007 press release, the

transaction could not have happened had it not been for Zell.

XIX. The LBO Closes And Tribune Collapses Under Its Massive Debt Burden

       352.    On August 21, 2007 Tribune’s remaining shareholders voted on the merger.

Although the substantial risks to the Company arising out of the LBO were obvious, 97% percent

of voting shareholders voted in favor of the merger.

       353.    On December 20, 2007, the Company completed Step Two of the LBO and

repurchased the remaining 119 million shares of common stock outstanding at a purchase price

of $34 per share.

       354.    In order to fund the repurchase, Tribune took on another approximately $3.7

billion of debt, bringing its total funded debt to approximately $13.7 billion. As part of Step

Two, Tribune repaid EGI-TRB’s initial $200 million unsecured subordinated Exchangeable Note

in the amount that EGI-TRB would have received if it had held stock that was cashed out at $34

per share, and paid EGI-TRB $50 million for the 1,470,588 shares of common stock it had

purchased prior to the completion of Step One. EGI-TRB also purchased from the Company a

$225 million subordinated note and a $90 million warrant to purchase approximately 40% of the

fully diluted equity of the Company at a later date. The warrant was for a term of 15 years and

specified a maximum purchase price of $13.80 per share. In these transactions, EGI-TRB

received credit for interest deemed to have accrued on the Exchangeable Note, and EGI and EGI-

TRB also received credit for expenses they and/or Zell incurred in connection with the LBO (the

EGI-TRB Fee Transfers and the EGI Reimbursements), rendering Zell’s total equity investment

in Tribune a mere $306 million.

                                                128
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 137 of 255




       355.    As a result of the LBO, the Company became a private company, wholly owned

by the ESOP.

       356.    Zell subsequently became Chairman of the Tribune Board and Tribune’s President

and Chief Executive Officer. For Zell, the transaction clearly was an option play. For a total

investment of $306 million, Zell received control of a media conglomerate with $5 billion in

revenue, and a warrant to purchase 40% of the Company at a maximum price per share of only

$13.80. Fees and expenses paid to various lenders and advisors at the closing of both Step One

and Step Two amounted to approximately $284 million.

       357.    The Company rapidly deteriorated under its massive debt burden after the LBO

closed in December 2007.




       358.    In early 2008, just weeks after the close of Step Two, the Company implemented a

5% workforce reduction in its publishing segment. In announcing this reduction in a memo

dated February 13, 2008, Zell discussed “the reality of [the Company’s] significant debt levels,”

and “significant declines in advertising volume at our newspapers . . . putting downward pressure

on our cash flow.” On July 14, 2008, the Associated Press reported that the Los Angeles Times

planned to cut 250 positions, explaining “[l]ast December, Tribune bought out its public

shareholders in an $8.2 billion deal orchestrated by real estate mogul Sam Zell. Now, he and

Tribune are struggling to service that debt.”



                                                129
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 138 of 255




       359.       On or about March 5, 2008, less than three months after Step Two closed, Tribune

hired bankruptcy lawyers from the law firm of Sidley Austin LLP to advise the Company on

ways to escape the detrimental ramifications of the LBO Debt, including a potential bankruptcy

filing. On December 8, 2008, less than a year after Step Two closed, Tribune and nearly all of

the Subsidiary Guarantors filed voluntary petitions for relief under the Bankruptcy Code.8 In an

affidavit filed in connection with the bankruptcy filing, defendant Bigelow stated that for the

quarterly period ended September 28, 2008, Tribune had approximately $7.6 billion in assets—

$6.9 billion less than the midpoint of the asset value set forth in VRC’s Step Two solvency

opinion—and $13.9 billion of total liabilities—a number that, unlike the VRC Step Two

solvency opinion, properly included the PHONES debt at face value. Bigelow stated further that

“the newspaper industry generally is in the midst of an unprecedented decline which has only

been exacerbated by the current recession,” and noted the constraints placed on the Company by

virtue of the mountainous debt it had incurred in connection with the LBO. Bigelow specified

that “[i]n December, 2008 alone, the Debtors face debt service and related payments of

approximately $200 million, with another $1.3 billion due in 2009.” Bigelow stated that these

“substantial debt service requirements,” among other things, required the Debtors to seek

bankruptcy protection.

       360.       The Debtors remained in bankruptcy for more than four years. On August 10,

2012, Tribune’s then President and Chief Executive Officer stated in a sworn affidavit that as of

that date, the Company had incurred approximately $400 million in fees and expenses in connection

with the bankruptcy proceeding. During the pendency of the bankruptcy proceeding, neither




       8
           The Subsidiary Guarantors that filed bankruptcy petitions are indicated on Exhibit B.

                                                        130
       Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 139 of 255




Tribune nor the LBO Lenders presented any evidence that the Company was solvent at Step

Two.

XX.     Morgan Stanley’s Insider Trading

        361.   On December 19, 1994, MSCS, an affiliate of Morgan Stanley, and The Times

Mirror Company, a predecessor to the Company, entered into an interest rate swap in respect of a

$100 million notional amount of debt (the “Swap”). An interest rate swap is an agreement

between two parties to exchange one stream of interest payments for another, over a set period of

time. Swap agreements generally are used either to hedge a company’s interest rate risk or to

speculate on future interest rates. The Swap was memorialized in an ISDA Master Agreement,

dated as of August 5, 1994, and a Confirmation to such agreement, dated December 19, 1994

(collectively, the “Swap Agreement”).

        362.   The Swap Agreement obligated MSCS to make certain payments to Tribune

calculated using a fixed rate of interest in return for payments by Tribune to MSCS calculated

using a floating rate of interest. If Tribune declared bankruptcy, that was an “Event of Default”

under the Swap Agreement that permitted MSCS to select an “Early Termination Date.” On the

Early Termination Date, the Swap Agreement provided for a calculation of the amount due from

MSCS to the Company in respect of the future fixed rate payments MSCS was obligated to make

to the Company under the Swap Agreement. In certain circumstances, MSCS was permitted to

reduce its final payment to the Company by amounts that the Company owed MSCS or its

affiliates.

        363.   Morgan Stanley and MSCS embarked on a scheme to wrongfully exploit these

provisions of the Swap Agreement. Armed with the inside knowledge—which Morgan Stanley

acquired through its work with the Company and its Board and Special Committee—that there

was a substantial risk that the Company would file for bankruptcy, Morgan Stanley and MSCS

                                               131
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 140 of 255




sought to make substantial financial gains by purchasing the Company’s publicly traded debt at a

discount to its face value. MSCS could then seek to set off the full face value of Tribune public

debt—which it had acquired at a deep discount—against the amount it owed Tribune in the event

of a bankruptcy.

       364.    On April 11 and 15, 2008 Morgan Stanley purchased a total of $18,865,000 face

value of Tribune 7.5% Debentures for $7,840,000—less than 42% of face value. On April 21,

2008, Morgan Stanley transferred these debentures to MSCS.



                                                                                 At the time of

these purchases and transfers in 2008, Morgan Stanley was in possession of material non-public

information relating to the likelihood that the Company would have to file for bankruptcy,

information that Morgan Stanley obtained in its capacity as the Company’s and Special

Committee’s financial advisor in 2007. Morgan Stanley also advised the Company on a

transaction in mid-2008.

       365.    On or about November 10, 2008, the Company engaged Morgan Stanley to

provide financial advisory services relating to a possible bankruptcy filing by the Company.

Upon information and belief, the Company provided Morgan Stanley, in its capacity as

professional financial advisor, with confidential financial information relating to the Company

and its consideration of a bankruptcy filing in the near term.

       366.    On November 20, 2008, Morgan Stanley purchased an additional $5,000,000 in

face amount of Tribune 7.5% Debentures for $601,041—roughly 12% of face value. Morgan

Stanley transferred these debentures to MSCS on the same day.




                                                132
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 141 of 255




       367.    On November 26, 2008, Morgan Stanley purchased an additional $5,000,000 in

face amount of Tribune 7.5% Debentures for $644,795—less than 13% of face value. On

approximately March 20, 2009—after the commencement of Tribune’s Chapter 11 case—

Morgan Stanley transferred these debentures to MSCS. In total, Morgan Stanley transferred to

its affiliate MSCS an aggregate of $38,365,000 in face value of Tribune 7.5% Debentures.

       368.    At the times it purchased Tribune 7.5% Debentures on November 20 and 26,

2008, Morgan Stanley was in possession of material non-public information concerning the

Company’s active planning for a bankruptcy filing in the very near term, information that

Morgan Stanley obtained in its capacity as financial advisor to the Company.

       369.    Because Morgan Stanley had material non-public information from Tribune on

this issue, it could and did decide to buy the Debentures with confidence that it or its affiliate

would profit as a result.

       370.    At the December 1, 2008 meeting of the Tribune Board, the Tribune Board

terminated Morgan Stanley’s engagement as financial advisor to Tribune.

       371.    On or about December 2, 2008—less than one week before Tribune’s bankruptcy

filing—Tribune paid Morgan Stanley the amount of $46,020.47, by wire transfer, in respect of

certain expenses Morgan Stanley purportedly incurred in connection with its engagement as

financial advisor to Tribune (the “Morgan Stanley Reimbursement”).

       372.    Tribune’s bankruptcy filing on December 8, 2008, was an Event of Default under

the Swap Agreement, and MSCS designated December 9, 2008 as the Early Termination Date for

the interest rate swap under the Swap Agreement.

       373.    By letter dated December 18, 2008, MSCS informed Tribune that it had set off

$38,365,000 in principal amount of Tribune 7.5% Debentures (this amount includes $9,500,000



                                                 133
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 142 of 255




in principal amount of debentures that Morgan Stanley acquired before it was a financial advisor

to the Company), plus accrued interest and expenses, against the $50,433,470 MSCS had

determined, as the non-defaulting party under the Swap Agreement, was owing by MSCS to

Tribune.

       374.    By letter dated March 20, 2009, MSCS advised that the correct amount owing to

Tribune under the Swap Agreement was $51,945,000 (the “Termination Amount”), and that the

prior figure was the result of a calculation error. MSCS again informed Tribune that it had set

off $38,365,000 in principal amount of Tribune 7.5% Debentures (plus accrued interest and

expenses) against the Termination Amount. By reason of its improper purchase and transfer of

Tribune 7.5% Debentures while in possession of material non-public information from the

Company, Morgan Stanley deprived the Company of $38,365,000 (plus accrued interest and

expenses) in payments that it would otherwise have received under the Swap Agreement, and

thereby damaged the Company in that amount.

       375.    MSCS has filed a proof of claim in Tribune’s Chapter 11 case in the principal

amount of $38,365,000 (the “MSCS Claim”). Among other claims, the MSCS Claim asserts a

protective claim of not less than $41,074,528 in the event that MSCS’s setoff is successfully

challenged.

                                   GROUNDS FOR RELIEF

                                    COUNT ONE
Avoidance And Recovery Of The Shareholder Transfers (Of At Least $8 Billion) As Actual
 Fraudulent Transfers Under Sections 548(a)(1)(A) And 550(a) Of The Bankruptcy Code
           Against The Shareholder Defendants And The Shareholder Class

       376.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.




                                               134
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 143 of 255




       377.     The Shareholder Transfers are all of the transfers made in connection with the

purchase, repurchase, or redemption of Tribune stock as a result of the LBO, as identified in

Paragraph 94.

       378.     The Shareholder Transfers were made within two years of the Petition Date.

       379.     Tribune, by and through certain of its officers, directors, shareholders, and agents,

made the Shareholder Transfers with the actual intent to hinder, delay, and defraud Tribune’s

creditors, which intent is demonstrated by, among other things, the facts that:

       a.       The D&O Defendants stood to receive millions of dollars through the sale of their
                Tribune shares and the receipt of special monetary incentives if the LBO was
                consummated;

       b.       The Officer Defendants recommended that the Tribune Board approve the LBO
                notwithstanding that they knew, or were reckless or grossly negligent in not
                knowing, that the LBO would render the Company insolvent, inadequately
                capitalized, and/or unable to pay its debts as they came due;

       c.       Certain of the Officer Defendants prepared, instructed, and/or induced VRC to
                rely on the patently unreasonable February 2007 Projections and October 2007
                Projections, notwithstanding that these Officer Defendants knew, or were reckless
                or grossly negligent in not knowing, that the projections were not prepared by,
                and were actively concealed from, the members of Tribune management with
                direct knowledge of facts that rendered them unreasonable, and that these Officer
                Defendants knew, or were reckless or grossly negligent in not knowing, that
                Tribune would have to vastly outperform its own 2006 performance and its 2007
                performance to date in order to meet the February 2007 Projections and October
                2007 Projections, that the February 2007 Projections and October 2007
                Projections conflicted with Tribune’s internal projections, and that Tribune could
                not achieve the February 2007 Projections and October 2007 Projections;

       d.       The D&O Defendants relied upon, and allowed VRC to rely upon, an inadequate
                downside analysis of the Company’s projections which assumed a materially
                more optimistic downside case than the Tribune Board had insisted on in
                connection with the Company’s 2006 Leveraged Recapitalization, even though
                the publishing industry and the Company’s own financial performance had
                deteriorated since 2006 and despite the fact that the leverage associated with the
                LBO was more than double what the Company incurred in its 2006 Leveraged
                Recapitalization;

       e.       Certain of the Officer Defendants colluded with VRC to ensure that in preparing
                its solvency opinions, which were crucial to the consummation of the LBO, VRC

                                                 135
Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 144 of 255




       would deviate from legal and recognized industry standards for preparing a
       solvency analysis, because these Officer Defendants knew that a solvency
       analysis prepared in accordance with proper legal and industry standards would
       show that the LBO would render the Company insolvent, inadequately
       capitalized, and unable to pay its debts as they came due, and would have
       prevented the consummation of the LBO;

 f.    Certain of the Officer Defendants knowingly misrepresented to VRC that an
       outside financial advisor had agreed with management’s unreasonable
       assumptions concerning the prospective ability of Tribune to refinance its debt;

 g.    The D&O Defendants and Subsidiary D&O Defendants effectively transferred
       virtually all of the Company’s value to Tribune’s shareholders and/or the LBO
       Lenders and away from its existing creditors, by causing the Subsidiary
       Guarantors to enter into the Subsidiary Guarantees;

 h.    The D&O Defendants sought to ensure that the LBO Lenders would be paid in
       advance of Tribune’s and its subsidiaries’ existing creditors, by creating Holdco
       and Finance and authorizing the complex transactions resulting in intercompany
       obligations from the Company’s publishing subsidiaries to Finance;

 i.    The D&O Defendants, motivated by the fact that they would personally receive
       outsized, non-standard monetary rewards if the LBO was consummated,
       advocated and/or voted in favor of the LBO, notwithstanding that (a) they had
       previously refused to vote in favor of and/or endorse other proposed transactions
       on the ground that those transactions placed too much debt on the Company, (b)
       the LBO placed significantly more debt on the Company than those proposed
       transactions, and (c) at the time of the LBO, the Company was performing
       substantially worse than it had been when they refused to vote in favor of and/or
       endorse the other proposed transactions;

 j.    At every stage of the LBO, the Director Defendants relied on the advice of
       outside advisors that the Director Defendants knew, or were reckless or grossly
       negligent in not knowing, was proffered by parties with a financial interest in the
       consummation of the LBO, and was not credible;

 k.    At every stage of the LBO, the Director Defendants failed to adequately analyze
       the impact that the LBO would have on the Company and those parties who
       would continue to be creditors and/or constituents of the Company, and voted in
       favor of and/or advocated for the LBO, notwithstanding that they knew, or were
       reckless or grossly negligent in not knowing, that the LBO would render the
       Company insolvent, unable to pay its debts as they came due, and/or inadequately
       capitalized.




                                       136
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 145 of 255




       380.    In addition, the following traditional badges of fraud also indicate that Tribune

made the LBO Transfers (and incurred or reaffirmed the obligations to make the Insider

Payments) with the actual intent to hinder, delay, and defraud Tribune’s creditors:

       a.      The recipients of the Shareholder Transfers, the EGI-TRB Transfers, the EGI
               Reimbursements, the VRC Transfers, the Insider Payments, and the Morgan
               Stanley Advisor Fees (collectively, the “LBO Transfers”) included Tribune’s
               Controlling Shareholders, directors, officers, and other fiduciaries who effectuated
               the LBO; or, in the case of the VRC Transfers and Morgan Stanley Advisor Fees,
               fiduciaries of Tribune with a financial interest in the consummation of the LBO;

       b.      The individuals and entities who controlled Tribune obtained and maintained
               control of Tribune’s transferred funds by receiving the LBO Transfers;

       c.      Tribune received less than reasonably equivalent value in exchange for each of
               the LBO Transfers;

       d.      The LBO Transfers left Tribune with fewer assets than liabilities and transferred
               all or substantially all of the value of Tribune to Tribune’s shareholders and/or the
               LBO Lenders, and away from the pre-LBO creditors of Tribune and its
               subsidiaries;

       e.      The LBO Transfers were not undertaken in the regular course of Tribune’s
               business;

       f.      The LBO Transfers occurred at the same time as, or were made with the proceeds
               of, the LBO Loans; and

       g.      Management engaged in deceptive conduct in connection with the LBO and the
               LBO Transfers by, among other things, concealing the February 2007 Projections
               and October 2007 Projections from members of management who had knowledge
               of facts that rendered them unreasonable; concealing from VRC and from the
               Board that the February 2007 Projections and October 2007 Projections were
               inaccurate, unjustified, based on unreasonable assumptions, and inconsistent with
               the Company’s performance; and misrepresenting to VRC that Morgan Stanley
               had agreed with management’s unreasonable assumptions concerning the
               prospective ability of Tribune to refinance its debt.

       381.    Accordingly, each of the Shareholder Transfers was a transfer in fraud of the

rights of the creditors of Tribune and its subsidiaries, and the Shareholder Transfers should be

avoided and recovered pursuant to Sections 548(a)(1)(A) and 550(a) of the Bankruptcy Code.




                                                137
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 146 of 255




                                     COUNT TWO
        Violations Of Delaware General Corporation Law Sections 160 And/Or 173
                        Against The Director Defendants And Zell

       382.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       383.    Section 160(a)(1) of the Delaware General Corporation Law (the “DGCL”)

provides, in relevant part, that “no corporation shall . . . [p]urchase or redeem its own shares of

capital stock for cash or other property when the capital of the corporation is impaired or when

such purchase or redemption would cause any impairment of the capital of the corporation.”

       384.    Section 173 of the DGCL provides that “[n]o corporation shall pay dividends

except in accordance with this chapter.”

       385.    Pursuant to Section 174 of the DGCL, the directors of a corporation are jointly

and severally liable for “willful or negligent violation of § 160 or § 173.”

       386.    Tribune provided cash and/or property to its shareholders as a result of the LBO.

The payments made by Tribune in connection with the LBO were, in substance, unlawful

dividends and/or stock purchases in violation of Sections 160 and/or 173 of the DGCL. The

Director Defendants and Zell are jointly and severally liable for the amount of such dividends

and/or stock purchases due to their willful or negligent approval and/or facilitation of the transfer

of the payments, while Tribune lacked a sufficient surplus or net profits or was otherwise

insolvent, in violation of the DGCL, including without limitation Sections 160, 173, and 174.

       387.    Tribune has been substantially damaged as a direct and proximate result of the

Director Defendants’ and Zell’s violations of DGCL Sections 160, 173, and 174.

       388.    Accordingly, Plaintiff is entitled to judgment against the Director Defendants and

Zell in an amount to be determined at trial.



                                                138
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 147 of 255




                                       COUNT THREE
                                  Breach Of Fiduciary Duty
                                Against The Director Defendants

       389.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       390.    As directors of Tribune, the Director Defendants owed Tribune fiduciary duties of

good faith, care, and loyalty. As Tribune was rendered insolvent by the LBO, the Director

Defendants owed fiduciary duties to all of Tribune’s stakeholders, including its creditors, who

were harmed due to Tribune’s inability to pay them in full.

       391.    As a director of Tribune, each Director Defendant was obligated by his or her

duty of care to use that amount of care which an ordinarily careful and prudent person would use

in similar circumstances, and to consider all material information reasonably available.

       392.    As a director of Tribune, each Director Defendant was obligated by his or her

duty of loyalty to place Tribune’s interests above any interest possessed by the Director

Defendant that was not shared by the corporation generally.

       393.    As a director of Tribune, each Director Defendant was obligated by his or her

duty of good faith not to intentionally fail to act in the face of a known duty to act.

       394.    All of the Director Defendants owned shares in Tribune prior to and after

approval of the LBO, and received material cash proceeds, in many instances millions of dollars,

from the sale of their stock in connection with the LBO. These financial benefits were not

available to many Company stakeholders who were to remain stakeholders following the LBO.

Due to these direct financial incentives, the Director Defendants were interested in, and/or lacked

independence with respect to, the LBO.




                                                 139
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 148 of 255




       395.    The Director Defendants, acting both individually and collectively, failed to

exercise the necessary care, and breached their respective duties of good faith, care, and loyalty,

by, among other things:

       a.      Acting in their own interests by approving the LBO and LBO Transfers, and
               permitting Steps One and Two to close even though they knew, or were reckless
               or grossly negligent in not knowing, that it would render the Company insolvent,
               inadequately capitalized, and unable to pay its debts as they came due;

       b.      Succumbing to financial incentives and catering to external influences in
               facilitating and advocating for the LBO, which benefitted the Controlling
               Shareholders but was detrimental to the Company the Director Defendants were
               obligated to serve;

       c.      Transferring virtually all of the Company’s value to Tribune’s shareholders and/or
               the LBO Lenders, by causing the Subsidiary Guarantors to enter into the
               Subsidiary Guarantees;

       d.      Seeking to ensure that the LBO Lenders would be paid in advance of Tribune’s
               and its subsidiaries’ existing creditors, by creating Holdco and Finance and
               authorizing the complex transactions resulting in intercompany obligations from
               the Company’s publishing subsidiaries to Finance;

       e.      Relying on the advice of outside advisors that the Director Defendants knew, or
               were reckless or grossly negligent in not knowing, was proffered by parties with a
               financial interest in the consummation of the LBO and was not credible;

       f.      Relying on the patently unreasonable February 2007 Projections and October
               2007 Projections, notwithstanding that they knew, or were reckless or grossly
               negligent in not knowing, that those projections were proffered to the Tribune
               Board by officers with a financial interest in the consummation of the LBO, and
               that they knew, or were reckless or grossly negligent in not knowing, that Tribune
               would have to vastly outperform its own 2006 performance, and its 2007
               performance to date, in order to meet those projections, and that Tribune could not
               achieve those projections;

       g.      Relying on an inadequate downside analysis of the Company’s projections which
               assumed a materially more optimistic downside case than the Tribune Board had
               insisted on in connection with the Company’s 2006 Leveraged Recapitalization,
               even though the publishing industry and the Company’s own financial
               performance had deteriorated since 2006 and despite the fact that the leverage
               associated with the LBO was more than double what the Company incurred in its
               2006 Leveraged Recapitalization;




                                                140
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 149 of 255




       h.      Relying on VRC’s solvency opinions, which were crucial to the consummation of
               the LBO, and which they knew, or were reckless or grossly negligent in not
               knowing, deviated from legal and recognized industry standards for preparing a
               solvency analysis, and where they also knew, or were reckless or grossly
               negligent in not knowing, that a solvency analysis prepared in accordance with
               proper legal and industry standards would show that the LBO would render the
               Company insolvent, inadequately capitalized, and unable to pay its debts as they
               came due and would have prevented the consummation of the LBO;

       i.      Failing, at every stage of the LBO, to adequately analyze the impact that the LBO
               would have on the Company and those parties who would continue to be creditors
               and/or constituents of the Company, voting in favor of and/or advocating for the
               LBO, and ultimately allowing the LBO to close, notwithstanding that they knew,
               or were reckless or grossly negligent in not knowing, that it would render the
               Company insolvent, unable to pay its debts as they came due, and/or inadequately
               capitalized;

       j.      Failing, at every stage of the LBO, to consider all material facts reasonably
               available and completely and willfully or recklessly ignoring the duties they owed
               to Tribune and to all of Tribune’s stakeholders, including creditors;

       k.      Engaging in self-dealing by causing Tribune to borrow money and otherwise act
               to its own detriment in order to obtain a personal gain and/or a gain to other
               entities whose interests they represented; and

       l.      Furthering the LBO for a purpose other than a genuine effort to advance the
               welfare of Tribune.

       396.    The Director Defendants are not entitled to the protection of the business

judgment rule for the breach of their fiduciary duties, as the Director Defendants failed to act in

good faith and instead breached their duties of loyalty by acting in their own interests or in the

interests of entities other than Tribune.

       397.    By reason of the foregoing actions, the Director Defendants, acting both

individually and collectively, engaged in self-dealing, did not act in good faith, and breached

their respective fiduciary duties.

       398.    Tribune has been substantially damaged as a direct and proximate result of the

breaches of fiduciary duties by the Director Defendants.




                                                141
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 150 of 255




       399.    Accordingly, Plaintiff is entitled to judgment against the Director Defendants

jointly and severally, in an amount to be determined at trial, including but not limited to the

amount of the harm incurred by the Company as a result of the LBO, and disgorgement of any

amounts paid to the Director Defendants in connection with the LBO.

                                         COUNT FOUR
                                   Breach Of Fiduciary Duty
                                 Against The Officer Defendants

       400.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       401.    As officers of Tribune, the Officer Defendants owed Tribune fiduciary duties of

good faith, care, and loyalty. As Tribune was rendered insolvent by the LBO, the Officer

Defendants owed fiduciary duties to all of Tribune’s stakeholders, including its creditors, who

were harmed due to Tribune’s inability to pay them in full.

       402.    As an officer of Tribune, each Officer Defendant was obligated by his duty of care

to use that amount of care which an ordinarily careful and prudent person would use in similar

circumstances, and to consider all material information reasonably available.

       403.    As an officer of Tribune, each Officer Defendant was obligated by his duty of

loyalty to place Tribune’s interests above any interest possessed by the Officer Defendant that

was not shared by the corporation generally.

       404.    As an officer of Tribune, each Officer Defendant was obligated by his duty of

good faith not to intentionally fail to act in the face of a known duty to act.

       405.    Nearly all of the Officer Defendants owned shares in Tribune prior to and after

approval of the LBO, and received material cash proceeds, in many instances millions of dollars,

from the sale of their stock in connection with the LBO. In addition, the Officer Defendants

collectively received millions of dollars in special incentives for completing the LBO. These

                                                 142
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 151 of 255




financial benefits were not available to many Company stakeholders who were to remain

stakeholders following the LBO. Due to these direct financial benefits, the Officer Defendants

were interested in, and/or lacked independence with respect to, the LBO.

       406.    The Officer Defendants, acting both individually and collectively, failed to

exercise the necessary care, and breached their respective duties of good faith, care, and loyalty,

by, among other things:

       a.      Acting in their own interests by recommending the LBO to the Tribune Board,
               facilitating the closing of Steps One and Two, and ultimately allowing the LBO to
               close, even though they knew, or were reckless or grossly negligent in not
               knowing, that it would render the Company insolvent, inadequately capitalized,
               and unable to pay its debts as they came due;

       b.      Succumbing to financial incentives and catering to external influences in
               facilitating and advocating for the LBO, which favored interests other than those
               of the Company they were obligated to serve;

       c.      Preparing, instructing, and inducing VRC to rely on the patently unreasonable
               February 2007 Projections and October 2007 Projections, notwithstanding that
               they knew, or were reckless or grossly negligent in not knowing, that the
               projections were not prepared by, and were actively concealed from, the members
               of Tribune management with direct knowledge of facts that rendered them
               unreasonable, and that they knew, or were reckless or grossly negligent in not
               knowing, that Tribune would have to vastly outperform its own 2006 performance
               and its 2007 performance to date in order to meet the February 2007 Projections
               and October 2007 Projections; that the February 2007 Projections and October
               2007 Projections conflicted with Tribune’s internal projections; and that Tribune
               could not achieve the February 2007 Projections and October 2007 Projections;

       d.      Preparing, and inducing VRC to rely on, an inadequate downside analysis of the
               Company’s projections which assumed a materially more optimistic downside
               case than the Tribune Board had insisted on in connection with the Company’s
               2006 Leveraged Recapitalization, even though the publishing industry and the
               Company’s own financial performance had deteriorated since 2006 and despite
               the fact that the leverage associated with the LBO was more than double what the
               Company incurred in its 2006 Leveraged Recapitalization;

       e.      Relying on VRC’s solvency opinions, which were crucial to the consummation of
               the LBO, that they knew, or were reckless or grossly negligent in not knowing,
               deviated from industry standards, and where they also knew, or were reckless or
               grossly negligent in not knowing, that a solvency analysis prepared in accordance
               with industry standards would show that the LBO would render the Company

                                                143
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 152 of 255




               insolvent, inadequately capitalized, and unable to pay its debts as they came due,
               and would have prevented the consummation of the LBO;

       f.      In the case of certain of the Officer Defendants, colluding with VRC to ensure
               that VRC would deviate from industry standards in preparing its solvency
               opinions, which were crucial to the consummation of the LBO, because these
               Officer Defendants knew that a solvency analysis prepared under those standards
               would show that the LBO would render the Company insolvent, inadequately
               capitalized, and unable to pay its debts as they came due, and would have
               prevented the consummation of the LBO;

       g.      In the case of certain of the Officer Defendants, knowingly misrepresenting to
               VRC that an outside financial advisor had agreed with management’s
               unreasonable assumptions concerning the prospective ability of Tribune to
               refinance its debt;

       h.      Engaging in self-dealing by causing Tribune to borrow money and otherwise act
               to its own detriment in order to obtain a personal gain and/or a gain to other
               entities whose interests they represented; and

       i.      Furthering the LBO for a purpose other than a genuine effort to advance the
               welfare of Tribune.

       407.    The Officer Defendants are not entitled to the protection of the business judgment

rule for the breach of their fiduciary duties, as the Officer Defendants failed to act in good faith

and instead acted in their own interests or in the interests of entities other than Tribune.

       408.    By reason of the foregoing actions, the Officer Defendants, acting both

individually and collectively, engaged in self-dealing, did not act in good faith, and breached

their respective fiduciary duties.

       409.    Tribune has been substantially damaged as a direct and proximate result of the

breaches of fiduciary duties by the Officer Defendants.

       410.    Accordingly, Plaintiff is entitled to judgment against the Officer Defendants

jointly and severally in an amount to be determined at trial, including but not limited to the

amount of the harm incurred by the Company as a result of the LBO, and disgorgement of any

amounts paid to the Officer Defendants in connection with the LBO.


                                                 144
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 153 of 255




                                         COUNT FIVE
                                    Breach Of Fiduciary Duty
                                          Against Zell

       411.     Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       412.     As a director of Tribune, Zell owed Tribune fiduciary duties of good faith, care,

and loyalty. As Tribune was rendered insolvent by the LBO, Zell owed fiduciary duties to all of

Tribune’s stakeholders, including its creditors, who were harmed due to Tribune’s inability to pay

them in full.

       413.     As a director of Tribune, Zell was obligated by his duty of care to use that amount

of care which an ordinarily careful and prudent person would use in similar circumstances, and

to consider all material information reasonably available.

       414.     As a director of Tribune, Zell was obligated by his duty of loyalty to place

Tribune’s interests above any interest was not shared by the corporation generally.

       415.     As a director of Tribune, Zell was obligated by his duty of good faith not to

intentionally fail to act in the face of a known duty to act.

       416.     Zell controlled EGI-TRB, which entered into the Agreement and Plan of Merger

with Tribune on April 1, 2007. As a result, Zell was interested in, or lacked independence with

respect to, the LBO.

       417.     Zell proposed, negotiated, and facilitated the LBO. Zell acted in his own

interests, and/or in the interests of entities other than Tribune, in facilitating the consummation of

the LBO even though he knew, or was reckless or grossly negligent in not knowing, that it would

result in harm to Tribune. At a minimum, Zell was willfully blind to the foreseeable disastrous

consequences of the LBO, and acted with gross negligence and/or recklessness in advocating for



                                                 145
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 154 of 255




and facilitating consummation of a transaction that would, in short order, result in disaster for the

Company.

       418.     Zell, acting both individually and collectively with the D&O Defendants, failed to

exercise the necessary care, and breached his duties of good faith, care, and loyalty, by, among

other things:

       a.       Advocating for and facilitating consummation of Step Two of the imprudent and
                highly leveraged LBO that rendered Tribune insolvent, and allowing Step One of
                the LBO to close, while knowingly, recklessly, grossly negligently, and/or
                willfully blindly disregarding the foreseeable disastrous consequences of the
                LBO;

       b.       Engaging in self-dealing by advocating for and facilitating consummation of the
                LBO even though it favored interests (including his own) other than those of the
                Company that he was obligated to serve; and

       c.       Furthering the LBO for a purpose other than a genuine effort to advance the
                welfare of Tribune.

       419.     Zell is not entitled to the protection of the business judgment rule for the breach

of his fiduciary duties, as Zell failed to act in good faith and instead acted in his own interest or

in the interests of entities other than Tribune. Indeed, in taking the actions described above with

respect to the LBO, Zell abandoned Tribune’s interests. Zell knowingly and intentionally acted

in the sole pursuit of his personal individual interest. He did not act in order to achieve any

benefit, or accomplish any legitimate corporate purpose, for Tribune, in either the short term or

long term. To the contrary, he engaged in actions that did not confer any benefit upon or serve

any corporate purpose for Tribune and that could never have conferred any such benefit or

served any such purpose. The actions he took were entirely adverse to Tribune’s interests.

Notwithstanding the positions of trust that Zell occupied and the fiduciary duties he owed to

Tribune, he acted in service of interests wholly separate and distinct from those of the Company

he was obligated to serve.


                                                 146
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 155 of 255




       420.    By reason of the foregoing actions, Zell, acting both individually and collectively

with the D&O Defendants, engaged in self-dealing, did not act in good faith, and breached his

fiduciary duties.

       421.    Tribune has been substantially damaged as a direct and proximate result of the

breaches of fiduciary duties by Zell.

       422.    Accordingly, Plaintiff is entitled to judgment against Zell jointly and severally in

an amount to be determined at trial, including but not limited to the amount of the harm incurred

by the Company as a result of the LBO, and disgorgement of any payments to Zell or from

which Zell benefited that were made in connection with the LBO.

                                      COUNT SIX
         Aiding And Abetting Breaches Of Fiduciary Duty By The D&O Defendants
                     And By The Controlling Shareholder Defendants
                              Against The Zell Defendants

       423.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       424.    The Director Defendants, as directors of Tribune, the Officer Defendants, as

officers of Tribune, and the Controlling Shareholders, as controlling shareholders of Tribune,

owed Tribune fiduciary duties of good faith, care, and loyalty. As Tribune was rendered

insolvent by the LBO, the Director Defendants, the Officer Defendants, and the Controlling

Shareholders owed fiduciary duties to all of Tribune’s stakeholders, including its creditors, who

were harmed due to Tribune’s inability to pay them in full.

       425.    As alleged above, the Director Defendants, the Officer Defendants, and the

Controlling Shareholders, acting both individually and collectively, breached their respective

duties of good faith, care and loyalty.




                                                147
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 156 of 255




       426.    The Zell Defendants knew that the Director Defendants, the Officer Defendants,

and the Controlling Shareholders had the fiduciary duties alleged herein.

       427.    The Zell Defendants knew that nearly all of the Director Defendants, the Officer

Defendants, and the Controlling Shareholders owned shares in Tribune prior to and after

approval of the LBO, and would receive material cash proceeds, in many instances millions of

dollars, from the sale of their stock in connection with the LBO. The Zell Defendants knew that

these cash proceeds were not available to many Company stakeholders who were to remain

stakeholders following the LBO. The Zell Defendants knew that, due to these direct financial

benefits, each of the Director Defendants, the Officer Defendants, and the Controlling

Shareholders was interested in, and/or lacked independence with respect to, the LBO.

       428.    The Zell Defendants proposed, as part of the LBO, substantial financial incentives

for the Officer Defendants to consummate the transaction, and otherwise knew that each of the

Officer Defendants stood to receive additional substantial financial incentives upon completion

of the LBO, and that these financial incentives were not available to many Company

stakeholders who were to remain stakeholders following the LBO. The Zell Defendants knew

that, due to these direct financial benefits, the Officer Defendants were interested in, and/or

lacked independence with respect to, the LBO.

       429.    The Zell Defendants knew that the Chandler Trust Representatives had a fiduciary

duty to represent the interests of Tribune to the exclusion of other interests, and that they

separately had duties to the Chandler Trusts that were different from and inconsistent with their

duties to Tribune. The Zell Defendants also knew that the Chandler Trust Representatives had an

interest in obtaining the highest purchase price possible for Tribune’s shares as quickly as




                                                 148
       Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 157 of 255




possible, irrespective of the amount of leverage involved, and that that interest was inconsistent

with the Company’s interest in remaining viable following the LBO.

        430.   The Zell Defendants knowingly exploited these conflicts of interest and

participated in the breaches of fiduciary duty of the Director Defendants, the Officer Defendants,

and the Controlling Shareholders by (i) proposing terms for the LBO that were tailored to induce

support from each of the Director Defendants, the Officer Defendants, and the Controlling

Shareholders, based on their own interests (and, in the case of the Chandler Trust Representatives

and FitzSimons, the interests of the Chandler Trusts and the Foundations), and (ii) negotiating

and agreeing to terms for the LBO that redounded to the benefit of the Director Defendants, the

Officer Defendants, and the Controlling Shareholders at the expense of Tribune and its other

stakeholders, by, among other things:

        a.     Proposing an initial, inflated share price for the LBO, and then increasing that
               price, knowing that a higher share price would be more attractive to the Director
               Defendants, the Officer Defendants, and the Controlling Shareholders
               individually as shareholders, but would burden Tribune with more debt than was
               sustainable and was therefore detrimental to the interests of Tribune and its other
               stakeholders;

        b.     Proposing and agreeing to substantial financial incentives for the Officer
               Defendants that were material to those individuals and which would benefit those
               defendants individually rather than benefiting Tribune; and

        c.     Modifying the terms of the LBO from a one-step to a two-step transaction to
               accommodate the individual interests of the Controlling Shareholders, and
               consequently of the Chandler Trust Representatives and FitzSimons, and defeat
               their opposition to the LBO, rather than to accommodate any interest of Tribune.

        431.   The Zell Defendants also sought to capitalize on Zell’s reputation by coercing the

Lead Banks, and attempting to coerce Houlihan, into participating in a transaction that would

render the Company insolvent, inadequately capitalized, and unable to pay its debts as they came

due.



                                                149
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 158 of 255




       432.     The Zell Defendants thereby aided and abetted the breaches of fiduciary duties of

each of the Director Defendants, the Officer Defendants, and the Controlling Shareholders, and

were active and knowing participants in those breaches of fiduciary duties.

       433.     Tribune has been substantially damaged as a direct and proximate result of the

actions of the Zell Defendants in aiding and abetting the breaches of fiduciary duties set forth

fully herein.

       434.     Accordingly, Plaintiff is entitled to judgment against the Zell Defendants in an

amount to be determined at trial, including but not limited to the amount of the harm incurred by

the Company as a result of the LBO, and disgorgement of any amounts paid to the Zell

Defendants or from which Zell benefited that were made in connection with the LBO.

                                  COUNT SEVEN
   Avoidance And Recovery Of The EGI-TRB Transfers (Of At Least $258,918,859) As
  Constructive And/Or Actual Fraudulent Transfers Under Sections 548(a)(1)(A) And (B)
                         And 550(a) Of The Bankruptcy Code
                                  Against EGI-TRB

       435.     Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       436.     The EGI-TRB Transfers include the EGI-TRB Stock Sale, the Exchangeable Note

Obligation, the Exchangeable Note Transfer (which, as set forth herein and in Count Thirty Two,

was actually a transfer made on account of equity and not antecedent debt), and the EGI-TRB

Fee Transfers, as defined in Paragraphs 79 and 80, which EGI-TRB received in connection with

the LBO.

       437.     The EGI-TRB Transfers were made within two years of the Petition Date.

       438.     Tribune, by and through certain of its officers, directors, shareholders, and agents,

made the EGI-TRB Transfers with the actual intent to hinder, delay, and defraud Tribune’s



                                                 150
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 159 of 255




creditors, which intent is demonstrated by, among other things, the facts set forth in Paragraphs

379 and 380, which are incorporated herein by reference.

         439.   Tribune received less than reasonably equivalent value for the EGI-TRB

Transfers, and Tribune (i) at the time of the EGI-TRB Transfers was insolvent or became

insolvent as a result of the EGI-TRB Transfers; (ii) was engaged in business or a transaction, or

was about to engage in business or a transaction, for which Tribune was left with unreasonably

small capital; and/or (iii) intended to incur, or believed that it would incur, debts that would be

beyond its ability to pay as such debts matured.

         440.   Accordingly, the EGI-TRB Transfers were transfers in actual and constructive

fraud of the rights of the creditors of Tribune and its subsidiaries, and the EGI-TRB Transfers

should be avoided and recovered pursuant to Sections 548(a)(1)(A), 548(a)(1)(B), and 550(a) of

the Bankruptcy Code.

                                       COUNT EIGHT
                                     Alter Ego Liability
                         Against EGI, Sam Investment Trust, And Zell

         441.   Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

         442.   Sam Investment Trust, an irrevocable Illinois trust established for the benefit of

Zell and his family, is the sole member and 100% owner of EGI-TRB.

         443.   For tax purposes, EGI-TRB is disregarded as an entity separate from Sam

Investment Trust, and Zell is in turn treated as the owner of all of the property of Sam Investment

Trust.

         444.   EGI-TRB has no board of directors or similar board of managers.

         445.   Zell was at all relevant times the President and Chief Executive Officer of EGI-

TRB and was responsible for its general and active management of EGI-TRB.

                                                 151
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 160 of 255




       446.     William C. Pate, who was at all relevant times a managing director of EGI, which

Zell controls, was at all relevant times the Vice-President of EGI-TRB.

       447.     On information and belief, EGI-TRB has, and at all relevant times had, no office

of its own, and no employees of its own other than Zell and employees of EGI.

       448.     EGI-TRB is and was at all relevant times completely dominated by Zell, directly,

and indirectly through Sam Investment Trust and EGI and its employees, each of which Zell

controls.

       449.     EGI-TRB is and was at all relevant times merely an instrument for the operations

of Zell, the Sam Investment Trust, and EGI, and was further used as an instrument of fraud in an

effort to insulate Zell, the Sam Investment Trust, and EGI from liability relating to or arising

from the LBO.

       450.     Zell held himself out as the principal engaged in the LBO, and held Sam

Investment Trust, EGI, and EGI-TRB out as instruments for his own operations and for the

operations of one another. Tribune and its directors, officers, Controlling Shareholders, and

agents understood that EGI-TRB was merely an instrument of Zell’s operations and of the

operations of Sam Investment Trust and EGI, using Zell’s name to refer collectively to Zell, Sam

Investment Trust, EGI, and EGI-TRB.

       451.     EGI-TRB lacks and at all relevant times lacked sufficient capital to meet any

liabilities that might arise from the LBO.

       452.     EGI-TRB has no assets other than the EGI-TRB Claims, and is insolvent.

       453.     At all relevant times, EGI-TRB was the alter ago of Zell, was the alter ego of Sam

Investment Trust, and was the alter ego of EGI such that EGI-TRB’s corporate form should be

set aside for purposes of this action and Zell, Sam Investment Trust, and EGI are and should be



                                                152
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 161 of 255




held liable for any and all liabilities of EGI-TRB in this action, including liability arising from

the Shareholder Transfers, the EGI-TRB Transfers, the Exchangeable Note Transfer, and the

EGI-TRB Fee Transfers, jointly and severally with one another and with EGI-TRB.

                                   COUNT NINE
Preference Against Zell And EGI-TRB To Recover The Exchangeable Note Transfer (Of At
     Least $206,418,859) And The EGI-TRB Fee Transfers (Of At Least $2.5 Million)

       454.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       455.    EGI-TRB is an alter ego of Zell, who was an insider of Tribune at the time of the

Exchangeable Note Transfer and EGI-TRB Fee Transfers.

       456.    The Exchangeable Note Transfer and EGI-TRB Fee Transfers were made within

one year of the Petition Date. Certain of the EGI-TRB Fee Transfers were made within 90 days

of the Petition Date.

       457.    The Exchangeable Note Transfer and certain of the EGI-TRB Fee Transfers were

made for the benefit of Zell and/or EGI-TRB at a time while Tribune was insolvent. These EGI-

TRB Fee Transfers were made on account of antecedent debt, and, in the event that the

Exchangeable Note Transfer is not recharacterized or the Exchangeable Note Obligation is not

avoided, the Exchangeable Note Transfer was also made on account of antecedent debt.

       458.    The Exchangeable Note Transfer and EGI-TRB Fee Transfers enabled Zell and/or

EGI-TRB to receive more than they would have received if (i) the Debtors’ cases were under

Chapter 7 of the Bankruptcy Code; (ii) the Exchangeable Note Transfer and EGI-TRB Fee

Transfers had not been made; and (iii) Zell and/or EGI-TRB received payment of its debts under

the provisions of the Bankruptcy Code.

       459.    Accordingly, the Exchangeable Note Transfer and EGI-TRB Fee Transfers should

be avoided and recovered pursuant to Sections 547(b) and 550(a) of the Bankruptcy Code.

                                                 153
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 162 of 255




                                     COUNT TEN
   Preference Against EGI To Recover The EGI Reimbursements (Of At Least $586,759)

       460.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       461.    The EGI Reimbursements are the payments made by Tribune to EGI to reimburse

EGI for expenses in connection with the LBO, as identified in Paragraph 77.

       462.    The EGI Reimbursements were made to EGI within one year of the Petition Date.

       463.    The EGI Reimbursements were made for the benefit of EGI, for or on account of

antecedent debt and made while Tribune was insolvent.

       464.    The EGI Reimbursements enabled EGI to receive more than it would have

received if (i) the Debtors’ cases were under Chapter 7 of the Bankruptcy Code; (ii) the EGI

Reimbursements had not been made; and (iii) EGI received payment of its debts under the

provisions of the Bankruptcy Code.

       465.    Accordingly, the EGI Reimbursements should be avoided and recovered pursuant

to Sections 547(b) and 550(a) of the Bankruptcy Code.

                                  COUNT ELEVEN
    Avoidance And Recovery Of The EGI Reimbursements (Of At Least $586,759) As
  Constructive And/Or Actual Fraudulent Transfers Under Sections 548(a)(1)(A) And (B)
                   And 550(a) Of The Bankruptcy Code Against EGI

       466.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       467.    The EGI Reimbursements were made within two years of the Petition Date.

       468.    Tribune, by and through certain of its officers, directors, shareholders, and agents,

made the EGI Reimbursements with the actual intent to hinder, delay, and defraud Tribune’s

creditors, which intent is demonstrated by, among other things, the facts set forth in Paragraphs

379 and 380, which are incorporated herein by reference.

                                                154
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 163 of 255




       469.     Tribune received less than reasonably equivalent value for the EGI

Reimbursements, and Tribune, at the time of the EGI Reimbursements, (i) was insolvent or

became insolvent as a result of the EGI Reimbursements; (ii) was engaged in business or a

transaction, or was about to engage in business or a transaction, for which Tribune was left with

unreasonably small capital; and/or (iii) intended to incur, or believed that it would incur, debts

that would be beyond its ability to pay as such debts matured.

       470.     Accordingly, the EGI Reimbursements were transfers in fraud of the rights of the

creditors of Tribune and its subsidiaries, and the EGI Reimbursements should be avoided and

recovered pursuant to Sections 548(a)(1)(A), 548(a)(1)(B), and 550(a) of the Bankruptcy Code.

                                    COUNT TWELVE
              Breach Of Fiduciary Duty Against The Subsidiary D&O Defendants

       471.     Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       472.     As directors and/or officers of the Subsidiary Guarantors, each Subsidiary D&O

Defendant owed the Subsidiary Guarantor(s) that he or she served fiduciary duties of good faith,

care, and loyalty. As the Subsidiary Guarantors were rendered insolvent by the LBO, the

Subsidiary D&O Defendants owed fiduciary duties to all of the Subsidiary Guarantors and their

stakeholders, including the Subsidiary Guarantors’ creditors, who were harmed due to the

Subsidiary Guarantors’ inability to pay them in full.

       473.     As a director and/or officer of the Subsidiary Guarantors, each Subsidiary D&O

Defendant was obligated by his or her duty of care to use that amount of care which an ordinarily

careful and prudent person would use in similar circumstances, and to consider all material

information reasonably available.




                                                155
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 164 of 255




       474.    As a director and/or officer of the Subsidiary Guarantors, each Subsidiary D&O

Defendant was obligated by his or her duty of loyalty to place the interests of the Subsidiary

Guarantors above any interest possessed by the Subsidiary D&O Defendant and not shared by

the corporation generally.

       475.    As a director and/or officer of the Subsidiary Guarantors, each Subsidiary D&O

Defendant was obligated by his or her duty of good faith not to intentionally fail to act in the face

of a known duty to act.

       476.    Nearly all of the Subsidiary D&O Defendants owned shares in Tribune prior to

and after approval of the LBO, and received material cash proceeds, in many instances, hundreds

of thousands or millions of dollars, from the sale of their stock in connection with the LBO. In

addition, the Subsidiary D&O Defendants collectively received millions of dollars in special

incentives for completing the LBO. None of these financial incentives were available to

Company stakeholders who were to remain stakeholders following the LBO. Due to these direct

financial benefits, the Subsidiary D&O Defendants were interested in, and/or lacked

independence with respect to, the LBO and the approval of the Subsidiary Guarantees on behalf

of the Subsidiary Guarantors.

       477.    The Subsidiary D&O Defendants, acting both individually and collectively, failed

to exercise the necessary care, and breached their respective duties of good faith, care, and

loyalty, by, among other things:

       a.      Acting in their own interests by approving the Subsidiary Guarantees on behalf of
               the Subsidiary Guarantors, facilitating the closing of Steps One and Two, and
               ultimately allowing the LBO to close, even though they knew, or were reckless or
               grossly negligent in not knowing, that their conduct would render the Subsidiary
               Guarantors insolvent, inadequately capitalized, and unable to pay their debts as
               they came due;

       b.      Approving the Subsidiary Guarantees on behalf of the Subsidiary Guarantors
               without conducting any due diligence or independent investigation whatsoever,

                                                156
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 165 of 255




                and failing to engage in any deliberative process or to exercise any business
                judgment as to whether the Subsidiary Guarantees were in the best interest of the
                Subsidiary Guarantors or their creditors, even though the Subsidiary Guarantees
                rendered the Subsidiary Guarantors insolvent and provided no value to the
                Subsidiary Guarantors;

        c.      Succumbing to financial incentives and catering to external influences in
                approving the Subsidiary Guarantees on behalf of the Subsidiary Guarantors, and
                thereby facilitating the LBO, which favored interests other than those of the
                Subsidiary Guarantors they were obligated to serve;

        d.      Engaging in self-dealing by approving the Subsidiary Guarantees on behalf of the
                Subsidiary Guarantors, and thereby facilitating the LBO which harmed the
                Subsidiary Guarantors, in order to obtain a personal gain; and

        e.      Approving the Subsidiary Guarantees on behalf of the Subsidiary Guarantors, and
                thereby facilitating the LBO, for a purpose other than a genuine effort to advance
                the welfare of the Subsidiary Guarantors.

        478.    The Subsidiary D&O Defendants are not entitled to the protection of the business

judgment rule for the breach of their fiduciary duties, as the Subsidiary D&O Defendants failed

to act in good faith and instead acted in their own interests or in the interests of entities other

than the Subsidiary Guarantors. In addition, by failing to perform any due diligence or

independent investigation, to engage in any deliberative process, or to exercise any business

judgment prior to approving the Subsidiary Guarantees on behalf of the Subsidiary Guarantors,

the Subsidiary D&O Defendants intentionally failed to act in the face of a known duty to act.

        479.    By reason of the foregoing actions, the Subsidiary D&O Defendants, acting both

individually and collectively, engaged in self-dealing, did not act in good faith, and breached

their respective fiduciary duties.

        480.    The Subsidiary Guarantors have been substantially damaged as a direct and

proximate result of the breaches of fiduciary duties by the Subsidiary D&O Defendants.

        481.    Accordingly, Plaintiff is entitled to judgment against the Subsidiary D&O

Defendants in an amount to be determined at trial, including but not limited to the amount of the


                                                  157
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 166 of 255




harm incurred by the Subsidiary Guarantors as a result of the LBO and the approval of the

Subsidiary Guarantees, and disgorgement of any amounts paid to the Subsidiary D&O

Defendants in connection with the LBO.

                                  COUNT THIRTEEN
                             Aiding And Abetting Breach Of
           Fiduciary Duty Against The Subsidiary D&O Defendants And Amsden

        482.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

        483.    As directors and officers of Tribune, the D&O Defendants owed Tribune and its

stockholders fiduciary duties of good faith, care, and loyalty. As Tribune was rendered insolvent

by the LBO, the D&O Defendants owed fiduciary duties to all of Tribune’s stakeholders,

including its creditors, who were harmed due to Tribune’s inability to pay them in full.

        484.    The D&O Defendants, acting both individually and collectively, failed to exercise

the necessary care, and breached their respective duties of good faith, care, and loyalty as set

forth fully herein.

        485.    The Subsidiary D&O Defendants and Amsden knew that the D&O Defendants

had the fiduciary duties alleged herein. Indeed, four of the Subsidiary D&O Defendants—

FitzSimons, Bigelow, Kenney, and Hianik—are also D&O Defendants.

        486.    The Subsidiary D&O Defendants colluded in or aided and abetted the breaches of

fiduciary duties of the D&O Defendants, and were active and knowing participants in those

breaches of fiduciary duties by, among other things, approving the Subsidiary Guarantees and the

Pledge guaranteeing the obligations incurred in connection with the LBO, and failing to conduct

any independent investigation, to engage in any deliberative process, or to exercise any business

judgment on behalf of the Subsidiary Guarantors in connection with the approval of the

Subsidiary Guarantees.

                                                158
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 167 of 255




        487.    Amsden colluded in or aided and abetted the breaches of fiduciary duties of the

D&O Defendants, and was an active and knowing participant in those breaches of fiduciary

duties by, among other things, assisting in the preparation of the February 2007 Projections, and

the Company’s decision to continue to purport to rely on those projections notwithstanding that

the Company’s performance rendered them demonstrably unreliable, assisting in the preparation

of the overly optimistic and unrealistic October 2007 Projections, and assisting in the D&O

Defendants’ efforts to construct and utilize the fraudulent VRC solvency opinions to ensure that

the LBO closed.

        488.    Tribune has been substantially damaged as a direct and proximate result of the

actions of the Subsidiary D&O Defendants and Amsden in aiding and abetting the breaches of

fiduciary duties set forth fully herein.

        489.    Accordingly, Plaintiff is entitled to judgment against the Subsidiary D&O

Defendants and Amsden, jointly and severally, in an amount to be determined at trial, including

but not limited to the amount of the harm incurred by the Company as a result of the LBO, and

disgorgement of any amounts paid to the Subsidiary D&O Defendants and Amsden in

connection with the LBO.

                                 COUNT FOURTEEN
       Breach Of Fiduciary Duty Against The Chandler Trusts And The Foundations

        490.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

        491.    The Chandler Trusts and the Foundations each functioned as a controlling

shareholder, and acted in concert as a controlling shareholder, with respect to the LBO and

effectively had the capacity to block or preclude the transaction if they deemed it was not in their

own interests. The Chandler Trusts collectively owned 20% of Tribune’s stock in advance of


                                                159
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 168 of 255




Step One and, by virtue of these substantial stock holdings, made clear to the Tribune Board that

the Company had to comply with their demands and advance their objectives. Indeed, the

Chandler Trusts threatened the Board with certain adverse consequences if the Board failed to

comport with their demands. In addition, the Chandler Trusts had representatives on Tribune’s

Board. In response to the Chandler Trusts’ demands, Tribune formed the Special Committee,

actively pursued strategic transactions, modified the LBO structure proposed by Zell, and

ultimately entered into the LBO. The Chandler Trusts also entered into a voting agreement with

Tribune and EGI that virtually ensured that the LBO would be approved. Thus, for all practical

purposes, the Chandler Trusts were controlling shareholders with respect to the transaction.

       492.    The Foundations collectively owned 13% of Tribune’s stock at Step One, and

10% at Step Two. By virtue of their substantial stock holdings, the Foundations made clear to

the Tribune Board that it had to comply with their demands and advance their objectives.

Indeed, the Foundations threatened the Tribune Board with certain adverse consequences if the

Tribune Board failed to comport with their demands, and in response to those demands, Tribune

formed the Special Committee, actively pursued strategic transactions, modified the LBO

structure proposed by Zell, and ultimately entered into the LBO. In addition, the Foundations

each had representatives on Tribune’s Board, and through FitzSimons’ roles at both the

Foundations and Tribune, the Foundations had senior managerial presence at Tribune. The

Foundations exercised their control over the company by, among other things, directly

participating in the Special Committee’s review of potential transactions and by causing Tribune

to transform the LBO structure and ultimately enter into the LBO. Thus, for all practical

purposes, the Foundations were controlling shareholders with respect to the transaction.




                                               160
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 169 of 255




       493.     As controlling shareholders of Tribune, the Chandler Trusts and the Foundations

owed Tribune fiduciary duties of good faith, care, and loyalty. As Tribune was rendered

insolvent by the LBO, the Chandler Trusts and the Foundations owed fiduciary duties to all of

Tribune’s stakeholders, including its creditors, who were harmed due to Tribune’s inability to pay

them in full.

       494.     As fiduciaries, the Chandler Trusts and the Foundations were obligated by their

duty of care to use that amount of care which an ordinarily careful and prudent person would use

in similar circumstances, and to consider all material information reasonably available.

       495.     As fiduciaries, the Chandler Trusts and the Foundations were obligated by their

duty of loyalty to place Tribune’s interests above any interest not shared by the corporation

generally.

       496.     As fiduciaries, the Chandler Trusts and the Foundations were obligated by their

duty of good faith not to intentionally fail to act in the face of a known duty to act.

       497.     The Chandler Trusts and the Foundations, acting both individually and

collectively, failed to exercise the necessary care, and breached their respective duties of good

faith, care, and loyalty, by, among other things, (i) intentionally steering the D&O Defendants

toward a corporate strategy aimed at enhancing the interests of the Chandler Trusts and of the

Foundations at the expense of Tribune and its other stakeholders, (ii) interposing themselves in

the Tribune Board’s decision-making process and exerting undue influence over the D&O

Defendants, and (iii) ensuring the consummation of a transaction that the Chandler Trusts and the

Foundations knew, or were reckless or grossly negligent in not knowing, would render Tribune

insolvent, inadequately capitalized, and unable to pay its debts as they came due.




                                                 161
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 170 of 255




       498.    As controlling shareholders of Tribune, the Chandler Trusts and the Foundations

were not entitled to consider only their own interests in assessing the propriety of the LBO.

Rather, in deciding whether to participate in the LBO and thereby help ensure its effectuation,

the Chandler Trusts and the Foundations were obligated to consider the interests of Tribune and

all its stakeholders. By exclusively focusing on, pressing, and pursuing their own interests, and

by their other aforementioned acts and omissions, the Chandler Trusts and the Foundations

breached their fiduciary obligations.

       499.    The Chandler Trusts and the Foundations are not entitled to the protection of the

business judgment rule for the breach of their duties. The Chandler Trusts and the Foundations

failed to act in good faith and instead acted solely in their own interests. Indeed, the Chandler

Trusts and the Foundations abandoned Tribune’s interests, and took actions that were entirely

adverse to Tribune’s interests, both short term and long term.

       500.    By and through the LBO, the Chandler Trusts and the Foundations received

substantial proceeds for their Tribune stock that were funded by debt that rendered the Company

insolvent, inadequately capitalized, and unable to pay their debts as they came due.

       501.    Tribune has been substantially damaged as a direct and proximate result of the

breaches of fiduciary duties by the Chandler Trusts and the Foundations.

       502.    Accordingly, Plaintiff is entitled to judgment against the Chandler Trusts and the

Foundations jointly and severally in an amount to be determined at trial, including but not

limited to the amount of the harm incurred by the Company as a result of the LBO, and

disgorgement of any amounts paid to the Chandler Trusts and the Foundations in connection with

the LBO.




                                                162
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 171 of 255




                                  COUNT FIFTEEN
                    Aiding And Abetting Breach Of Fiduciary Duty
      Against The Chandler Trust Representatives And The Controlling Shareholders

        503.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

        504.    As directors and officers of Tribune, the D&O Defendants owed Tribune duties of

good faith, care, and loyalty. As Tribune was rendered insolvent by the LBO, the D&O

Defendants owed fiduciary duties to all of Tribune’s stakeholders, including its creditors who

were harmed due to Tribune’s inability to pay them in full.

        505.    The D&O Defendants, acting both individually and collectively, failed to exercise

the necessary care, and breached their respective duties of good faith, care, and loyalty as set

forth fully herein.

        506.    The Chandler Trust Representatives and the Controlling Shareholders knew that

the D&O Defendants had the fiduciary duties alleged herein. To the extent that the Controlling

Shareholders are determined not to be controlling shareholders with respect to the LBO, the

Controlling Shareholders are nonetheless liable for aiding and abetting the D&O Defendants’

fiduciary breaches as set forth herein.

        507.    The Chandler Trust Representatives and the Controlling Shareholders colluded in

or aided and abetted the D&O Defendants’ breaches of fiduciary duties, and were active and

knowing participants in those breaches of fiduciary duties by, among other things, (i)

intentionally steering the D&O Defendants toward a corporate strategy aimed at enhancing the

interests of the Controlling Shareholders at the expense of Tribune and its other stakeholders, (ii)

interposing themselves in the Tribune Board’s decision-making process and exerting undue

influence over the D&O Defendants in connection with the LBO by, among other things,

threatening the Board if it failed to pursue their desired course of action, and (iii) ensuring the

                                                 163
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 172 of 255




consummation of a transaction that the Chandler Trust Representatives and Controlling

Shareholders knew was not in the interests of the Company.

        508.    By and through the LBO, the Chandler Trust Representatives and the Controlling

Shareholders received substantial proceeds for their Tribune stock that were funded by debt that

rendered the Company insolvent.

        509.    Tribune has been substantially damaged as a direct and proximate result of the

actions of the Chandler Trust Representatives and the Controlling Shareholders in aiding and

abetting the breaches of fiduciary duties set forth fully herein.

        510.    Accordingly, Plaintiff is entitled to judgment against the Chandler Trust

Representatives and the Controlling Shareholders jointly and severally, in an amount to be

determined at trial, including but not limited to the amount of the harm incurred by the Company

as a result of the LBO, and disgorgement of any amounts paid to the Chandler Trust

Representatives and the Controlling Shareholders in connection with the LBO.

                                    COUNT SIXTEEN
                 Aiding And Abetting Breach Of Fiduciary Duty Against VRC

        511.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

        512.    As officers and directors of Tribune, the D&O Defendants owed Tribune and its

stockholders fiduciary duties of good faith, care, and loyalty. As Tribune was rendered insolvent

by the LBO, the D&O Defendants owed fiduciary duties to all of Tribune’s stakeholders,

including its creditors, who were harmed due to Tribune’s inability to pay them in full.

        513.    The D&O Defendants, acting both individually and collectively, failed to exercise

the necessary care, and breached their respective duties of good faith, care, and loyalty as set

forth fully herein.


                                                 164
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 173 of 255




       514.    VRC knew that the D&O Defendants had the fiduciary duties alleged herein.

       515.    VRC colluded in or aided and abetted the D&O Defendants’ breaches of fiduciary

duties, and was an active and knowing participant in those breaches of fiduciary duties, by,

among other things:

       a.      Agreeing to be engaged to provide solvency opinions, which were crucial to the
               consummation of the LBO, in the face of known and substantial risks that Tribune
               would be rendered insolvent as a result of the LBO and despite the prior refusal
               by Houlihan to accept the engagement;

       b.      Colluding with certain of the Officer Defendants to manipulate the definition of
               fair value in VRC’s solvency opinion, deviating from the legal and recognized
               industry standard definition of that term, where VRC and those Officer
               Defendants knew that a solvency analysis prepared in accordance with industry
               standards would show that the LBO would render the Company insolvent,
               inadequately capitalized, and unable to pay its debts as they came due, and would
               have prevented the consummation of the LBO;

       c.      Colluding with certain of the Officer Defendants to ignore the Step Two debt
               when issuing its Step One solvency opinion;

       d.      Participating in meetings of the Tribune Board that were designed to push the
               LBO forward;

       e.      Relying upon Tribune’s February 2007 Projections for its Step One solvency
               opinion notwithstanding that those projections were patently unreasonable and
               that Tribune’s actual financial performance had already deviated downward from
               plan by the time VRC issued its Step One opinion;

       f.      Altering how it weighted its various valuation methodologies in order to facilitate
               findings of solvency at both Step One and Step Two;

       g.      Relying upon Tribune’s inflated October 2007 Projections for its Step Two
               solvency opinion notwithstanding that those projections were patently
               unreasonable;

       h.      Ignoring its own internal analysis of Tribune management’s assumptions and
               projections at Step Two, which demonstrated that Tribune’s October 2007
               Projections were inflated and unreliable;

       i.      Failing to use reasonable professional judgment in reaching its solvency
               determinations;

       j.      Failing to use appropriate valuation and financial practices in its solvency
               determinations;

                                               165
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 174 of 255




       k.        Ignoring or failing to give effect to information known by or made known or
                 available to VRC that should have been considered under reasonable valuation
                 and financial practices; and

       l.        Being induced to provide solvency opinions that could not be justified in light of
                 applicable professional standards.

       516.      Tribune has been substantially damaged as a direct and proximate result of VRC’s

aiding and abetting the breaches of fiduciary duties set forth fully herein. The D&O Defendants

could not have consummated the LBO without the solvency opinions provided by VRC.

       517.      Accordingly, Plaintiff is entitled to judgment against VRC in an amount to be

determined at trial.

                                      COUNT SEVENTEEN
                              Professional Malpractice Against VRC

       518.      Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       519.      VRC was retained by Tribune to serve as one of Tribune’s professional financial

advisors in connection with the LBO and to, among other things, provide a series of solvency

opinions with respect thereto.

       520.      As Tribune’s professional financial advisor, VRC had a duty to use the same

degree of knowledge, skill, and ability as would an ordinarily careful professional in similar

circumstances.

       521.      VRC deviated from the standard of care expected of a professional financial

advisor or solvency opinion provider under these circumstances, and acted in bad faith, engaged

in willful misconduct, and/or was grossly negligent, by, among other things, taking the actions,

or failing to act, as set forth in paragraph 515, which is incorporated herein by reference.




                                                 166
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 175 of 255




       522.      Tribune has been substantially damaged as a direct and proximate result of VRC’s

professional malpractice, as set forth fully herein. The D&O Defendants could not have

consummated the LBO without the solvency opinions provided by VRC.

       523.      Accordingly, Plaintiff is entitled to judgment against VRC in an amount to be

determined at trial.

                                COUNT EIGHTEEN
Avoidance And Recovery Of The VRC Transfers (Of At Least $1.5 Million) As Constructive
 And/Or Actual Fraudulent Transfers Under Sections 548(a)(1)(A) And (B) And 550(a) Of
                        The Bankruptcy Code Against VRC

       524.      Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       525.      The VRC Transfers are the payments from Tribune to VRC for certain fees and

expenses in connection with the LBO identified in Paragraph 89.

       526.      The VRC Transfers were made within two years of the Petition Date.

       527.      Tribune, by and through certain of its officers, directors, shareholders, and agents,

made the VRC Transfers with the actual intent to hinder, delay, and defraud Tribune’s creditors,

which intent is demonstrated by, among other things, the facts set forth in Paragraphs 379 and

380, which are incorporated herein by reference.

       528.      Tribune received less than reasonably equivalent value for the VRC Transfers, and

Tribune (i) at the time of the VRC Transfers was insolvent or became insolvent as a result of the

VRC Transfers; (ii) was engaged in business or a transaction, or was about to engage in business

or a transaction, for which Tribune was left with unreasonably small capital; and/or (iii) intended

to incur, or believed that it would incur, debts that would be beyond its ability to pay as such

debts matured.




                                                  167
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 176 of 255




        529.    Accordingly, the VRC Transfers were transfers in actual and constructive fraud of

the rights of the creditors of Tribune and its subsidiaries, and the VRC Transfers should be

avoided and recovered pursuant to Sections 548(a)(1)(A), 548(a)(1)(B), and 550(a) of the

Bankruptcy Code.

                                     COUNT NINETEEN
                         Aiding And Abetting Breach Of Fiduciary Duty
                             Against GreatBanc And Duff & Phelps

        530.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

        531.    As officers and directors of Tribune, the D&O Defendants owed Tribune fiduciary

duties of good faith, care, and loyalty. As Tribune was rendered insolvent as a result of the LBO,

the D&O Defendants owed fiduciary duties to all of Tribune’s stakeholders, including its

creditors, who were harmed due to Tribune’s inability to pay them in full.

        532.    The D&O Defendants, acting both individually and collectively, failed to exercise

the necessary care, and breached their respective duties of good faith, care, and loyalty as set

forth fully herein.

        533.    GreatBanc and Duff & Phelps knew that the D&O Defendants had the fiduciary

duties alleged herein.

        534.    GreatBanc and Duff & Phelps knew that the D&O Defendants could not

consummate the LBO without their participation.

        535.    GreatBanc colluded in or aided and abetted the D&O Defendants’ breaches of

fiduciary duties, and was an active and knowing participant in those breaches of fiduciary duties

by, among other things:

        a.      Participating in meetings of the Tribune Board that were designed to push the
                LBO forward;


                                                168
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 177 of 255




       b.      Executing the Merger Agreement and ESOP Purchase Agreement with knowledge
               that, under all applicable legal standards, the LBO would render Tribune
               insolvent;

       c.      Purporting to rely on Duff & Phelps’ fairness opinion, viability opinion, and
               supporting ESOP Analysis to justify its decision to approve the LBO, with
               knowledge that those opinions (i) did not conform to accepted legal standards for
               solvency analysis; (ii) used improper valuation techniques; and (iii) were based on
               information and assumptions that GreatBanc knew to be inaccurate;

       d.      Voting all of the ESOP’s shares in favor of the merger despite its knowledge that,
               to the extent Tribune was not already insolvent or operating in the zone of
               insolvency, the merger would render the Company insolvent;

       e.      Failing to halt the merger in advance of closing despite its knowledge that, to the
               extent Tribune was not already insolvent or operating in the zone of insolvency,
               the closing of the merger would render Tribune insolvent;

       f.      Failing to ensure that the LBO complied with applicable legal requirements; and

       g.      Being induced to proceed with the LBO in the face of the aforementioned
               breaches.

       536.    Duff & Phelps colluded in or aided and abetted the D&O Defendants’ breaches of

fiduciary duties, and was an active and knowing participant in those breaches of fiduciary duties

by, among other things:

       a.      Participating in meetings of the Tribune Board that were designed to push the
               LBO forward;

       b.      Issuing an opinion to GreatBanc that the terms and conditions of the LBO were
               fair and reasonable to the ESOP from a financial point of view despite its
               knowledge that, under all applicable legal standards, the LBO would render
               Tribune insolvent;

       c.      Issuing an opinion to GreatBanc as to the post-transaction viability of Tribune
               despite its knowledge that, under all applicable legal standards, the LBO would
               render Tribune insolvent;

       d.      Rendering the fairness opinion, viability opinion, and supporting ESOP Analysis
               to GreatBanc with the intent that GreatBanc would purport to rely on those
               opinions and with knowledge that those opinions (i) did not conform to accepted
               legal standards for solvency analysis; (ii) used improper valuation techniques; and
               (iii) were based on information and assumptions that Duff & Phelps knew to be
               inaccurate; and


                                               169
        Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 178 of 255




         e.     Being induced to proceed with the issuance of its opinions so that GreatBanc
                could approve and move forward with the LBO in the face of the aforementioned
                breaches.

         537.   Tribune has been substantially damaged as a direct and proximate result of

GreatBanc’s and Duff & Phelps’ aiding and abetting the breaches of fiduciary duties set forth

fully herein. The D&O Defendants could not have consummated the LBO without the approval

and participation of GreatBanc on behalf of the ESOP. Moreover, GreatBanc’s approval of the

LBO was contingent upon its receipt of a fairness opinion, viability opinion, and supporting

ESOP Analysis from Duff & Phelps.

         538.   Accordingly, Plaintiff is entitled to judgment against GreatBanc and Duff &

Phelps in an amount to be determined at trial.

                                COUNT TWENTY
 Avoidance And Recovery Of The Morgan Stanley Advisor Fees (At Least $10 Million) As
 Constructive And/Or Actual Fraudulent Transfers Under Sections 548(a)(1)(A) And (B)
             And 550(a) Of The Bankruptcy Code Against Morgan Stanley

         539.   Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

         540.   The Morgan Stanley Advisor Fees are the payments from Tribune to Morgan

Stanley for certain fees and expenses identified in Paragraph 137.

         541.   By October 2006, the Company engaged Morgan Stanley to advise the Special

Committee to the Tribune Board in connection with a potential financial transaction.

         542.   Pursuant to the Company’s engagement of Morgan Stanley, Tribune transferred or

caused to be transferred the Morgan Stanley Advisor Fees to Morgan Stanley.

         543.   The Morgan Stanley Advisor Fees were paid within two years of the Petition

Date.




                                                 170
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 179 of 255




       544.    Tribune, by and through certain of its officers, directors, shareholders, and agents,

transferred the Morgan Stanley Advisor Fees with the actual intent to hinder, delay, and defraud

Tribune’s creditors, which intent is demonstrated by, among other things, the facts set forth in

Paragraphs 379 and 380, which are incorporated herein by reference.

       545.    Tribune received less than reasonably equivalent value for the Morgan Stanley

Advisor Fees, and Tribune, at the time of the payment of the Morgan Stanley Advisor Fees, was

(i) insolvent or became insolvent as a result of the Morgan Stanley Advisor Fees; (ii) was

engaged in business or a transaction, or was about to engage in business or a transaction, for

which Tribune was left with unreasonably small capital; and/or (iii) intended to incur, or believed

that it would incur, debts that would be beyond its ability to pay as such debts matured.

       546.    Accordingly, payment of the Morgan Stanley Advisor Fees was a transfer in fraud

of the rights of the creditors of Tribune and its subsidiaries, and the payment of the Morgan

Stanley Advisor Fees should be avoided and recovered pursuant to Sections 548(a)(1)(A),

548(a)(1)(B), and 550(a) of the Bankruptcy Code.

                                  COUNT TWENTY ONE
                        Aiding And Abetting Breach Of Fiduciary Duty
                                  Against Morgan Stanley

       547.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       548.    As officers and directors of Tribune, the D&O Defendants owed Tribune fiduciary

duties of good faith, care, and loyalty. As Tribune was rendered insolvent by the LBO, the D&O

Defendants owed fiduciary duties to all of Tribune’s stakeholders, including its creditors, who

were harmed due to Tribune’s inability to pay them in full.




                                                171
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 180 of 255




        549.    The D&O Defendants, acting both individually and collectively, failed to exercise

the necessary care, and breached their respective duties of good faith, care, and loyalty as set

forth fully herein.

        550.    The Company’s management, including Bigelow and Grenesko, acting both

individually and collectively, further failed to exercise the necessary care, and breached their

respective duties of good faith, care, and loyalty as set forth fully herein.

        551.    Morgan Stanley knew that the Company’s officers and directors had the fiduciary

duties alleged herein.

        552.    Morgan Stanley, as a professional financial adviser to the Company and Special

Committee, had an obligation to advise them of facts relevant to the scope of its engagement,

including facts bearing on the likelihood that the LBO would render the Company insolvent.

Morgan Stanley colluded in or aided and abetted the breaches of fiduciary duties by the D&O

Defendants, and was an active and knowing participant in those breaches of fiduciary duties by,

among other things:

        a.      Advising the Special Committee on the LBO when it stood to gain substantially
                more if the LBO proceeded than if no transaction were consummated;

        b.      Recommending and supporting the LBO in its role as a professional financial
                advisor to the Company when it knew that the LBO would or was highly likely to
                render Tribune insolvent; and

        c.      Failing to disclose to the Tribune Board or Special Committee (i) that the LBO
                would or was highly likely to render the Company insolvent; (ii) Morgan
                Stanley’s internal valuations of the Company showing that Tribune would be
                insolvent after Step Two under certain reasonable assumptions; and (iii) that
                Morgan Stanley was unable to make a representation as to Tribune’s ability to
                refinance the LBO Debt and that the representations by Bigelow and/or Grenesko
                to VRC that Morgan Stanley agreed with the Company’s assumptions concerning
                refinancing of the LBO Debt were incorrect.




                                                 172
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 181 of 255




       553.    Morgan Stanley’s actions were grossly negligent. In recommending and

supporting the LBO, Morgan Stanley failed to exercise even slight care and acted in such a way

as to show complete disregard for the rights and safety of others.

       554.    The Company has been substantially damaged as a direct and proximate result of

Morgan Stanley’s aiding and abetting the breaches of fiduciary duties set forth herein.

       555.    Accordingly, Plaintiff is entitled to recover damages from Morgan Stanley in an

amount to be determined at trial.

                                   COUNT TWENTY TWO
                       Professional Malpractice Against Morgan Stanley

       556.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       557.    Morgan Stanley agreed to provide professional financial advice to the Special

Committee in connection with the LBO, including whether to pursue a transaction, and what

form of transaction to pursue, and to the Company in connection with Step Two, including

advice on negotiations with the LBO Lenders and advice concerning VRC’s solvency opinions,

and continued to provide advice to the Special Committee in connection with Step Two.

       558.    In providing professional financial advice to the Company and the Special

Committee, Morgan Stanley had a duty to use the same degree of knowledge, skill, and ability as

would an ordinarily prudent professional in similar circumstances.

       559.    Morgan Stanley deviated from the standard of care expected of a professional

financial advisor under these circumstances, and, in fact, failed to exercise even slight care in

rendering financial advice to the Company. Morgan Stanley was grossly negligent by, among

other things, taking the actions, or failing to act, as set forth in paragraph 552, which is

incorporated herein by reference.


                                                 173
       Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 182 of 255




        560.   The Company has been substantially damaged as a direct and proximate result of

Morgan Stanley’s professional malpractice set forth fully herein.

        561.   Accordingly, Plaintiff is entitled to judgment against Morgan Stanley for damages

in an amount to be determined at trial.

                                COUNT TWENTY THREE
                       Preference Against Morgan Stanley To Recover
                  The Morgan Stanley Reimbursement (Of At Least $46,020)

        562.   Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

        563.   The Morgan Stanley Reimbursement is the payment from Tribune to Morgan

Stanley for certain expenses purportedly incurred by Morgan Stanley identified in Paragraph

371.

        564.   The Morgan Stanley Reimbursement was made to Morgan Stanley within 90 days

of the Petition Date.

        565.   The Morgan Stanley Reimbursement was made for the benefit of Morgan Stanley,

for or on account of antecedent debt and made while Tribune was insolvent.

        566.   The Morgan Stanley Reimbursement enabled Morgan Stanley to receive more

than it would have received if (i) the Debtors’ cases were under Chapter 7 of the Bankruptcy

Code; (ii) the Morgan Stanley Reimbursement had not been made; and (iii) Morgan Stanley

received payment of its debts under the provisions of the Bankruptcy Code.

        567.   Accordingly, the Morgan Stanley Reimbursement should be avoided and

recovered pursuant to Sections 547(b) and 550(a) of the Bankruptcy Code.




                                               174
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 183 of 255




                                  COUNT TWENTY FOUR
                        Fraud/Insider Trading Against Morgan Stanley

       568.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       569.    Morgan Stanley was engaged by the Company to advise the Special Committee

and the Company as a financial advisor. In that capacity, Morgan Stanley knew it would receive,

and did receive, highly confidential financial information concerning the Company, including

internal financial projections and information concerning bankruptcy planning.

       570.    In its role as financial advisor to the Company and Special Committee, Morgan

Stanley occupied a special position of trust and confidence in relation to the Company and in the

conduct of the Company’s business. Accordingly, by virtue of its position, Morgan Stanley had a

duty to maintain the confidentiality of non-public information the Company provided to it solely

for corporate purposes, and a duty not to use such information for its own financial benefit.

       571.    Morgan Stanley used that confidential financial information to prepare analyses of

the solvency of the Company and concluded that under certain assumptions, the LBO would

render the Company insolvent.

       572.    Tribune had a reasonable expectation that Morgan Stanley would maintain the

confidentiality of such non-public information. Tribune provided Morgan Stanley with such

information in reliance on Morgan Stanley’s not misusing the Company’s non-public information

to the Company’s detriment or for Morgan Stanley’s benefit.

       573.    Morgan Stanley breached its duty to the Company and engaged in fraud, as

detailed above, by inducing the Company to provide Morgan Stanley, as an inside advisor to the

Company, with material non-public information, then knowingly or recklessly using such

information concerning the likelihood that Tribune would file for bankruptcy in deciding to


                                               175
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 184 of 255




purchase Tribune 7.5% Debentures in April and November 2008 and in transferring those

debentures and previously purchased debentures to MSCS. When it made these purchases and

transfers, Morgan Stanley knew that, in the event of a Company bankruptcy, it would attempt to

set off the face amount of the debentures against MSCS’s obligations under the Swap Agreement

and stood to make enormous profits as a result—more than seven times its investment with

respect to the debentures purchased in November.

       574.    Morgan Stanley’s fraud, breach of duty, and insider trading injured the Company

because it caused the Company to receive substantially less in a final payment under the Swap

Agreement from Morgan Stanley.

       575.    Accordingly, Plaintiff is entitled to recover damages from Morgan Stanley in an

amount to be determined at trial.

                                  COUNT TWENTY FIVE
                      Breach Of Fiduciary Duty Against Morgan Stanley

       576.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       577.    As described above, Morgan Stanley was engaged by the Company in 2006 as a

financial advisor to advise the Special Committee with respect to various issues relating to the

LBO and other potential restructuring transactions, including issues concerning the solvency of

the Company assuming completion of the LBO. In late 2007, Morgan Stanley also agreed to

advise the Company with respect to various issues relating to the LBO. In its role as financial

advisor to the Company and Special Committee from 2006 to 2007, and as financial advisor to

the Company in 2008, Morgan Stanley occupied a special position of trust and confidence in

relation to the Company and in the conduct of the Company’s business and thereby owed

fiduciary obligations to the Company and the Special Committee, including the duty of loyalty.


                                               176
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 185 of 255




       578.    Morgan Stanley breached its duty of loyalty to the Company and Special

Committee by taking the actions, or failing to act, as set forth in paragraphs 552, which is

incorporated herein by reference.

       579.    The Company provided Morgan Stanley, in its capacity as financial advisor, with

highly confidential financial information concerning the Company, including internal financial

projections and information concerning bankruptcy planning.

       580.    As part of its duty of loyalty, Morgan Stanley had an express or implied duty not

to misuse non-public information the Company provided to it in its role as financial advisor for

its own financial benefit and to the Company’s detriment.

       581.    Morgan Stanley also breached its fiduciary duty of loyalty by engaging in insider

trading.

       582.    Morgan Stanley used confidential information concerning the likelihood that

Tribune would file for bankruptcy in deciding to purchase Tribune 7.5% Debentures in April and

November 2008 for its own financial benefit and to the Company’s detriment. When it made

these purchases, Morgan Stanley knew that it would transfer the debentures to MSCS so that it

could, in the event of a Company bankruptcy, set off the face amount of the debentures against

MSCS’s obligations under the Swap Agreement and make enormous profits as a result—more

than seven times its investment with respect to the debentures purchased in November. Because

Morgan Stanley had confidential information from Tribune on the Company’s financial

predicament, Morgan Stanley could and did decide to buy the Debentures when it did with

confidence that it would profit as a result.

       583.    The Company has been substantially damaged as a direct and proximate result of

Morgan Stanley’s breaches of fiduciary duties set forth herein.



                                                177
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 186 of 255




       584.    Accordingly, Plaintiff is entitled to recover damages from Morgan Stanley in an

amount to be determined at trial.

                                 COUNT TWENTY SIX
               Aiding And Abetting Breach Of Fiduciary Duty Against MSCS

       585.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       586.    MSCS colluded in or aided and abetted the breach of fiduciary duties by Morgan

Stanley, and was an active and knowing participant in those breaches of fiduciary duties by,

among other things, (a) receiving an assignment or transfer of Tribune 7.5% Debentures

purchased by Morgan Stanley for the purpose of utilizing them to offset amounts owing to the

Company under the Swap Agreement in the event of a Company bankruptcy, and (b) offsetting

such amounts after the Company commenced its bankruptcy case.

       587.    The Company has been substantially damaged as a direct and proximate result of

MSCS’s aiding and abetting the breaches of fiduciary duties set forth herein.

       588.    Accordingly, Plaintiff is entitled to judgment against MSCS for damages in an

amount to be determined at trial.

                                COUNT TWENTY SEVEN
                     Breach Of Contract, Including Breach Of Covenant
                      Of Good Faith And Fair Dealing, Against MSCS

       589.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       590.    The Swap Agreement, entered into between MSCS and The Times Mirror

Company, a predecessor to the Company, is a binding and enforceable agreement.

       591.    The Company and its predecessors performed their obligations under the Swap

Agreement.


                                               178
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 187 of 255




       592.    MSCS breached the Swap Agreement by acquiring in bad faith the Tribune 7.5%

Debentures from Morgan Stanley for the sole purpose of setting them off against the amount that

MSCS would owe to the Company under the Swap Agreement. This action by MSCS was done

in bad faith and constitutes a breach of the duty of good faith and fair dealing inherent in every

contract, including the Swap Agreement. MSCS’s subsequent assertion of a right of setoff

constitutes an additional breach of the covenant of good faith and fair dealing.

       593.    The Company has been substantially damaged as a result of these breaches.

       594.    Accordingly, Plaintiff is entitled to recover damages from MSCS in an amount to

be determined at trial.

                                   COUNT TWENTY EIGHT
                    Willful Violation Of The Automatic Stay Against MSCS

       595.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       596.    With full knowledge of Tribune’s Chapter 11 case, MSCS willfully violated the

automatic stay under Section 362(a)(7) of the Bankruptcy Code by offsetting the amount of the

Tribune 7.5% Debentures purchased by Morgan Stanley and thereafter transferred to MSCS

against amounts owed by MSCS to the Company under the Swap Agreement.

       597.    MSCS’s violation of the automatic stay caused Tribune to incur actual damages,

including costs and attorneys’ fees.

       598.    Accordingly, Plaintiff is entitled to judgment against MSCS for damages in an

amount to be determined at trial, plus costs and attorneys’ fees.




                                                179
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 188 of 255




                               COUNT TWENTY NINE
   Equitable Subordination And Disallowance Of The MSCS Claim And Denial Of Setoff
                                     Against MSCS

          599.   Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

          600.   MSCS acted inequitably in aiding and abetting Morgan Stanley in its breach of

fiduciary duties and by willfully violating the automatic stay to effect a setoff of amounts owed

under the Swap Agreement. The Company’s stakeholders, including creditors, were injured as a

result.

          601.   MSCS is affiliated with Morgan Stanley, which is an insider of the Company as a

result of its engagement as a financial advisor to Tribune and the Special Committee and by its

possession of material non-public information about the Company’s financial predicament.

          602.   The purchase of Tribune 7.5% Debentures by Morgan Stanley and the transfer of

those Debentures by Morgan Stanley to MSCS was a coordinated scheme by two affiliates that

sought to allow an affiliated non-insider to prosper as a result of an insider’s acts. Accordingly,

equity dictates that MSCS be treated as an insider as well.

          603.   Equitable subordination and disallowance of the MSCS Claim is consistent with

the provisions and purposes of the Bankruptcy Code.

          604.   Accordingly, the MSCS Claim should be equitably subordinated and/or

disallowed, and MSCS’s setoff denied.

                                 COUNT THIRTY
   Turnover To Recover Under The Swap Agreement (Of At Least $59.6 Million) Against
                                      MSCS

          605.   Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.



                                                 180
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 189 of 255




          606.   MSCS owes a matured and payable debt to the Company of at least $59.6 million

under the Swap Agreement that is property of the estate and not susceptible to setoff.

          607.   Accordingly, MSCS should pay that debt without further delay.

                                  COUNT THIRTY ONE
                      Unjust Enrichment Against The D&O Defendants,
           Subsidiary D&O Defendants, Controlling Shareholders, Zell Defendants,
           Tower Defendants, VRC, GreatBanc, Duff & Phelps, And Morgan Stanley

          608.   Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

          609.   By virtue of their own wrongful acts and omissions, and through the wrongful

receipt of payments and distributions from Tribune at a time when Tribune was insolvent or

became insolvent as a result of the LBO, the D&O Defendants, the Subsidiary D&O Defendants,

Controlling Shareholders, Zell Defendants, Tower Defendants, VRC, GreatBanc, Duff & Phelps,

and Morgan Stanley have unjustly retained cash, credit, and other things of value that belong to

Tribune, their retention of which violates fundamental principles of justice, equity, and good

conscience.

          610.   The Subsidiary D&O Defendants, Controlling Shareholders, Zell Defendants,

Tower Defendants, VRC, GreatBanc, Duff & Phelps, and Morgan Stanley are therefore liable to

Tribune for unjust enrichment.

          611.   Plaintiff seeks restitution from these defendants and an order of this Court

disgorging all payments, transfers, credit, profits, fees, benefits, incentives, and other things of

value obtained by the defendants as a result of their wrongful conduct and breaches of fiduciary

duties.




                                                 181
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 190 of 255




       612.      By virtue of the foregoing, these defendants are liable to reimburse Tribune by the

amount of the payments, profits, fees, benefits, incentives, and other compensation they received

in connection with the LBO.

                                    COUNT THIRTY TWO
                    Recharacterization Of The Exchangeable Note As Equity
                                 Pursuant To 11 U.S.C. § 105

       613.      Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       614.      EGI-TRB contributed $200 million to Tribune in exchange for the Exchangeable

Note. EGI-TRB was not a true creditor nor was the Exchangeable Note a true debt instrument.

As reflected in Tribune’s April 2, 2007 press release and Tribune’s internal documents, this

money was an “invest[ment]” by Zell in Tribune, which was intended to be used to pay

shareholders who tendered their shares at Step One of the LBO. This money was in fact used to

pay shareholders who tendered their shares at Step One of the LBO and to cover fees associated

with Step One.

       615.      EGI-TRB was a holder of both the Exchangeable Note and 1,470,588 shares of

Tribune stock.

       616.      The Exchangeable Note was unsecured and subordinated to the right of payment

to all “Senior Obligations,” which term was defined therein as “all obligations, indebtedness and

other liabilities of [Tribune] other [than] any such obligations, indebtedness or liabilities that by

its express terms ranks pari passu or junior to [Tribune’s] obligations under this Note, in each

case, whether incurred on or prior to the date hereof or hereafter incurred.” The Exchangeable

Note was thus subordinate to all of the debt incurred by Tribune in connection with the LBO.

       617.      The Exchangeable Note had no fixed date of maturity and did not provide a fixed

schedule of payments of principal.

                                                 182
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 191 of 255




       618.    The Exchangeable Note provided for interest to be paid at an annual rate of 4.81%

per annum, but interest payments were to be made, on a quarterly basis, if and only if Tribune’s

senior indebtedness was retired. The Exchangeable Note therefore did not provide for the

regular payment of interest because payment of interest was conditioned on the repayment of

senior obligations, which was not expected to occur and did not occur during the term of the

Exchangeable Note.

       619.    Tribune had the option to exchange any portion of the outstanding principal

amount owed on the Exchangeable Note for shares of Tribune stock at any time. If Step Two of

the LBO failed to close, the outstanding principal amount owed on the Exchangeable Note would

be automatically exchanged for shares of Tribune stock without any further action by Tribune or

EGI-TRB. Repayment of the principal and accrued interest was only required upon, and was

therefore dependent upon, the success of the LBO.

       620.    The amount paid or credited by Tribune to EGI-TRB in exchange for the

Exchangeable Note was based upon the price that would have been paid to EGI-TRB had the

Exchangeable Note been converted to stock and the stock redeemed by Tribune.

       621.    The Exchangeable Note was a sui generis instrument tailored to Zell’s and EGI-

TRB’s participation in the LBO, and under the circumstances a reasonable outside creditor would

not have made a loan to the Company on similar terms.

       622.    The proceeds that the Company received in return for the Exchangeable Note

were used to finance and pay fees for the LBO, rather than to finance the Company’s ordinary

business.

       623.    No sinking fund was established in connection with the Exchangeable Note.




                                               183
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 192 of 255




       624.    Based on the real nature of the Exchangeable Note, the Exchangeable Note should

be recharacterized as equity pursuant to Section 105 of the Bankruptcy Code.

                                COUNT THIRTY THREE
              Equitable Subordination And Disallowance Of The D&O Creditor
                      Claims, Subsidiary Creditor Claims, Zell Claims,
                           EGI-TRB Claims, And Tower Claims

       625.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       626.    The D&O Defendants, the Subsidiary D&O Defendants, Zell, EGI-TRB, and the

Tower Defendants were insiders as defined by Section 101(31) of the Bankruptcy Code at the

time of the transaction.

       627.    None of the D&O Defendants, Subsidiary D&O Defendants, Zell Defendants,

EGI-TRB, or Tower Defendants have paid the amount, or turned over any property, for which

any such defendant is liable.

       628.    The D&O Defendants, Subsidiary D&O Defendants, and Zell Defendants

engaged in a pattern of misconduct designed to enrich themselves at the expense of Tribune, the

Subsidiary Guarantors, and their stakeholders, including creditors, by, among other things:

       a.      Approving the LBO, and permitting Steps One and Two to close even though they
               knew, or were reckless or grossly negligent in not knowing, that the LBO would
               render the Company insolvent, inadequately capitalized, and unable to pay its
               debts as they came due;

       b.      Failing, at every stage of the LBO, to adequately analyze the impact that the LBO
               would have on the Company and those parties who would continue to be creditors
               and/or constituents of the Company, and voting in favor of and/or advocating for
               the LBO, notwithstanding that they knew, or were reckless or grossly negligent in
               not knowing, that it would render the Company insolvent, inadequately
               capitalized, and unable to pay its debts as they came due;

       c.      Advocating for and facilitating consummation of Step Two of the imprudent and
               highly leveraged LBO that rendered Tribune insolvent, and knowingly, recklessly,
               grossly negligently, and/or willfully blindly disregarding the foreseeable
               disastrous consequences of the LBO; and

                                               184
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 193 of 255




       d.      Succumbing to financial incentives and catering to external influences in
               facilitating and advocating for the LBO, which benefited the Controlling
               Shareholders, the D&O Defendants, the Subsidiary D&O Defendants, and Zell
               Defendants, but was detrimental to the Company and those parties who would
               continue to be creditors and/or constituents of the Company.

       629.    The misconduct of the D&O Defendants, Subsidiary D&O Defendants, and Zell

Defendants described herein was inequitable, and resulted in injury to Tribune’s and the

Subsidiary Guarantors’ stakeholders, including creditors.

       630.    EGI-TRB and the Tower Defendants knew, or were reckless or grossly negligent

in not knowing, of the inequitable misconduct of the D&O Defendants, Subsidiary D&O

Defendants, and Zell Defendants described herein, and that such misconduct would result in

injury to Tribune’s and the Subsidiary Guarantors’ stakeholders, including creditors.

       631.    Any claims arising from the Subordinated Note, including principal and interest,

and all other obligations and liabilities of Tribune to EGI-TRB or the Tower Defendants, are

contractually subordinate and junior to all obligations, indebtedness and other liabilities of

Tribune with certain inapplicable exceptions. To the extent that any such claims are not already

fully contractually subordinated, however, they should be equitably subordinated to all other

claims, and/or disallowed.

       632.    Because EGI-TRB assigned minority interests in the Subordinated Note to the

Tower Defendants, EGI-TRB thereby assigned the Tower Claims to the Tower Defendants. If

the Tower Claims had not been assigned to the Tower Defendants—and instead had been

asserted by, on behalf of, or for the benefit of EGI-TRB—each Tower Creditor Claim would

have been subject to equitable subordination and disallowance pursuant to Sections 510(c) and

502(d), respectively, of the Bankruptcy Code. Thus, each Tower Creditor Claim should be

equitably subordinated and/or disallowed to the same extent that it would have been had EGI-

TRB not assigned the Tower Claims and, instead, continued to hold such claims.

                                                185
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 194 of 255




       633.    Equitable subordination and disallowance of the D&O Creditor Claims,

Subsidiary Creditor Claims, Zell Claims, EGI-TRB Claims, and Tower Claims is consistent with

the provisions and purposes of the Bankruptcy Code.

       634.    Accordingly, the D&O Creditor Claims, Subsidiary Creditor Claims, Zell Claims,

EGI-TRB Claims, and Tower Claims should be equitably subordinated and/or disallowed.

                               COUNT THIRTY FOUR
     Avoidance And Recovery Of The Insider Payments (Of At Least $81 Million) As
  Constructive And/Or Actual Fraudulent Transfers Under Sections 548(a)(1)(A) And (B)
              And 550(a) Of The Bankruptcy Code Against The Defendants
                            Listed Herein And In Exhibit C

       635.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

       636.    The D&O Defendants, the Subsidiary D&O Defendants, and the Additional

Officer Recipients were insiders as defined by Section 101(31) of the Bankruptcy Code at the

time of the transaction.

       637.    The Insider Payments are the Executive Transition Payments, Phantom Equity

Payments, and Success Bonus Payments that the defendants listed herein and on Exhibit C

received in connection with the LBO.




                                               186
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 195 of 255




       638.    Within two years before the Petition Date, Tribune: (i) incurred or reaffirmed the

obligations to make the Insider Payments listed on Exhibit C; and (ii) made the Insider Payments

summarized below and detailed in Exhibit C.

                        Recipient              Total Insider Payments Received
                         Amsden                             $150,000
                         Bigelow                            $709,825
                        FitzSimons                        $18,850,800
                        Gremillion                          $250,000
                         Grenesko                          $9,591,707
                          Hianik                            $175,000
                           Hiller                          $8,708,843
                           Kazan                            $626,226
                          Kenney                            $600,000
                          Knight                           $5,553,513
                          Landon                           $5,261,105
                           Leach                           $6,102,303
                           Lewin                           $3,359,821
                         Mallory                           $1,053,500
                          Malone                           $1,200,000
                         Reardon                           $7,672,605
                           Smith                          $9,214,806
                        Vitanovec                          $4,950,166
                           Waltz                           $2,153,467
                           Total                          $86,183,687

       639.    Tribune, by and through certain of its officers, directors, shareholders, and agents,

incurred or reaffirmed the obligations to make the Insider Payments and made the Insider

Payments with the actual intent to hinder, delay, and defraud Tribune’s creditors, which intent is

demonstrated by, among other things, the facts set forth in Paragraphs 379 and 380, which are

incorporated herein by reference.

       640.    Tribune received less than reasonably equivalent value for incurring or

reaffirming the obligations to make the Insider Payments and making the Insider Payments, and

Tribune, at the time of the Insider Payments, (i) was insolvent or became insolvent as a result of


                                                187
      Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 196 of 255




incurring or reaffirming the obligations to make the Insider Payments and making the Insider

Payments; (ii) was engaged in business or a transaction, or was about to engage in business or a

transaction, for which Tribune was left with unreasonably small capital; and/or (iii) intended to

incur, or believed that it would incur, debts that would be beyond its ability to pay as such debts

matured.

        641.     Accordingly, the obligations to make the Insider Payments, as well as the Insider

Payments themselves, were transfers in fraud of the rights of the creditors of Tribune and its

subsidiaries, and the obligations to make the Insider Payments, and the Insider Payments

themselves, should be avoided and recovered pursuant to Sections 548(a)(1)(A), 548(a)(1)(B),

and 550(a) of the Bankruptcy Code.

                                 COUNT THIRTY FIVE
  Preference Against The D&O Defendants, The Subsidiary D&O Defendants, And The
 Additional Officer Recipients To Recover The Insider Payments (Of At Least $81 Million)

        642.     Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

        643.     The D&O Defendants, the Subsidiary D&O Defendants, and the Additional

Officer Recipients were insiders as defined by Section 101(31) of the Bankruptcy Code at the

time of the transaction.

        644.     Tribune made the Insider Payments listed on Exhibit C to the D&O Defendants,

Subsidiary D&O Defendants, and the Additional Officer Recipients within one year of the

Petition Date.

        645.     On or within one year before the Petition Date, Tribune continued to operate its

business affairs, including by transferring property either by checks, cashier checks, wire

transfers, direct deposit, or otherwise to certain entities.



                                                  188
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 197 of 255




       646.    At the time the Insider Payments were made, to the extent any of the D&O

Defendants, Subsidiary D&O Defendants, or the Additional Officer Recipients gave reasonably

equivalent value to Tribune in exchange for his or her Insider Payment, in full or in part, the

D&O Defendants, the Subsidiary D&O Defendants, and the Additional Officer Recipients each

had a right to payment on account of a compensation obligation owed to each such defendant by

Tribune in the amounts listed on Exhibit C. Therefore, the Insider Payments were for, or on

account of, antecedent debts owed before the Insider Payments were made. The Insider

Payments were made to or for the benefit of a creditor within the meaning of 11 U.S.C.

§ 547(b)(1) because the Insider Payments either reduced or fully satisfied a debt then owed to the

D&O Defendants, the Subsidiary D&O Defendants, and the Additional Officer Recipients, and

were made while Tribune was insolvent.

       647.    As a result of the Insider Payments, the D&O Defendants, the Subsidiary D&O

Defendants, and the Additional Officer Recipients each received more than he or she would have

received if: (i) the Debtors’ cases were under Chapter 7 of the Bankruptcy Code; (ii) the Insider

Payments had not been made; and (iii) each of the D&O Defendants, the Subsidiary D&O

Defendants, and the Additional Officer Recipients received payment of his or her debts under the

provisions of the Bankruptcy Code.

       648.    Accordingly, the Insider Payments should be avoided and recovered pursuant to

Sections 547 and 550 of the Bankruptcy Code.

                                COUNT THIRTY SIX
Avoidance Of The Indemnification Obligations As Constructive And/Or Actual Fraudulent
  Transfers Under Sections 548(a)(1)(A) And (B) And 550(a) Of The Bankruptcy Code
  Against The D&O Defendants, The Subsidiary D&O Defendants, And The Additional
                                  Officer Recipients

       649.    Plaintiff repeats and realleges each and every allegation set forth in the foregoing

paragraphs as though fully set forth herein.

                                                189
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 198 of 255




        650.    The Merger Agreement expressly provided that the surviving company—not just

pre-LBO Tribune—was obligated to indemnify Tribune’s directors and officers against any costs

or expenses, judgments, fines, losses, claims, damages, liabilities, and amounts paid in settlement

in connection with any actual or threatened claim, action, suit, proceeding, or investigation,

whether civil, criminal, administrative, or investigative, arising out of, relating to, or in

connection with any action or omission occurring or alleged to have occurred in connection with

the LBO (the “Indemnification Obligations”).

        651.    Tribune and its successors received less than reasonably equivalent value in

exchange for incurring the Indemnification Obligations, and Tribune, at the time the

Indemnification Obligations were incurred, (i) was insolvent or became insolvent as a result of

incurring the Indemnification Obligations; (ii) was engaged in business or a transaction, or was

about to engage in business or a transaction, for which Tribune was left with unreasonably small

capital; and/or (iii) intended to incur, or believed that it would incur, debts that would be beyond

its ability to pay as such debts matured.

        652.    Tribune, by and through certain of its officers, directors, shareholders, and agents,

incurred the Indemnification Obligations with the actual intent to hinder, delay, and defraud

Tribune’s creditors, which intent is demonstrated by, among other things, the facts set forth in

Paragraphs 379 and 380, which are incorporated herein by reference.

        653.    Accordingly, the Indemnification Obligations were incurred in actual and

constructive fraud of the rights of the creditors of Tribune and its subsidiaries, and the

Indemnification Obligations should be avoided pursuant to Sections 548(a)(1)(A) and

548(a)(1)(B) of the Bankruptcy Code.




                                                  190
     Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 199 of 255




                                   RESERVATION OF RIGHTS

        654.    The Litigation Trustee reserves the right, to the extent permitted under the

Bankruptcy Code, the Federal Rules of Civil or Bankruptcy Procedure, or by agreement, to assert

any claims relating to the subject matter of this action or otherwise relating to the Debtors and

their estates against any third party.

                                         PRAYER FOR RELIEF

        WHEREFORE, by reason of the foregoing, Plaintiff respectfully requests that this Court

enter judgment against defendants as follows:

                (a)     certifying the Shareholder Class pursuant to Rule 23 of the Federal Rules

        of Civil Procedure;

                (b)     awarding Plaintiff damages in an amount to be determined at trial;

                (c)     declaring each of the Shareholder Transfers to be a transfer or incurrence

        of an obligation in actual fraud of the rights of the creditors of Tribune and its

        subsidiaries and/or a transfer that preferred certain creditors to the detriment of others;

                (d)     declaring each of the VRC Transfers, EGI-TRB Transfers, EGI

        Reimbursements, Morgan Stanley Advisor Fees, Morgan Stanley Reimbursement,

        Indemnification Obligations, and Insider Payments to be a transfer or incurrence of an

        obligation in actual and/or constructive fraud of the rights of the creditors of Tribune and

        its subsidiaries and/or a transfer that preferred certain creditors to the detriment of others;

                (e)     avoiding and/or granting recovery of all amounts paid and/or obligations

        incurred in connection with the Shareholder Transfers, VRC Transfers, EGI-TRB

        Transfers, EGI Reimbursements, Morgan Stanley Advisor Fees, Morgan Stanley

        Reimbursement, Indemnification Obligations, and Insider Payments pursuant to

        Bankruptcy Code Sections 547 and/or 548 and/or 550;

                                                 191
Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 200 of 255
Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 201 of 255
Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 202 of 255
Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 203 of 255




                                      Tower WP, L.L.C., Chandler Trust No. 1,
                                      Chandler Trust No. 2, Philip Chandler
                                      Residuary Trust No. 2, May C. Goodan Trust
                                      No. 2, Ruth C. Von Platen Trust No. 2, Dorothy
                                      B. Chandler Marital Trust No. 2, Dorothy B.
                                      Chandler Residuary Trust No. 2, HOC Trust
                                      No. 2 FBO Scott Haskins, HOC Trust No. 2 FBO
                                      John Haskins, HOC Trust No. 2 FBO Eliza
                                      Haskins, HOC GST Exempt Trust No. 2. FBO
                                      Scott Haskins, HOC GST Exempt Trust No. 2.
                                      FBO John Haskins, HOC GST Exempt Trust No.
                                      2. FBO Eliza Haskins, Alberta W. Chandler
                                      Marital Trust No. 2, Earl E. Crowe Trust No. 2,
                                      Patricia Crowe Warren Residuary Trust No. 2,
                                      Helen Garland Trust No. 2 (For Gwendolyn
                                      Garland Babcock), Helen Garland Trust No. 2
                                      (For William M. Garland III), Helen Garland
                                      Trust No. 2 (For Hillary Duque Garland),
                                      Garland Foundation Trust No. 2, Marian Otis
                                      Chandler Trust No. 2, Robert R. McCormick
                                      Foundation, Cantigny Foundation, Automobile
                                      Mechanics’ Local 701 Pension Fund a/k/a
                                      Automobile Mechanics’ Local No. 701 Union
                                      and Industry Pension Fund, Frank W. Denius,
                                      The DFA Investment Trust Company, GDK Inc.,
                                      Hussman Strategic Growth Fund a/k/a The
                                      Hussman Investment Trust, John P. Hussman,
                                      Trustee, Edwin R Labuz IRA, Ameriprise Trust
                                      Company f/k/a H&R Block Financial Advisors,
                                      Custodian, Denise Meck, Nationwide S&P 500
                                      Index Fund, a Series of Nationwide Mutual
                                      Funds, New York State Teachers Retirement
                                      System, Dorothy C. Patterson Irrevocable Trust
                                      #2 U/A/D 12-21-93, The Northern Trust
                                      Company, as Successor Trustee, Blandina Rojek,
                                      VTrader Pro, LLC, and those defendants with
                                      respect to which “Akin” is identified as “LT
                                      Counsel” in Exhibit A




                                195
Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 204 of 255
Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 205 of 255




         EXHIBIT A TO THE FIFTH AMENDED COMPLAINT




                            REDACTED
                   Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 206 of 255
                                                                            EXHIBIT A-1

1173132 ONTARIO INC                                         ABN AMRO EQUITIES (UK), LTD.                                 ALAN R RHEN IRA R/O U/A DTD 8/13/98, FCC,
1199SEIU GREATER NY PENSION FUND LCV                        ABN AMRO MULTI-MANAGER FUNDS                                 CUSTODIAN
1199SEIU HEALTH CARE EMPLOYEES PENSION                      ABSOLUTE VALUE FUND LP                                       ALAP UK WP NORWICH UNION INVESTMENT
FUND                                                        ABU DHABI INVESTMENT AUTHORITY                               TRUST, CURRENT TRUSTEE
1199SEIU HEALTHCARE EMPLOYEES PENSION                       ACCOUNT 1935                                                 ALASKA LARGE-CAP TRUST
FUND MCV                                                    ACCT 38 EQUITY ADVISORY                                      ALASKA PERMANENT FUND CORPORATION
1199SEIU HOME CARE EMPLOYEES PENSION                        ACM GROUP TRUST- S&P 500, CURRENT                            ALBERT & JULIA SMITH CHARITABLE
FUND                                                        TRUSTEE                                                      REMAINDER UNITRUST II, JULIA ANNE SMITH
1980 CHARITABLE LEAD TRUST, BANK OF                         ACS UNCLAIMED PROPERTY CLEARINGHOUSE                         RAWSON AND WILLIAM COLLINS SMITH,
AMERICA, N.A., TRUSTEE                                      ACT, INC. LARGE-CAP VALUE FUND                               TRUSTEES
1993 GF PARTNERSHIP #4 G-BAR                                ADA H MCIVER                                                 ALBERT EINSTEIN HEALTHCARE - ALBERT
1994 GREGG CHILDRENS TRUST U/A 04/29/94,                    ADAGE CAPITAL ADVISORS, L.L.C. NATIONAL                      EINSTEIN MEDICAL CENTER
WILL R GREGG IV, ALLEN DANDRIDGE GREGG,                     CORPORATE RESEARCH, LTD                                      ALBERT EINSTEIN MEDICAL CENTER EMPLOYEES
TRUSTEES                                                    ADAGE CAPITAL PARTNERS LP                                    RETIREMENT TRUST, CURRENT TRUSTEE
1998 CLARKE FAMILY TRUST UA DTD 2/12/98,                    ADALY OPPORTUNITY FUND, L.P. F/B/O ADALY                     ALBERT J. GAYSON CGM IRA, STATE STREET
RANDALL W CLARKE, TINA LIN CLARKE,                          OPPORTUNITY FUND                                             BANK AND TRUST COMPANY, CUSTODIAN
TRUSTEES                                                    ADAM W. POTTER, USAA FEDERAL SAVINGS                         ALBERT M DREYFUSS TRUST U/A DTD 08/14/91,
1ST SOURCE BANK                                             BANK C/F                                                     ALBERT M DREYFUSS, TRUSTEE
2005 EDWARD K NEWMAN REVOCABLE TRUST                        ADELAIDE WALDENMAIER AND KATHRYN                             ALBERT TAFFONI
U/A/D 04-14-2005, EDWARD K NEWMAN,                          DYBOS                                                        ALBERTA FINANCE
TRUSTEE                                                     ADIA INVESTMENT SERIES                                       ALBERTA W. CHANDLER MARITAL TRUST NO. 2,
21ST CENTURY EQUITY FUND                                    ADOLPH J & JEANNE M CAPURRO REV TRUST                        SUSAN BABCOCK, JEFFREY CHANDLER, CAMILLA
3GT INVESTMENT PARTNERSHIP                                  UAD 5/18/00, ADOLPH J & JEANNE M                             CHANDLER FROST, ROGER GOODAN, WILLIAM
3M EMPLOYEES WELFARE BENEFITS                               CAPURRO, TRUSTEES                                            STINEHART, JR., JUDY C. WEBB, WARREN B.
ASSOCIATION TRUST I, CURRENT TRUSTEE                                                                                     WILLIAMSON, TRUSTEES
                                                            ADRIENNE A BRIMICOMBE TRUST, BANK OF
A & P ASSOCIATES SB ADVISOR                                 AMERICA, N.A., TRUSTEE                                       ALBERTO CRIBIORE
A E OSBORNE ASSOCIATES                                      ADVANCED SERIES TRUST - AST QMA US                           ALBERTO KNIE
A ERICKSON SHUSTER AND VIRGINIA G                           EQUITY ALPHA PORTFOLIO F/K/A AST                             ALECTA PENSIONSFORSAKRING OMSESIDIGT
SHUSTER                                                     ALLIANCEBERNSTEIN MANAGED INDEX 500                          ALEX DAMIAN BLUM, UGMA MD, LEONOR
A GOOD NEIGHBOR FOUNDATION                                  PORTFOLIO                                                    BLUM, CUSTODIAN
A J CAPONE TRUST B U/W FBO CELIA, CURRENT                   ADVANCED SERIES TRUST - AST T. ROWE PRICE                    ALEXANDER AGNEW
TRUSTEE                                                     ASSET ALLOCATION PORTFOLIO                                   ALEXANDER ANGERMAN AND JUDITH
A R TRUST U/A DTD 09/15/ FBO AGNES STELLA                   ADVISORS INNER CIRCLE FUND - LSV VALUE                       ANGERMAN IRRVOC TRUST U/A 3/5/91,
NELTNER, ANGES S NELTNER, ANTHONY W                         EQUITY FUND                                                  ALEXANDER ANGERMAN AND JUDITH
NELTNER, MARY RIESENBECK, TRUSTEES                          AETNA LIFE INSURANCE COMPANY                                 ANGERMAN, TRUSTEES
A RICHARD HERSUM 1995 TRUST U/A 10/3/95,                    AETOS CAPITAL, LLC, CURACAO                                  ALEXANDER D SOLON AND PAULA SOLON
LOUISE HERSUM, A RICHARD HERSUM,                            INTERNATIONAL TRUST CO., TRUSTEE                             ALEXANDER DAWSON FOUNDATION
TRUSTEES                                                    AFFILIATED PRIVATE INVESTORS U.S. CORE                       ALEXANDER J WEISS IRREVOCABLE TRUST U/A
A.G. EDWARDS & SONS, LLC                                    VALUE FUND, L.L.C.                                           10/12/06, JUDITH N H WEISS, TRUSTEE
A.G. EDWARDS TRUST COMPANY, FSB                             AFPC DIV PTRS LP1-GAMCO A PARTNERSHIP,                       ALEXANDER SOLON IRRA, MERRILL LYNCH,
AAA FRIENDS IN ADOPTION FOUNDATION                          PAMELA JASINSKI BY PTSHP AGMT                                PIERCE, FENNER & SMITH INCORPORATED,
TRUST, GEORGE H. LONG, DAWN SMITH-                          AGILE NEXUS MULTI STRATEGY FUND SPV 1,                       CUSTODIAN
PLINER, TRUSTEES                                            LLC                                                          ALEXANDRA GLOBAL MASTER FUND LTD
AAR CORPORATION TRUST F/B/O IRA EICHNER,                    AHL PEGASUS LTD.                                             ALEXANDRA RAPHAEL
THE NORTHERN TRUST COMPANY, TRUSTEE                         AIG U.S. LARGE CAP FUND - OFFSHORE CLASS U                   ALFA-TECH, LLC
ABBEY EQUITY FUND ICVC SUB, THE ROYAL                       AIMCO                                                        ALFRED I. DUPONT TESTAMENTARY TRUST,
BANK OF SCOTLAND PLC, AS HOLDER OF                          AIMEE M LANG, VANGUARD FIDUCIARY TRUST                       KARA RILEY, TRUSTEE
ACCOUNTS                                                    CO, CUSTODIAN                                                ALFRED V TJARKS, ALFRED V TJARKS
ABBEY NATIONAL SECURITIES, INC.                             ALAN D. EGELSEER                                             RETIREMENT PLAN DTD 02/18/85, ALFRED V
ABBOTT LABORATORIES CONSOLIDATED                            ALAN DEVANEY AND JILL DEVANEY                                TJARKS JR, TRUSTEE
PENSION TRUST, PAM HOLLIS, MANAGER,                         ALAN E. FOWLER AND MARIA K. FOWLER                           ALFRED W. MERKEL, MARLOWE G. MERKEL
RETIREMENT FUNDS, TRUSTEE                                                                                                TRUST UA 11 SEP 85, MARLOWE G. MERKEL,
                                                            ALAN GARNER AND ALICE GARNER
ABBY R ROSENBERG, DAVID S ROSENBERG,                                                                                     TRUSTEE
                                                            ALAN GERRY
CUSTODIAN UNDER THE IL UNIF TRSF TO                                                                                      ALFRED WEINSTEIN
                                                            ALAN J. TAPPER M.D.
MINORS ACT                                                                                                               ALI SAR AND MURIEL SAR
                                                            ALAN J. TAPPER M.D. CGM IRA ROLLOVER,
ABC ARBITRAGE SA                                                                                                         ALICE C. GARNER
                                                            STATE STREET BANK AND TRUST COMPANY,
ABDUL W MOTEN AND MICHELLE L MOTEN                                                                                       ALICE GARNER MONEY PPP
                                                            CUSTODIAN
ABIGAIL WALLACH                                                                                                          ALICE M. GRABAU
                                                            ALAN L GARNER BGC INSURANCE TRUST PLG
ABINGTON ORTHOPAEDIC SPEC PC RET PL DTD                                                                                  ALISON FORD DUNCAN, ACTING TRUSTEE AND
                                                            ALAN L. GARNER SEP/IRA, BANK OF AMERICA,
5/1/80 GABELLI PORTFOLIO, JEFFRY F RUBIN,                                                                                BENEFICIARY OF THE ALFRED C. GLASSELL JR.
                                                            N.A., CUSTODIAN
TRUSTEE                                                                                                                  CHILDREN'S TRUST FOR ALISON FORD DUNCAN
                                                            ALAN M GOLD REVOCABLE TRUST UA 9/20/83,
ABN AMRO ASIA FINANCIAL SERVICES, LTD.
                                                            ALAN M GOLD, TRUSTEE
ABN AMRO CLEARING CHICAGO LLC


Note: The naming of a person as a “trustee” of a trust, which is based on the Litigation Trust’s current information and belief, includes all other, additional, and/or
successor trustees of the trust. Similarly, the words “current trustee” include “current trustees” when there is more than one trustee.

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 207 of 255
ALIZA LEAH ROZMAN TRUST, U/A DTD           ALYCE TUTTLE FULLER TRUST U/A DTD          ANDREW G CASSEN AND ENID CASSEN
10/08/82, MARJORIE ROZMAN, NANETTE         10/03/2003, ALYCE TUTTLE FULLER, TRUSTEE   ANDREW J IAN GARY WENDY J MACKEN FAMILY
ROSENBERG, TRUSTEES                        ALYN L COOPERMAN REVOCABLE TRUST DATED     TRUST UA 3/16/1999, ANDREW J IAN GARY
ALLAMERICA INDEX MACM 12 (MUTUAL OF        8/25/1994, A MAITLAND & M COOPERMAN,       WENDY J MACKEN, TRUSTEES
AMER LIFE INS CO)                          TRUSTEES                                   ANDREW J WALLACE TRUST U/A DTD
ALLAN H WILLARD TRUST U/A DTD 9/7/93,      ALZ S&P 500 INDEX FUND                     07/31/1996, ANDREW J WALLACE, JAMES
CURRENT TRUSTEE                            AM INTERNATIONAL EMAC 63 LTD/VOL ARB       WENDELL WALLACE, TRUSTEES
ALLAN R. KORETZ REVOCABLE TRUST UAD        AM MASTER FUND III, LP                     ANDREW J. MCKENNA TRUST, CURRENT
05/10/1978, ALLAN R. KORETZ, PRESIDENT,    AMALGAMATED BANK                           TRUSTEE
TRUSTEE                                    AMALGAMATED BANK OF CHICAGO                ANDREW T SZYMULANSKI
ALLEGRO ASSOCIATES                         AMALGAMATED TRANSIT UNION LOCAL            ANDREW W SHELDEN VOLUNTARY TRUST U/A
ALLEN C. TANNER JR.                        AMELIA ROSE HOWELLS                        8/22/99, WILLIAM W SHELDEN JR, TRUSTEE
ALLEN DANDRIDGE GREGG                      AMELITA NEIBURGER                          ANDY HOK FAN SZE REV TRUST U/A 5/30/96,
ALLEN PUTTERMAN MD SC MONEY PURCHASE       AMELITA NEIBURGER TRUST 5C-183, AMELITA    ANDY HOK FAN SZE, TRUSTEE
PENSION PLAN                               M NEIBURGER, TRUSTEE                       ANGELO D. GIANCARLO
ALLIANCE CAPITAL GROUP TRUST, TIM          AMEREN MANAGEMENT HEALTH TRUST,            ANIMA SOCIETA DI GESTIONE DEL RISPARMIO
MCCARTHY, TRUSTEE                          CURRENT TRUSTEE                            PER AZIONI S.P.A. A/K/A ANIMA SGR S.P.A.
ALLIANCE CAPITAL MANAGEMENT LLC            AMEREN SERVICES COMPANY, AMEREN SVCS       ANN B. MURPHY REV TRUST U/A DTD 4/13/04,
ALLIANCEBERNSTEIN L.P. F/K/A ALLIANCE      NUCLEAR DECOMMISSIONING TRUST,             ANN B. MURPHY, TRUSTEE
CAPITAL MANAGEMENT CO F/K/A ALLIANCE       CURRENT TRUSTEE                            ANN C. GRAFF TRUST, ANN C. GRAFF, TRUSTEE
CAPITAL MANAGEMENT LP                      AMERICAN BAPTIST HOME MISSION SOCIETY      ANN F. PARKS TRUST, WILLIAM M. PARKS,
ALLIANCEBERNSTEIN TRUST,                   LCV                                        TRUSTEE
ALLIANCEBERNSTEIN VALUE FUND, CURRENT      AMERICAN CENTURY INVESTMENT                ANNA B. SILVER
TRUSTEE                                    MANAGEMENT INC S&P 500 EQUITY INDEX        ANNA H DEMING
ALLIANZ INVEST KAG                         FUND                                       ANNA H GREER IRA, AMERIPRISE TRUST
ALLIED WORKERS LOCAL 48, PHILIP            AMERICAN ENTERPRISE INVESTMENT SERVICES    COMPANY, CUSTODIAN
RAINWATER, TRUSTEE                         INC                                        ANNA L MAST
ALOYSIUS J & EUGENE F FRANZ FOUNDATION     AMERICAN GENERAL LIFE INSURANCE            ANNA W. MURRAY
FOR THE CONGREGATION OF THE MISSION        COMPANY OF DELAWARE A/K/A AIG LIFE         ANNABELLE M FREDERICKSON #XXXXXXX0010,
ALPHA A. WETENKAMP                         INSURANCE COMPANY                          MELLON, CUSTODIAN
ALPHADYNE INTERNATIONAL MASTER FUND        AMERICAN NATIONAL BANK                     ANNE AARON MERLE EPSTEIN UA 11/09/05,
LTD                                        AMERIPRISE TRUST CO.                       ROSENWALD EPSTEIN, ANNE AARON MERLE
ALPHEUS L. ELLIS 1989 TRUST, CAROL E.      AMETEK INC EMPLOYEES MASTER RETIREMENT     EPSTEIN, TRUSTEES
MARTIN, TRUSTEE                            TRUST, CURRENT TRUSTEE                     ANNE CUSACK DERK IRA NATIONAL FINANCIAL
ALPHEUS L. ELLIS 1993 GRANDCHILDREN'S      AMICI ASSOCIATES LP                        SERVICES LLC/FIDELITY MANAGEMENT TRUST
TRUST FBO CHRISTINE GAGNON, THE            AMICI FUND INTERNATIONAL, LTD.             CO, CUSTODIAN
NORTHERN TRUST COMPANY AND CAROL E.        AMICI QUALIFIED ASSOCIATES LP              ANNE E. MCKENNY, TRUSTEE MANAGED
MARTIN, CO-TRUSTEES                        AMIDA PARTNERS MASTER FUND LTD             ANNE ELIZABETH MCKENNY 2007, ANNE E
ALPHEUS L. ELLIS 1993 GRANDCHILDREN'S      AMPERE CAPITAL MANAGEMENT LP               MCKENNY, TRUSTEE
TRUST FBO HELEN JO CAHALIN, THE NORTHERN                                              ANNE F NEVILLE FAMILY TRUST U/A DTD
                                           AMY BURNS COUNTISS TRUST UA 09/18/99, H.
TRUST COMPANY AND CAROL E. MARTIN, CO-                                                07/14/1999, ANNE F NEVILLE, TRUSTEE
                                           D. BURNS, TRUSTEE
TRUSTEES                                                                              ANNE IRENE ANDERSON
                                           AMY W FONG LIVING TRUST U/A DTD
ALPHEUS L. ELLIS 1993 GRANDCHILDREN'S                                                 ANNE LESLIE FENSTERMAKER
                                           06/14/1988, ARNOLD D FONG AND AMY W
TRUST FBO LYNN ANN SHARP, THE NORTHERN                                                ANNE MCCUTCHEON LEWIS TRUST U/A DTD
                                           FONG, TRUSTEES
TRUST COMPANY AND CAROL E. MARTIN, CO-                                                10/26/1987, ANNE MCCUTCHEON LEWIS,
                                           ANA ROTHANA ROTH TRUST, CURRENT
TRUSTEES                                                                              MARY SHAW MCCUTHEON, J MCCUTCHEON III,
                                           TRUSTEE
ALPHEUS L. ELLIS 1993 GREAT                                                           OLIVER MCCUTCHEON LEWIS, MATTHEW V.
                                           ANADARKO PETROLEUM CORP.
GRANDCHILDREN'S TRUST, THE NORTHERN                                                   LEWIS, TRUSTEES
TRUST COMPANY, CAROL E. MARTIN, DON        ANADARKO PETROLEUM CORPORATION
                                           MASTER TRUST, APC ADMINISTRATIVE AND       ANNE MCKENNY TRUST, CLARA WHITNEY,
HALL, CO-TRUSTEES                                                                     TRUSTEE
                                           INVESTMENT COMMITTEE, TRUSTEE
ALPHEUS L. ELLIS 1993 TRUST FBO CAROL                                                 ANNE PARRY REV LIV TRUST U/A DATED
MARTIN, THE NORTHERN TRUST COMPANY,        ANANTH S BHOGARAJU AND PURNIMA U
                                           BHOGARAJU, JTWROS                          11/13/97, ANNE PARRY, TRUSTEE
CAROL E. MARTIN, DON HALL, CO-TRUSTEES
                                           ANCILLA SYSTEMS INC. LCV                   ANNE RR HUSK & EF PORTER III S HOWELLS
ALPINE ASSOCIATES II, L.P.                                                            TRUST 12/30/85, MARTHA S MOLLOY, J CS
ALPINE ASSOCIATES OFFSHORE FUND II LTD.    ANDE ELLEN WINKLER
                                           ANDERSEN CORPORATION EMPLOYEES             MULLEN, TRUSTEES
ALPINE ASSOCIATES OFFSHORE FUND LTD.                                                  ANNE S HOWELLS CHAR TRUST DTD DEC 18
ALPINE ASSOCIATES, A LIMITED PARTNERSHIP   ANDERSEN CORPORATION, US BANK N.A.,
                                           TRUSTEE                                    1989, JANE C. MULLEN, RICHARD R. HUSK,
ALPINE INSTITUTIONAL LP                                                               TRUSTEES
                                           ANDERSEN DEFINED BENEFIT, US BANK N.A.,
ALPINE PARTNERS, L.P.                                                                 ANNE S SCHEIERMANN
                                           TRUSTEE
ALPINE PLUS L.P.                                                                      ANNE W. CHARPIE TRUST, ANNIE W. CHARPIE,
                                           ANDRA-AP-FONDEN (AP2)
ALTERNATIVE FD LLC (CATALYST)                                                         TRUSTEE
                                           ANDREA REIMANN-CIARDELLI TRUST U/A DTD
ALTMA FUND SICAV PLC IN RESPECT OF THE                                                ANNE WERTHEIM WERNER TRUST U/W DTD
                                           04/28/2006, CURRENT TRUSTEE
AMIENS SUB-FUND                                                                       10/10/95, THOMAS L. LANGMAN, PHILIP H.
                                           ANDREW ABSLER AND LAUREN F ABSLER
ALVIN A VINEGAR TRUST SV-15, ALVIN                                                    LILIENTHAL, TRUSTEES
                                           ANDREW ALLEN CHARITABLE FOUNDATION SEL
VINEGAR, TRUSTEE                                                                      ANNE-MARIE S GREENBERG
                                           ADV, NORTHERN TRUST, TRUSTEE
ALVIN BAUM JR 1966 TRUST, ALVIN H BAUM,                                               ANNETTE O GLOVER HAROLD R GLOVER TRUST
                                           ANDREW BATER
TRUSTEE                                                                               UA 02/08/99, ANNETTE O. GLOVER, HAROLD R.
                                           ANDREW BOEHM AND RITA A BOEHM
ALVIN R GROSS                                                                         GLOVER, TRUSTEES
                                                              2

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 208 of 255
ANTHONY C BERARDI UTA IRA CONTRIBUTORY       ARNOLD MANHEIMER                           AVERY DENNISON CORPORATION MASTER
DTD 06/24/97, CHARLES SCHWAB & CO INC,       ARNOLD R WEBER & EDNA F WEBER              RETIREMENT TRUST A/K/A AVERY DENNISON
TRUSTEE                                      ARNOLD R WEBER AND EDNA F WEBER            MASTER RETIREMENT TRUST, CURRENT
ANTHONY C SCOLARO AND CELESTE P SCOLARO      ARS & CO                                   TRUSTEE
ANTHONY G BRYAN, ANTHONY G BRYAN             ARTHUR E GOLDBERG                          AVIV NEVO
R1F1973 5, CUSTODIAN                         ARTHUR E LEE                               AVONDALE PARTNERS LLC
ANTHONY M STEPUSZEK                          ARTHUR E LEE AND NANCY L LEE               AXA EQUITABLE LIFE INSURANCE COMPANY
ANTHONY MARRO AND JACQUELINE MARRO           ARTHUR E. MCKENNY, TRUSTEE MANAGED         AXA INSURANCE
ANTHONY TABASCO III                          ARTHUR FARBER IRA ROLLOVER ACCOUNT ADP     AXA PACIFIC INSURANCE COMPANY
ANTHONY Y. LIN                               CLEARING, CUSTODIAN                        AXA PREMIER VIP TRUST
ANTHONY YUKSEEN YAU                          ARTHUR G BESS III IRA R/O, RAYMOND JAMES   AXA PREMIER VIP TRUST - MULTIMANAGER
ANTOINETTE B BRUMBAUGH TRUST,                & ASSOCIATES, INC., CSDN, TRUSTEE          LARGE CAP CORE EQUITY PORTFOLIO, CURRENT
ANTOINETTE B BRUMBAUGH, TRUSTEE              ARTHUR HOYER ROLLOVER IRA, SCOTTRADE       TRUSTEE
AON CORPORATION                              INC, CUSTODIAN                             AXA PREMIER VIP TRUST - MULTIMANAGER
AP1 MSCI WORLD INDEX PLUS (BARCLAYS          ARTHUR JUEDES                              LARGE CAP VALUE PORTFOLIO
GLOBAL INVESTORS NA)                         ARTHUR M KOBLISH TRUST U/A 11/30/92,       AXELSON FAM. LIMITED PARTNERSHIP,
APG (DINA) SUCCESOR TR/TIMES, TROY GASS,     ARTHUR M KOBLISH, JEFFREY ARTHUR           STEPHEN AXELSON AND LINDA AXELSON
TRUSTEE                                      KOBLISH, TRUSTEES                          AYDA R ARSLAN
APG A/K/A ALL PENSIONS GROUP STRUCTURED      ARTHUR R MARTIN, WELLS FARGO BANK C/F      B & B LUMBER CO PFT SHRING PL, JEFFREY H
RESEARCH A/K/A APG ASSET MANAGEMENT          ARTHUR R. HOYER AND THELMA L. LEMTS        BOOHER, GARY R BOOHER, TRUSTEES
US, INC. F/K/A ABP INVESTMENTS US, INC.      ARTHUR SHAWN CASEY                         B H GERALD ROGERS MD LTD EMPLOYEE
APPLEBY INVESTMENTS LP                       ARTHUR Y CHU                               PENSION TRUST U/A 07/01/84, B H GERALD
AQR ABSOLUTE RETURN MASTER ACCOUNT,          ARTICLE VI TRUST 11/W/0 FRANCES BRADLEY    ROGERS, TRUSTEE
L.P.                                         LUMMIS, WILLIAM R LUMMIS SR, TRUSTEE       B PRIVATE BANK SINGAPORE BRANCH
AQR CAPITAL MANAGEMENT LLC                   ARTIS AGGRESSIVE GROWTH MASTER FUND LP     BABCOCK & WILCOX ASBESTOS PERSONAL
AQR GLOBAL STOCK SELECTION HV MASTER         ARTIS AGGRESSIVE GROWTH, L.P.              INJURY TRUST, JOHN BROPHY, TRUSTEE
ACCOUNT LTD.                                 ARTIS PARTNERS (INSTITUTIONAL), L.P.       BABSON
AQR GLOBAL STOCK SELECTION MASTER ACCT       ARTIS PARTNERS 2X (INSTITUTIONAL), L.P.    BACAP EQUITY FUND XX1 BANK OF AMERICA
LP                                           ARTIS PARTNERS 2X LTD                      BAE SYSTEMS LAND & ARMAMENTS INC. F/K/A
AQR R. C. EQUITY AUSTRALIA FUND                                                         UNITED DEFENSE LP
                                             ARTIS PARTNERS 2X, L.P.
AQUA AMERICA-GABELLI ASSET MANAGEMENT                                                   BAKERY, CONFECTIONERY, TOBACCO WORKERS
                                             ARTIS PARTNERS LTD
ARBAWAY INVESTMENTS LP                                                                  & GRAIN MILLERS INTERNATIONAL PENSION
                                             ARTIS PARTNERS, L.P.
ARC REVOCABLE TRUST, ROBERT SNYDER,                                                     FUND
                                             ARTURO QUINONES
TRUSTEE                                                                                 BALDWIN ENTERPRISES, INC
                                             ASBESTOS WORKERS LOCAL 32 PENSION FUND
ARCHDIOCESAN PENSION PLAN OF THE                                                        BALENTINE US MID CAP EQUITY FUND SELECT
                                             ASBESTOS WORKERS LOCAL 6 PENSION FUND
ARCHDIOCESE OF NEW YORK                                                                 BALL STATE UNIVERSITY
                                             ASBESTOS WORKERS PHILADELPHIA PENSION
ARCHDIOCESE OF CINCINNATI                                                               BANCO PORTUGUES DE INVESTIMENTO,
                                             LCV
ARCHDIOCESE OF LOS ANGELES LAY                                                          BANCO PORTUGUE DO ATLANTICO
                                             ASBURY THEOLOGICAL SEMINARY
EMPLOYEES PENSION PLAN                                                                  BANK JULIUS BAER & CO. AG
                                             ASCENSION HEALTH
ARCHDIOCESE OF NEW YORK MASTER TRUST,                                                   BANK OF AMERICA (F/K/A MERRILL LYNCH IQ)
                                             ASSET MANAGEMENT INVESTORS LLC
CURRENT TRUSTEE                                                                         BANK OF AMERICA (GLASS LEWIS CO.)
                                             ASSETMARK ENHANCED FUNDAMENTAL INDEX
ARCHDIOCESE OF PHILADELPHIA                                                             BANK OF AMERICA (STRUCTURED RESEARCH)
                                             - LARGE COMPANY VALUE FUND
ARCHIE/GONSALVES FAMILY TRUST U/A                                                       BANK OF AMERICA PENSION-T. ROWE PRICE,
                                             ASSISI FOUNDATION OF MEMPHIS, INC.
12/4/01, ARCELLIOUS ARCHIE, LEONIDIA                                                    BANK OF AMERICA, N.A. AS DIRECTED TRUSTEE
GONSALVES, TRUSTEES                          ASSOCIATED BANK, NATIONAL ASSOCIATION
                                                                                        BANK OF AMERICA, NATIONAL ASSOCIATION
                                             F/K/A ASSOCIATED BANK GREEN BAY
ARCHITAS MULTI-MANAGER LIMITED                                                          BANK OF AMERICA, NATIONAL ASSOCIATION
                                             ASTRID K BIRKE REVOCABLE TRUST DATED
ARGYLL RESEARCH LLC                                                                     (GWIM TRUST OPERATIONS)
                                             04/28/98, ASTRID K BIRKE, TRUSTEE
ARI DANIEL BLUM, UGMA MD, LEONOR BLUM,                                                  BANK OF AMERICA, NATIONAL ASSOCIATION,
                                             AT&T INC.
CUSTODIAN                                                                               AS SUCCESSOR-IN-INTEREST TO BOATMENS
                                             ATHOLIE K ROSETT
ARIE & IDA CROWN MEMORIAL                                                               BANK OF AMERICA, NATIONAL ASSOCIATION,
                                             ATLANTIC SALMON FEDERATION CANADA          AS SUCCESSOR-IN-INTEREST TO LASALLE BANK
ARIEL ENTERPRISES INC. PROFIT SHARING PLAN
                                             ENDOWMENT FUND INV                         N.A.
AND TRUST U/A 10/30/1990, CURRENT
TRUSTEE                                      AUDREY M SOUTHARD                          BANK OF AMERICA, NATIONAL ASSOCIATION,
ARIZONA STATE RETIREMENT SYSTEM              AUSTIN PRESBYTERIAN THEOLOGICAL            AS SUCCESSOR-IN-INTEREST TO U.S. TRUST
ARLENE D SCHULTZ TRUST U/A/D 10/18/03,       AUSTIN TRUST COMPANY                       COMPANY, N.A.
ARLENE D. SCHULTZ, TRUSTEE                   AUSTRALIAN COMPANY NUMBER 003 113 960      BANK OF HAWAII
ARMEN J ADAJIAN TRUST U/A 9/15/80, ARMEN     LTD                                        BANK OF MONTREAL HOLDING, INC. AS
J ADAJIAN, TRUSTEE                           AUTOMOBILE CLUB OF SOUTHERN CALIFORNIA     SUCCESSOR TO BMO NESBITT BURNS TRADING
ARMEN MELKUMYAN                              AUTOMOBILE MECHANICS' LOCAL 701 PENSION    CORP. SA
ARMENIAN GEN. BENEVOLENT UNION               FUND A/K/A AUTOMOBILE MECHANICS' LOCAL     BANK OF NEW YORK MELLON CORP RET PLANS
                                             NO. 701 UNION AND INDUSTRY PENSION FUND    MASTER TRUST, CURRENT TRUSTEE
ARMSTRONG WORLD INDUSTRIES
                                             AUTOMOTIVE INDUSTRIES PENSION TRUST        BANK OF NY BKR 901
ARMSTRONG WORLD INDUSTRIES, INC.
                                             FUND, ASSOCIATED THIRD PARTY ADMIN,        BAPTIST FOUNDATION OF TEXAS
RETIREMENT MASTER TRUST, CURRENT
                                             CURRENT TRUSTEE                            BARBARA ALTER
TRUSTEE
                                             AUTOMOTIVE MACHINISTS PENSION TRUST        BARBARA ANNE WARD LIVING TRUST U/A DTD
ARNOLD A DELUCA
                                             FUND                                       11/20/2007, BARBARA ANNE WARD, TRUSTEE
ARNOLD BUCKMAN TRUST U/A DTD 12/24/96,
                                             AVALON TRUST COMPANY                       BARBARA BELL
ARNOLD BUCKMAN, TRUSTEE
                                                                3

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 209 of 255
BARBARA BONOFF GETTINGER                   BASHAR A MUBASHIR IRA ROLLOVER FIDELITY    BERNICE K WATTMAN TRUST, U/A DTD
BARBARA C. SHANE                           MANAGEMENT TRUST CO CUST                   11/01/2002, CURRENT TRUSTEE
BARBARA CADY SCHMID                        BASIM S. NIMRI AND CATHY MARIE NIMRI       BERNIE H. SMITH & JOYCE M. SMITH
BARBARA CLEMENTS HELLER REVOCABLE          BATTELLE MEMORIAL INSTITUTE                BESSEMER TRUST COMPANY
TRUST DTD 3/22/01, CURRENT TRUSTEE         BATTELLE MEMORIAL INSTITUTE PN - NASA      BESSIE E MURRAY
BARBARA D. MCGRAW                          TECHNICAL REPORTS SERVER                   BETH L ZWEIG C/F LAURA H ZWEIG U/IN/UTMA
BARBARA F SALAS & GEORGE M SALAS JT TEN    BAXTER INTERNATIONAL INC.                  BETH L. CHAPIN
BARBARA H ALTER 2002 DECLARATION OF        BAYCARE HEALTH SYSTEM, INC.                BETHESDA MASTER TRUST, CURRENT TRUSTEE
TRUST DTD 12/12/2002, BARBARA H ALTER,     BAYLOR HEALTH CARE SYSTEM                  BETSY D. HOLDEN
TRUSTEE                                    BCBSM FOUNDATION BLUE CROSS BLUE SHIELD    BETSY N. ANDERSON
BARBARA HOROWITZ TRUST U/A/D 04/05/91,     OF MICHIGAN (BERNSTEIN VALUE)              BETTE WENDT JORE
BARBARA J HOROWITZ, TRUSTEE                BEACON TRUST COMPANY                       BETTIE SUE FLYNN
BARBARA J. KNEELAND                        BEAR STEARNS ASSET MANAGEMENT, INC.        BETTY ANDRES TRUST U/A/D 04-21-1988,
BARBARA K WALSH TRUST U/A 10/11/04,        BEAR STEARNS EQUITY STRATEGIES RT LLC      BETTY R. ANDRES AND RICHARD W. ANDRES,
BARBARA K WALSH, TRUSTEE                   BEAUMONT FIREMEN'S RELIEF AND              TRUSTEES
BARBARA K. WARNER                          RETIREMENT FUND                            BETTY BEAIRD LIVING TRUST U/A DTD 4/10/87,
BARBARA M OSBORNE INTERIM TST DTD          BECHTEL CORPORATION TRUST AND THRIFT       BETTY BEAIRD, TRUSTEE
2/7/02, JONATHAN OSBORNE & ELIZABETH O     PLAN                                       BETTY ELLEN BERLAMINO
SIEGEL, TRUSTEES                           BEDFORD OAK PARTNERS LP                    BETTY H. ROELAND MARITAL TRUST, THE
BARBARA M OSBORNE TRUST U/I/T DTD          BELL ATLANTIC MASTER TRUST, CURRENT        ROELAND FAMILY TRUST UA 8/19/86, BETTY H
2/7/05, JONATHAN OSBORNE, ELIZABETH        TRUSTEE                                    ROELAND, TRUSTEE
SIEGEL, TRUSTEES                           BELLIN HOSPITAL                            BETTY J. STEPHENS SURVIVORS TRUST, BETTY J.
BARBARA M. CALVERT                         BELLIN HOSPITAL PENSION TRUST, U.S. BANK   STEPHENS, TRUSTEE
BARBARA M. J. WOOD LIVING TRUST U/A/D      N.A., TRUSTEE                              BETTY K. ZLATCHIN IRA, DELAWARE CHARTER
9/17/81, THE NORTHERN TRUST COMPANY,       BELLSOUTH CORP. NON-REPRESENTABLE          GUARANTEE & TRUST, CUSTODIAN
TRUSTEE                                    HEALTH CARE TRUST, CURRENT TRUSTEE         BETTY RICH SELF-DECLARATION OF TRUST DTD
BARBARA M. OSBORNE TRUST U/I/T DTD         BELLSOUTH CORPORATION                      7-1-71, BETTY RICH, TRUSTEE
2/7/05, JONATHAN OSBORNE, ACTING TRUSTEE   BELLSOUTH GROUP LIFE TRUST S&P, CURRENT    BETURN
BARBARA MARTELL                            TRUSTEE                                    BGI CDN US EQUITY INDEX - NON TAX FUND
BARBRA ATSAVES PABST IRA ROLLOVER          BELLSOUTH HEALTHCARE S&P 500               BGICL NONPENSION US EQ
FIDELITY MANAGEMENT TRUST CO CUST          BELLSOUTH/ALLIANCE                         BHF-BANK AKTIENGESELLSCHAFT
BARCLAYS BANK PLC - BARCLAYS CAPITAL       BENJAMIN FAMILY LIMITED PARTNERSHIP        BIG HEN GROUP I LLC, A PARTNERSHIP
GROUP                                      BENJAMIN FRANK OLIVA                       BIG SKY, LLC
BARCLAYS CAPITAL INC.                      BENJAMIN J. VERDUSCO TRUST, U/A DTD        BILL C. OGLE AND JANIE L. OGLE
BARCLAYS CAPITAL PRIME BROKER              12/13/1989, CATHERINE A VERDUSCO,          BILL HORTON AND MARY HORTON AND/OR
BARCLAYS CAPITAL SECURITIES LIMITED        TRUSTEE                                    CURRENT TRUSTEE(S)
BARCLAYS CAPITAL SECURITIES LIMITED AS     BENJAMIN JOSEPH DALY GIFT TRUST, AUDREY    BILLIE J BOUZEK TRUST U/A 1/28/00, FRANK J
SUCCESSOR TO BZW SECURITIES LIMITED        YOUNG, TRUSTEE                             BOUZEK, TRUSTEE
BARCLAYS GLOBAL INVESTORS                  BENTLEY F KAPLAN                           BINHUA MAO ROTH IRA, ETRADE, CUSTODIAN
BARCLAYS GLOBAL INVESTORS LTD (A/C         BERNADETTE FINGLETON                       BLACK BOX CORPORATION
XXXXXX6408)                                BERNARD AND BARBRO OSHER 2006              BLACK DIAMOND ARBITRAGE OFFSHORE LTD.
BARCLAYS GLOBAL INVESTORS LTD (A/C         CHARITABLE REMAINDER UNITRUST #2,          CARLSON CAPITAL L.P.
XXXXXXNE8W)                                BERNARD OSHER AND BARBRO OSHER,            BLACK DIAMOND OFFSHORE LTD. CARLSON
BARCLAYS GLOBAL INVESTORS LTD (A/C         TRUSTEES                                   CAPITAL L.P.
XXXXXXPE01)                                BERNARD AND RENA SHAPIRO, INTERVIVOS       BLACK RIVER GLOBAL EQUITY FUND LTD. F/K/A
BARLOW TRUST FBO M A BARLOW JR., L.        TRUST A/C #1 DTD 10/15/87, BERNARD         BLACK RIVER GLOBAL EQUITY ARBITRAGE FUND
THOMAS SLIGER, AUSTIN TRUST COMPANY,       SHAPIRO AND RENA SHAPIRO, TRUSTEES         LTD.
TRUSTEES                                   BERNARD CHAPMAN TRUST U/A, BERNARD         BLACKBURN TRUST, MARSHA BLACKBURN,
BARNET PARTNERS LTD                        CHAPMAN, TRUSTEE                           TRUSTEE
BARRETT C MCGREGOR                         BERNARD E & EDITH B WATERMAN               BLACKPORT CAPITAL FUND LTD
BARRINGTON INVESTORS L.P. 0102 GSAM: TAX   CHARITABLE FOUNDATION                      BLACKROCK ADVISORS (UK) LTD. F/K/A
ADV LH (S&P500)                            BERNARD E WATERMAN AND EDITH B             BARCLAYS GLOBAL INVESTORS LTD. [A/C
BARRY D MCCORMICK TRADITIONAL IRA          WATERMAN                                   XXXXXX6498]
ROLLOVER, JPMORGAN CHASE BANK,             BERNARD J SILGARDO AND KAREN A SILGARDO    BLACKROCK ADVISORS (UK) LTD. F/K/A
CUSTODIAN                                  BERNARD OSHER 2006 CHARITABLE              BARCLAYS GLOBAL INVESTORS. LTD. A/C
BARRY DAVID KUPFERBERG & LORI BANNER       REMAINDER UNTRUST #2, BERNARD OSHER,       XXXXXX5416
KUPFERBERG                                 TRUSTEE                                    BLACKROCK ADVISORS (UK) LTD. F/K/A
BARRY L. FELDPAUSCH AND JEANNE R.          BERNARD OSHER TRUST, BERNARD OSHER,        BARCLAYS GLOBAL INVESTORS. LTD. A/C
FELDPAUSCH                                 TRUSTEE                                    XXXXXX7995
BARRY SHEIN REVOCABLE TRUST, BARRY S       BERNARD RABINOWITZ TRUST U/A/D 09-11-      BLACKROCK ADVISORS (UK) LTD. F/K/A
SHEIN, TRUSTEE                             2006, BERNARD RABINOWITZ, TRUSTEE          BARCLAYS GLOBAL INVESTORS. LTD.
BARRY T WERBLOW AND BARI WERBLOW           BERNARD W. LINCICOME                       [A/C BANK OF NY ACCXX046748]
BARRY WOLSTAN                              BERNARD WEINGER GST TRUST, LAURENCE S.     BLACKROCK DEBT STRATEGIES FUND, INC.
BASF CORPORATION PENSION MASTER TRUST      SPECTOR, TRUSTEE                           A/K/A DSU
BASF PENSIONKASSE WAG                      BERNER CHARITABLE SCHOLARSHIP              BLACKROCK INSTITUTIONAL TRUST COMPANY,
BASHAR A MUBASHIR                          FOUNDATION                                 N.A.


                                                              4

2855453.1
                 Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 210 of 255
BLACKROCK INSTITUTIONAL TRUST COMPANY,        BNYTD EQUATOR INV FD ICVC NAMERICA         BRISTOL-MYERS SQUIBB COMPANY MASTER
N.A. (U.S. EQUITY MARKET SUDAN FREE EQUITY    LARGE MID CAP EQTY-FD-T ROWE PRICE         RETIREMENT TRUST, BOB RAMNARINE,
INDEX FUND)                                   BO QUAN                                    TRUSTEE
BLACKROCK NORTH AMERICAN EQUITY               BOA PENSION PLAN FOR LEGACY COMPANIES      BROADRIDGE BUSINESS PROCESS
TRACKER FUND TRUST ACCOUNTS, BANK OF          BOA PENSION-BACAP LARGECAP INDEX, BANK     OUTSOURCING, LLC F/K/A RIDGE CLEARING &
NEW YORK EUROPE LTD, RBS, TRUSTEE             OF AMERICA, TRUSTEE                        OUTSOURCING SOLUTIONS
BLACKROCK S&P 500 INDEX V.I. FUND (INS-VAR    BOA PENSION-CMG LARGECAP INDEX             BROOKLINE AVENUE PARTNERS, LP
SER)                                          BOARD OF ADMINISTRATION OF THE WATER       BROPHY PROPERTIES INC
BLACKROCK S-P 500 INDEX SERIES MASTER         AND POWER EMPLOYEES' RETIREMENT PLAN       BROWN & JAMES PC PFT SHR PLAN DTD 91/03
BLACKROCK, INC. (MERRILL LYNCH)               A/K/A WATER AND POWER EMPLOYEES' RET       BROWN BROTHERS HARRIMAN & CO
BLAINE B ROMINGER CGM IRA ROLLOVER,           DISAB & DEATH BENEFIT INS PLAN, T. ROWE    BROWN INVESTMENT ADVISORY & TRUST CO.
STATE STREET BANK AND TRUST COMPANY,          PRICE ASSOCIATES, INC., CUSTODIAN          BRUCE G MURPHY AND LOU ANN MURPHY JT
CUSTODIAN                                     BOARD OF EDUCATION NEW YORK CITY           WROS
BLANDINA ROJEK                                RETIREMENT SYSTEMS, CHANCELLOR             BRUCE KIRKPATRICK
BLANDINA ROJEK CHAR LD. TRUST, FRIEDMAN       BOART LONGYEAR COMPANY EMPLOYEES'          BRUCE REZNICK
& HUEY ASSOCIATES, TRUSTEE                    PENSION PLAN AND TRUST, US BANK, TRUSTEE   BRUCE STROHM REV TRUST U/A 05/12/93 FBO
BLEND SURVIVOR'S TRUST DTD 12/2/99,           BOB FUSHIMI AND CLOVIA L. FUSHIMI          BRUCE STROHM, BRUCE CARLTON STROHM,
ROBERT R BLEND AND THOMAS R BLEND,            BODMAS CAPITAL PARTNERS LP                 TRUSTEE
TRUSTEES                                      BOEING CO.                                 BRUCE W. AHLMANN AND BETTY J. AHLMANN
BLK GLOBAL EQUITY I                           BOEING COMPANY EMPLOYEE RETIREMENT -       BRUMBACK FAMILY LLC CHARLES T. BRUMBACK
BLOCK COMMUNICATIONS, INC. RETIREMENT         CHANNING CAPITAL MGT LLC A/C               BRUMBAUGH A B IRRV TRUST, PIERCE
TRUST, CURRENT TRUSTEE                        BOKF, NATIONAL ASSOCIATION F/K/A BANK OF   ATWOOD, TRUSTEE
BLUE CHIP FUND, A SERIES OF FIRST INVESTORS   OKLAHOMA NA                                BRUNO HOFMANN GABELLI US PORTFOLIO
EQUITY FUNDS                                  BONNIE GONZALEZ, AS BENEFICIARY OF THE     BRYCE PATRICK ANDREWS
BLUE CHIP FUND, A SERIES OF FIRST INVESTORS   ESTATE OF ALFRED C. GLASSELL JR.           BSCS CAPITAL GROWTH LIMITED PARTNERSHIP
LIFE SERIES FUNDS                             BORROWED-NY, STOCK                         BUFFALO FINE ARTS ACADEMY FUND D
BLUE CROSS & BLUE SHIELD OF KANSAS            BOSTON PARTNERS ASSET MANAGEMENT           BUILDING TRADES UNITED PENSION TRUST
BLUE CROSS AND BLUE SHIELD OF FLORIDA INC     BOSTON TRUST & INVESTMENT MANAGEMENT       FUND, CURRENT TRUSTEE
BLUE CROSS AND BLUE SHIELD OF GEORGIA,        COMPANY                                    BURROUGHS WELLCOME FUND
INC. A/K/A WELLPOINT, INC. BLUE CROSS BLUE    BP PENSION SERVICES. LTD                   BURT JM TEST, CURRENT TRUSTEE
SHIELD OF GEORGIA                             BRADLEY A LONG TRADITIONAL IRA             BURTON J RAIN IRA ROLLOVER, CHARLES
BLUE CROSS BLUE SHIELD OF MICHIGAN BCBSM      BRADLEY FAMILY TRUST, STATE STREET BANK    SCHWAB & CO INC, CUSTODIAN
FOUNDATION BERNSTEIN VALUE                    AND TRUST COMPANY, TRUSTEE                 BYRD TRADING LLC
BLUE CROSS BLUE SHIELD OF TENNESSEE           BRAGA REVOCABLE TRUST UA 31-JUL-95,        BYRON PALMER TRUST U/A DTD 02/15/2002,
BLUE CROSS OF CALIFORNIA                      FRANK M. BRAGA JR, MARILYN M. L. BRAGA,    BYRON H PALMER, TRUSTEE
BLUE HILLS BANK F/K/A HYDE PARK SAVINGS       TRUSTEES                                   C & F LANE FAMILY LP
BANK                                          BRANDES INVESTMENT FUNDS PLC BRANDES       C HUGH STEPHENS TRUST U/A DTD
BLYTH TRUST, R.B. CARPENTER, SUCCESSOR        US EQUITIES FUND                           11/08/2002, C HUGH STEPHENS, TRUSTEE
TRUSTEE                                       BRANDES INVESTMENT PARTNERS & CO           C M LLOYD MAR GST TAX EXEMPT TRUST U/D,
BLYTHE T BELENKY                              BRANDES INVESTMENT PARTNERS, L.P.          CURRENT TRUSTEE
BMO HARRIS BANK N.A., AS SUCCESSOR BY         BRANDES U.S. EQUITY FUND                   C PHILLIPS TR-IMA, CURRENT TRUSTEE
MERGER TO M&I MARSHALL AND ILSLEY BANK        BRANDON DEAN DALY GIFT TRUST, AUDREY G     C. HEALY & C. HEALY LIV. TRUST U/A DTD
BMO NESBITT BURNS INC./CDS                    YOUNG, TRUSTEE                             08/03/1987, C HEALY, TRUSTEE
BMR 2 LLC                                     BRAXTON N ROBINSON                         CACEIS BANK
BNA EMPLOYEES' RETIREMENT PLAN                BRENT EASTBURG HY/SCT                      CACEIS BANK LUXEMBOURG (CLIENT ACCOUNT)
BNA EMPLOYEES RETIREMENT TRUST,               BRENT V WOODS IRA ROLLOVER, CHARLES        CAISSE DE DEPOT ET PLACEMENT DU QUEBEC
CURRENT TRUSTEE                               SCHWAB & CO INC, CUSTODIAN                 CALDWELL FOUNDATION
BNP PARIBAS ARBITRAGE, SNCR                   BRESLER FAMILY INVESTORS LLC               CALIFORNIA IRONWORKERS FIELD PENSION
BNP PARIBAS F/K/A NEFF ALTERNATIVE            BRIAN F. LITMAN                            TRUST, BOARD OF TRUSTEES
MANAGEMENTS - TMS/ITS SETT A/C FOR            BRIAN GORMLEY                              CALIFORNIA MASTER TRUST, CURRENT
COOPER                                        BRIAN HULL                                 TRUSTEE
BNP PARIBAS PRIME BROKERAGE, INC.             BRIAN J MCMANUS, SR IRA, FCC, CUSTODIAN    CALIFORNIA PHYSICIANS' SERVICE D/B/A BLUE
BNP PARIBAS PRIVATE BANK, SA HONG KONG        BRIAN JOSEPH MEEK C/F ADAM JOHN MEEK       SHIELD OF CALIFORNIA
BRANCH (POOL 3 30% WITHHOLD DIVIDEND)         UGMA/IL                                    CALIFORNIA PUBLIC EMPLOYEES' RETIREMENT
BNP PARIBAS SECURITIES CORP.                  BRIAN MCGOVERN                             SYSTEM
BNP PARIBAS SECURITIES CORP. (EQUITY          BRIAN SHERIDAN HALL                        CALIFORNIA PUBLIC EMPLOYEES' RETIREMENT
DERIVATIVES SEFUSD)                           BRIAN W SMITH                              SYSTEM (CALIFORNIA PUBLIC EMPLOYEES'
BNP PARIBAS SECURITIES CORP. (PARIS           BRICKLAYERS & ALLIED CRAFTWORKERS LOCAL    FUND)
TRADING)                                      5 PENSION FUND                             CALIFORNIA PUBLIC EMPLOYEES' RETIREMENT
BNP PARIBAS SECURITIES SERVICES               BRICKLAYERS & TROWEL TRADES INTL PENSION   SYSTEM (CALPERS) SW5J A/C DOMESTIC
BNY MELLON INVESTMENT SERVICING (US) INC.     FUND MCV                                   ENHANCED INDEX ST
F/K/A PFPC, INC.                              BRIDGER COAL COMPANY RECLAMATION           CALIFORNIA PUBLIC EMPLOYEES' RETIREMENT
BNY MELLON, NATIONAL ASSOCIATION AS           TRUST LCV, CURRENT TRUSTEE                 SYSTEM (DEFERRED COMPENSATION
SUCCESSOR-IN-TRUST TO MELLON TRUST OF         BRIDGESTONE FIRESTONE                      FUND/TRUST)
NEW ENGLAND, N.A.                                                                        CALIFORNIA PUBLIC EMPLOYEES' RETIREMENT
                                              BRISTOL COUNTY RETIREMENT SYSTEM LCV
BNYTD AC MLC GLOBAL EQUITY DFA BNYTD A/C                                                 SYSTEM (DYNAMIC COMPLETION FUND)
MLC

                                                                 5

2855453.1
                 Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 211 of 255
CALIFORNIA PUBLIC EMPLOYEES' RETIREMENT       CARLYLE PAFF HEDRICK TRUST U/A/D 02/06/06,   CATHOLIC MEDICAL CENTER BOARD
SYSTEM (JUDGES' RETIREMENT SYSTEM II          CARLYLE PAFF HEDRICK, TRUSTEE                DESIGNATED FUNDS MCV
TRUST, CALIFORNIA EMPLOYEES' RETIREE          CARMINE MACCHIAROLI LIVING TRUST U/A         CATHOLIC MEDICAL CENTER ERISA MCV
BENEFIT TRUST, LEGISLATORS RETIREMENT         07/01/88, MARIE MACCHIAROLI, CARMINE         CATHOLIC UNITED INVESTMENT TRUST,
SYSTEM TRUST, LONG-TERM CARE FUND             MACCHIAROLI, TRUSTEES                        CURRENT TRUSTEE
TRUST)                                        CAROL E JANSSON TRUST U/A DTD 06/17/1998,    CAXTON INTERNATIONAL LIMITED CAXTON
CALIFORNIA PUBLIC EMPLOYEES' RETIREMENT       CAROL E JANSSON, TRUSTEE                     ASSOCIATES, LP F/K/A CAXTON ASSOCIATES,
SYSTEM (POOLED S+P 500 INDEX FUND)            CAROL E MILAN                                LLC
CALIFORNIA STATE TEACHERS' RETIREMENT         CAROL E NEWMAN REVOCABLE TRUST UA 02-        CAYUGA MEDICAL CENTER AT ITHACA
SYSTEM                                        10-2006, CAROL E. NEWMAN, TRUSTEE            CBS MASTER TRUST, CURRENT TRUSTEE
CALVERT LESTER                                CAROL F DAVIES                               CD INVESTMENT PARTNERS LTD
CALVERT VARIABLE PRODUCTS, INC. F/K/A         CAROL FORACE                                 CDC FINANCIAL PRODUCTS INC.
SUMMIT MUTUAL FUNDS, INC.                     CAROL LAU PHD PSP PART QRP, CAROL LAU,       CDP - NORTHERN TRUST CO
CAMBRIDGE APPLETON TRUST N.A.                 TRUSTEE                                      CDS CLEARING AND DEPOSITORY SERVICES,
CAMDEN                                        CAROL M ENGLISH REV TRUST UD AGY, CAROL      INC.
CAMDEN ASSET MANAGEMENT LP AND                ENGLISH, TRUSTEE                             CECIL C. SMITH IRA, PERSHING LLC, CUSTODIAN
BARNET PARTNERS LTD                           CAROL S ROWE ROLLOVER ACCOUNT,               CECIL C. SMITH IRA, PTC, CUSTODIAN
CAMILLA CHANDLER FAMILY FOUNDATION            VANGUARD FIDUCIARY TRUST CO, CUSTODIAN       CECILE M CROWE 1989 TRUST C U/A DTD
CANADA PENSION PLAN INVESTMENT BOARD          CAROL SKRENTNY ROLLOVER IRA, TD              12/27/1989 FBO D CROWE, G CROWE, S
CANADIAN IMPERIAL HOLDINGS INC.               AMERITRADE INC, CUSTODIAN                    CROWE, TRUSTEES
CANE GLOBAL MASTER FUND LP                    CAROL VIRGINIA JAMES                         CEDAR GROVE CEMETERY ASSOCIATION
CANTIGNY FOUNDATION                           CAROLE LEVY REVOCABLE TRUST U/A/D 05-05-     PERPETUAL CARE RESERVE FUND
CANTOR FITZGERALD & CO.                       1986, CAROLE LEVY, TRUSTEE                   CEDE & CO. A/K/A THE DEPOSITORY TRUST
CANYON BALANCED MASTER FUND, LTD F/K/A        CAROLINAS HEALTHCARE SYSTEM                  COMPANY A/K/A THE DEPOSITORY TRUST &
CANYON BALANCED EQUITY MASTER FUND,           CAROLINE D BRADLEY TRUST DATED 11/30/51      CLEARING CORPORATION
LTD.                                          FBO SARAH DOLL BARDER, THE NORTHERN          CEMEX INC. MASTER TRUST, CURRENT TRUSTEE
CANYON VALUE REALIZATION FUND LP HIGH         TRUST COMPANY, TRUSTEE                       CENTRAL PENSION FUND
YIELD PORTFOLIO                               CAROLYN S FISHER FAMILY TRUST 11/16/90 U-    CENTRAL STATES SOUTHEAST AND SOUTHWEST
CANYON VALUE REALIZATION FUND, L.P.           A, CAROLYN S. FISHER, TRUSTEE                AREAS PENSION FUND
CANYON VALUE REALIZATION MAC 18 LTD           CAROMONT HEALTH INC. LSV MANAGED             CENTRASTATE MEDICAL CENTER
FORTIS PRIME FUND SOL.                        ACCOUNT-DBAB                                 CENTURION LONG-TERM STRATEGIES
CAPITAL ONE BANK (USA), NATIONAL              CAROMONT/GASTON HEALTHCARE                   OVERSEAS, LTD.
ASSOCIATION - MARSHALL & ILSLEY TRUST CO.     CORPORATE LCV                                CERVURITE
CAPITALIA AZIONARIO USA PV, CREDIT            CAROMONT/GASTON HEALTHCARE PENSION           CERVURITE FAMILY LLC
AGRICOLE, SA (AMUNDI GROUP F/K/A SYSTEIA      LCV                                          CEY LIVING TRUST 5/14/87, RONALD C CEY &
CAPITAL MANAGEMENT)                           CARPENTERS ANNUITY TRUST FUND FOR            FRANCES L CEY TRUSTEES
CAPURRO INVESTMENTS A LIMITED                 NORTHERN CALIFORNIA, CURRENT TRUSTEE         CHALFANT H FOR NANCY-MARITAL TRUST NO
PARTNERSHIP                                   CARPENTERS PENSION TRUST FOR NORTHERN        1, CURRENT TRUSTEE
CAPURRO PROP SERIES LLC - SERIES G            CALIFORNIA, BOARD OF TRUSTEES                CHANDLER BIGELOW AND ELIZABETH BIGELOW
CARA LEIGH GILLESPIE-WILSON                   CARR TOTAL RETURN FUND LIMITED               CHANDLER TRUST NO. 1, SUSAN BABCOCK,
CARDINAL CAPITAL MANAGEMENT                   PARTNERSHIP, ALPHA WINDWARD LLC              JEFFREY CHANDLER, CAMILLA CHANDLER
CARE USA NORTHERN TRUST, ELENITA              CARRINGTON M. LLOYD, JR. PLD                 FROST, ROGER GOODAN, WILLIAM STINEHART,
FERNANDEZ, TRUSTEE                            CARROLL PITTMAN, LOU E PITTMAN TRUST UA      JR., JUDY C. WEBB, WARREN B. WILLIAMSON,
CARL B. FIELD III AND MARY JEAN CHASE FIELD   04/30/02 PITTMAN TRUST, CURRENT TRUSTEE      TRUSTEES
CARL E HIRSCH                                 CARYL PUCCI RETTALIATA DESIGNATED BENE       CHANDLER TRUST NO. 2 AND CHANDLER SUB-
CARL F. THORNE AND ROSELLA M. THORNE          PLAN                                         TRUSTS, SUSAN BABCOCK, JEFFREY CHANDLER,
CARL H SPAHR                                  CASEY AND ASSOCIATES, LLP                    CAMILLA CHANDLER FROST, ROGER GOODAN,
CARL S IACOPELLI AND SUSAN IACOPELLI          CASSANDRA TRADING GROUP LLC                  WILLIAM STINEHART, JR., JUDY C. WEBB,
CARL V CLARK IRA FIDELITY MANAGEMENT          CATERPILLAR INC GRP INS A/C XX-X6669         WARREN B. WILLIAMSON, TRUSTEES
TRUST CO CUST                                 (ALLIANZ GLOBAL INVESTORS CAPITAL LLC        CHANNING CAPITAL MGT LLC A/C XXXX5479
CARL WEINER TESTAMENTARY TRUST U/A/D          F/K/A OPPENHEIMER CAPITAL)                   CHARI FAMILY TRUST UAD 1/18/01, ANATOL
3/7/86, HELEN BERMAN, FRANCES GOLDSTEIN,      CATERPILLAR INC.                             CHARI, TRUSTEE
TRUSTEES                                      CATERPILLAR INC. GROUP INSURANCE PLAN        CHARITABLE GIFT FUND MONEY MARKET POOL
CARL ZLATCHIN PROFIT SHARING PLAN,            MASTER TRUST, LOCI COLAW, TRUSTEE            #4
DELAWARE CHARTER GUARANTEE & TRUST,           CATERPILLAR INC. MASTER RETIREMENT           CHARLENE FROST TRUST, GERTRUDE K
CUSTODIAN                                     TRUST, CURRENT TRUSTEE                       CHISHOLM, TRUSTEE
CARLA M LAZZARESCHI FRP PS, FIDELITY          CATERPILLAR INC. VEBA LCV                    CHARLES & ELIZABETH CLARKE TRUST U/A DTD
MANAGEMENT TRUST CO, TRUSTEE                  CATERPILLAR INVESTMENT TRUST A/K/A           01/03/1994, CHARLES C CLARKE, ELIZABETH M
CARLOS MADRIGAL JR AND ELSA MADRIGAL          CATERPILLAR, INC. 401(K) PLAN                CLARKE, TRUSTEES
CARLY E ROSENBERG, DAVID S ROSENBERG,         CATERPILLAR PORTABLE ALPHA                   CHARLES & NELL NOBIS TRUST U/A DTD
CUSTODIAN UNDER THE IL UNIF TRSF TO           CATHERINE A. CAMPBELL TRUST UAD              04/05/1995, CHARLES NOBIS, NELL NOBIS,
MINORS ACT                                    9/21/1995, ROBERT D. CAMPBELL, TRUSTEE       TRUSTEES
CARLYLE BLUE WAVE - CITIGROUP - PRIME         CATHERINE VERDUSCO & FRANCESCA J             CHARLES A. GARCIA TRUST UNDER AGREEMENT
BROKER F/A/O A/C #XXX-XXX90-1-4               VERDUSCO TRUST UA 12/13/89, CATHERINE J      DATED SEPTEMBER 29, 1992, MICHAEL F.
CARLYLE MULTI-STRATEGY MASTER FUND LTD        VERDUSCO, TRUSTEE                            GARCIA, TRUSTEE
WILMINGTON TRUST CORPORATION COMPANY          CATHLEEN L ROONEY                            CHARLES C WELLS
                                              CATHOLIC MEDICAL CENTER

                                                                  6

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 212 of 255
CHARLES E EDWARDS FAMILY TRUST, U/A DTD     CHERCHEZ LA LOI LLC                         CINDY L SCHREUDER IRA ROLLOVER, CHARLES
04/11/1990 (SUB ACCT MLI), CHARLES E        CHERRY JACKSON SVEEN                        SCHWAB & CO INC, CUSTODIAN
EDWARDS, TRUSTEE                            CHERRY SUE JACKSON                          CIRI GILLESPIE
CHARLES E. COLE                             CHERYL ANN GOKE TRUST UA 12-16-1996,        CITADEL DERIVATIVES GROUP LLC
CHARLES E. HUGEL                            CHERYL ANN GOKE, TRUSTEE                    CITADEL EQUITY FUND LTD
CHARLES E. WINDSOR                          CHERYL R FOX                                CITADEL LIMITED PARTNERSHIP
CHARLES FRIEDMAN                            CHESTER S CAIN IRA, AMERIPRISE TRUST        CITI CANYON LTD CIBC BANK & TRUST
CHARLES GOTTFRIED TRUST U/A DTD             COMPANY F/K/A H&R BLOCK FINANCIAL           COMPANY (CAYMAN) LTD, CANYON CAPITAL
03/03/1969, DOLLSEY G RAPPAPORT, TRUSTEE    ADVISORS, CUSTODIAN                         ADVISORS LLC
CHARLES J BOYLE JR AND DALE NANCY BOYLE     CHEUK W YUNG                                CITI GOLDENTREE LTD
CHARLES J SALEMI LIV TRUST U/A DTD          CHICAGO COMMUNITY FOUNDATION THE            CITIBANK NA EQUITY DERIVATIVES
08/02/2002, CHARLES J. SALEMI, TRUSTEE      CELLMER/NEAL FAMILY FOUNDATION              CITIBANK, NATIONAL ASSOCIATION, IN ITS
CHARLES L. EDWARDS IRA R/O, GUARANTEE &     CHICAGO MERCANTILE EXCHANGE                 INDIVIDUAL AND CUSTODIAL CAPACITIES
TRUST CO., TRUSTEE                          CHICAGO TRIBUNE FOUNDATION                  CITICORP SECURITIES SERVICES INC.
CHARLES M. DAVIS MARITAL TRUST 2 UNDER      CHINESE NATIONAL COUNCIL FOR SOCIAL         CITIGROUP (SBI SWAPS)
AGREEMENT DATED 11-27-1984 AS AMENDED,      SECURITY FUND                               CITIGROUP DERIVATIVES MARKETS INC.
MARGARET E. DAVIS, TRUSTEE                  CHRIS CARPENTER                             CITIGROUP DERIVATIVES MARKETS INC. (QCM
CHARLES R . BAUGH, JR. AND BARBARA BAUGH    CHRIS LINDBLAD REVOCABLE TRUST U/A/D 04-    JOINT ACCOUNT)
CHARLES R BAUGH                             20-2000, CHRIS LINDBLAD, TRUSTEE            CITIGROUP GLOBAL MARKETS INC.
CHARLES R DILL AND MARILYN C DILL JT WROS   CHRIS P STEPUSZEK                           CITIGROUP GLOBAL MARKETS LTD
CHARLES ROTHERS TRUST UA 5/11/89, JANICE    CHRISTI DASHER IRA, FCC, CUSTODIAN          CITIGROUP PENSION PLAN TRUST, THE BANK
E ROTHERS, BARBARA A RADER, CHARLES T       CHRISTIAN COMMUNITY FND DBA FUND # 9659     OF NEW YORK MELLON, TRUSTEE
ROTHERS, TRUSTEES                           CHRISTIAN SCHOOL PENSION AND TRUST FUND     CITITRUST (SWITZERLAND) LTD.
CHARLES S. PAIGE AND DIANNA L. PAIGE        CHRISTIAN SCHOOLS INTERNATIONAL             CITY NATIONAL BANK
CHARLES S. SMITH                            CHRISTIANA CARE HEALTH SERVICES             CITY OF ATLANTA POLICE OFFICERS' PENSION
CHARLES SCHWAB & CO, INC.                   RETIREMENT PLAN, WILMINGTON TRUST           FUND
CHARLES SCHWAB INVESTMENT                   COMPANY, M&T BANK, TRUSTEES                 CITY OF ATLANTA, GENERAL EMPLOYEES
MANAGEMENT, INC.                            CHRISTIANA CARE HEALTH SERVICES, INC.,      PENSION FUND
CHARLES STODDARD IRR TRUST UA, CHARLES C    WILMINGTON TRUST COMPANY, M&T BANK AS       CITY OF BOYNTON BEACH
STODDARD, TRUSTEE                           AGENTS (CHRISTIANA CARE HEALTH SERVICES     CITY OF CINCINNATI
CHARLES STOTTLEMYER TRUST UA DTD            INVESTMENT FUND)                            CITY OF DAYTONA BEACH POLICE AND FIRE
04/15/82, CHARLES E. STOTTLEMYER, TRUSTEE   CHRISTIANA L O'CONNOR TRUST, BANK OF        PENSION
CHARLES T BRUMBACK JR AND KIMBERLY C        AMERICA, N.A., TRUSTEE                      CITY OF GAINESVILLE POLICE OFFICERS' AND
BRUMBACK                                    CHRISTIE ROBERTS                            FIREFIGHTERS RETIREMENT PLAN
CHARLES T MARTIN                            CHRISTINA MONSON                            CITY OF JACKSONVILLE POLICE & FIRE PENSION
CHARLES T. AND MARY HOWE BRUMBACK           CHRISTINE E. SMITH CGM IRA ROLLOVER,        BOARD OF TRUSTEES TRUST
DESCENDANTS TRUST, THE NORTHERN TRUST       STATE STREET BANK AND TRUST COMPANY,        CITY OF LOS ANGELES EMPLOYEES'
COMPANY, TRUSTEE                            CUSTODIAN                                   RETIREMENT SYSTEM
CHARLES T. RUPPMAN 1994 TRUST DATED 3-      CHRISTINE FITZSIMONS 2004 TRUST U/A DTD     CITY OF MEMPHIS
18-94, CHARLES T. RUPPMAN, TRUSTEE          08/26/2004, MATTHEW B FITZSIMONS,           CITY OF PHILADELPHIA PUBLIC EM
CHARLES VANOLE AND BETTY VANOLE             TRUSTEE                                     CITY OF RICHMOND
CHARLES W HAMMOND TRUST, JAMES P            CHRISTOPHER E. GATES                        CITY OF RICHMOND - RSRS
HAMMOND, TRUSTEE                            CHRISTOPHER F. BADER AND MICHELE M.         CITY OF ST. LOUIS ERS LCV
CHARLES WEINBERG                            BADER
                                                                                        CITY OF STAMFORD CLASSIFIED EMP. RET.
CHARLEY CHUNYU LU & BIYING ZHANG            CHRISTOPHER J APPLEBY TRUST U/A DTD         FUND
CHARLOTTE BRODER REVOCABLE LIVING           12/13/1989, JEFFREY J APPLEBY, TRUSTEE
                                                                                        CIVILIAN EMPLOYEES' RETIREMENT SYSTEM OF
TRUST, CURRENT TRUSTEE                      CHRISTOPHER K CARPENTER                     THE POLICE DEPARTMENT OF KANSAS CITY,
CHARLOTTE CASTLE NEAL TRUST U/A DTD         CHRISTOPHER POPE                            MISSOURI
10/31/2000, CHARLOTTE CASTLE NEAL,          CHRISTOPHER REILLY                          CLARA BUSCH ORTHWEIN IRREVOCABLE TRUST,
TRUSTEE                                     CHRISTUS HEALTH                             BANK OF AMERICA, N.A., TRUSTEE
CHARLOTTE M. HUGGINS REV TRUST,             CHRISTUS HEALTH CASH BALANCE PLAN -         CLARE ATTWELL GLASSELL, INDIVIDUALLY AND
CHARLOTTE M. HUGGINS AND JACK D.            CHRISTUS HEALTH OPERATING FUND LCV          AS THE BENEFICIARY OF THE CLARE ATTWELL
HUGGINS, TRUSTEES                           CHRYSLER GROUP LLC F/K/A                    GLASSELL CONTINUING MARITAL TRUST,
CHARLOTTE PIPE & FOUNDRY PENSION LARGE      DAIMLERCHRYSLER CORPORATION                 ALFRED C. GLASSELL III, ACTING TRUSTEE
CAP EQUITIES                                CHURCH PENSION FUND                         CLARENCE G PETERSEN
CHART & CO                                  CIBC GLOBAL EQUITY FUND                     CLARESA F. M. ARMSTRONG
CHARTER PARTNERS LP                         CIBC POOLED U.S EQUITY S&P 500 INDEX FUND   CLARETIAN MISSIONARIES WESTERN PROVINCE
CHARTER TRUST COMPANY                       CIBC TRUST CORPORATION IMPERIAL U.S.        INC
CHASE FAMILY TRUST #2 U/A DTD 02/21/1997,   EQUITY POOL                                 CLAUDIA BARCLAY
MARJORIE ANN CHASE, W H CHASE, TRUSTEES     CIBC U.S. BROAD MARKET INDEX FUND           CLAUDIA BROWN
CHAU LAM                                    CIBC WORLD MARKETS CORP.                    CLAUDIA F GASPARINI
CHEATHAM MARITAL TRUST DTD 1-23-88,         CIBC WORLD MARKETS, INC./CDS                CLAUDIA F GASPARINI IRA
ALYCE R CHEATHAM, TRUSTEE                   CIC                                         CLAYTON COUNTY EMPLOYEES RETIREMENT
CHEETAH + CO (T. ROWE PRICE ASSOCIATES      CICONIA CO LLC, A PARTNERSHIP               SYSTEM
INC.)                                       CIGNA CORPORATION                           CLAYTON COUNTY GEORGIA
CHEMTURA CORPORATION MASTER                 CIM XVI LLC                                 CLEAR COVE CAPITAL LP
RETIREMENT TRUST, ANN BUDZYNSKI, TRUSTEE
                                                                                        CLEARVIEW CORRESPONDENT SERVICES
                                                               7

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 213 of 255
CLEARWATER INVESTMENT TRUST                 COMERICA BANK & TRUST, N.A., IN ITS        CORINNE CHANDLER WERDEL TST NO. 1 GST
(CLEARWATER GROWTH FUND), CURRENT           CORPORATE CAPACITY AND AS SPONSOR OF ITS   NON-EXEMPT QUA, TOM WERDEL, TRUSTEE
TRUSTEE                                     COLLECTIVE INVESTMENT FUNDS                CORNELIA V. TOBEY
CLERICAL MEDICAL INVESTMENT GROUP           COMERICA LARGECAP INDEX - 584 (184)        CORPORATION SERVICE COMPANY
LIMITED                                     COMERICA LARGECAP INDEX - EB               CORRIE NORRIS WHITE
CLERICAL MEDICAL MANAGED FUNDS LIMITED      COMERICA LARGECAP VALUE INDEX - EB         CORTESE/MOGAVERO JOINT VENTURE
CLINTON CHAN, GABELLI ASSET MANAGEMENT      COMERICA TOTAL US EQUITY INDEX FD. 584     COSMOPOLITAN INVESTMENT FUND
CO.                                         COMMERCE BANK, N.A.                        COUGAR TRADING LLC
CLOSE, PROGRAM GUARANTEED                   COMMERZ MARKETS LLC A/K/A                  COUNTRY CLUB BANK
CLW TRUST FBO ARTHUR MCKENNY, BANK OF       COMMERZBANK CAPITAL MARKETS                COUNTY EMPLOYEES' AND OFFICERS' ANNUITY
AMERICA, N.A., TRUSTEE                      COMMERZBANK AG F/K/A DRESDNER BANK AG      AND BENEFIT FUND OF COOK COUNTY
CLWYD PENSION FUND                          COMMONWEALTH OF PA TOBACCO                 COUNTY OF LOS ANGELES A/K/A COUNTY OF
CMA CAPITAL PARTNERS FUND GU IG             SETTLEMENT INVESTMENT BOARD                LOS ANGELES SAVINGS
MARKETS, CMA CAPITAL PARTNERS LTD.          COMMONWEALTH OF PA TREASURY                COUTTS US EQUITY INDEX PROGRAMME
CMCJL LLC                                   DEPARTMENT FUNDS                           COWEN CAPITAL LLC F/K/A LABRANCHE
CNH MASTER ACCOUNT L.P. CNH PARTNERS,       COMMONWEALTH OF PENNSYLVANIA PUBLIC        STRUCTURED PRODUCTS LLC
LLC                                         SCHOOL EMPLOYEES' RETIREMENT SYSTEM        COX FAMILY EDUCATIONAL TRUST U/A DTD
CO TUW ISABELLE COCHRAN FBO INA, BANK OF    COMMONWEALTH OF PENNSYLVANIA TUITION       08/02/2004, ROSEMARY T COX, TRUSTEE
AMERICA, N.A., TRUSTEE                      ACCOUNT PROGRAM FUND                       CRAIG A FOR ALBERT JR ET AL
CO VALUE EQUITY ARIEL/PACE/PACE SMALL       COMMUNITY FOUNDATION OF SARASOTA           CRAIG BRIMICOMBE
MEDIUM                                      COUNTY CORPORATE ENDOWMENT FDN             CRAIG G FOR K KNIGHT
COASTVIEW EQUITY PARTNERS LP                COMMUNITY FOUNDATION OF SARASOTA           CRAIG P WILLIAMSON REV TRUST U/A DTD
COBALT TRADING LLC                          COUNTY, INC                                05/16/2006, CRAIG P WILLIAMSON, TRUSTEE
COBLENTZ PATCH DUFFY BASS PSP FBO           COMMUNITY FOUNDATION OF SARASOTA           CRAIG P. EMMONS TRUST U/A FBO CRAIG P
WILLIAM K COBLENTZ, FIDELITY MANAGEMENT     COUNTY TRUST ENDOWMENT FUND, THE           EMMONS, BANK OF AMERICA, N.A., TRUSTEE
TRUST CO, TRUSTEE                           NORTHERN TRUST COMPANY, TRUSTEE            CRAIG W DOUGHERTY
CO-EXEC EST OF RONALD WILLIAMS, CURRENT     COMMUNITY FOUNDATION OF WESTERN            CRANE CO MASTER TRUST, CURRENT TRUSTEE
TRUSTEE                                     NORTH CAROLINA
                                                                                       CRANE H KENNEY 401(K) SAVINGS PLAN
COFFEY BERTHA FBO B COFFEY HOYT-TR          COMMUNITY INSURANCE COMPANY
                                                                                       CRANE H. KENNEY
COGENT INVESTMENT STRATEGIES MASTER         COMMUNITY OF CHRIST CHURCH LCV
                                                                                       CRANE H. KENNEY AND KELLY KENNEY
FUND, SPC-CLASS D                           COMMUNITY OF CHRIST PENSION LCV
                                                                                       CRAWFORD COMPANY LLC
COHEN FAM REV LIV TRUST, MILTON L COHEN,    COMP PLNING CORP PSP & TR, ALAN J
                                                                                       CREDIT AGRICOLE CORP. & INVESTMENT BANK
TRUSTEE                                     HUNKEN, TRUSTEE
                                                                                       - CREDIT AGRICOLE SECURITIES (USA) INC.
COLBY BARTON COOK UCAUTMA, KEITH K          COMPUTERSHARE TRUST CO., N.A.
                                                                                       CREDIT SUISSE (LUXEMBOURG) SA
COOK, CUSTODIAN                             CONAIR CORPORATION
                                                                                       CREDIT SUISSE CAPITAL LLC
COLIN T KERR TRUST U/A DTD 09/02/1977,      CONNECTICUT GENERAL LIFE INSURANCE
                                                                                       CREDIT SUISSE FIRST BOSTON
JULIE M. KERR, TRUSTEE                      COMPANY
                                                                                       CREDIT SUISSE FIRST BOSTON (CSFB PROP
COLIN THOMAS KERR                           CONNECTICUT HEALTH FOUNDATION, INC.
                                                                                       TRADING US A/C)
COLLECTIVE INVESTMENT TRUST FOR             CONNELL FAMILY PARTNERSHIP TRUST,
                                                                                       CREDIT SUISSE FIRST BOSTON EUROPE LTD
EMPLOYEE BENEFIT PLANS, CURRENT TRUSTEE     CURRENT TRUSTEE
                                                                                       CREDIT SUISSE INTERNATIONAL (DEALER)
COLLECTIVE TRUST OF THE BANK OF NEW         CONRAD C FINK AND SUE C FINK
YORK, THE BANK OF NEW YORK MELLON,                                                     CREDIT SUISSE SECURITIES (EUROPE) LTD
                                            CONS DISC SELECT SECTOR SPDR
TRUSTEE                                                                                CREDIT SUISSE SECURITIES (USA) LLC
                                            CONSEILLER MANAGED FUND LTD.
COLLEGE OF THE OZARKS                                                                  CREDIT SUISSE SECURITIES (USA) LLC F/K/A
                                            CONSEJO EPISCOPAL LATINO
COLLEGE RETIREMENT EQUITIES FUND - EQUITY                                              CREDIT SUISSSE FIRST BOSTON LLC
                                            CONSERVATIVE BALANCED PORTFOLIO, A
INDEX ACCOUNT                                                                          CROW REALTY INVESTORS, LP
                                            SERIES OF PRUDENTIAL SERIES FUND, INC.
COLLEGE RETIREMENT EQUITIES FUND -                                                     CROWELL WEEDON & CO.
                                            CONSOLIDATED EDISON COMPANY OF NEW
GLOBAL EQUITIES ACCOUNT                                                                CS ZURICH
                                            YORK
COLLEGE RETIREMENT EQUITIES FUND - SOCIAL                                              CSAA IIB AUTOBANK RETIREMENT PLAN
                                            CONSTANCE TOLBERT YESO
CHOICE ACCOUNT                                                                         CSS, LLC
                                            CONSTANCE W SCHNUCK REV TRUST U/A DTD
COLLEGE RETIREMENT EQUITIES FUND - STOCK    12-15-93, CONSTANCE W SCHNUCK, TRUSTEE     CSX CORPORATION MASTER TRUST PENSION,
ACCOUNT                                                                                RICK PATSY, TRUSTEE
                                            CONSUMERS ENERGY COMPANY
COLLEGES OF APPLIED ARTS AND TECHNOLOGY                                                CTC FUND MANAGEMENT, L.L.C.
                                            CONSUMERS FINANCIAL SERVICES OF UNION
PENSION PLAN                                COUNTY                                     CTC HOLDINGS, L.P. D/B/A CHICAGO TRADING
COLLER HOLDINGS, LLC                                                                   COMPANY
                                            CONVERTIBLES STRATEGIC HOLD EQ
COLORADO BUSINESS BANK                      CONVERTIBLES MIDDLE OFFICE                 CTC MASTER FUND LTD
COLORADO PUBLIC EMPLOYEES' RETIREMENT       CONWAY 1992 TRUST U/A DATED 01/16/1992,    CTHF CONNECTICUT HEALTH FOUNDATION
ASSOCIATION                                 CHRISTOPHER J. CONWAY, ANN W. CONWAY,      CTS CORPORATION MASTER RETIREMENT
COLUMBIA LARGE CORE QUANTITATIVE FUND       TRUSTEES                                   TRUST, DONNA BELUSAR, TRUSTEE
F/K/A COLUMBIA LC INDX                      COOK COUNTY OFFICERS AND EMPLOYEES         CUSTOMER FRIENDLY CREATIONS
COLUMBIA LARGE CORE QUANTITATIVE FUND       COOK COUNTY PENSION FUND                   CUTLER GROUP, LP
F/K/A RVS VP LARGE CAP EQUITY FUND – MAIN   COOK COUNTY RET BOARD                      CYMI EQUITY LP.
COLUMBIA ORTHOPAEDIC GROUP PSP FBO R D      COOPERATIEVE CENTRALE RAIFFEISEN-          CYNTHIA BAKER
CARTER                                      BOERENLEENBANK B.A. A/K/A RABOBANK         CYNTHIA BLOOMGARDEN U/A DTD
COLUMBIA UNIVERSITY                         COPPER NUGGET, INC.                        12/27/2002, CYNTHIA BLOOMGARDEN,
COMERICA 500 INDEX FUND - EB                COPPOLA FAMILY TRUST U/A DTD 11/27/2001,   TRUSTEE
COMERICA 500 LARGECAP INDEX - 584 (184)     LOUIS COPPOLA, BETTY COPPOLA, TRUSTEES
                                                               8

2855453.1
                 Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 214 of 255
D & J TENENBAUM REVOCABLE TRUST U/A          DARELL F KUENZLER, EDWARD D JONES & CO,     DAVID T.K. LU
8/14/06, DAVID M TENENBAUM, JANN G           CUSTODIAN                                   DAY FAMILY LLLP
TENENBAUM, TRUSTEES                          DARELL F. KUENZLER IRA, EDWARD D. JONES &   DBI FONDS HPT USV
D. JEFFREY SWINSON                           CO., CUSTODIAN                              DBSO SECURITIES LTD.
D.A. DAVIDSON & CO.                          DARRIN MARITAL TRUST, KEVIN O'DONNELL,      DBX RISK ARBITRAGE 7 FUND
D.C. RETIREMENT BOARD D.C. RETIREMENT        TRUSTEE                                     DE GROOT FAMILY TRUST, BANK OF AMERICA,
FUNDS                                        DARYL V DICHEK                              N.A., TRUSTEE
D.C. RETIREMENT FD/ALLIANCE                  DAVENPORT & CO. LLC                         DE PAUL UNIVERSITY
D.E. SHAW & CO. LP                           DAVID & LOIS LIEBERMAN TRUST SL-237,        DE WERD TRUST U/A DTD 05/04/1998, J DE
D.E. SHAW OCULUS PORTFOLIOS LLC              CUSTODIAN, DAVID A. & LOIS A. LIEBERMAN,    WERD, M DE WERD, TRUSTEES
D.E. SHAW VALENCE PORTFOLIOS LLC             TRUSTEES                                    DEAN L. DAVENPORT
D.E. SHAW VALENCE PORTFOLIOS LLC - BROAD     DAVID & TEDDI BAGGINS TRUST 7E-124,         DEAN P GILLESPIE UND CT UNIF TFRS TO MIN
CORE                                         CUSTODIAN, TEDDI E. BAGGINS, TRUSTEE        ACT, DEAN P GILLESPIE, LEE U GILLESPIE C/F
DAILY NEWS TRIBUNE INC                       DAVID A DICHEK                              DEANN K RILEY AND DAVID L RILEY JT TEN
DAIMLERCHRYSLER CORP.                        DAVID A. NOYES & COMPANY                    DEBORAH FEDYNAK
DAIMLERCHRYSLER CORP. VEBA LCV               DAVID B LEICHENGER                          DEBORAH L BRICE
DALLAS POLICE AND FIRE PENSION SYSTEM,       DAVID B NELSON INVESTMENT TRUST U/A         DEBORAH P GREEN
CURRENT TRUSTEES                             4/24/09, DAVID B NELSON, TRUSTEE            DEBRA A. GASTLER
DALTON TRUST AGREEMENT, U/A DTD              DAVID C DE SIEYES                           DEBRA A. MARTHEY
10/03/2007, DEREK M. DALTON, KAREN E.        DAVID C. TWICHELL                           DEBRA ANN AURAND IRA ROLLOVER DTD
DALTON, TRUSTEES                             DAVID D GRUMHAUS 1990 TRUST U/A DTD         06/23/1999, CHARLES SCHWAB & CO INC,
DAN MURPHY FOUNDATION                        03/26/1990, DAVID D GRUMHAUS, TRUSTEE       CUSTODIAN
DANA CORPORATION PENSION PLANS TRUST,        DAVID D GRUMHAUS III TRUST UAD 12/23/95,    DEBRA CONTARINO AND THERESA KASLER JT
COREY LUCAS, TRUSTEE                         LISA G. HAAS, TRUSTEE                       TEN
DANIEL A MCCAUGHNA IRA, FCC, CUSTODIAN       DAVID D. BROWN AND CYNTHIA M. BROWN         DEBRA J HOLMES
DANIEL A SMITH                               DAVID D. WILLIAMS AND SANDRA L. WILLIAMS    DECLARATION OF BELL FAMILY TRUST, GLEN W.
DANIEL B. OLDHAM                             JTWROS                                      BELL JR., MARTHA A BELL AND KATHLEEN B
DANIEL COHEN AND BARRIE COHEN F/K/A          DAVID DEAN HILLER                           FLYNN, TRUSTEES
BARRIE A. KASS                               DAVID E NEISSER IRREVOCABLE TRUST DATED     DEEPAK AGARWAL
DANIEL E. GELLER TRUST U/A/D 07/19/2006,     8-14-83, JUDITH E NEISSER, TRUSTEE          DEEPHAVEN EVENT TRADING LTD.
DANIEL E GELLER, TRUSTEE                     DAVID ERTEL AND BETH ERTEL                  DEEPHAVEN GROWTH OPPORTUNITIES
DANIEL G PREZEMBEL                           DAVID F ANTHONY SEP IRA, NATIONAL           TRADING, LTD.
DANIEL G VOLKMANN III REV TRUST 3/7/03,      FINANCIAL SERVICES LLC/FIDELITY             DEERE & COMPANY LARGE CAP VALUE
DANIEL G VOLKMANN III, TRUSTEE               MANAGEMENT TRUST CO, CUSTODIAN              DEERE & COMPANY WELFARE BENEFIT TRUST
DANIEL H RENBERG IRA ROLLOVER, CHARLES       DAVID FRANK & MARESSA C FRANK TRUST HC      #1, CURRENT TRUSTEE
SCHWAB & CO INC, CUSTODIAN                   31 TRUST UA 12/13/89, DAVID D. FRANK,       DEKALB COUNTY
DANIEL H. BAYLY                              TRUSTEE                                     DEL MAR ASSET MANAGEMENT, LP
DANIEL H. RENBERG                            DAVID FRANK & WAYNE C FRANK TRUST UA        DEL MAR MASTER FUND
DANIEL J FABIAN                              12/13/89 HC 31, DAVID D FRANK, TRUSTEE
                                                                                         DEL MAR MASTER FUND, LTD.
DANIEL J FABIAN CUSTODIAN FPO IRA            DAVID GREENSPAHN
                                                                                         DELAPLANTE FAMILY TRUST U/A DTD 07/27/96,
DANIEL J HILLARY                             DAVID GREENSPAHN TOD HERBERT                ALBERT M DELAPLANTE, HORTENSE MARY
DANIEL J SHEA                                GREENSPAHN                                  DELAPLANTE, TRUSTEES
DANIEL J ZWEIG AND BETH L ZWEIG              DAVID H COFRIN TRUST, US BANK, TRUSTEE      DELD FAMILY FOUNDATION TRUST UAD
DANIEL J. COLLINS                            DAVID H JACOBY                              9/30/02, DOROTHY L. DRUMMEY, PAUL
DANIEL J. GREENBLATT IRR LIV TRUST U/A DTD   DAVID HOCHBERG                              BOURDEAU, TRUSTEES
12/11/2003, LYNNE M GREENBLATT, TRUSTEE      DAVID J EDWARDS                             DENISE MECK
DANIEL JOSEPH AND SUSAN JOSEPH               DAVID J TROCCOLI AND JANICE E TROCCOLI JT   DENISE PALMER REVOCABLE TRUST U/A/D 10-
DANIEL K KUDO ROLLOVER IRA, NATIONAL         TEN                                         28-1991, DENISE E PALMER, TRUSTEE
FINANCIAL SERVICES LLC/FIDELITY              DAVID JEFF AND CARMELA SHAW                 DENNIS E THOMAS AND JOAN E THOMAS
MANAGEMENT TRUST CO, CUSTODIAN               DAVID L. NELSON REVOCABLE TRUST U-A         DENNIS EUGENE DE HAAS
DANIEL KAZAN                                 02/11/91, DAVID L. NELSON, TRUSTEE          DENNIS J BRITT
DANIEL OPAT TRUST U/A DTD 08/31/2006,        DAVID LEIGHTON TAYLOR REV TRUST U/A/D       DENNIS J BRITT ROLLOVER IRA, SCOTTRADE
DANIEL OPAT, TRACY OPAT, TRUSTEES            09-09-2004, DAVID L. TAYLOR, TRUSTEE        INC, CUSTODIAN
DANIEL OSORIO                                DAVID M BRUNS                               DENNIS J FITZSIMONS
DANIEL R ZUCKERMAN                           DAVID M JACOBS REVC LVG TRUST U/A DTD       DENNIS J FITZSIMONS 401(K) SAVINGS PLAN
DANIEL R. REESE                              05/08/90, DAVID M. JACOBS, TRUSTEE          DENNIS J FITZSIMONS TRUST U/A DTD
DANIEL S JURSA IRA ROLLOVER, PERSHING LLC,   DAVID MAZZULLO                              03/29/2001, DENNIS J FITZSIMONS, TRUSTEE
CUSTODIAN                                    DAVID N KORNFELD PSRP PS, FIDELITY          DENNIS J. DREBSKY
DANIEL S JURSA IRA ROLLOVER, PTC,            MANAGEMENT TRUST CO, TRUSTEE                DENNIS J. LAYNE ROLLOVER IRA, ROBERT W
CUSTODIAN                                    DAVID OVERTON                               BAIRD & CO INC, CUSTODIAN
DANIEL S. GREGORY                            DAVID P. MILLER                             DENNIS S. BUNDER
DANIEL WHITNEY YOUNG GIFT TRUST, LISA F      DAVID R KATZ IRA, AMERIPRISE TRUST          DENNIS W HETLER, MSSB, CUSTODIAN
GRUMHAUS, TRUSTEE                            COMPANY, CUSTODIAN                          DEPAUL UNIVERSITY
DANSKE BANK                                  DAVID S MORRISON                            DEPFA BANK PLC, HYPO REAL ESTATE BANK
DARBY J DOUGLAS FOR JAMES REM TR,            DAVID S ROSENBERG AND CYNTHIA               INTERNATIONAL
CURRENT TRUSTEE                              ROSENBERG
                                             DAVID SIU
                                                                 9

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 215 of 255
DERRICK E MCGAVIC IRA NATIONAL FINANCIAL   DIANA NEWELL TOD AND STEVEN R NEWELL        DON WIDRIG TRUST, MICHAEL RICHARD
SERVICES LLC/FIDELITY MANAGEMENT TRUST     DIANE BUCHANAN WILSEY                       WIDRIG, GREGORY D WIDRIG, TRUSTEES,
CO, CUSTODIAN                              DIANE D MURPHY                              FIDELITY MANAGEMENT TRUST CO CUSTODIAN
DESERET TRUST CO.                          DIANE FILIPPI                               - ROTH BDA TRUSTEE
DESJARDINS AMERICAN EQUITY VALUE           DIANE SCLAFANI                              DONALD A AGRELLA AND ELEANOR T AGRELLA
DET ED QUALIFIED NUCLEAR                   DICHEK FAMILY TRUST U/A 12/11/74, SHIRLEY   TRUST U/A/D 10-15-88, DONALD A AGRELLA,
DECOMMISSIONING TRUST, CURRENT TRUSTEE     DICHEK, TRUSTEE                             ELEANOR T AGRELLA, TRUSTEES
DETROIT FREE PRESS NEWSPAPER GUILD LCV     DIGEL FAMILY INVESTMENT CO. LLC             DONALD B. PRELL CGM IRA, STATE STREET
DETROIT MEDICAL CENTER CONSOLIDATED        DIGNITY HEALTH F/K/A CATHOLIC HEALTHCARE    BANK AND TRUST COMPANY, CUSTODIAN
PENSION PLAN AND MASTER RETIREMENT         WEST                                        DONALD C GRENESKO 401(K) SAVINGS PLAN
TRUST, CURRENT TRUSTEE                     DIGNITY HEALTH F/K/A CATHOLIC HEALTHCARE    DONALD C. KRASKA
DETROIT MEDICAL CENTER INSURANCE           WEST FUNDED DEPRECIATION                    DONALD CARL AND SHARRON LOUISE CRAMER
DETROIT POLICEMAN AND FIREMAN              DIGNITY HEALTH F/K/A CATHOLIC HEALTHCARE    DONALD CASPER TRUST U/A DTD 01/27/97,
RETIREMENT SYSTEM                          WEST RETIREMENT TRUST, CURRENT TRUSTEE      DONALD CASPER, TRUSTEE
DEUTSCHE ASSET MANAGEMENT (SCUDDER)        DIGNITY HEALTH F/K/A CATHOLIC HEALTHCARE    DONALD E GOSS
DEUTSCHE BANK AG AMSTERDAM                 WEST SELF INSURANCE                         DONALD GRENESKO
DEUTSCHE BANK AG LONDON                    DIGNITY HEALTH F/K/A CATHOLIC HEALTHCARE    DONALD GRENESKO AND MARCIA GRENESKO
DEUTSCHE BANK AG LONDON DB ALTERNATIVE     WEST WORKERS COMPENSATION                   DONALD H NIEDERER
TRADING INC. A/C US OPTIONS                DII INDUSTRIES LLC ASBESTOS PI TRUST,       DONALD H RUMSFELD
DEUTSCHE BANK AG LONDON RIPLEY INDEX       MARCELLENE MALOUF, TRUSTEE                  DONALD HORWITZ
DEUTSCHE BANK AG LONDON RIPLEY SPX LNG-    DILLON SMITH                                DONALD J. WIIKEN CGM IRA, STATE STREET
AUTO                                       DINA ALBRIGHT TR-TIMES MIRROR, TROY GASS,   BANK AND TRUST COMPANY, CUSTODIAN
DEUTSCHE BANK AG LONDON RIPLEY SPX SHT-    TRUSTEE                                     DONALD L MILLER TRUST U/A DTD 05/20/1982,
AUTO                                       DIOCESE OF BUFFALO LAY PENSION LCV          DONALD L MILLER, TRUSTEE
DEUTSCHE BANK AG LONDON SEF SWAP           DIOCESE OF TRENTON-PENSION FUND             DONALD L. ROSS TRUST, DONALD LEE ROSS,
HEDGE ACCOUNT                              DIRECT EDGE ECN A-F                         NANCY ANN ROSS, TRUSTEES
DEUTSCHE BANK AG MAP TRADING ACCOUNT       DIRECT EDGE ECN LLC                         DONALD M HINMAN JR
DEUTSCHE BANK AG MAPS PROVIDENT            DIRECTORS GUILD OF AMERICA - PRODUCER       DONALD N BOYCE
ADVISORS LLC                               PENSION PLAN BASIC BENEFIT PLAN A/K/A       DONALD R HARRIS LIVING TRUST UA DTD
DEUTSCHE BANK AG WESTCHESTER CAPITAL       DIRECTOR'S GUILD OF AMERICA PRODUCER        8/25/2000, DONALD R HARRIS, TRUSTEE
MANAGEMENT INC.                            PENSION TRUST, CURRENT TRUSTEE              DONALD ROONEY AND SARA ROONEY
DEUTSCHE BANK AG, FILIALE AMSTERDAM        DIREXION FUNDS TRUST (EVOLUTION ALL CAP     DONALD SALMANSON TRUST, CURRENT
DEUTSCHE BANK AG, LONDON, GED              EQUITY FUND)                                TRUSTEE
DEUTSCHE BANK SECURITIES INC.              DIREXION FUNDS TRUST (EVOLUTION LARGE       DONALD W. READETT
DEUTSCHE BANK SECURITIES INC. - DB AG      CAP FUND)                                   DONN M. DAVIS 9398 IRA
EQUITY SWAPS OFFSHORE CONSOLIDATED         DIREXION INSURANCE TRUST, CURRENT           DONN R ROBERTS AND PATRICIA ROBERTS
ACCOUNT I                                  TRUSTEE                                     DONNA BARROWS
DEUTSCHE BANK USA (DEUTSCHE BANK AG,       DISTRICT #9 IAMAW PENSION TRUST FD, PAULA   DOREEN M KLIME REVOCABLE LIVING TRUST
FRANKFURT)                                 WORLITZ, TRUSTEE                            U/A DTD 6/13/2006, L KLIMA, D KLIMA,
DEUTSCHE LUFTHANSA AG                      DISTRICT 1199J NEW JERSEY HEALTH CARE       TRUSTEES
DEUTSCHE SHELL PENSIONEN TREUHAND E.V.     EMPLOYERS PENSION PLAN A/K/A DISTRICT       DORIS DUKE CHARITABLE FOUNDATION
(DSPT)                                     1199J NEW JERSEY HEALTH CARE EMPLOYERS      DORIS E. LILLY IRA, FCC, CUSTODIAN
DEVIN J MURPHY                             PENSION FUND                                DORIS KEATS FRANK REVOCABLE TRUST UA
DEVIN J MURPHY IRA FIDELITY MANAGEMENT     DIVERSIFIED INV ADV E-HZN                   03/07/00, DORIS KEATS FRANK, TRUSTEE
TRUST CO CUST                              DL PARTNERS LP HARVARD BUSINESS SERVICES,   DOROTHY B CHANDLER MARITAL TRUST NO. 2,
DEXIA BANK                                 INC.                                        SUSAN BABCOCK, JEFFREY CHANDLER, CAMILLA
DF MEDIA                                   DLD FAMILY LLLP                             CHANDLER FROST, ROGER GOODAN, WILLIAM
DFA INVESTMENT DIMENSIONS GROUP INC. --    DLD PARTNERS                                STINEHART, JR., JUDY C. WEBB, WARREN B.
U.S. CORE EQUITY 1 PORTFOLIO               DMC INSURANCE CO. LTD. MASTER CUSTODY       WILLIAMSON, TRUSTEES
DFA INVESTMENT DIMENSIONS GROUP INC. --    AGREEMENT                                   DOROTHY B CHANDLER RESIDUARY TRUST NO.
U.S. CORE EQUITY 2 PORTFOLIO               DOHENY EYE INSTITUTE                        2, SUSAN BABCOCK, JEFFREY CHANDLER,
DFA INVESTMENT DIMENSIONS GROUP INC. --    DOLLSEY SEYMOUR RAPPORT UAD 5/6/88 FBO      CAMILLA CHANDLER FROST, ROGER GOODAN,
U.S. VECTOR EQUITY PORTFOLIO               DANI Y ROZMAN, MARJORIE ROZMAN,             WILLIAM STINEHART, JR., JUDY C. WEBB,
DFA INVESTMENT DIMENSIONS GROUP INC. --    NANETTE ROSENBERG, TRUSTEES                 WARREN B. WILLIAMSON, TRUSTEES
VA U.S. LARGE VALUE PORTFOLIO              DOLORES C. MIERKIEWICZ                      DOROTHY C. PATTERSON IRREVOCABLE TRUST
DFA U.S. CORE EQUITY FUND OF DIMENSIONAL   DOLORES H. RUSS TRUST, DOLORES H. RUSS,     #2 U/A/D 12-21-93, THE NORTHERN TRUST
FUNDS                                      TRUSTEE                                     COMPANY, AS SUCCESSOR TRUSTEE
DFA US VECTOR EQUITY FUND OF               DOMINION NUCLEAR CONNECTICUT, QUAL          DOROTHY CAHN TRUST UAD 07/03/1981,
DIMENSIONAL FUNDS                          NDT INVESTMENT POOL                         KENNETH CAHN, TRUSTEE
DFE ASSET MANAGEMENT, LLC DF ENTERPRISES   DOMINION RESOURCES, INC. DEFINED BENEFIT    DOROTHY D SMITH TRUST U/A DTD
DGAM HERITAGE ABSOLUTE RETURN MASTER       MASTER TRUST, CURRENT TRUSTEE               10/15/1980, DOROTHY M WALKER, TRUSTEE
FUND                                       DON & IRENE BARON FAMILY TRUST 7B-251,      DOROTHY D. PARK
DIAMOND CONSOLIDATED L.P.                  IRENE BARON, TRUSTEE                        DOROTHY DUNKLIN MARTING
DIAMONDBACK CAPITAL MANAGEMENT, LLC        DON E CARTER                                DOROTHY E. HINZE
DIAMONDBACK MASTER FUND LTD.               DON H. FELLABAUM, JR.                       DOROTHY L. DRUMMEY 2005 GRANTOR
DIANA L. BONVEGNA CGM IRA, STATE STREET    DON P HAYN JR                               RETAINED ANNUITY TRUST U/A DTD
BANK AND TRUST COMPANY, CUSTODIAN                                                      12/09/2005, DOROTHY L. DRUMMEY, TRUSTEE

                                                              10

2855453.1
                 Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 216 of 255
DOROTHY LEE INGEBRETSEN SEPARATE              DWS EQUITY 500 INDEX PORTFOLIO, DWS          EDGAR O. JANNOTTA JR. REVOCABLE TRUST
PROPERTY TRUST, CURRENT TRUSTEE               INSTITUTIONAL FUNDS, DWS INVESTMENT          DATED 07/8/1993, EDGAR O. JANNOTTA JR.,
DOROTHY P O'DONNELL REVOCABLE TRUST           TRUST, DWS INVESTMENTS VIT FUNDS, DWS        TRUSTEE
U/A DTD 04/25/1983, J OLDENDORF, TRUSTEE      VARIABLE SERIES II                           EDITH A. EHRLICH
DOROTHY PATTERSON GUARDIANSHIP, THE           DWS EQUITY 500 INDEX VIP (DWS                EDITH C BRIZENDINE
NORTHERN TRUST COMPANY, TRUSTEE               INVESTMENTS ACCOUNT BOS05-0702)              EDITH D. COFRIN TRUST, US BANK, TRUSTEE
DOROTHY QUAAL REV TRUST UA 09/02/1993,        DYE CHILDREN PARTNERSHIP SPECIAL TV JWD      EDMUND D. HAIGLER, JR
DOROTHY QUAAL, BMO HARRIS BANK N.A.,          MANAGEMENT                                   EDMUND F MURPHY JR REV TRUST U/A
TRUSTEES                                      DYNAMIC DOMESTIC FUND LP                     6/21/99, EDMUND F MURPHY JR, MARY P
DOROTHY R MOOG FAMILY TRUST, US BANK,         E DONALD HEYMANN                             MURPHY, TRUSTEES
TRUSTEE                                       E H OPPENHEIMER TRUST, EDWARD H              EDMUND M. GOODHUE
DOROTHY ROCKE TRUST U/A DTD 06/06/88,         OPPENHEIMER, TRUSTEE                         EDSON W. MURRAY
DOROTHY ROCKE, TRUSTEE                        E L SANFORD TRUST CHILDREN/ADA, BANK OF      EDUCATIONAL TESTING SERVICE RETIREE
DOROTHY ROUSE-BOTTOM                          AMERICA, N.A., TRUSTEE                       MEDICAL BENEFITS PLAN
DOROTHY RUSSELL SHATTUCK                      E L SANFORD TRUST CHILDREN/MASON, BANK       EDWARD A. COX, JR. REVOCABLE TRUST DTD
DOROTHY UPJOHN DALTON GRANDCHILDREN'S         OF AMERICA, N.A., TRUSTEE                    5/21/2004, EDWARD A. COX, JR., TRUSTEE
TRUST                                         E L SANFORD TRUST CHILDREN/WILLIAM, BANK     EDWARD B BYRD TRUST UA 08/02/93, EDWARD
DOUBLE BLACK DIAMOND OFFSHORE LTD.            OF AMERICA, N.A., TRUSTEE                    B. BYRD, TRUSTEE
F/K/A DOUBLE BLACK DIAMOND OFFSHORE           E L SANFORD TRUST FAM FBO ADA, BANK OF       EDWARD D. JONES & CO., L.P.
LDC, CARLSON CAPITAL L.P.                     AMERICA, N.A., TRUSTEE                       EDWARD E NEISSER MARITAL TRUST, SHERWIN
DOUGLAS A. WARD                               E L SANFORD TRUST FAM FBO MASON, BANK        A ZUCKERMAN, TRUSTEE
DOUGLAS B STEWART                             OF AMERICA, N.A., TRUSTEE                    EDWARD GALLAGHER
DOUGLAS H DITTRICK                            E L SANFORD TRUST FAM FBO WILLIAM, BANK      EDWARD H MATTHEI TRUST U/A DTD 09/18/90,
DOUGLAS H DITTRICK AND BARBARA S              OF AMERICA, N.A., TRUSTEE                    EDWARD H MATTHEI, TRUSTEE
DITTRICK                                      E L WIEGAND FOUNDATION                       EDWARD HOWELLS
DOUGLAS H MCCORKINDALE                        E W MASKE TRUST U/W FOR RUTH M BENNETT,      EDWARD J CAMPBELL TRUST U/A DTD
DOUGLAS J LUITEN DMD PC PSP U/A DTD           CURRENT TRUSTEE                              05/17/1994, EDWARD J CAMPBELL, TRUSTEE
01/01/1996, DOUGLAS J LUITEN DMD, TRUSTEE     E*TRADE CLEARING LLC                         EDWARD J DELLIN
DOUGLAS L SMATHERS TRUST U/A DTD              E*TRADE S & P 500 INDEX FUND                 EDWARD J SIDNEY TRUST UA 07/22/76,
04/12/2004, DOUGLAS L SMATHERS, TRUSTEE       E. DOMINICK AND A. ANDREWS, JR. TRUST        EDWARD J SIDNEY, TRUSTEE
DOUGLAS LEE MEYER AND STACEY MEYER            AGREEMENT DATED 10/02/90 F/B/O ELIZABETH     EDWARD J. HEYWOOD
DOUGLAS M. & JUDITH A. LIGHT REV. TRUST, D.   M. DOMINICK, E. DOMINICK, A. ANDREWS, JR.,   EDWARD K NEWMAN REVOCABLE TRUST
LIGHT & J. LIGHT, TRUSTEES                    TRUSTEES                                     U/A/D 04-14-2005, EDWARD K NEWMAN,
DOUGLAS PAGE IRA                              E. GALLAGHER                                 TRUSTEE
DOUGLAS R MURRAY ADVISORY AGENCY              E.ON ENERGIE US VALUE (EBWFOND               EDWARD S WOOLNER JR
DOUGLAS WILLIAM AND VICTORIA M. KING          EAC PARTNERS MASTER FUND LTD.                EDWARD STERLING WHITE
DOW JONES LG/MIDCAP SL SERIES COMMON          EAGLE TRADING COMPANY                        EDWARD T MCGOWAN
TRUST FUND, STATE STREET BANK AND TRUST       EARL E CROWE TRUST NO. 2, SUSAN BABCOCK,     EDWIN J HAYES JR
COMPANY, TRUSTEE                              JEFFREY CHANDLER, CAMILLA CHANDLER           EDWIN J HAYES JR TRUST, U/A DTD
DOYLE D. MCMANUS                              FROST, ROGER GOODAN, WILLIAM STINEHART,      05/26/2006, EDWIN J HAYES, TRUSTEE
DR. CLARESA F ARMSTRONG TRUST U/A DTD         JR., JUDY C. WEBB, WARREN B. WILLIAMSON,     EDWIN R LABUZ IRA, AMERIPRISE TRUST
4/21/1983, CLARESA F. ARMSTRONG, TRUSTEE      TRUSTEES                                     COMPANY F/K/A H&R BLOCK FINANCIAL
DR. DAVID L. HOEXTER IRA R/O, DELAWARE        EARL W HUNTLEY FBO MELINDA, BANK OF          ADVISORS, CUSTODIAN
CHARTER GUARANTEE & TRUST COMPANY,            AMERICA, N.A., TRUSTEE                       EFG BANK EUROPEAN FINL GROUP
TRUSTEE                                       EARL W HUNTLEY FBO PAMELA, BANK OF           EFH RETIREMENT PLAN MASTER TRUST,
DRAPER AND KRAMER, INC. A/K/A DK/EQUITY,      AMERICA, N.A., TRUSTEE                       CURRENT TRUSTEE
LLC                                           EAST LIVERPOOL RADIOLOGY ASSOC PROFIT        EHAB KHALIL KHALIFA
DRAWBRIDGE GLOBAL MACRO MASTER FUND           SHARING PLAN & TRUST, PAUL W LIM, TRUSTEE
                                                                                           EHSAN BOKHOUR
LTD - K                                       EASTERN BANK
                                                                                           EIGHTH DISTRICT ELECTRICAL PENSION FUND
DREMAN CONTRARIAN VALUE TRUST SERIES 3,       EATON VANCE CAPITAL GROWTH PORTFOLIO
                                                                                           EILEEN B VAUGHAN AND ROBERT JOSEPH
CURRENT TRUSTEE                               EATON VANCE MULTI CAP GROWTH                 VAUGHAN, JT TEN
DRESSER-RAND COMPANY                          PORTFOLIO
                                                                                           EILEEN S. BUCKLEY
DREYFUS INDEX FUNDS, INC. (DREYFUS S&P        EATON VANCE TAX MANAGED GLOBAL BUY-
                                                                                           ELAINE A MC INTOSH TRUST, JAMES DOHERTY,
500 INDEX FUND)                               WRITE OPPORTUNITIES FUND, ALAN R.
                                                                                           LINDA BILEK, CAROL ELLIOTT, TRUSTEES
DREYFUS STOCK INDEX FUND, INC.                DYNNER, TRUSTEE
                                                                                           ELAINE B WOOD REV TRUST U/A DTD 10/24/06,
DRS. BRUCE AND LEE FOUNDATION                 EATON VANCE TAX MANAGED GROWTH
                                                                                           ELAINE B WOOD, TRUSTEE
DUDLEY S. TAFT                                PORTFOLIO
                                                                                           ELAINE CHEAH-RICHERT
DUKE ENERGY CORPORATION MASTER                EATON VANCE TAX MANAGED MULTI-CAP
                                                                                           ELAINE T BOVAIRD TRUST U/A DTD 02/18/1993,
DECOMMISSIONING TRUST                         GROWTH PORTFOLIO
                                                                                           ELIANE T BOVAIRD, TRUSTEE
DUKE POWER COMPANY NON-QUALIFIED              ECF 1201 INDEX FUND LTD PARTNERSHIP
                                                                                           ELAINE W GETZ TRUST UA FEB 5 1986, ELAINE
EQUITY NUCLEAR DECOMMISSIONING TRUST,         ECHOTRADE LLC
                                                                                           W GETZ, TRUSTEE
DUKE ENERGY CORPORATION, TRUSTEE              ED BUCHSBAUM
                                                                                           ELAINE W PETTIJOHN TRUST U/A 12/20/89,
DUNCAN T WEAVER JR AND KAREN M SORRELL        EDGAR COUNTY BANK AND TRUST COMPANY          CURRENT TRUSTEE
DUNN INVESTMENT COMPANY PMP GROWTH            EDGAR D GIFFORD TRUST, EDGAR D GIFFORD,      ELDEN GUTWEIN
DUQUESNE UNIVERSITY OF THE HOLY SPIRIT        TRUSTEE
                                                                                           ELEANOR A. KENYON
DURHAM J MONSMA AND ROBBIE E MONSMA           EDGAR O. JANNOTTA
DWP BANK

                                                                 11

2855453.1
                 Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 217 of 255
ELEANOR JACKSON STERN TRUST DATED            EMILY E ORTHWEIN IRREV TRUST DTD 8/19/91,     EQUITY INDEX FUND B
01/06/1971, THE NORTHERN TRUST COMPANY,      ELLEN W ORTHWEIN, TRUSTEE                     EQUITY INDEX FUND B LENDABLE
RUSSELL T. STERN JR., PATRICIA STERN ROSS,   EMILY EVANS EMBREY, BENEFICIARY OF THE        EQUITY INDEX FUND, A SERIES OF AMERICAN
TRUSTEES                                     ALFRED C. GLASSELL JR. CHILDREN'S TRUST FOR   CENTURY CAPITAL PORTFOLIOS, INC.
ELEANOR LINDEN THURSTON TRUST DTD 02-        EMILY EVANS EMBREY                            EQUITY INDEX PLUS FUND A
19-2001, ELEANOR LINDEN THURSTON,            EMILY G. PLUMB CHARITABLE TRUST DTD           EQUITY INDEX PLUS FUND B
TRUSTEE                                      1/8/80 AS AMENDED, NORTHERN TRUST             EQUITY INDEX TRUST, CURRENT TRUSTEE
ELEANOR T AGRELLA TRUST, DONALD A            COMPANY, TRUSTEE                              EQUITY INVESTMENT CORPORATION
AGRELLA, TRUSTEE                             EMILY T SHAW TRUST U/DECL, CURRENT            EQUITY INVSTMENT CORP
ELECTROLUX HOME PRODUCTS, INC. MASTER        TRUSTEE                                       EQUITY LEAGUE PENSION TRUST FUND,
TRUST, CURRENT TRUSTEE                       EMMA LYN SCHWARTZ TRUST UA 07/10/98,          CURRENT TRUSTEE
ELINOR P. BAKER TUW FBO CHARITIES, THE       JAMES D. SCHWARTZ, TRUSTEE                    EQUITY MODELS - EFP
BANK OF NEW YORK, TRUSTEE                    EMMA M PARKERSON TRUST U/W, BANK OF           EQUITY VALUE FUND
ELISABETH B LARDNER TRUST U/A DTD            AMERICA, N.A., TRUSTEE
                                                                                           ERIC B. TOWNSEND
12/14/1988, ELISABETH B. LARDNER, TRUSTEE    EMMAS LP, A PARTNERSHIP
                                                                                           ERIC COFFELT
ELIZABETH A NEAL DECLARATION OF TRUST        EMPIRE STATE CARPENTERS
                                                                                           ERIC D. WERTHMAN
9/30/1999, ELIZABETH A NEAL, TRUSTEE         EMPIRE STATE CARPENTERS PENSION FUND
                                                                                           ERIC I CHANG
ELIZABETH ANN PALEY                          EMPIRE STATE CARPENTERS WELFARE FUND
                                                                                           ERIC MORRIS AND SHANNON MORRIS
ELIZABETH COLE                               EMPLOYEE RETIREMENT INCOME PLAN TRUST
                                                                                           ERIC ROWLEY KEOGH ACCOUNT HARRY GUY
ELIZABETH DE CUEVAS                          OF MINNESOTA MINING & MANUFACTURING
                                                                                           SNYDER WM BLAIR & CO DEFERRED PFT SHG
ELIZABETH G CHAMBERLAIN TRUST U/A DTD        CO., CURRENT TRUSTEE
                                                                                           PLAN
04/25/1979, GORDON CHAMBERLAIN, PARK         EMPLOYEE RETIREMENT SYSTEM OF GEORGIA
                                                                                           ERIK LEBSACK
CHAMBERLAIN, TRUSTEES                        EMPLOYEES' RETIREMENT FUND OF THE CITY
                                                                                           ERIK WHITE MASKE TRUST U/D 2/20/67, DEBRA
ELIZABETH H VANMERKENSTEIJN                  OF DALLAS
                                                                                           MASKE, CURRENT TRUSTEE
ELIZABETH H. WOLFF                           EMPLOYEES RETIREMENT SYSTEM OF TEXAS
                                                                                           ERIKA RE MAGGIPINTO UCAUTMA UNTIL AGE
ELIZABETH J. HAND                            EMPLOYERS' FIRE INSURANCE COMPANY             21, ERIKA MAGGIPINTO, R MAGGIPINTO,
ELIZABETH L. LEVIN 2006 SZ-2 YEAR GRANTOR    EMPLOYERS INSURANCE COMPANY OF NEVADA         CUSTODIANS
RETAINED ANNUITY TRUST UAD 07/31/06,         EMPLOYERS MUTUAL CASUALTY COMPANY             ERMAGARD KUENZLI REV TR, ERMAGARD E
ELIZABETH L. LEVIN, TRUSTEE                  ENERGIZER HOLDINGS INC. RETIREMENT PLAN       KUENZLI, TRUSTEE
ELIZABETH L'ENGLE TRUST UNDER THE WILL OF    TRUST, JOHN DRABIK, TRUSTEE                   ERMINE P PEAVY FAMILY LP
PHILIP F. L'ENGLE, SUNTRUST BANK, TRUSTEE    ENERGY INDUSTRIES SUPERANNUATION              ERNEST K. KOEHLER IRA
ELIZABETH SCHELLENGER T/U/D, ELIZABETH       SCHEME                                        ERNEST R MOFFATT IRA ROLLOVER FIDELITY
SCHELLENGER, TRUSTEE                         ENHANCED RAFI US LARGE, L.P. A/K/A            MANAGEMENT TRUST CO CUST
ELKHORN LLC                                  RESEARCH AFFILIATES FUNDAMENTAL INDEX LP      ERNEST W MICHEL
ELLA L. MORRIS TRUST, 1ST SOURCE BANK, AS    ENRIQUE HERNANDEZ JR                          ERVIN L HEYDE JR SEP IRA, FCC, CUSTODIAN
TRUSTEE                                      ENSIGN PEAK ADVISORS INC                      ERWIN SHAKIN DELTA TRUST U/A 10/5/00,
ELLEN DANAHER TULLY                          ENVESTNET, INC. F/K/A ENVESTNET ASSET         STANLEY WEISS, TRUSTEE
ELLEN J SUTTON                               MANAGEMENT GROUP, INC.                        ESTALEEN O ROGERS
ELLEN J TWADDELL                             ENZO S RICCIARDELLI                           ESTATE OF ADRIANNE BAKER REILLY, WILLIAM
ELLEN JACKSON                                EPF- NOMURA - GLOBAL EQUITY FUND              R LYNCH, EXECUTOR
ELLEN JOHNSON TWADDELL                       EPHRAIM G HIRSCH                              ESTATE OF ALFRED C. GLASSELL JR., ALFRED C.
ELLEN WARREN                                 EPPIST LLC A/K/A EPIST INVESTMENT             GLASSELL, III, INDEPENDENT EXECUTOR
ELLIOTT CAPITAL MANAGEMENT                   PARTNERSHIP                                   ESTATE OF BARBARA HAMMOND
ELLIOTT JAY & BARBARA E WAGNER FAMILY        EPSILON DISTRESSED STRATEGIES MASTER          ESTATE OF BEVERLY A. PERRY, LISA A.
TRUST DTD 10/2/91, ELLIOTT JAY WAGNER,       FUND, LP                                      SCHUSTER, EXECUTOR
TRUSTEE                                      EQ ADVISORS TRUST (EQ/EQUITY 500 INDEX        ESTATE OF CHARLES PRATT TWICHEL UW HT
ELLIS HENICAN                                PORTFOLIO)                                    CLEMENT FOR SP BC QTIP TRUST, CHASE
ELMER H. WAVERING FAMILY TRUST DATED         EQ ADVISORS TRUST (EQ/GAMCO MERGERS           TWICHEL, AS REPRESENTATIVE
06/24/1977 AS AMENDED, THE NORTHERN          AND ACQUISITIONS PORTFOLIO)                   ESTATE OF DONALD BARON, IRENE BARON,
TRUST COMPANY AND LYNNE SHOTWELL, AS         EQ ADVISORS TRUST (EQ/LARGE CAP CORE          EXECUTRIX
CO-TRUSTEES                                  PLUS)                                         ESTATE OF GENE C MCCAFFERY
ELMO C. BROOKS                               EQ ADVISORS TRUST (EQ/MID CAP VALUE PLUS      ESTATE OF JANICE FAY JOHNSON OCHS,
EMANUEL E. GEDULD 2005 FAMILY TRUST,         PORTFOLIO)                                    RODNEY D. OCHS, MICHAEL HULL,
CURRENT TRUSTEE                              EQUAL WEIGHT S&P 500 MH TR, STATE STREET      ADMINISTRATORS
EMANUEL GRUSS                                BANK AND TRUST COMPANY, TRUSTEE               ESTATE OF KAREN BABCOCK, PHILIP S.
EMBARQ CORPORATION MASTER RETIREMENT         EQUIFAX INC MASTER TRUST, CURRENT             BABCOCK, EXECUTOR
TRUST, ADAM HANKS, TRUSTEE                   TRUSTEE                                       ESTATE OF KURT ADLER, CLIFFORD ADLER,
EMIL D KRATOCHVIL                            EQUIFAX US RETIREMENT PLAN                    HOWARD ADLER, EXECUTORS
EMILE LEGROS TRUST B FOR THE BENEFIT OF      EQUISERVE EXCHANGE AGENT OVERAGE ACCT         ESTATE OF LEAVITT J POPE, MARTHA P POPE,
DEBORAH NEWCOMER, US BANK, AS TRUSTEE        EQUITABLE SEPARATE ACCOUNT #20                EXECUTRIX
EMILE LEGROS TRUST B FOR THE BENEFIT OF      EQUITEC SPECIALISTS LLC                       ESTATE OF NANCY G. LEZETTE, THOMAS
EMILE A. LEGROS, JR., US BANK, AS TRUSTEE    EQUITECH/DBAG LDN/DB GLB MSTRS                LEZETTE, EXECUTOR
EMILE LEGROS TRUST B FOR THE BENEFIT OF      EQUITRUST SERIES FUND, INC.                   ESTATE OF ROBERT C GILKISON, JOAN L
JUDITH MURRAY, US BANK, AS TRUSTEE           EQUITRUST VARIABLE INSURANCE SERIES FUND      GILKISON, ADMINISTRATOR CTA
EMILY A JEFFERSON TR/STOCK ACCOUNT U/A       EQUITY FUND B LENDABLE                        ESTATE OF ROBERT D. NELSON, CHARLES JASA,
6/1/84, EMILY A JEFFERSON, TRUSTEE           EQUITY INDEX A                                PERSONAL REPRESENTATIVE
                                             EQUITY INDEX FUND
                                                                 12

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 218 of 255
ESTATE OF ROSE ROCHELL, NANCY ROCHELL       EWT, LLC                                     FEDERATED MTD STOCK TRUST, CURRENT
GILMORE, EXECUTOR                           EXCAVATORS UNION LOCAL 731 PEN               TRUSTEE
ESTATE OF WARD L. QUAAL, BMO HARRIS         EXCEL REALTY FUND, LP                        FEDERATED MUNI AND STOCK ADVANTAGE
BANK, N.A., EXECUTOR                        EXELON CORPORATION NUCLEAR                   FUND
ESTATE OF WAYNE F. MCNULTY, MARY            DECOMMISSION TRUST - NON TAX QUALIFIED,      FEDERATED STOCK AND CALIFORNIA MUNI
KATHLEEN MCNULTY, EXECUTRIX                 CINDY CATLIN, DIRECTOR INVESTMENT            FUND
ESTATE OF WILLIAM ANTONIS, 1ST SOURCE       OPERATIONS AND RISK MANAGEMENT,              FEHIR LIMITED PARTNERSHIP
BANK, PERSONAL REPRESENTATIVE               TRUSTEE                                      FELICITY E APPLEBY TRUST U/A DTD
ESTATE OF WILLLIAM F WARCHOL                EXELON CORPORATION NUCLEAR                   12/13/1989, JEFFREY J APPLEBY, TRUSTEE
ESTATES OF WAYNE F. MCNULTY AND IRENE M.    DECOMMISSION TRUST - TAX QUALIFIED,          FELIX LENG ENG & SERENE WEE WEE LEENO
MCNULTY, MARY KATHLEEN MCNULTY,             CINDY CATLIN, TRUSTEE                        FELIX SHEU
EXECUTRIX                                   EXEMPT/BYPASS SUB TRUST OF THE MICHAEL       FELIX WEN GUANG TONG TOD
ESTERLE COBOURN                             & MARION SHLAUDEMAN TRUST U/A/D 10-01-       FEO THOMAS P. O'KEEFE SALLY B. O'KEEFE EXEC
ESTHER WONG IRA ROLLOVER FIDELITY           1995, MARION B SHLAUDEMAN, TRUSTEE           FERRIS TRADING FUND LLC
MANAGEMENT TRUST CO CUST                    EXXONMOBIL INVESTMENT MANAGEMENT,            FETHEROLF FAMILY TRUST, DONALD M
ESURANCE INSURANCE COMPANY                  INC. (EXXONMOBIL INVESTMENT FUND)            FETHEROLF, MARILYN N FETHEROLF, TRUSTEES
ETF SPY EQ FINANCE PROD CTRL                F AUDRYE WOLLER                              FICKLING FAMILY FOUNDATION INC
EUGENE E DECHTER JIED TRUST UA 12/02/92 ,   F GENE GOSELIN IRA, FCC, CUSTODIAN           FIDELITY ADVISOR LEVERAGED COMPANY
BRADLEY DECHTER, TRUSTEE                    F GENE GOSELIN REVOCABLE LIVING TRUST U/A    STOCK FUND, A SERIES OF FIDELITY ADVISOR
EUGENE KAPALOSKI                            DTD 12/31/1992, F GENE GOSELIN, TRUSTEE      SERIES I
EUGENE P. HIGGINS AND MARGARET S.           F HARLAN BATRUS                              FIDELITY COMMONWEALTH TRUST, ABIGAIL P.
HIGGINS                                     F&C MANAGED PENSION FUNDS LIMITED            JOHNSON, TRUSTEE
EUGENE TAYLOR AND ROSE MARIE TAYLOR         A/K/A MANAGED PENSION FUNDS LIMITED          FIDELITY CONCORD STREET TRUST
EUGENE TOMCZAK TRUST U/W U/A DTD            (MFS FUNDS (UK))                             FIDELITY CONCORD STREET TRUST (SPARTAN
06/11/1998, CAROLE A TOMCZAK, TRUSTEE       FAIRWAY FUND LIMITED F/K/A MAN MAC 1         U.S. EQUITY INDEX FUND), CURRENT TRUSTEE
EUGENE V THAW REV TRUST U/A DTD 4/25/00,    LTD                                          FIDELITY LEVERAGED COMPANY STOCK FUND,
CURRENT TRUSTEE                             FAIRWEATHER FAMILY L.P. A/K/A                A SERIES OF FIDELITY SECURITIES FUND
EULAV ASSET MANAGEMENT TRUST, THE           FAIRWEATHER LTD PTRSHP                       FIDELITY MOHAWK INSURANCE CO
VALUE LINE INCOME FUND, CURRENT TRUSTEE     FAITH B. MEEM TRUST, NANCY F. MEEM,          FIDELITY US EQUITY INDEX COMMINGLED POOL
EUR YIELD ENHANCEMENT - FORWARD CONV        FIDUCIARY TRUST CO., TRUSTEES                FIDELITY
OPT & COMM STK                              FAMANDSFORENINGEN TRP US LARGE CAP           FIDEURAM BANK LUXEMBOURG S.A.
EUREKA OPTIONS LLC                          AKTIER                                       FIDUCIARY SMALL AND MID-CAP STOCK FUND
EUROCLEAR BANK                              FARMERS & MERCHANTS TRUST CO                 LLC
EUROCLEAR BANK SA/NV                        FARMERS GROUP, INC. A/K/A FARMERS            FIDUCIARY SSB
EVAN NORRIS AND ANNETTE CHAN-NORRIS         INSURANCE GROUP                              FIDUCIARY TRUST COMPANY
EVANGELICAL BOARD OF PENSIONS               FASKEN LTD                                   FIDUCIARY TRUST COMPANY INTERNATIONAL
EVANGELICAL LUTHERAN CHURCH IN AMERICA      FASKEN LTD (CHANNING I)                      FIDUCIE DESJARDINS INC.
BOARD OF PENSIONS                           FASKEN, LTD. B A/K/A FASKEN (CHANNING II)    FIERSTEIN COMPANY
EVELYN A FREED TRUST U/A/D 03/26/90         FAULKNER FAMILY TRUST UA DTD 8/29/1989,      FIFTH THIRD ASSET MANAGEMENT
BRANDES - ALL CAP VALUE, EVELYN A FREED,    MARILYN M MATHESON, TRUSTEE
                                                                                         FIFTH THIRD ASSET MANAGEMENT MUTUAL
TRUSTEE                                     FBF PENSION-CMG S&P 500 INDEX, BANK OF       FUND - FIFTH THIRD EQUITY INDEX FUND
EVELYN COOPER AURANDT TRUST U/A 10-12-      AMERICA
                                                                                         FIFTH THIRD BANK
71, CURRENT TRUSTEE                         FEDERAL NATIONAL MORTGAGE ASSOCIATION
                                                                                         FIFTH THIRD BANK, TRUSTEE
EVELYN KOUCHOUKOS AND DEBORAH M             (FANNIE MAE)
                                                                                         FIFTH THIRD FUNDS
NOLAN                                       FEDERAL RESERVE EMPLOYEE BENEFITS
                                                                                         FINANCIAL MANAGEMENT CONCEPTS
EVERENCE FINANCIAL                          SYSTEM
                                                                                         FIREMAN'S FUND INSURANCE COMPANY
EVEREST REINSURANCE (BERMUDA) LTD.          FEDERAL RESERVE SYSTEM EMPLOYEE
                                            RETIREMENT FUND                              FIREMEN'S RETIREMENT SYSTEM OF ST. LOUIS
EVEREST RE GROUP LTD.
                                            FEDERATED CAPITAL APPRECIATION FUND II       FIRST AMERICAN INVESTMENT FUNDS, INC. -
EVERETT SMITH JR. TRUST U/A DTD                                                          EQUITY INDEX FUND
10/15/1998, E. SMITH, TRUSTEE               F/K/A FEDERATED CLOVER VALUE FUND II
                                            FEDERATED CAPITAL INCOME FUND                FIRST BANK & TRUST
EVERGREEN ASSET MANAGEMENT CORP.
                                            FEDERATED CAPITAL INCOME FUND, INC.          FIRST BUSEY TRUST INVESTMENT CO.
EVERGREEN EQUITY INDEX FUND
                                            FEDERATED CLOVER VALUE FUND F/K/A            FIRST CAPITAL ALLIANCE LP
EVERGREEN INVESTMENT SERVICES FUND
                                            FEDERATED AMERICAN LEADERS FUND              FIRST CITIZENS BANK & TRUST COMPANY
ADMINISTRATION, EVERGREEN ASSET
                                            FEDERATED EQUITY INCOME FUND                 FIRST CLEARING, LLC
MANAGEMENT CORP.
                                            FEDERATED EQUITY INCOME FUND, INC.           FIRST EAGLE CONTRARIAN VALUE MASTER
EVERGREEN INVESTMENT, EVERGREEN ASSET
                                            FEDERATED INV COUNSELING, INC (A/C: XFEIF)   FUND, LTD.
MANAGEMENT CORP.
                                            FEDERATED INV COUNSELING, INC (FAO:          FIRST FINANCIAL BANK
EVERYTHING MEDICAL, INC. A/K/A EVERYTHING
MEDICAL SERVICES, INC.                      FMSAF)                                       FIRST FOUNDATION ADVISORS FA MASTER
                                            FEDERATED INVESTORS INC.                     ACCOUNT
EVOL CAPITAL MANAGEMENT LLC PORTFOLIO
MARGIN ACCOUNT                              FEDERATED MANAGED VOLATILITY FUND II         FIRST INTERSTATE BANK OF COMMERCE
EVOLUTION ALL-CAP EQUITY FUND - DIREXION    F/K/A FEDERATED CAPITAL INCOME FUND II       FIRST MERCHANTS TRUST COMPANY, A
FUNDS                                       FEDERATED MANAGED VOLATILITY FUND II         DIVISION OF FIRST MERCHANTS BANK, N.A.
EVOLUTION LARGE CAP FUND - DIREXION         F/K/A FEDERATED CAPITAL INCOME FUND II       FIRST MIDWEST BANCORP
FUNDS                                       F/K/A FEDERATED EQUITY INCOME FUND II        FIRST NATIONAL BANK & TRUST CO.
EVOLUTION VP ALL-CAP EQUITY FUND, A         FEDERATED MAX-CAP INDEX FUND                 FIRST NATIONAL BANK OF LAGRANGE A/K/A
SERIES OF DIREXION INSURANCE TRUST                                                       MADCO
                                                                                         FIRST NEW YORK SECURITIES, LLC
                                                               13

2855453.1
                 Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 219 of 255
FIRST REPUBLIC BANK                           FRANCES LOEB TRUST U/W, JEROME A            FREDRICK L KATZ IRA ROLLOVER, CHARLES
FIRST SOUTHWEST CO.                           MANNING, JOHN A LEVIN, TRUSTEES             SCHWAB & CO INC, CUSTODIAN
FIRST TRUST EXCHANGE-TRADED FUND              FRANCES P. GORMLEY                          FREE CHURCH MINISTER AND MISSIONARIES
FIRST TRUST VALUE LINE EQUITY ALLOCATION      FRANCES R PICONE LIV TRUST UA DTD           RETIREMENT PLAN A
INDEX FUND                                    01/18/00, FRANCES R PICONE, TRUSTEE         FRICK C FBO F D FRICK I I-TRUST NO 3
FIRST-CITIZENS BANK & TRUST COMPANY           FRANCESA J. VERDUSCO TRUST U/A DTD          FRIDSTEIN INVESTMENT PARTNERSHIP
FIRSTENERGY CORP NON-QUALIFYING               12/13/1989, CATHERINE A VERDUSCO,           FRIEDMAN BILLINGS RAMSEY
NUCLEAR DECOMMISSIONING TRUSTS,               TRUSTEE                                     FRIEDMAN LIVING TRUST U/A 08/04/99,
CURRENT TRUSTEE                               FRANCESCO LAPIETRA AND ANN MARIE            ROBERT D FRIEDMAN, TRUSTEE
FIS OPERATIONS                                LAPIETRA                                    FROEDTERT & COMMUNITY HEALTH, INC.
FISHER FAMILY LARGE CAP GROWTH LLC            FRANCIS G DUGGAN AND JEANETTE M             FROEDTERT & COMMUNITY HEALTH, INC.
FLEET MARITIME INC.                           DUGGAN                                      LONG TERM MASTER TRUST, CURRENT
FLEXIBLE (US EQUITY) MANAGERS: PORTFOLIO      FRANCIS L. COOLIDGE                         TRUSTEE
1 LLC                                         FRANCIS NESSINGER AND JEAN K NESSINGER      FROST BANK
FLICK FAMILY REVOCABLE TRUST, JOHN E. FLICK   FRANCIS NESSINGER IRA CONTRIBUTORY TRUST    FT1112 STRATEGIC DIVIDEND PORTFOLIO
& LOIS L. FLICK, TRUSTEES                     DTD 10/14/86, CHARLES SCHWAB & CO INC,      SERIES 2 FIRST TRUST PORTFOLIO LP
FLORENCE S BRADSHAW                           TRUSTEE                                     FULL HOUSE VENTURES, LTD.
FLORIDA POWER CORP NON-QUAL PROGRESS          FRANCISCO PERDOMO & CAROLINE OLIVEIRA       FULL VALUE PARTNERS LP
ENERGY SERVICE CO                             FRANCISCO PERDOMO-FERRER RET PL,            FULTON INVESTMENT TRUST, TERRY POWER,
FLORIDA PREPAID COLLEGE PLAN - FLORIDA        FRANCISCO J PERDOMO-FERRER, TRUSTEE         TRUSTEE
PREPAID COLLEGE BOARD                         FRANCOISE ISABELLE MICHEL TRUST U/A DTD     FUND AMERICAN REINSURANCE COMPANY,
FLOYD C SANGER JR TRUST U/A 3/11/86, FLOYD    10/26/1994, JOHN M STICKNEY, TRUSTEE        LTD.
C SANGER JR, TRUSTEE                          FRANK A JONES TRUST U/A DTD 05/05/1995      FUTURE FUND BOARD OF GUARDIANS
FLUSHING FINANCIAL CORP.                      FBO M JONES, FRANK A JONES, TRUSTEE         G - CLOSE
FLYNN CORPORATION                             FRANK CALLEA                                G M JOHNSON CUST
FM GLOBAL                                     FRANK D. SIMMONS                            G P H DEVASGUNAWARDHANE IRA, FCC,
FM GLOBAL PENSION                             FRANK DELLAQUILA AND ROSEMARY               CUSTODIAN
FMC CORP DEFINED BENEFIT RETIREMENT           DELLAQUILA                                  GABELLI & COMPANY INC. (GABELLI AVG PRICE
TRUST, CURRENT TRUSTEE                        FRANK H POE TRUST U/A/D 11/27/91, WENDY     2)
FMC TECHNOLOGIES INC. DEFINED BENEFIT         POE, TRUSTEE                                GABELLI 787 FUND INC. - GABELLI ENTERPRISE
RETIREMENT TRUST, KURT NIEMETZ, TRUSTEE       FRANK J MANGANO GST NON-TAX EXEMPT          MERGERS AND ACQUISITIONS FUND F/K/A THE
FMC TECHNOLOGIES, INC.                        TRUST U/A 6/22/94, MARGARET MANGANO,        787 FUND INC - AXA ENTERPRISE MERGERS
FNY MANAGED ACCOUNTS LLP, A WHOLLY            MIKE HOOVER, TRUSTEES                       AND ACQUISITIONS FUND
OWNED SUBSIDARY OF FNY FIRST NEW YORK         FRANK J. BARTUSEK JR.                       GABELLI ASSET MANAGEMENT CO.
SECURITIES, LLC                               FRANK MALONEY AND KATHLEEN MALONEY          GABELLI ASSET MANAGEMENT CO. (A/C X0560)
FOLIOFN INVESTMENTS, INC. F/K/A FOLIO         FRANK N MAGID AND MARILYN A MAGID JT        GABELLI ASSOCIATES
INVESTMENTS, INC.                             TEN                                         GABELLI ASSOCIATES FUND
FORD MOTOR COMPANY DEFINED BENEFIT            FRANK P ROCCAFORTE                          GABELLI ASSOCIATES LIMITED
MASTER TRUST, MARK KOPP, TRUSTEE              FRANK R. BALL, JR. TRUST DATED 4/27/94,     GABELLI COMPANY
FORD MOTOR COMPANY OF CANADA - WAM            FRANK R. BALL, JR., TRUSTEE                 GABELLI DIVIDEND & INCOME TRUST, CURRENT
DOMESTIC                                      FRANK RUSSELL INVESTMENT MANAGEMENT         TRUSTEE
FORD MOTOR COMPANY OF CANADA, LIMITED         FRANK RUSSELL TRUST COMPANY                 GABELLI FOUNDATION INC
MASTER TRUST FUND, FORD MOTOR                 FRANK S LADNER REV TRUST U/A DTD            GABELLI FUNDS, LLC
COMPANY PENSION ASSET MANAGEMENT,             03/03/1993, FRANK S LADNER, TRUSTEE         GABELLI MULTIMEDIA PARTNERS, L.P.
TRUSTEE                                       FRANK S TIERNAN                             GABELLI PERFORMANCE PARTNERSHIP
FORDHAM UNIVERSITY                            FRANK W CONSIDINE                           GABELLI SECURITIES, INC., GAMCO INVESTORS,
FOREST MULTI-STRATEGY MASTER FUND SPC         FRANK W DENIUS                              INC.
FOR ITS MULTI-STRATEGY SEGREGATED             FRED J EYCHANER                             GABELLI VALUE FUND, INC.
PORTFOLIO                                     FRED LINDQUIST AND MYRTLE H. LINDQUIST      GAIL A. UEBOVICH LIVING TRUST, GREGORY L
FORESTAL FUNDING MASTER TRUST,                FRED O POLTEVENT JR                         UEBOVICH, TRUSTEE
WILMINGTON TRUST CO., ERIC SIEKE,             FRED P. PETTIJOHN IRRV TRUST MARK           GAIL C SCHLANG
TRUSTEES                                      PETTIJOHN, GEORGETTE PETTIJOHN, PERSONAL    GAINESVILLE POLICE AND FIRE
FORMANEK INVESTMENT TRUST, PAIGE              REPRESENTATIVE, TRUSTEE                     GALL DECLARATION OF TRUST U/A DTD
EAVENSON, TRUSTEE                             FRED PHILLIP PETTIJOHN (DECEASED) (AS       05/05/1981, CLAIRE T GALL, TRUSTEE
FORT PITT CAPITAL GROUP, INC.                 BENEFICIARY OF ELAINE W. PETTIJOHN          GAMCO ASSET MANAGEMENT INC.
FOSTER G HEMBRY JR                            IRREVOCABLE TRUST), GEORGETTE PETTIJOHN,    GAMCO INVESTORS INC
FOUNDATION FOR ANESTHESIA EDUCATION           PERSONAL REPRESENTATIVE, TRUSTEE
                                                                                          GAMMA PHI BETA FOUNDATION, INC.
AND RESEARCH                                  FRED T KAJIWARA
                                                                                          GARLAND FOUNDATION TRUST NO. 2, SUSAN
FOUNDATION FOR FLORIDA'S COMMUNITY            FREDERICK B GETZE                           BABCOCK, JEFFREY CHANDLER, CAMILLA
COLLEGES INC.                                 FREDERICK E NIELSEN                         CHANDLER FROST, ROGER GOODAN, WILLIAM
FRANCES C JONES REV TRUST U/A/D 08-10-        FREDERICK E NIELSEN AND PETER A NIELSEN     STINEHART, JR., JUDY C. WEBB, WARREN B.
1999, FRANCES C JONES, TRUSTEE                FREDERICK GOLDSTEIN                         WILLIAMSON, TRUSTEES
FRANCES I EDWARDS DECLARATION OF TRUST        FREDERICK S SHARE TRUST U/A DTD 11/04/88,   GARY A WOLENS
U/A/D 06/16/81, FRANCES I. EDWARDS,           FREDERICK S SHARE, TRUSTEE                  GARY ALLEN SPENCER IRA ROLLOVER FIDELITY
TRUSTEE                                       FREDERICKA PAFF & CARLYLE PAFF HEDRICK      MANAGEMENT TRUST CO CUST
FRANCES L VAN TREESE                          FREDRIC LEVENSON AND DOROTHY A              GARY D BLACK
                                              LEVENSON                                    GARY E. PEKALA
                                                                 14

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 220 of 255
GARY N SMITH ROLLOVER ACCOUNT POMONA       GEORGE BUCKMAN TRUST U/A/D 08/26/88,         GIDWITZ ART VENTURES
COLLEGE, VANGUARD FIDUCIARY TRUST CO,      GEORGE BUCKMAN, TRUSTEE                      GIDWITZ FAMILY LIMITED PARTNERSHIP
CUSTODIAN                                  GEORGE D VEON TRUST U/A DTD 10/03/01,        GILA RIVER INDIAN COMMUNITY
GARY R. NORTON                             GEORGE D VEON, TRUSTEE                       GILBERT LANOFF TRUST UA DTD 9/9/1988,
GARY S BRIARS AND LAURA A BRIARS           GEORGE DRAPEAU, III                          GILBERT LANOFF, TRUSTEE
GARY S. GROSSINGER                         GEORGE E ANDERSON REV LIV TRUST U/A,         GINA MAZZAFERRI AND THOMAS PERRY
GASPARE LOCASCIO AND DOLORES LOCASCIO,     GEORGE E ANDERSON, TRUSTEE                   GINKGO INVESTMENTS LLC, A PARTNERSHIP
JTWROS                                     GEORGE E. KEELER                             GJD PARTNERS L.P.
GASTON CAPERTON                            GEORGE EASTMAN HOUSE INC ENDOWMENT           GLADYS G. COFRIN TRUST, US BANK, TRUSTEE
GAYLE G MCLEAN REV LIVING TRUST U/A        FUND                                         GLADYS SMITH HAYES TESTAMENTARY TRUST
3/1/94, GAYLE G MCLEAN, TRUSTEE            GEORGE HENRY KALBERER                        12/3/1987, W L JACK EDWARDS, TRUSTEE
GAYLIN E FRYE JR                           GEORGE JOHNSON                               GLADYS SMITH HAYES TESTAMENTARY TRUST
GAYON EMILY CHUN IRA ROLLOVER, CHARLES     GEORGE LICHTENSTEIN                          U/A DTD 12-03-1987, PATSY HAYES EDWARDS,
SCHWAB & CO INC, CUSTODIAN                 GEORGE LONGLAND JR IRA, FCC, CUSTODIAN       GLADYS SMITH HAYES, TRUSTEES
G-BAR LIMITED PARTNERSHIP                  GEORGE M. MOSS                               GLASSELL, ALFRED C. III, INDIVIDUALLY AND AS
GBL ALPHA EDGE COMMON TRUST FD, STATE      GEORGE MICHAEL ECKERT, ESQ.                  ACTING TRUSTEE AND BENEFICIARY OF ALFRED
ST BANK & TRUST CO, TRUSTEE                GEORGE MUNROE ENDICOTT TRUST FBO             C. GLASSELL, JR. CHILDREN'S TRUST FOR
GCW CAPITAL LLC                            ELIZABETH E. RANDS, WILLIAM C RANDS III,     ALFRED C. GLASSELL, III
GDK INC                                    TRUSTEE                                      GLASSMAN GRANDCHILDREN IRR TRUST UAD
GE MUTUAL FUNDS                            GEORGE S NOWIK TRUST UA 02/06/01,            07/21/1999, CURRENT TRUSTEE
GEI STOCK INDEX FUND - GE MUTUAL FUNDS     GEORGE S. NOWIK, TRUSTEE                     GLEN W BELL, MARTHA BELL, BELL FAMILY
GELERT R. RAMAGE JR. AND NANCY D. RAMAGE   GEORGE W B ROBERTS TRUST FBO CHILDREN        TRUST, GLEN W BELL, KATHLEEN BELL, MARTHA
JTRS                                       GEORGE W BLOSSOM III                         BELL, TRUSTEES
GENERAL BOARD OF THE GLOBAL MINISTRIES     GEORGE W THOMS TRUST B, BANK OF              GLENN A KILLOREN TRUST UAD 12/27/85,
OF THE UNITED METHODIST CHURCH COLLINS     AMERICA, N.A., TRUSTEE                       GLENN A KILLOREN, TRUSTEE
HEALTH BENEFIT TRUST A/K/A GBGM COLLINS    GEORGE WALLACE                               GLENN FAMILY TRUST U/A DTD 04-03-96,
HEALTH BENEFIT TRUST LCV, CURRENT          GEORGE WILLIAM BUCK SEP-IRA DTD 4/8/93,      WILLIAM R GLENN, CAROLE L GLENN, TRUSTEE
TRUSTEE                                    CHARLES SCHWAB & CO INC, CUSTODIAN           GLENVIEW STATE BANK
GENERAL BOARD OF THE GLOBAL MINISTRIES     GEORGEANN S. BLAHA T/U/D, GEORGEANN S.       GLOBAL EQUITY ENHANCED INDEX FUND
OF THE UNITED METHODIST CHURCH COLLINS     BLAHA A/K/A GEORGEANN SCHELLENGER,           GLOBAL SEC. CP/CDS GLOBAL SECURITIES
PENSION PLAN A/K/A GBGM COLLINS PENSION    TRUSTEE                                      CORP.
PLAN LCV                                   GEORGETOWN PREPATORY SCHL INC                GLORIA TRUDMAN TRUST, GLORIA TRUDMAN,
GENERAL BOARD OF THE GLOBAL MINISTRIES     GEORGIA DEPARTMENT OF REVENUE                TRUSTEE
OF THE UNITED METHODIST CHURCH             GEORGIA M. JOHNSON                           GLORYA KAUFMAN SURVIVOR'S TRUST, JUDY
ENDOWMENT FUND A/K/A GBGM                  GEORGIA MUNICIPAL EMPLOYEE BENEFIT           MARSHALL, TRUSTEE
ENDOWMENT FUND LCV                         SYSTEM PENSION PLAN GEORGIA MUNICIPAL        GM PROMARK LARGE CAP BLEND FUND
GENERAL BOARD OF THE GLOBAL MINISTRIES     ASSOCIATION                                  GMP (BROBBZ) RE GREENWICH CAP
OF THE UNITED METHODIST CHURCH GENERAL     GERALD BENJAMIN                              GOLDENHAWK PARTNERS LP
FUND A/K/A GBGM GENERAL FUND LCV                                                        GOLDENTREE MASTER FUND II, LTD.
                                           GERALD E. GRIEVE
GENERAL BOARD OF THE GLOBAL MINISTRIES                                                  GOLDENTREE MASTER FUND LTD.
                                           GERALD J MCCARTHY IRA ROLLOVER, CHARLES
OF THE UNITED METHODIST CHURCH’S                                                        GOLDENTREE MULTISTRATEGY LTD
                                           SCHWAB & CO INC, CUSTODIAN
COLLINS PENSION PLAN
                                           GERALD KRZYWDZINSKI AND DORIS A              GOLDENTREE MULTISTRATEGY OFFSHORE
GENERAL BUILDING LABORERS' LOCAL 66 LCV                                                 FUND
                                           KRZYWDZINSKI JT TEN
GENERAL CIGAR RETIREMENT TRUST, JOSEPH C                                                GOLDMAN SACHS 1997 EXCHANGE 6823 PLACE
                                           GERALD W THIEL TRUST U/A DTD 10/20/1999,
AIRD, TRUSTEE                                                                           FUND L.P.
                                           GERALD W THIEL, TRUSTEE
GENERAL DYNAMICS CORPORATION VEBA                                                       GOLDMAN SACHS 1997 EXCHANGE PLACE
                                           GERALD W. AGEMA
TRUST, THE NORTHERN TRUST COMPANY,                                                      FUND, L.P.
                                           GERALD W. AGEMA AND MARCIA L. AGEMA
TRUSTEE
                                           GERALD W. AGEMA REVOCABLE TRUST,             GOLDMAN SACHS 1999 EXCHANGE PLACE
GENERAL DYNAMICS LAND SYSTEMS RETIREE                                                   FUND, L.P.
                                           GERALD W AGEMA, TRUSTEE
BENEFITS TRUST, THE NORTHERN TRUST
                                           GERALDO RIVERA                               GOLDMAN SACHS 2005 EXCHANGE PLACE
COMPANY, TRUSTEE
                                           GERALDO RIVERA R/O IRA, STERNE AGEE &        FUND, L.P.
GENERAL ELECTRIC COMPANY
                                           LEACH INC, CUSTODIAN                         GOLDMAN SACHS EXECUTION & CLEARING, L.P.
GENERAL ELECTRIC MT
                                           GERDA SCHILD                                 GOLDMAN SACHS EXECUTION & CLEARING, L.P.
GENERAL ELECTRIC PENSION TRUST, CURRENT                                                 F/K/A SPEAR LEEDS AND KELLOGG
TRUSTEE                                    GGCP, INC. F/K/A GABELLI FUNDS, INC.
                                           (GABELLI ABC FUND)                           GOLDMAN SACHS INTERNATIONAL
GENERAL MOTORS HOURLY-RATE EMPLOYEE
                                           GGCP, INC. F/K/A GABELLI FUNDS, INC.         GOLDMAN SACHS VARIABLE INSURANCE
PENSION TRUST (GMHREP TRUST), STATE
                                           (GABELLI FUNDS INC)                          TRUST, CURRENT TRUSTEE
STREET BANK AND TRUST COMPANY, TRUSTEE
                                           GGCP, INC. F/K/A GABELLI FUNDS, INC.         GOLDMAN, SACHS & CO., IN ITS INDIVIDUAL
GEOFFREY B FITZGERALD SR AND CAROL E
                                           (GABELLI)                                    AND CUSTODIAL CAPACITIES
FITZGERALD
                                           GGCP, INC. F/K/A GABELLI FUNDS, INC. (THE    GOLDSHER INVESTMENT CO INC
GEOFFREY C LLOYD REC TRUST L-176,
                                           GABELLI ASSET FUND)                          GOOD STEWARD TRADING COMPANY SPC
GEOFFREY C. LLOYD, TRUSTEE
                                           GGCP, INC. F/K/A GABELLI FUNDS, INC. (THE    GOODMAN TRUSTS TIC 8G-380, CUSTODIAN,
GEOFFREY DAWSON
                                           GABELLI EQUITY INC FD)                       ERNEST GOODMAN, TRUSTEE
GEORGE A.P. WALLACE 1999 REV TR, CURRENT
                                           GGCP, INC. F/K/A GABELLI FUNDS, INC. A/K/A   GOODRICH CORP, AS PLAN ADMINISTRATOR
TRUSTEE
                                           GABELLI GLOBAL MULTIMEDIA TRUST INC.         FOR THE GOODRICH CORPORATION MASTER
GEORGE B. KAISER
                                           GIBSON FAMILY TRUST, FRANKLIN L GIBSON &     TRUST FOR QUALIFIED EMPLOYEE BENEFIT
GEORGE BLOSSOM III TRUST K3-3219IA2,                                                    PLANS, CURRENT TRUSTEE
                                           KAREN C GIBSON, TRUSTEES
GEORGE W BLOSSOM III, TRUSTEE
                                                               15

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 221 of 255
GOODRICH CORPORATION EMPLOYEES’             GS INVESTMENT STRATEGIES LLC (LIBERTY      HAROLD E MICKENS
SAVINGS PLAN                                HARBOR MASTER FUND I, LP)                  HAROLD E MICKENS ROLLOVER IRA,
GORDON T FORD TRUST U/A/D 04/24/72,         GSA CAPITAL INTERNATIONAL MASTER FUND      SCOTTRADE INC, CUSTODIAN
ROBERT L HERITIER, RICHARD R MULLANEY,      LIMITED                                    HAROLD K.L. CASTLE FOUNDATION
RANDOLPH C PASCHKE, TRUSTEES                GUARDIAN                                   HAROLD R. LIFVENDAHL TRUST U/A/D
GOVERNING COUNCIL OF THE UNIVERSITY OF      GUARDIAN VC 500 INDEX FUND                 9/7/1988, THE NORTHERN TRUST COMPANY
TORONTO                                     GUARDIANS OF NEW ZEALAND                   AND HAROLD R LIFVENDAHL, AS CO-TRUSTEES
GOVERNMENT OF SINGAPORE INVESTMENT          SUPERANNUATION GV                          HARRIET H GLASSPIEGEL DL TRUST U/A DTD
CORPORATION PTE, LTD.                       GUGGENHEIM (GOLDEN TREE ASSET              6/21/89, HARRY H GLASSPIEGEL, TRUSTEE
GOVERNMENT PENSION INVESTMENT FUND,         MANAGEMENT, LP)                            HARRIET ROBINSON 1999 TRUST U/A DTD
JAPAN                                       GUGGENHEIM PORTFOLIO COMPANY XXXI LLC      06/11/1999, HARRIET ROBINSON, TRUSTEE
GPC LIX LLC                                 GUGGENHEIN PORTFOLIO LIX, LLC              HARRIET ROBINSON TRUST, MR. AND MRS.
GPC LVIII LLC                               GUIDEMARK LARGE CAP VALUE FUND F/K/A       MARVIN ROBINSON, TRUSTEES
GPC LX LLC                                  ASSETMARK LARGE CAP VALUE FUND             HARRINGTON BISCHOF TRUST DTD 9/15/97,
GPU, INC                                    GUIDESTONE FUNDS (EQUITY INDEX FUND)       HARRINGTON BISCHOF, TRUSTEE
GRACE I. SPIER                              GUIZHI LIANG & YONGHUI YANG                HARRIS CORPORATION MASTER TRUST A/K/A
GRACE M MITCHELL                            GULCO CORPORATION                          HARRIS CORP. RETIREMENT TRUST, CURRENT
GRAFF VALVE & FITTINGS CO. EMPLOYEES        GULLEY FAMILY TRUST U/A 7/27/00, PATSY J   TRUSTEE
PROFIT SHARING PLAN 2 UAD 6/30/85, PHILIP   GULLEY, TRUSTEE                            HARRISON R. AND CLARE HORAN
GRAFF, MICHAEL GRAFF, TRUSTEES              GURDON H. METZ                             HARSCO PENSION & PROFIT SHARING FUND
GRAHAM CAPITAL PARTNERSHIP I, LP            GUS G HARTOONIAN IRA, A G EDWARDS &        LCV
GRAHAM EQUITY BASKETS TRADING LTD.          SONS C/F                                   HART FAMILY TRUST DTD 04/23/92, WILLIAM
GRAHAM EVENT DRIVEN LTD. A/K/A GRAHAM       GUY W RUSSELL AND AIJA A RUSSELL           HART, ERICA HART, TRUSTEES
CAPITAL MANAGEMENT, LIMITED                 GWENDOLYN G. BABCOCK                       HARTFORD INDEX HLS FUND
PARTNERSHIP                                 GWINNETT COUNTY BOARD OF EDUCATION         HARTFORD LIFE INSURANCE COMPANY
GRAHAM FAMILY GROWTH PARTNERSHIP LCV        RETIREMENT SYSTEM                          (SEPARATE ACCOUNT B)
GRAMMEL JOINT LIVING TRUST U/A DTD          H G BARKHAUSEN TRUST 12/20/34, CURRENT     HARVARD MANAGEMENT CO.
5/24/00, JOHN E GRAMMEL, MARY C.            TRUSTEE                                    HARVEST AA CAPITAL LP
GRAMMEL, TRUSTEES                           H H HOWARD TRUST FOR L H SELBY, BANK OF    HARVEST CAPITAL LP
GRANTHAM, MAYO, VAN OTTERLOO & CO. LLC      AMERICA, N.A., TRUSTEE                     HARVEST FOUNDATION
GRAPHIC ARTS JOINT PENSION TRUST, JOHN      H JUNE WIDRIG IRA ROLLOVER FIDELITY        HARVEY B. PLOTNICK DECLARATION OF TRUST
PRICE, TRUSTEE                              MANAGEMENT TRUST CO CUST                   6321 UA MAR 16 88, HARVEY B. PLOTNICK,
GREATBANC TRUST COMPANY                     H. ROBERT HOLMES IRA, FCC, CUSTODIAN       TRUSTEE
GREAT-WEST S&P 500 INDEX FUND F/K/A         H.M. PAYSON & CO.                          HARVEY BOOKMAN
MAXIM S&P 500® INDEX PORTFOLIO              HACH SCIENTIFIC FOUNDATION                 HARVEY CANTER IRA CONTRIBUTORY, CHARLES
GREAT-WEST STOCK INDEX FUND F/K/A MAXIM     HAIDEE W FLINDERS                          SCHWAB & CO INC, CUSTODIAN
STOCK INDEX PORTFOLIO F/K/A MAXIM SERIES    HAIG KEROPIAN & ROSANNE KEROPIAN           HARVEY MUDD COLLEGE
FUND, INC.                                  REVOCABLE TRUST UA 07/09/97, HAIG          HARVEY R. HELLER
GREEN CENTURY USA GREEN CENTURY CAPITAL     KEROPIAN, ROSANNE KEROPIAN, TRUSTEES       HATABAH LTD.
MANAGEMENT                                  HALCYON DIVERSIFIED FUND L.P. F/K/A/       HAVENS PARTNERS ENHANCED FUND, L.P.
GREEN FOREST INVESTMENTS LIMITED            HALCYON SPECIAL SITUATIONS, L.P.           HAVENS PARTNERS, L.P.
GREEN FOREST TRUST, HSBC GUYERZELLER        HALCYON DIVERSIFIED FUND LP                HAWAII DENTAL SERVICE
TRUST COMPANY AG, TRUSTEE                   HALCYON FUND LP                            HAYWOOD SECURITIES, INC.
GREGORY D WIDRIG                            HALCYON MASTER FUND LP F/K/A HALCYON       HAZEL C HOUGH
GREGORY D WIDRIG IRA ROLLOVER FIDELITY      OFFSHORE ENHANCED MASTER FUND LP           HC CAPITAL TRUST (F/K/A THE HIRTLE
MANAGEMENT TRUST CO CUST                    HALCYON OFFSHORE FUND LTD.                 CALLAGHAN TRUST) - THE VALUE EQUITY
GREGORY J CAPUTO AND ELLEN P CAPUTO         HALIFAX INTERNATIONAL INVESTMENT NORTH     PORTFOLIO, ROBERT ZION, TRUSTEE
GREGORY J MARCIANO                          AMERICAN FUND, THE ROYAL BANK OF           HCA, INC. MASTER RETIREMENT TRUST,
GREGORY L MOLOZNIK                          SCOTLAND AS DEPOSITARY                     CURRENT TRUSTEE
GREGORY L. MOLOZNIK AND JULIE M.            HALLIBURTON CO.                            HCK ENTERPRISES INC PSP UAD 9/15/93,
MOLOZNIK                                    HALL-PERRINE FOUNDATION                    HENRY KUNKEL, HENRY JOHN KUNKEL,
GREGORY REYETMAN                            HALPS 51/BSH, LLC A/K/A BSH, LLC           TRUSTEES
GREGORY REYFTMANN                           HAMMOND FAMILY TRUST U/A/D 02-11-1988,     HE & FANG 2005 REV LIVING TRUST, ZHENGXU
GREGORY S SIMKO                             PAUL THEODORE HAMMOND, KAREN               HE, YING FANG, TRUSTEES
GREGORY S SIMKO IRA ROLLOVER FIDELITY       HAMMOND, TRUSTEES                          HEADWATERS HOLDINGS LLC
MANAGEMENT TRUST CO CUST                    HAMPTON UNIVERSITY ENDOWMENT               HEALTH RESOURCE GRP INC 401K PSP, DRS
GREGORY SMITH                               HANNA JONAS MILLER                         BRUNNER/BURTON, TRUSTEES
GREGORY W. WARMUTH                          HANNAH GOLLIN                              HEALTHCARE GEORGIA INC
GRIFFITH PATRICK MADIGAN UTMA WI,           HANNAH SMITH TRUST, ALISON S ANDREWS,      HEARST EQUITY APPRECIATION PLAN
GRIFFITH E. MADIGAN, CUSTODIAN              TRUSTEE                                    HEDGEHOG CAPITAL LLC
GRYPHON HIDDEN VALUES VIII L.P.             HANOVER CORPORATION                        HEDONIC CAPITAL LLC
GRYPHON HIDDEN VALUES VIII LTD              HARBOR CAPITAL ADVISORS LCV                HELEN BROWN, JEAN SAMOS & GAIL SAMOS
GS 1999 EXCHANGE PLACE 6823 FUND LP         HARBOR CAPITAL GROUP TRUST                 JOHNSON
GS 2005 EXCHANGE PLACE FUND                 HARBOR MID CAP VALUE FUND                  HELEN BUTTENWIESER TRUST 7/28/38,
GS 2005 EXCHANGE PLACE FUND 6823 LP         HAREWOOD ASSET MANAGEMENT (US) INC.        LAWRENCE B. BUTTENWIESER, TRUSTEE
(FEEDER 2005)                               F/K/A COOPER NEFF ADVISORS, INC.           HELEN D HOKE LIVING TRUST UA 06-16-1994,
GS FINANCIAL MARKETS                        HARMONY INVESTMENT MANAGEMENT LLC          HELEN D HOKE, TRUSTEE
                                                               16

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 222 of 255
HELEN GARLAND TRUST NO. 2 (FOR               HFR ED SELECT PERFORMANCE MASTER TRUST      HOWARD J. TRIENENS, HOWARD J. TRIENENS
GWENDOLYN GARLAND BABCOCK), SUSAN            ENHANCED                                    TRUST DATED 9-18-91, HOWARD J. TRIENENS,
BABCOCK, JEFFREY CHANDLER, CAMILLA           HFR RVA WHITEBOX MASTER TRUST F/K/A HVR     TRUSTEE
CHANDLER FROST, ROGER GOODAN, WILLIAM        RVA COMBINED MASTER TRUST, CURRENT          HOWARD JAY KIRSCHBAUM
STINEHART, JR., JUDY C. WEBB, WARREN B.      TRUSTEE                                     HOWARD L WEINSTEIN TRUST, CURRENT
WILLIAMSON, TRUSTEES                         HHS PARTNERSHIP                             TRUSTEE
HELEN GARLAND TRUST NO. 2 (FOR HILLARY       HIGHMARK INC                                HOWARD L. WEINSTEIN
DUQUE GARLAND), SUSAN BABCOCK, JEFFREY       HILDA FLYNN                                 HOWARD M ROSS AND JACQUELYN ROSS
CHANDLER, CAMILLA CHANDLER FROST, ROGER      HIMAN BROWN TRUST UA 11/20/02 HIMAN         HOWARD R & HARRIETTE E REUTER
GOODAN, WILLIAM STINEHART, JR., JUDY C.      BROWN REVOCABLE TRUST, CURRENT TRUSTEE      EXEMPTION TRUST UA 01/06/95, HARRIETTE E
WEBB, WARREN B. WILLIAMSON, TRUSTEES         HNB MACRO 100                               REUTER, TRUSTEE
HELEN GARLAND TRUST NO. 2 (FOR WILLIAM       HOC GST EXEMPT TRUST NO. 2. FBO ELIZA       HOWARD RESNICK IRA, FIDELITY
M. GARLAND III), SUSAN BABCOCK, JEFFREY      HASKINS, SUSAN BABCOCK, JEFFREY             MANAGEMENT TRUST CO, CUSTODIAN
CHANDLER, CAMILLA CHANDLER FROST, ROGER      CHANDLER, CAMILLA CHANDLER FROST, ROGER     HOWARD SHULKES RESIDUARY CREDIT TRUST
GOODAN, WILLIAM STINEHART, JR., JUDY C.      GOODAN, WILLIAM STINEHART, JR., JUDY C.     U/A DTD 09/20/1991, MYRA SHULKES, TRUSTEE
WEBB, WARREN B. WILLIAMSON, TRUSTEES         WEBB, WARREN B. WILLIAMSON, TRUSTEES        HOWE BARNES HOEFER & ARNETT, INC.
HELEN GROSSMAN TRUST U/A/D 09/08/99,         HOC GST EXEMPT TRUST NO. 2. FBO JOHN        EMPLOYEES' PROFIT SHARING PLAN,
LAURIE H. WEAVER, TRUSTEE                    HASKINS, SUSAN BABCOCK, JEFFREY             WILMINGTON TRUST RETIREMENT AND
HELEN HOUGH FEINBERG                         CHANDLER, CAMILLA CHANDLER FROST, ROGER     INSTITUTIONAL SERVICES COMPANY, TRUSTEES
HELEN K DOHM IRA, FCC, CUSTODIAN             GOODAN, WILLIAM STINEHART, JR., JUDY C.     HOWE BARNES INVESTMENT,INC. EMPLOYEES'
HELENA RUOTSALAINEN                          WEBB, WARREN B. WILLIAMSON, TRUSTEES        PROFIT SHARING PLAN SECURITY TRUST
HENRY & MARY JO RAY                          HOC GST EXEMPT TRUST NO. 2. FBO SCOTT       COMPANY N.A.
HENRY ALIG SPURGEON                          HASKINS, SUSAN BABCOCK, JEFFREY             HOWELLS FAMILY GST, GURDON H. METZ,
HENRY C BORSKI AND SHARYN L BORSKI           CHANDLER, CAMILLA CHANDLER FROST, ROGER     TRUSTEE
HENRY CARSON JACKSON IRREVOCABLE             GOODAN, WILLIAM STINEHART, JR., JUDY C.     HOWELLS FAMILY GST, WILLIAM DEAN
MANAGEMENT TRUST UA 12-17-96, TRUST B,       WEBB, WARREN B. WILLIAMSON, TRUSTEES        HOWELLS, TRUSTEE
H. CARSON JACKSON JR, CHERRY SUE JACKSON,    HOC TRUST NO. 2 FBO ELIZA HASKINS, SUSAN    HSBC BANK PLC
TRUSTEES                                     BABCOCK, JEFFREY CHANDLER, CAMILLA          HSBC GLOBAL ASSET MANAGEMENT F/K/A
HENRY CARSON JACKSON TRUST U/W               CHANDLER FROST, ROGER GOODAN, WILLIAM       HSBC BANK PLC GLOBAL INVESTOR SERVICES
IRREVOCABLE MANAGEMENT TRUST UA 12-17-       STINEHART, JR., JUDY C. WEBB, WARREN B.     HSBC SECURITIES (USA) INC.
96, TRUST A-2, CHERRY SUE JACKSON, TRUSTEE   WILLIAMSON, TRUSTEES                        HSBC SECURITIES CANADA
HENRY DAVIS HAGUE IRA FIDELITY               HOC TRUST NO. 2 FBO JOHN HASKINS, SUSAN     HSUEH-MEI PU
MANAGEMENT TRUST CO CUST                     BABCOCK, JEFFREY CHANDLER, CAMILLA
                                                                                         HUDSON BAY FUND LP
HENRY FRANCIS DUPONT WINTERTHUR              CHANDLER FROST, ROGER GOODAN, WILLIAM
                                                                                         HUDSON BAY MASTER FUND LTD
MUSEUM, INC.                                 STINEHART, JR., JUDY C. WEBB, WARREN B.
                                             WILLIAMSON, TRUSTEES                        HUFFMAN FAMILY FOUNDATION
HENRY G BARKHAUSEN TRUST 12/14/36, BMO
                                             HOC TRUST NO. 2 FBO SCOTT HASKINS, SUSAN    HUGH F FAGAN
HARRIS BANK, N.A., TRUSTEE
                                             BABCOCK, JEFFREY CHANDLER, CAMILLA          HUGH LAWSON BROWN & ERLINE P. BROWN
HENRY H CAREY IMA
                                             CHANDLER FROST, ROGER GOODAN, WILLIAM       HUNTINGTON
HENRY H KINDLINGER IRR TR, WILLIAM HAUER,
                                             STINEHART, JR., JUDY C. WEBB, WARREN B.     HUNTINGTON MACRO 100 FUND
MERRILL LYNCH TRUST COMPANY, TRUSTEES
                                             WILLIAMSON, TRUSTEES                        HUNTINGTON NATIONAL BANK
HENRY I PRIEN FAMILY TRUST, BETTY ANN
PRIEN, NUBAR TASHJIAN, TRUSTEES              HOESLEY FAMILY LIMITED PARTNERSHIP          HUNTINGTON R /CHARLES HUNTINGTON
HENRY L ADAMIC JR                            HOLMES FAMILY TRUST UA DTD 04/24/87,        HUNTINGTON R B/ANNA H DEMING
HENRY M CHANCE TRUST DTD 6/26/36 FBO H       ROBERT HOLMES, TRUSTEE                      HURRICANE FUND I - IMA
CHANCE II, STEVEN K. CHANCE AND PETER E.     HOMELAND INSURANCE COMPANY OF NEW           HUSSMAN STRATEGIC GROWTH FUND A/K/A
CHANCE, TRUSTEES                             YORK                                        THE HUSSMAN INVESTMENT TRUST, JOHN P.
HENRY M HARPER JR TRUST UA 12/22/93,         HON HARRY F BYRD REV TRUST U/A DTD          HUSSMAN, TRUSTEE
CURRENT TRUSTEE                              01/25/82, HARRY F BYRD JR, THOMAS T BYRD,   HYDE PARK SAVINGS BANK/H.P. SECURITY
HENRY P ALBRECHT REVOCABLE TRUST U/A         TRUSTEES                                    CORP.
1/21/74, CURRENT TRUSTEE                     HONEYWELL - INCOME AND APPRECIATION         HYMAN F BLUM
HERBERT ANTHONY CLARK, JR                    HOLDINGS                                    HYMF LTD DE SHAW OCULUS PORT LLC - US,
HERBERT G. LAU PROFIT SHARING QRP            HONEYWELL INTERNATIONAL INC. MASTER         BSCL AS AGENT
PARTICIPATION, DELAWARE CHARTER              RETIREMENT TRUST, CURRENT TRUSTEE           IA UMKC COMMINGLED FD-LARGE CAP
GUARANTEE & TRUST, TRUSTEE                   HONG KONG MONETARY AUTHORITY                IBEW LOCAL 103 TRUST FUND A/K/A
HERBERT L WASHINGTON                         HONG KONG SPECIAL ADMINISTRATIVE REGION     INTERNATIONAL BROTHERHOOD OF
HERBERT SCHEIDEL LIVING TRUST U/A 2/16/05    GOVERNMENT - EXCHANGE FUND                  ELECTRICAL WORKERS LOCAL 103 PENSION
FBO HERBERT SCHEIDEL, LEGACY TRUST           HORACE W. HOWELLS                           FUND LCV
COMPANY, TRUSTEE                             HORIZON GOLDEN PARTNERS L P                 IBEW LOCAL 57
HERBERT VANCE TRUST UAD 8/9/71, HERBERT      HORIZON PARTNERS                            IBEW/NECA LOCAL 124 PENSION - ALLIANCE -
VANCE, DOROTHY J. VANCE, TRUSTEES            HORIZON TRUST & INVESTMENT                  IBEW LOCAL UNION 124 PENSION TRUST,
HERMAN R FRIEDBERG REVOCABLE TRUST,          MANAGEMENT                                  CURRENT TRUSTEE
JAMES A. FRIEDBERG, THOMAS F. FRIEDBERG,     HORWITZ CHARITABLE FUND                     IBEW-NECA EQUITY INDEX FUND
TRUSTEES                                     HOUGH FAMILY FOUNDATION INC                 IBM 401(K) PLUS PLAN TRUST, CURRENT
HERMAN VOLPE TRUST 01/24/92, HERMAN          HOUSTON ENDOWMENT, INC.                     TRUSTEE
VOLPE, TRUSTEE                               HOWARD BERKOWITZ                            IBM CANADA LIMITED
HF BARBARA J MCKENNY ADVISORY, BARBARA J     HOWARD F. AHMANSON JR. REVOCABLE            IBM PERSONAL PENSION PLAN TRUST,
MCKENNY                                      TRUST, HOWARD F. AHMANSON, JR., THE         CURRENT TRUSTEE
HFF I LLC                                    NORTHERN TRUST COMPANY, TRUSTEES            IBM RETIREMENT FUNDS

                                                                17

2855453.1
                 Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 223 of 255
IBM TAX DEFERRED SAVINGS PLAN                INTERNATIONAL BROTHERHOOD OF                 ISABELLA LAUDE AND WALTER LAUDE
ICAP CORPORATES LLC                          ELECTRICAL WORKERS LOCAL 357 PENSION         ISABELLA M LAUDE TRUST U/A 8/24/10,
ICCREA BANCA SPA - EUROPE (RB9999)           TRUST FUND, ZENITH ADMINISTRATORS, INC,      ISABELLA LAUDE PHD TRUSTEE
ICE BEAR INCORPORATED                        TRUSTEE                                      ISHARES DOW JONES U.S. CONSUMER
IDAHO TRUST BANK                             INTERNATIONAL BROTHERHOOD OF                 SERVICES SECTOR INDEX FUND
IGLESIA METODISTA DEL PERU - GENERAL         ELECTRICAL WORKERS LOCAL 98 PENSION PLAN     ISHARES DOW JONES U.S. TOTAL MARKET
BOARD OF GLOBAL MINISTRIES, UMC              MV                                           INDEX FUND
ILLINOIS MUNICIPAL RETIREMENT FUND           INTERNATIONAL BROTHERHOOD OF                 ISHARES MORNINGSTAR MID VALUE INDEX
ILLINOIS STATE BOARD OF INVESTMENT           ELECTRICAL WORKERS PENSION BENEFIT FUND      FUND
ILLINOIS STUDENT ASSISTANCE COMMISSION       INTERNATIONAL BUSINESS MACHINES              ISHARES MSCI KLD 400 SOCIAL INDEX FUND
                                             CORPORATION                                  ISHARES NYSE COMPOSITE INDEX FUND
IMPERIUM INSURANCE COMPANY F/K/A DELOS
INSURANCE COMPANY                            INTERNATIONAL MONETARY FUND RETIRED          ISHARES RUSSELL 1000 INDEX FUND
                                             STAFF BENEFITS INVESTMENT ACCOUNT            ISHARES RUSSELL 1000 VALUE INDEX FUND
INARCASSA U.S. STRUCTURED EQUITY
                                             INTERNATIONAL MONETARY FUND STAFF            ISHARES RUSSELL 3000 INDEX FUND
INDEX 500 FUND, A SERIES OF PENN SERIES
                                             RETIREMENT PLAN                              ISHARES RUSSELL 3000 VALUE INDEX FUND
FUND, INC.
                                             INTERNATIONAL PAINTERS AND ALLIED TRADES     ISHARES RUSSELL MIDCAP INDEX FUND
INDIAN POINT QUALIFIED NDT INVESTMENT
                                             INDUSTRY PENSION FUND A/K/A
POOL C-O MELLON GSS                                                                       ISHARES RUSSELL MIDCAP VALUE INDEX FUND
                                             INTERNATIONAL BROTHERHOOD OF PAINTERS
INDIANA TEACHERS' RETIREMENT FUND A/K/A                                                   ISHARES S&P 500 INDEX FUND
                                             AND ALLIED TRADES UNION & INDUSTRY
INDIANA STATE TEACHERS' RETIREMENT FUND                                                   ISHARES S&P 500 VALUE INDEX FUND
                                             PENSION FUND A/K/A INTERNATIONAL UNION
ING BELGIUM, SA                              PAINTERS & ALLIED TRADES INDUSTRY            ISHARES S&P GLOBAL CONSUMER
ING CAPITAL LLC                              PENSION FUND                                 DISCRETIONARY SECTOR INDEX FUND
ING CORPORATE LEADERS 100 FUND F/K/A         INTERNATIONAL UNION OF OPERATING             ITG INC. F/K/A INVESTMENT TECHNOLOGY
INDEXPLUS LARGE CAP FUND F/K/A ING INDEX     ENGINEERS LOCAL 825 PENSION FUND             GROUP, INC.
PLUS LARGECAP EQUITY                         INTERNATIONAL VALUE FUND OF                  ITT CORPORATION
ING INDEX PLUS LARGECAP EQUITY FUND IV       DIMENSIONAL FUNDS                            IUOE LOCAL 138 LCV
ING INVESTMENT TRUST CO. ENHANCED CORE       INTERSIL EQUITY INC FUND, T. ROWE PRICE      IUOE LOCAL 14-14B PENSION FUND
EQUITY COMMON TRUST FUND                     TRUST CO, TRUSTEE                            J BOURNE TR-IMA, CURRENT TRUSTEE
ING INVESTMENT TRUST COMPANY                 INTL PROGRAM TRADES PROGRAMS AVERAGE         J CHRISTOPHER REYES
ING INVESTORS TRUST (ING US STOCK INDEX      PRICE #1                                     J D DECKER TRUST 12/14/67 SD KING ET, BANK
PORTFOLIO)                                   INVENIO PARTNERS LP                          OF AMERICA, N.A., TRUSTEE
ING T. ROWE PRICE EQUITY INCOME              INVESCO ASSET MANAGEMENT (JAPAN) LTD.        J MCWETHY I/T SHRD
PORTFOLIO, A SERIES OF ING INVESTORS TRUST   INVESCO EQUALLY-WEIGHTED S&P 500 FUND        J SANFORD TRUST CHILDREN/ADA, BANK OF
ING U.S. STOCK INDEX PORTFOLIO F/K/A ING     F/K/A MORGAN STANLEY EQUALLY-WEIGHTED        AMERICA, N.A., TRUSTEE
STOCK INDEX PORTFOLIO (ING INVESTORS         S&P 500 FUND                                 J SANFORD TRUST CHILDREN/MASON, BANK OF
TRUST)                                       INVESCO S&P 500 INDEX FUND                   AMERICA, N.A., TRUSTEE
ING VALUE CHOICE FUND F/K/A ING LARGECAP     INVESCO S&P 500 INDEX FUND F/K/A MS S&P      J SANFORD TRUST CHILDREN/WILLIAM, BANK
VALUE FUND (ING INVESTORS TRUST)             500 INDEX FUND                               OF AMERICA, N.A., TRUSTEE
INJA LEW CGM IRA, STATE STREET BANK AND      INVESCO V.I. S&P 500                         J&M MARSHALL TRUST AND M.B. MARSHALL
TRUST COMPANY, CUSTODIAN                                                                  TRUST, MAXINE MARSHALL, TRUSTEE
                                             INVESCO V.I. SELECT DIMENSIONS EQUALLY-
INKA MBH A/K/A INTERNATIONALE                WEIGHTED S&P 500 FUND                        J&M TRUST UA DATED 07/23/1992, ROBERT N.
KAPITAANAGEGESELLSCHAFT MBH A/K/A HSBC                                                    MOHR, SUCCESSOR TRUSTEE
                                             INVOC, WILMINGTON TRUST COMPANY,
INKA                                                                                      J. ALEX ORB ACCT B
                                             CUSTODIAN
INNOVEST- SIEMENS EQUITY NORT                                                             J.J.B. HILLIARD, W.L. LYONS LLC
                                             IOLAIRE INVESTORS LIMITED PARTNERSHIP
INSTITUTIONAL BENCHMARKS SERIES (MASTER                                                   J.M. SMUCKER COMPANY LCV
                                             IPAC ASSET MANAGEMENT
FEEDER) LIMITED I/R/O GLAZER MERGER                                                       J.P. MORGAN CLEARING CORP.
                                             IRA WILLIS BAKER, JR
ABRITRAGE SER AMUNDI INVESTMENT
                                             IRENE M F SEWELL AND TIMOTHY A SEWELL        J.P. MORGAN SECURITIES LLC F/K/A BEAR
SOLUTIONS AMERICAS LLC (F/K/A CASAM
                                             IRENE M. FREUTEL REV TRUST U/A DTD           STEARNS & CO. INC.
ADVISORS LLC/LYRA CAPITAL LLC)
                                             04/28/2001, IRENE M. FREUTEL, TRUSTEE        J.P. MORGAN SECURITIES LLC F/K/A J.P.
INSTITUTIONAL BENCHMARKS SERIES MASTER
                                             IRENE PAGE                                   MORGAN SECURITIES INC. A/K/A JP MORGAN
FEEDER LIMITED - IZAR SERIES OLYMPIA
                                             IRIS A . MILLER REVOCABLE TRUST U/A/D        SECURITIES
CAPITAL INTERNATIONAL INC
                                             12/31/1989, IRIS A MILLER, TRUSTEE           J.P. MORGAN SECURITIES LTD.
INSTITUTIONAL BENCHMARKS SERIES MASTER
                                             IRIS B. MAHONEY REV TRUST U/A/D 04/10/98,    J.P. MORGAN SECURITIES, LLC F/K/A J.P.
FEEDER LIMITED MATAR SERIES OLYMPIA
                                             PAUL M. MAHONEY, TRUSTEE                     MORGAN SECURITIES INC.
CAPITAL INTERNATIONAL INC
                                             IRIS ELSTON 5/30/95 TRUST, CURRENT TRUSTEE   J.P. MORGAN WHITEFRIARS INC.
INSTITUTIONAL BENCHMARKS SERIES MASTER
FUND, LTD.                                   IRON WORKERS LOCAL 16 PEN FD LSV             J.P. MORGAN WHITEFRIARS INC. (A/C MARGIN)
INSTITUTIONAL MANAGED US EQUITY              IRONWORKERS-LABORERS PENSION PLAN OF         J.P. MORGAN WHITEFRIARS INC. (WHFR-MGN
                                             CUMBERLAND MD UAD 8/1/1965, CURRENT          PT)
INSURANCE TRUST U/A 4/25/67 FBO SHELDON
COOPER, SHELDON COOPER, TRUSTEE              TRUSTEE                                      JACK D. MCMANUS AND JOHN R. MCMANUS
INTEL CORPORATION                            IRVING & VARDA RABIN 1992 REVOCABLE          JACK E. MEADOWS
INTELLIGENCE RESEARCH GROUP CORP. TRUST      TRUST, IRVING RABIN, VARDA RABIN, TRUSTEES   JACK L RASMUSSEN LIVING TRUST UA 01 12 83,
DATED 12/11/75, FRANK MANCINI, TRUSTEE       IRVING S. GILMORE FOUNDATION LCV             JACK L RASMUSSEN, TRUSTEE
INTERACTIVE BROKERS GROUP                    IRWIN GROSSINGER TRUST DTD 9/1/65,           JACK M ROSENBERG, A G EDWARDS & SONS
                                             CAROLINE GROSSINGER, SHARON GROSSINGER,      C/F SEP-IRA
INTERNATIONAL BROTHERHOOD OF
ELECTRICAL WORKERS LOCAL 25 MASTER           TRUSTEES                                     JACK R. MCDONALD CGM IRA, STATE STREET
TRUST PLANS                                  IRWIN WALLSHEIN IRA, FIDELITY                BANK AND TRUST COMPANY, CUSTODIAN
                                             MANAGEMENT TRUST CO CUST                     JACK S LITZ DDS LTD PENSION AND PROFIT
                                             ISABEL B. YOUNG BALANCED ADVISORY            SHARING TRUST DTD 2/1/79
                                                                   18

2855453.1
                 Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 224 of 255
JACK V SECORD IRA, FCC, CUSTODIAN (PILOT      JAMES H. BEATTY                              JANE STREET CAPITAL, LLC
PLUS)                                         JAMES H. KIMBERLY AND ELIZABETH O.           JANET B BERMAN TRUST U/A DTD 04/18/1979,
JACK WITKOWSKY MARITAL TRUST, IRIS S          KIMBERLY                                     JANET B BERMAN, TRUSTEE
WITKOWSKY, JACK WITKOWSKY, TRUSTEES           JAMES K GOODLAD IRA, MERRILL LYNCH,          JANET L AND HENRY C BUCKINGHAM
JACKSON CAPITAL, L.P. A/K/A JACKSON CAPITAL   PIERCE, FENNER & SMITH, CUSTODIAN FPO        RESIDUARY TRUST DTD 10/28/99, JANET L
PTRS,LP-MAIN-PL                               JAMES KING AND JUDIE KING                    BUCKINGHAM, HENRY C BUCKINGHAM,
JACKSON FAMILY TRUST UA DTD 9/30/1994,        JAMES L FAUST REVOCABLE TRUST U/A/ DATED     TRUSTEES
VICKI LYNN AARON, TRUSTEE                     11/11/1993, JAMES L FAUST, TRUSTEE           JANET SCHEMMEL MARITAL TRUST U/A/D 08-
JACKSONVILLE PLUMBERS AND PIPEFITTERS         JAMES L SILVERSTEIN FAMILY TRUST U/A DTD     28-1996, JOANN L SCHAUER, TRUSTEE
PENSION FUND                                  02/14/1996, JAMES L SILVERSTEIN, TRUSTEE     JANET U EMBURY CHLN TRUST GRACE FD, BMO
JACQUELINE ADLER WALKER                       JAMES L. LOCKWOOD                            HARRIS BANK, N.A., TRUSTEE
JACQUELINE E AUTRY, AUTRY COMMUNITY           JAMES L. SIEPMAN, JR                         JANET U EMBURY CHLN TRUST J LEY FD, BMO
PROPERTY TRUST, U/A DTD 03/15/1985,           JAMES M CHMEL                                HARRIS BANK, N.A., TRUSTEE
JACQUELINE E AUTRY, TRUSTEE                   JAMES M KEVRA AND LINDA JOHNSON KEVRA        JANET U EMBURY CHLN TRUST JANET FD, BMO
JACQUELINE S PHELAN TRUST U/A DTD             JAMES M KEVRA IRA ROLLOVER FIDELITY          HARRIS BANK, N.A., TRUSTEE
12/12/83 FBO J PHELAN, TERYL PHELAN,          MANAGEMENT TRUST CO CUST                     JANICE B YOUNG
TRUSTEE                                       JAMES M ROBERTS IRRA, MERRILL LYNCH,         JANICE DAVIS JOBSON
JACQUELINE S. ARONSON                         PIERCE, FENNER & SMITH, CUSTODIAN FPO        JANICE F. WINBURN
JACQUELYN ROSS ROTH IRA, NATIONAL             JAMES M SHARP                                JANICE JACOBS AND ALAN H. JACOBS
FINANCIAL SERVICES LLC/FIDELITY               JAMES M. LACHEY                              JANICE M. MCGURN TRUST U/A DTD
MANAGEMENT TRUST CO, CUSTODIAN                JAMES M. READ                                09/22/1987, SUMMERS MCGURN, TRUSTEE
JACQUES HOCHGLAUBE MD PC EMPLOYEE             JAMES MARSHALL BURT, BURT JM TEST,           JANICE R. GRUBMAN IRA ROLLOVER,
PROFIT SHARING PLAN U/A DTD 8/15/75,          CURRENT TRUSTEE                              VANGUARD FIDUCIARY TRUST CO, CUSTODIAN
JACQUES HOCHGLAUBE, TRUSTEE                                                                JANICE V HOWE TRUST U/A DTD 11-20-95,
                                              JAMES MATEJA
JACUZZI BRANDS, INC. D/B/A REXNORD-ZURN                                                    JANICE V HOWE, TRUSTEE
                                              JAMES O. ASHER
HOLDINGS, INC.                                                                             JANNA L GADDEN
                                              JAMES P HOGE REVOCABLE TRUST U/A DTD
JADE KEY ENTERPRISES, LTD.                                                                 JANNEY MONTGOMERY SCOTT INC.
                                              12/19/1984, JAMES PATRICK HOGE, TRUSTEE
JAMES 2 18 FOUNDATION                                                                      JANUS
                                              JAMES P ROCHE AND MARGARET E DURKIN
JAMES A CRUMLEY                               TEN/COM                                      JANUS CAPITAL GROUP
JAMES A MAC GEORGE II                         JAMES P. MOSKUN REVOCABLE TRUST              JANUS CAPITAL MANAGEMENT
JAMES A SCHEROCMAN IRA, FCC, CUSTODIAN        (MOSKTR) JAMES P. MOSKUN, TRUSTEE            JAPAN POST INSURANCE CO., LTD.
JAMES B KAISER TRUST U/A/D 12/16/75           JAMES R STANGE                               JAPAN POST INSURANCE CO., LTD. DTK XXXXX-
AMENDED 2/4/86, JAMES B KAISER, TRUSTEE       JAMES R. CALDWELL & YVONNE R. CALDWELL       8301/POSSU2, SUMITOMO MITSUI TRUST
JAMES B KERR III AND JULIE M KERR JT TEN      JAMES ROTHERMEL AND MARY ROTHERMEL           BANK, LIMITED, TRUSTEE
JAMES B KERR III TRUST U/W AGNES R KERR       JAMES S. MCDONNELL CHARITABLE TRUST A        JAPAN TRUSTEE SERVICES BANK
DTD 7/2/1977, JAMES B KERR III, TRUSTEE                                                    JASON A. JANIK
                                              JAMES S. MCDONNELL CHARITABLE TRUST B
JAMES B SLOAN IRA R/O, JAMES SLOAN,                                                        JASON BERNZWEIG AND MARYLYN BERNZWEIG
                                              JAMES T SMITH TRUST U/A DTD 10/09/1995,
CUSTODIAN                                                                                  JASON H CAMASSAR AND CAROLYN I
                                              CURRENT TRUSTEE
JAMES C WARREN                                                                             CAMASSAR
                                              JAMES THOMAS WIRTH AND EILEEN MARIE
JAMES C. DONAHUE AND SUZAN ALTAN              WIRTH JT TEN                                 JAVAD RASSOULI
JAMES C. DOWDLE REVOCABLE INSURANCE           JAMES V. DIETZ AND KATHRYN DIETZ             JAY GOLDMAN MASTER LP
TRUST U/A/D 4/15/1983, JAMES C DOWDLE,                                                     JAY S. MEYSTEL TRUST DTD 5/20/82, CURRENT
                                              JAMES W KIRK TRUST, BANK OF AMERICA, N.A.,
TRUSTEE                                                                                    TRUSTEE
                                              TRUSTEE
JAMES CHAN                                                                                 JEAN CURRY GLASSELL, ACTING TRUSTEE AND
                                              JAMES W. DUFORD REVOCABLE TRUST U/A
JAMES D ARONSON 401 K PL U/A DTD              DTD 03/01/94, JAMES W. DUFORD, TRUSTEE       BENEFICIARY OF THE ALFRED C. GLASSELL JR.
01/01/2003 FBO JAMES ARONSON, JAMES                                                        CHILDREN'S TRUST FOR JEAN CURRY GLASSELL
                                              JAMES W. YING
ARONSON, TRUSTEE                                                                           JEAN D & ALAN P JONES JR TRUST U/A DTD
                                              JAMES ZERWEKH
JAMES DIETZ                                                                                12/15/2005, ALAN P JONES JR, JEAN D JONES,
                                              JAMIEL ANDREW AKHTAR
JAMES E BOLIN                                                                              TRUSTEES
                                              JAMSHID KHALDAR AND MORAD KHALDAR JT
JAMES E CUSHING JR AND THERESE M CUSHING                                                   JEAN SHAULIS BLACK, JEAN S. BLACK TRUST,
                                              TEN
JAMES E MURRAY AND CHERYL L MURRAY                                                         JEAN SHAULIS BLACK, TRUSTEE
                                              JAN C PHILIPSBORN TRUST U/A DTD
JAMES E PEARSON                               02/12/1992, JAN C PHILIPSBORN, TRUSTEE       JEAN T. ORB TRUST UNDER AGREEMENT DATED
JAMES E. HANNIGAN AND SUSAN M.                JANE B WHITE TRUST UA OCT 17 02, JANE B      1-17-90, RUSSELL T STERN JR, TRUSTEE
HANNIGAN                                      WHITE, TRUSTEE                               JEANETTE D DAY FAMILY TRUST U/A DTD
JAMES EDWARD GLYNN                            JANE BEHREL TRUST UA 01/13/98, JANE          10/04/1994, JEANETTE DAY, TRUSTEE
JAMES F KERR JR. AND NANCY E KERR JT WROS     BEHREL, TRUSTEE                              JEANNE E FITZSIMONS 2004 TRUST U/A DTD
JAMES F POLK TRUST U/A DTD 12/13/1989,        JANE D. MEADOWS                              08/26/2004, MATTHEW B FITZSIMONS,
JEFFREY J. APPLEBY, TRUSTEE                                                                TRUSTEE
                                              JANE G. SCAM BIER TRUST UNDER AGREEMENT
JAMES F PRUYN                                 DATED 6/9/82, JOHN G SCAMBLER, TRUSTEE       JEANNE NAPOLITANO TRUST, CURRENT
JAMES F. HOGE JR.                                                                          TRUSTEE
                                              JANE HEALY
JAMES FRANKLIN HOLDERMAN                                                                   JEANNETTE C. LUCAS
                                              JANE K LEE IRA, FCC, CUSTODIAN
JAMES G REILLY FAMILY TRUST U/A DTD                                                        JEFFERIES & COMPANY (EQUITY DERIVATIVES)
                                              JANE M BROWER TRUST U/A/D 11-09-1994,
08/05/97, MICHAEL J REILLY, TRUSTEE           JANE M. BROWER, TRUSTEE                      JEFFERIES & COMPANY, INC.
JAMES G UP DE GRAFF TRUST U/A 01/15/04,       JANE MCGIVERN LEVINE                         JEFFERIES & COMPANY, INC. (STOCK LOAN
JAMES G UP DE GRAFF, TRUSTEE                                                               OMNIBUS ACCOUNT VS LOANET SUBSIDIARY
                                              JANE ROSENTHAL HORVITZ
JAMES GLYNN IRA ROLLOVER FIDELITY                                                          LEDGER)
                                              JANE S HOLZKAMP TRUST DATED 12/18/1998,
MANAGEMENT TRUST CO CUST                      JANE S HOLZKAMP, TRUSTEE
                                                                  19

2855453.1
                 Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 225 of 255
JEFFERIES & COMPANY, INC. PROPRIETARY        JIMMY C PETTYJOHN JR IRREV INSURANCE         JOHN D. LANE REVOCABLE TRUST, CURRENT
TRADING ACCOUNT B-SIEVERS                    TRUST DTD 02/12/2002, CURRENT TRUSTEE        TRUSTEE
JEFFERSON R SOLENDER                         JING YE AND HONG LU                          JOHN DEERE PENSION TRUST, CURRENT
JEFFERY N WALLACE IRA ROLLOVER FIDELITY      JING YI WANG                                 TRUSTEE
MANAGEMENT TRUST CO CUST                     JINVEST TRUST U/A DTD 1-9-93, JACK E         JOHN DONLEY AND MICHELE DONLEY JT WROS
JEFFREY A SHELDEN VOL TRUST U/A 8/22/99,     CHAPPELL, TRUSTEE                            JOHN E MARTIN REVOCABLE TRUST, CURRENT
WILLIAM W SHELDEN JR, TRUSTEE                JNL/MELLON CAPITAL MANAGEMENT S&P 500        TRUSTEE
JEFFREY C NEAL                               INDEX FUND                                   JOHN E MAYASICH TRUST U/A DTD 04/23/2007,
JEFFREY CHANDLER                             JOAN E CLARK                                 JOHN E. MAYASICH, TRUSTEE
JEFFREY MARTIN FEDYNAK UGMA/MD,              JOAN ELLIS VAN LOAN                          JOHN E MCGOWAN
DEBORAH FEDYNAK C/F                          JOAN F WADE REVOCABLE TRUST U/A DTD          JOHN E MURRAY JR. AND BESSIE E MURRAY JT
JEFFREY RISLEY                               12/26/1996, JOAN F WADE, TRUSTEE             WROS
JEFFREY SCHATZ AND KIMBERLY SCHATZ           JOAN J. JONES                                JOHN E REARDON
JEFFREY W BABCOCK                            JOANNA STURM                                 JOHN E REARDON 401(K) SAVINGS PLAN
JENIFER B. BOOTH F/K/A JENIFER B. MCINTOSH   JOANNE DESHEROW SANGER LIV TRUST U/A         JOHN F DONAHUE JR IRA, MERRILL LYNCH,
JENNIE KING SCAIFE                           DTD 03/29/2004, JOANNE DESHEROW SANGER,      PIERCE, FENNER & SMITH, CUSTODIAN FPO
JENNIFER A DIAMOND REVOCABLE TRUST UAD       TRUSTEE                                      JOHN F. BARNARD TRUST U/A/D 04/04/03,
7-17-00, JENNIFER A DIAMOND, TRUSTEE         JOANNE SCHILLER IRA, FCC, PLAN CUSTODIAN     JANICE ANDERSON, JOHN F. BARNARD,
JENNIFER G HINES                             JODY E GUNTER IRA ROLLOVER FIDELITY          TRUSTEES
JENNIFER GRUMHAUS DALY                       MANAGEMENT TRUST CO CUST                     JOHN F. LLEWELLYN LIVING TRUST, JOHN F.
JENNISON MID-CAP IRA ROLLOVER FIDELITY       JOE FRANK                                    LLEWELLYN, TRUSTEE
MANAGEMENT TRUST CO CUST                     JOE YOUSSRY KELADA SEP IRA, E*TRADE          JOHN F. MANGAN, JR.
JERIS J BOYCE                                SECURITIES LLC, CUSTODIAN                    JOHN F. PATINELLA
JEROLD JAY WICHTEL                           JOEL F ZEMANS REV TRUST 1Z -51 PLDG,         JOHN F. POELKING AND LAURIE H. POELKING
JEROME & MARIA MARKOWITZ                     CUSTODIAN, JOEL ZEMANS, TRUSTEE              JOHN FOX SULLIVAN AND BEVERLY K SULLIVAN
JEROME AND ILENE COLE FOUNDATION SC-287      JOEL JAY TATOR IRA ROLLOVER, CHARLES         JT TEN
JEROME BLANK, JEROME BLANK DECLARATION       SCHWAB & CO INC, CUSTODIAN                   JOHN G DARGAN
OF TRUST U/A DTD 9/19/96, JEROME BLANK,      JOEL S MARKS REV LIV TRUST ESOP ROLLOVER     JOHN G KOLOGI
TRUSTEE                                      U/A/D 03-30-2006, JOEL MARKS, TRUSTEE        JOHN G LINDSAY TRUST U/A DTD 10/04/2007,
JEROME G. LEE                                JOHN & BETTY ALTMAN FAMILY TRUST UAD         JOHN G LINDSAY, ANNE P LINDSAY, TRUSTEES
JEROME HEINE TOD SUSAN PORTELLI              05/16/86, JOHN M ALTMAN, BETTY ANN           JOHN G. KOLOGI FIRST DATA INCENTIVE SVGS
JEROME KAHN JR REVOCABLE TRUST DTD 10-       ALTMAN, TRUSTEES                             PLAN, STATE STREET BANK & TRUST COMPANY,
16-87, JEROME KAHN, TRUSTEE                  JOHN & JOAN HUMPHREY FAMILY TRUST,           TRUSTEE
JEROME M WELLS IRA, FCC, CUSTODIAN           CURRENT TRUSTEE                              JOHN H SEYMOUR & BARBARA M SEYMOUR
JEROME P. MARTIN AND MELANIE M. MARTIN       JOHN & VIRGINIA LANFRANKI TRUST U/A DTD      TRUST UA 22-MAR-93, JOHN H SEYMOUR,
                                             04/29/1989, VIRGINIA LANFRANKI, TRUSTEE      BARBARA M SEYMOUR, TRUSTEES
JERRY J. WOLFE AND TIFFANY WOLFE
TANKERSLEY                                   JOHN A CANNING JR REV TRUST U/A 3/15/94,     JOHN H. PANTON AND MARY PANTON
                                             JOHN A CANNING JR, TRUSTEE                   JOHN H. RHODES
JERRY LOWER IRA R/O, AMERIPRISE TRUST CO,
CUSTODIAN                                    JOHN A DITTMAR                               JOHN HANCOCK FINANCIAL (MANULIFE
JESSE LLOYD GUMA IRREV TRUST U/A DTD 7-5-    JOHN A DORE AND NANCY L DORE                 FINANCIAL)
96, GREG GUMA, TRUSTEE                       JOHN A MAHER AND BETTY A MAHER               JOHN HANCOCK FUNDS II EQUITY-INCOME
JESSE WERTHMAN                               JOHN A MAHER IRA ROLLOVER ACCOUNT,           FUND
JESSIE BALL DUPONT FUND, THE NORTHERN        VANGUARD FIDUCIARY TRUST CO, CUSTODIAN       JOHN HANCOCK FUNDS II INDEX 500 FUND
TRUST COMPANY, MARY HUNTLEY, EDDIE           JOHN A ORB JR TRUST U/A/D 11/02/04, JOHN A   JOHN HANCOCK FUNDS II SPECTRUM INCOME
JONES JR., LEROY DAVIS, THOMAS JEAVONS,      ORB, TRUSTEE                                 FUND
MARY PHILLIPS, CO-TRUSTEES                   JOHN A. HARRAH CHARIT REMAIN TRUST UAD       JOHN HANCOCK FUNDS II SPI REF EQUITY
JESSNICK PARTNERS, L.P.                      09/06/95 - GABELLI, JOHN A. HARRAH, DAVID    INCOME TRPA 4627
JEWISH COMMUNITY FEDERATION OF SAN           COX, TRUSTEES                                JOHN HANCOCK VARIABLE INSURANCE TRUST
FRANCISCO                                    JOHN A. MCWETHY IRREVOCABLE TRUST U/A/D      F/K/A JOHN HANCOCK TRUST (NEW INCOME
JEWISH HEALTHCARE FOUNDATION OF              MAY 10, 1978, GREENLEAF TRUST, TRUSTEE       TRUST)
PITTSBURGH                                   JOHN A. TOMEI                                JOHN HOWELLS
JG GLOBAL GROWTH FUND LTD                    JOHN AND JANN REARDON TRUST U/A DTD          JOHN J GROGAN IRA AMERIPRISE TRUST CO
JHT 500 INDEX TRUST                          11/03/1999, JOHN E REARDON, JANN M           ACF
                                             REARDON, TRUSTEES                            JOHN J JIGANTI
JHT 500 INDEX TRUST B
                                             JOHN B LLOYD JR REV TR, JOHN B LLOYD JR,     JOHN J MCDERMOTT
JHT EQUITY INCOME TRUST
                                             TRUSTEE                                      JOHN J MCDERMOTT AND MARY R
JHT MID VALUE TRUST
                                             JOHN B. DIAMOND DECLARATION OF TRUST         MCDERMOTT
JHT SPECTRUM INCOME TRUST
                                             DATED APRIL 15,2010, JOHN B. DIAMOND,        JOHN J MICHALEC IRA, AMERIPRISE TRUST
JHT TOTAL STOCK MARKET INDEX TRUST           TRUSTEE                                      COMPANY, CUSTODIAN
JIA XU                                       JOHN B. LLOYD, JR.                           JOHN J VITANOVEC TRUST U/A DTD
JIANSHI MAO                                  JOHN BIRD LLOYD '68 IRREVOCABLE TRUST,       12/27/1996, JOHN J VITANOVEC, KATHLEEN
JILL CUNNIFF AND TIM CUNNIFF JT WROS         CURRENT TRUSTEE                              GEARY, TRUSTEES
JILL KAPLIN A/K/A JILL KAPLIN HERZ           JOHN C KARNUTH                               JOHN J WAGNER AND ROSEMARY WAGNER JT
JIM BARKSDALE                                JOHN CHELONI AND JEAN CHELONI JT TEN         WROS
JIM HICKS & CO. EMPLOYEE PROFIT-SHARING      JOHN D. & CATHERINE T. MACARTHUR             JOHN JOSEPH CAHILL
PLAN, JIM HICKS, TRUSTEE                     FOUNDATION                                   JOHN KARNUTH AND MARLENE KARNUTH
JIM WELSH
JIMMY A HANCOCK IRA A/C XXXX0794
                                                                20

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 226 of 255
JOHN L MILNER REV TRUST UAD 08/15/2003,      JOHN W. MADIGAN TRUST, JOHN W.              JPMORGAN CHASE BANK, N.A. F/K/A
JOHN L MILNER, TRUSTEE                       MADIGAN, TRUSTEE                            CUSTODIAL TRUST CO.
JOHN LABAK, HOW BARNES HOEFER & ARNETT       JOHN W. STEWART                             JPMORGAN CHASE FUNDING INC. F/K/A JP
EMPLOYEE PROFIT SHARING PLAN, AST TRUST      JOHN W. STEWART 1966 TRUST FBO CYNTHIA L.   MORGAN VENTURES CORP QRDT
COMPANY NA, TRUSTEE                          PHELPS, JAMES C. WALDO, TRUSTEE             JPMORGAN EQUITY INDEX FUND
JOHN LANFRANKI & VIRGINIA LANFRANKI          JOHN W. STEWART 1966 TRUST FBO NINA P.      JPMORGAN SERVICES, INC.
TRUST UA 4/29/80, VIRGINIA LANFRANKI,        GORNY, JAMES C. WALDO, TRUSTEE              JPMORGAN TRUST II
TRUSTEE                                      JOHN W. STEWART 1966 TRUST FBO PATRICIA     JUDD S ALEXANDER FOUNDATION INC
JOHN M BUCKWALTER                            S. HAYES, JAMES C. WALDO, TRUSTEE           JUDITH E NEISSER
JOHN M PAPADOPULOS JR UTMA IL, SUSAN         JOHNSON GROWTH LLC                          JUDITH E NEISSER IRA
TIPPET PAPADOPULOS, CUST                     JON M AUMAN                                 JUDITH E. BLAZER LIVING TRUST U/A/D
JOHN M SCHLOERB TRUST DTD JUL 26 00, JOHN    JON M. VAN DYKE                             10/21/96, JUDITH E. BLAZER, TRUSTEE
M. SCHLOERB, TRUSTEE                         JON OSCHER                                  JUDITH JUDS AND RICHARD C. JUDS JR
JOHN M. LAVINE                               JON R. LIND IRA ROLLOVER, NORTHERN TRUST    JUDITH L GENESEN TRUST U/A DTD
JOHN MASON SANFORD                           COMPANY, CUSTODIAN                          06/05/1995, JUDITH L GENESEN, TRUSTEE
JOHN MICHAEL KELLEHER                        JONATHAN A . KNEE                           JUDITH M HUPE TRUST U/A/D 12/22/93,
JOHN MULLOOLY                                JONATHAN BRACHFELD                          JUDITH M HUPE, TRUSTEE
JOHN N. ROBSON TRUST B DATED 9/11/1970,      JONATHAN C. HAMILL REVOCABLE TRUST,         JUDITH N H WEISS
TOM FALCEY, THE NORTHERN TRUST               JONATHAN CORWITH HAMILL, TRUSTEE            JUDITH R MINOR TRUST UA 07/11/88, EDWARD
COMPANY, AND/OR FAIR OAKS LLC, TRUSTEES      JONATHAN E. ZAKARY                          MINOR, TRUSTEE
JOHN NESBIT REES AND SARAH HENNE REES        JONATHAN KOVLER                             JUDITH SARNAT TRUST SS-512, CUSTODIAN,
CHARITABLE FOUNDATION U/W, RICHARD W         JONATHAN R. EVANS IRA, JONATHAN R. EVANS    JUDITH SARNAT, TRUSTEE
ROEDER & BARBARA L SMITH, TRUSTEES           OR JPMCC CUST                               JULIA F. MENARD MARITAL TRUST, WILLIAM L
JOHN P FENDLEY TRUST U/A DTD 11/27/1995,     JONESTRADING INSTITUTIONAL SERVICES LLC     MENARD, TRUSTEE
PATRICIA J FENDLEY, TRUSTEE                  JOSEF HUY TRUST, JOSEF HUY, TRUSTEE         JULIA K. ROSENWALD
JOHN P MCMEEL                                JOSEPH A GAGLIARDO TRUST U/A DTD            JULIA NEITZERT TRUST, THE NORTHERN TRUST
JOHN PRITZKER AND LISA PRITZKER              7/12/1984, LORRAINE GAGLIARDO, TRUSTEE      COMPANY, TRUSTEE
JOHN R BLACK                                 JOSEPH A PALECZNY                           JULIA P WALSKI
JOHN R FLANAGAN CGM IRA, STATE STREET        JOSEPH A. YOUNG AND SANDRA L. YOUNG         JULIA WESTLAND REV TRUST U/A DTD
BANK AND TRUST COMPANY, CUSTODIAN            JOSEPH F KUN AND KAREN L KUN                10/28/1996, JULIA WESTLAND, TRUSTEE
JOHN R JAGO                                  JOSEPH FLORENCE BLACHARSKI TRUST UA DTD     JULIE A. TRIONA TRUST U/A DTD 04/17/1998,
JOHN R STAIB                                 04/09/80, B FLORENCE BLACHARSKI, TRUSTEE    JULIE A. TRIONA, TRUSTEE
JOHN R. LOFTUS IRA, STIFEL NICOLAUS,         JOSEPH G TRAYNOR AND ELAINE S TRAYNOR JT    JULIO ARRIAGA
CUSTODIAN                                    WROS                                        JUNIUS F. ALLEN IRREVOCABLE TRUST DATED
JOHN R. POLATSCHEK                           JOSEPH H TWICHELL TRUST U/D 8/7/98 SELF     03/27/1978, THE NORTHERN TRUST COMPANY,
JOHN RANDOLPH FOUNDATION SUPPORT             ESTATE OF ANGELA E LOH, CURRENT TRUSTEE     TRUSTEE
FUND, INC.                                   JOSEPH KOLLIN & BELLA KOLLIN                JUPITER CAPITAL PARTNERS LLC
JOHN S. BABCOCK TRUST, CURRENT TRUSTEE       JOSEPH L MOLDER TRUST, BANK OF AMERICA,     JUPITER MEDICAL CENTER FOUNDATION
JOHN S. HOWELL                               N.A., TRUSTEE                               PERMANENT ENDOWMENT GENERAL FUND
JOHN SPEARS                                  JOSEPH L ROSENMILLER LIFETIME TRUST,        JUSTIN LONG
JOHN STEPHENS MARITAL DEDUCTION TRUST,       JOSEPH L ROSENMILLER, TRUSTEE               JYG LIMITED PARTNERSHIP #2 G-BAR
BETTY J. STEPHENS, TRUSTEE                   JOSEPH LEONARD                              K P TWICHELL TRUST U/D, D C TWICHELL,
JOHN STEWART PROPERTY TRUST U/A DTD          JOSEPH M FEE AND ELIZABETH FEE REVOCABLE    TRUSTEE
12/06/2000, JOHN W STEWART II, TRUSTEE       LIVING TRUST, JOSEPH M FEE, TRUSTEE         KAAREN I. HOFFMAN SEPARATE PPTY TRUST
JOHN T O'LOUGHLIN                            JOSEPH O'CONNOR                             DATED 11/30/98, KAAREN I. HOFFMAN,
JOHN T SAPIENZA ESQ                          JOSEPH P & JEANNE M SULLIVAN CHAR REM       TRUSTEE
JOHN T. MCCUTCHEON III TRUST U/A DTD         UNITRUST U/A 12/6/91, JEANNE M SULLIVAN,    KAISER FOUNDATION HEALTH PLAN
10/26/1987, JOHN T. MCCUTCHEON IV, JOHN T.   TRUSTEE                                     KAISER FOUNDATION HOSPITALS
MCCUTCHEON III, LINDSAY MCCUTCHEON,          JOSEPH P BALDWIN                            KAISER PERMANENTE RABBI TRUST, CURRENT
TRUSTEES                                     JOSEPH POPE                                 TRUSTEE
JOHN T. MCCUTCHEON JR., JOHN T.              JOSEPH R MEDLEY                             KALO HOLDINGS LP #2
MCCUTCHEON JR. TRUST U/A DTD 10/26/87,       JOSEPH R MEDLEY IRA, MESIROW FINANCIAL,     KAMAN CORP. MASTER TRUST A/K/A KAMAN
ANNE MCCUTCHEON LEWIS, TRUSTEE               INC, CUSTODIAN                              EMPLOYEES' PENSION PLAN
JOHN THALHEIMER TRUST U/A 7/23/85 AS         JOSEPH T SOBECK AND JEANNE SOBECK JT TEN    KANGAROO INVESTMENTS, LCC - CANAL
AMENDED 11/16/98, PNC BANK, CUSTODIAN                                                    STREET
                                             JOSHUA F. LOMBARD
FOR THE TRUSTEE                                                                          KANSAS CITY POLICE EMPLOYEES' RETIREMENT
                                             JOSHUA G. WOOL
JOHN THALHEIMER TRUST UNDER WILL OF                                                      SYSTEMS
                                             JOSHUA S KANTER, WINDY CITY INC PFT SHG
LEAN THALHEIMER FBO EMILY THALHEIMER                                                     KANSAS PUBLIC EMPLOYEES RETIREMENT
                                             PL, JOEL S KANTER, TRUSTEE
REINER U/A DTD 11/16/98, PNC BANK,                                                       SYSTEM
CUSTODIAN FOR THE TRUSTEE                    JOSHUA TREE CAPITAL MANAGEMENT LP
                                             JOY LEICHENGER TRUST U/A DTD 08/02/1978,    KANYE LIM IRA ROLLOVER FIDELITY
JOHN V FARWELL IV DEC OF TR, AMEND &                                                     MANAGEMENT TRUST CO CUST
RESTATEMENT U/A 1/15/98, JOHN V FARWELL      CURRENT TRUSTEE
                                             JP MORGAN MOSAIC FUND, LLC                  KAREN L LOCKWOOD REV TRUST U/A/D
IV, TRUSTEE                                                                              07/30/1998, KAREN L LOCKWOOD, TRUSTEE
JOHN W PEAVY & LINDA A PEAVY, JOHN W         JP MORGAN SERVICES
                                             JPMORGAN 401(K) SAVINGS PLAN                KAREN RAPKIN
PEAVY & LINDA A PEAVY JOINT TRUST,
                                             JPMORGAN CHASE & CO. INC.                   KARL PUTNAM
CURRENT TRUSTEE
                                             JPMORGAN CHASE BANK, N.A                    KARLIN HOLDINGS LP/EQ INVEST CORP
JOHN W TYRONE AND CHERYL C TYRONE
                                                                                         KARMA I RODHOLM IRA
                                                                21

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 227 of 255
KARPEN TRUST #1, J MARTIN KARPEN, TRUSTEE    KENNETH R. M. THOMPSON, CGM IRA, STATE        LAMOTTA FAMILY TRUST U/A/D 01/01/93,
KAS BANK, NV                                 STREET BANK AND TRUST COMPANY,                MATTHEW MARYLES, TRUSTEE
KASZTON FAMILY TRUST UAD 10/23/1997,         CUSTODIAN                                     LANCASHIRE INSURANCE COMPANY, LTD
WILLIAM & PATRICIA KASZTON, TRUSTEES         KENNETH R. POSNER AND ARLENE L. POSNER        LANCE HILLSTROM AND DAWN HILLSTROM
KATHARINE F ANDERSON TRUST                   KENNETH W LINT FAMILY TRUST UA 12/19/89,      LANCE THOMAS MCCLUSKEY IRA ROLLOVER,
KATHARINE N LLOYD TESTAMENTARY TRUST,        ELEANOR G. LINT, TRUSTEE                      FIDELITY MANAGEMENT TRUST CO CUST
CURRENT TRUSTEE                              KENNETH WEISS                                 LANGDON STREET CAPITAL LP - MARCH
KATHERINE GILLESPIE SPEARMAN                 KENTUCKY RETIREMENT SYSTEMS                   PARTNERS LLC
KATHERINE KILLEBREW                          KEVIN D O'BRIEN TRUST DTD 8-18-03, KEVIN D.   LANSFORSAKRINGAR
KATHERINE MARSHALL WHITE                     O'BRIEN, SARAH A. O'BRIEN, TRUSTEES           LARGE CAP FUND, A SERIES OF SEI
KATHERINE PRATT TWICHELL TRUST U/I DATED     KEVIN DANSART AND PAULA DANSART               INSTITUTIONAL INVESTMENTS TRUST
JULY 27, 1964 FOR THE ISSUE OF HARMONY T.    KEVIN E DOMBKOWSKI ALCATEL-LUCENT             LARGE CAP INDEX FUND, A SERIES OF SEI
CLEMENT, UNITED STATES TRUST COMPANY OF      SAVINGS PLAN FBO, FIDELITY MANAGEMENT         INSTITUTIONAL INVESTMENTS TRUST
NEW YORK, TRUSTEE                            TRUST CO, TRUSTEE                             LARGE CAP VALUE FUND, A SERIES OF SEI
KATHERINE T GOLDBERG AND STEVEN Y            KEVIN J KING                                  INSTITUTIONAL MANAGED TRUST
GOLDBERG                                     KEVIN L RINGEL AND KATHLEEN M RINGEL JT       LARGE CAP VALUE INDEX TRUST OF QA
KATHLEEN GEARY TRUST U/A DTD 12/27/1996,     TEN                                           COLLECTIVE TRUST SERIES
KATHLEEN GEARY, JOHN J. VITANOVEC,           KEVIN M. MOORE AND KIMBERLY A. MOORE JT       LARGE CAP VALUE SUBTRUST OF THE DFA
TRUSTEES                                     WROS                                          GROUP TRUST, DIMENSIONAL FUND ADVISORS,
KATHLEEN GUCK AND EBEN PUTNAM SMITH          KEVIN O'SULLIVAN AND CAROLE O'SULLIVAN        TRUSTEE
KATHRYN A DIETZ LIV TRUST U/A DTD 4/29/04,   KEVIN STONE IRA R/O, DELAWARE CHARTER         LARRY & DIXIE HART LIFETIME TRUST, THE
KATHRYN DIETZ, JAMES DIETZ, TRUSTEES         GUARANTEE & TRUST, CUSTODIAN                  PEOPLES BANK, TRUSTEE
KATHRYN H. LALLOU - TR                       KEYBANK NATIONAL ASSOCIATION                  LARRY BRAINARD AND MARILYN BRAINARD
KATHRYN M BARGER REV. TRUST DTD 8-18-99,     KIDVIEW PARTNERS LP                           LARRY J. LIGHT
KATHRYN M BARGER, DONALD W MURRAY,           KIENER LP                                     LARRY JAY FOX
TRUSTEES                                     KING BRUWAERT HOUSE                           LARRY L BLOOM AND MARY J BLOOM TRUST(S)
KATHRYN TURNER                               KIRK F. FLYNN & VIRGINIA O. FLYNN LIVING      11-21-95, LARRY L BLOOM AND MARY J
KATHY REX AND THOMAS W HUNDLEY               TRUST, CURRENT TRUSTEE                        BLOOM, TRUSTEES
KAY MIKULA                                   KIRKPATRICK FARMING RANCHING                  LARRY TOWNSEND CGM IRA ROLLOVER, STATE
KBC GLOBAL INVESTMENT FUNDS                  KIRSTEN GIBBS AND JOHN GIBBS                  STREET BANK AND TRUST COMPANY,
KBC SECURITIES                               KKP HOLDINGS LG CAP TESE                      CUSTODIAN
KBS PARTNERSHIP                              KNIGHT CAPITAL MKTS LLC                       LARRY TOWNSEND, CITIBANK TAX SHELTER
KEARNS CHARITABLE REMAINDER ANNUITY          KOSHIYAMA TRUST UA 02-AUG-87 1987,            A/C/F LARRY TOWNSEND IRR
TRUST U/A DATED 7/24/03, THE NORTHERN        TERUKO S KOSHIYAMA, TRUSTEE                   LAS EQUITY PARTNERS LP
TRUST COMPANY, TRUSTEE                       KOTHE ENTERPRISES LLLP                        LASZLO N TAUBER FAMILY FOUNDATION I
KEITH Y. KWOH                                KPC US EQUITY LLC                             LATIGO MASTER FUND LTD
KELLOGG BROWN & ROOT LLC AS SUCCESSOR        KRAFT GROUP                                   LAURA E MOLASKEY LIVING TRUST UA
TO THE RIGHTS AND INTERESTS OF KELLOGG       KRISHNA PAHUJA CHAND TRUST U/A 1/28/96        07/28/89, LAURA E. MOLASKEY, TRUSTEE
BROWN & ROOT, INC.                           FBO KRISHNA PAHUJA, KRISHNA PAHUJA,           LAURA LABATON
KELLOGG CAPITAL MARKETS, LLC                 TRUSTEE                                       LAURALEE K. BELL 1993 TRUST, LAURALEE K.
KELLY B MINICHIELLO                          KRISTIN D GRAHN UTMA CA, BARBARA J.           BELL, TRUSTEE
KEN CASCARELLA AND LISA CASCARELLA           GRAHN, CUST                                   LAURALYN D. MATOS
KENNETH BRACHFELD                            KRISTIN LYNN HERTZ                            LAURENCE A WEISS AND JUDITH N H WEISS
KENNETH CAHN                                 KRISTIN MONROE GRUNHAUS GIFT TRUST,           LAVERGNE MARCUCCI TRUST U/A DTD MAY 28
KENNETH E LACY AND PATRICIA H LACY JT        KRISTIN W BRENNAN, TRUSTEE                    1988, DENNIS R. MARCUCCI & NICOLAS G.
WROS                                         KRYSTYNA JURZYKOWSKI                          MARCUCCI, TRUSTEES
KENNETH E PAGE 2001 TRUST UA DTD             KUANG C YEH IRA ROLLOVER FIDELITY             LAVONNE MULLET IRA, AMERIPRISE TRUST
11/20/01, KENNETH E. PAGE, TRUSTEE           MANAGEMENT TRUST CO CUST                      COMPANY, CUSTODIAN
KENNETH E PERRY                              KURT J HERBINGER AND CHRISTINE M              LAW COMPANIES GROUP, INC. PENS
KENNETH E. NICHOLS                           HERBINGER                                     LAWRENCE A BUSSE TRUST U/A DTD
KENNETH F MILLER, WELLS FARGO BANK C/F       L MANILOW TRUST U/A DTD 2/08/2002, LEWIS      10/22/1991, LAWRENCE A BUSSE, TRUSTEE
KENNETH F PUGLISI                            MANILOW, TRUSTEE                              LAWRENCE BARNER AND JOAN BARNER JT
KENNETH J DEPAOLA                            L. RICHARD WOLFF                              WROS
KENNETH J KUBACKI, G OGDEN NUTTING, RMN      L. WIENER REVOCABLE TRUST U/A/D 07/22/82,     LAWRENCE E ARONSON TRUST U/A/D 9/8/95
CAPITAL LP, A PARTNERSHIP                    WILLIAM A. WIENER, LOUISA M. WIENER,          (PILOT PLUS), LAWRENCE E. ARONSON,
                                             TRUSTEES                                      TRUSTEE
KENNETH J. DOUGLAS AND VICKI F. DOUGLAS
                                             L-3 COMMUNICATIONS CORPORATION LCV            LAWRENCE F KLIMA IRA ROLLOVER, CHARLES
KENNETH J. VYDRA TRUST NO. 101 U/A/D 03-
                                             L-3 COMMUNICATIONS CORPORATION MASTER         SCHWAB & CO INC, CUSTODIAN
10-2006, KENNETH J. VYDRA, TRUSTEE
                                             TRUST                                         LAWRENCE H BURKS
KENNETH L FEIGL AND RUTH FEIGL
                                             LABORERS' DISTRICT COUNCIL &                  LAWRENCE J BLUM TRUST U/A 1/30/06,
KENNETH M WEIL
                                             CONTRACTORS' PENSION FUND OF OHIO             LAWRENCE J BLUM, TRUSTEE
KENNETH MARCO
                                             LABORERS DISTRICT COUNCIL AND                 LAWRENCE M COHEN TRUST LAWRENCE M
KENNETH MITCHELL
                                             CONTRACTORS PENSION FUND OF OHIO              COHEN TRADING ACCT, CURRENT TRUSTEE
KENNETH PUGLISI
                                             LABORERS NATIONAL PENSION FUND                LAWRENCE M PUCCI DESIGNATED BENE PLAN
KENNETH R LOISELLE TRUST U/A DTD
                                             LAKE CHARLES AMER PRESS TAX ADVANTAGED        LAWRENCE MARWILL, MSSB, CUSTODIAN
10/30/2001, KENNETH ROBERT LOISELLE,
                                             THRIFT TRUST, CURRENT TRUSTEE                 LAWRENCE S COMEGYS AND JOCELYN WATTS
TRUSTEE
                                             LAKONISHOK CORP                               COMEGYS

                                                                 22

2855453.1
                 Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 228 of 255
LAWRENCE S. SMITH                             LIBERTY FINANCIAL SERVICES CO                  LOCALS 302 & 612 OF THE INTERNATIONAL
LAY EMPLOYEES OF THE ARCHDIOCESE OF           LIBERTY HARBOR MASTER FUND I, LP               UNION OF OPERATING ENGINEERS-EMPLOYERS
CINCINNATI DEFINED BENEFIT PLAN, US BANK,     LIBERTY MUTUAL INSURANCE CO.                   CONSTRUCTION INDUSTRY RETIREMENT
TRUSTEE                                       LIECHTENSTEINISCHE LANDESBANK AG               TRUST, CURRENT TRUSTEE
LAY EMPLOYEES RETIREMENT PLAN OF              LIGHTHOUSE FINANCIAL GROUP LLC                 LOCKHEED MARTIN CORP.
ARCHDIOCESE OF PHILADELPHIA                   LIGHTNING TRADING LLC                          LOCKHEED MARTIN CORPORATION MASTER
LDI LIMITED                                   LILA J. BOUWENS TRUST U/A DTD 6/23/93,         RETIREMENT TRUST, LMIM CO, TRUSTEE
LEANDRO P RIZZUTO                             JOEL G. & LILA J. BOUWENS, TRUSTEES            LOCKWOOD BROTHERS INC.
LEANNE MCRILL                                 LILI-CHARLOTTE SARNOFF TRUST U/A DTD           LODESTONE SOUTH L.P. - LODESTONE SOUTH
LEE ANN VARASCONI LIVING TRUST U/A DTD        02/04/2005, LILI-CHARLOTTE SARNOFF,            PARTNERSHIP LP FAMILY LIMITED
02/09/2004, LEE ANN VARASONI, TRUSTEE         TRUSTEE                                        PARTNERSHIP
LEE CARLISLE GREGORY                          LIMA YMCA, INC. TRUSTEES ENDOWMENT             LOEB ARBITRAGE B FUND LP
LEE U GILLESPIE REV TRUST U/A - DEC'D         FUND                                           LOEB ARBITRAGE FUND INVESTMENT A/C
05/20/10, BANK OF AMERICA, N.A., TRUSTEE      LINDA B KELLER                                 UNDER SEC 1236 & 475 OF I R C
LEGACY FUND                                   LINDA E BEAN                                   LOEB ARBITRAGE MANAGEMENT LP
LEGACY TRUST COMPANY, N.A., ACTING            LINDA E PEARCE                                 LOEB OFFSHORE B FUND LTD
TRUSTEE OF THE ALFRED C. GLASSELL JR.         LINDA F JOHNSON TRUST U/A 3/24/05, LINDA F     LOEB PARTNERS (LOEB OFFSHORE FUND LTD)
CHILDREN'S TRUST FOR EMILY EVANS EMBREY       JOHNSON, GEORGE R JOHNSON. TRUSTEES            LOEB PARTNERS CORPORATION
LEGAL & GENERAL US INDEX TRUST, THE ROYAL     LINDA LIPINSKI CORLISS IRA ROLLOVER FIDELITY   LOIS D KALIEBE TRUST U/A DTD 03/05/1993,
BANK OF SCOTLAND, TRUSTEE                     MANAGEMENT TRUST CO CUST                       LOIS D KALIEBE, TRUSTEE
LEGENT CLEARING LLC                           LINDA R. COHEN F/K/A LINDA ROBIN CAHN          LOIS MOSS BARNWELL
LEGG MASON BATTERYMARCH FINANCIAL             LINDA SHAW CARPENTER                           LOISANNE R FLAHERTY TRUST U/A DTD
MANAGEMENT S&P 500 INDEX FUND, A SERIES       LINDA VERBLOW AND CLIVE VERBLOW TEN BY         09/23/2004, LOISANNE R. FLAHERTY, TRUSTEE
OF THE LEGG MASON PARTNERS EQUITY             ENT                                            LOLA LLOYD HORWITZ
TRUST, A MARYLAND STATUTORY TRUST A/K/A       LINDY CRAWFORD IRA ROLLOVER, FIDELITY          LOLITA WAGNER LIVING TRUST U/A/D
LEGG MASON PARTNERS                           MANAGEMENT TRUST CO CUST                       10/07/88, LOLITA K. WAGNER, TRUSTEE
LEGG MASON PARTNERS LMP VAR EQUITY            LINNET F MYERS IRA ROLLOVER, CHARLES           LOMBARD ODIER DARIER HENTSCH & CIE
INDEX PORTFOLIO                               SCHWAB & CO INC, CUSTODIAN                     LOMBARDI & CO., INC.
LEI JIN                                       LISA A. HUGHES                                 LONDON EQUITY FINANCING OPERATIONS
LEIGH C CHAO                                  LISA G. HAAS                                   LONE TREE PARTNERS, LLC
LENOX HILL HOSPITAL                           LISA M FEATHERER IRA R/O, DELAWARE             LONERGAN TRUST, JAMES A LONERGAN,
LEONA Z ROSENBERG IRREV CHARITABLE TRUST      CHARTER GUARANTEE & TRUST COMPANY,             TRUSTEE
UAD 12/4/1998, LEONA Z ROSENBERG,             CUSTODIAN                                      LONGVIEW MANAGEMENT GROUP LLC
LAWRENCE A ROBINS, TRUSTEES                   LISA M. FEATHERER TRUST U/A/D JUNE 12,         LOOMIS SAYLES CREDIT ALPHA MASTER FUND
LEONARD & PHYLLIS SEIDL LIVING TRUST U/A      1992, LISA M. FEATHERER, TRUSTEE               LOOMIS SAYLES MULTI STRATEGY MASTER
DTD 03/15/06, LEONARD L SEIDL, PHYLLIS J      LISA PERRY AND BEVERLY PERRY                   ALPHA LTD
SEIDL, TRUSTEES                               LISL GERSHON                                   LORETTA C. FINLAY TRUST U/A DTD
LEONARD ALLEN AND JANE ELLEN ALLEN            LISPENARD STREET CREDIT MASTER FUND            02/04/1994, LORETTA C. FINLAY, TRUSTEE
LEONARD HILL, HILL REVOCABLE LIVING TRUST     LIVING TRUST OF LAUREL L SCHNITZER UA JUL      LORI ANN TALARICO
DTD 12/24/91, LEONARD HILL, TRUSTEE           16 2003, LAUREL L SCHNITZER, TRUSTEE           LORING WOLCOTT AND COOLIDGE FIDUCIARY
LEONARD J BETLEY                              LIVING TRUST OF LAUREL L SCHNITZER, LAUREL     LORRAINE AYDINIAN
LEONARD R SOGLIO DESIGNATED BENE PLAN         L SCHNITZER, TRUSTEE                           LORRAINE BUCCINO REVOCABLE TRUST U/A
LEONARD ROSS AND LANA ROSS                    LJR LIMITED PARTNERSHIP                        3/6/90, LORRAINE M BUCCINO, TRUSTEE
LEONARD SARNAT TRUST #71825 SS-253,           LLOYD A CONNERS IRA ROLLOVER FIDELITY          LORRAINE J GAGLIARDO TRUST U/A DTD
CUSTODIAN, LEONARD A. SARNAT, TRUSTEE         MANAGEMENT TRUST CO CUST                       7/21/1984, ANDREW GAGLIARDO, TRUSTEE
LEONARD WILLIAM ALLEN IRA ROLLOVER,           LLOYD FERGUSON CGM IRA ROLLOVER, STATE         LORRAINE L WARD
FIDELITY MANAGEMENT TRUST CO CUST             STREET BANK AND TRUST COMPANY,                 LOS ANGELES FIRE AND POLICE PENSION PLAN
LEONHARD LIVING TRUST U/A DTD 11/30/2009,     CUSTODIAN                                      LOUIS CARBONE IRA ROLLOVER, FIDELITY
RICHARD W. LEONHARD, MARION S.                LLOYD RICHARD MUSETTI SR                       MANAGEMENT TRUST CO, CUSTODIAN
LEONHARD, TRUSTEES                            LLOYD TRIBUNE NOMINEE TRUST, CURRENT           LOUIS G GILBERT AND RENEE GILBERT
LEROY K MCCUNE TRUST U/A DTD 05/28/1998,      TRUSTEE                                        LOUIS ROE TRUST U/A DTD 09/08/87, ALAN
LEROY K MCCUNE, KAREN MCCUNE FLEMING,         LLOYD VAN ANTWERPEN                            KOOPERMAN, TRUSTEE
TRUSTEES
                                              LLOYD VAN ANTWERPEN REVOCABLE TRUST,           LOUISE BROUGH CLAPP TRUST, LOUISE
LESLIE HILGER III                             MARSHALL & ILSLEY TRUST COMPANY,               BROUGH CLAPP, TRUSTEE
LESTER & FRANCES JOHNSON FOUNDATION           TRUSTEE                                        LOUISE W. GRAVES TRUST U/W/O PHILLIP L.
LESTER R THURSTON JR REVOCABLE TRUST U/A      LLOYD WENDT                                    EDWARDS, CURRENT TRUSTEE
10/05/06, CURRENT TRUSTEE                     LMA SPC FOR AND ON BEHALF OF MAP I             LOUISIANA SCHOOL EMPLOYEES' RETIREMENT
LETICIA F GARCIA TRUST UNDER AGREEMENT        SEGREGATED PORTFOLIO                           SYSTEM
DATED SEPTEMBER 29, 1992, LETICIA F GARCIA,   LOCAL 104 SUPPLEMENTAL PENSION                 LOUISIANA STATE EMPLOYEES' RETIREMENT
TRUSTEE
                                              LOCAL 1102 AMALGAMATED PENSION FUND            SYSTEM
LEWIS S MENHINICK TRUST U/A DTD
                                              LOCAL 134 S&P 500 INDEX FUND                   LOW JOINT LIVING TRUSTS U/A DTD
02/05/1980, DIANE BOHLMAN, BARBARA D.
                                              LOCAL GOVERNMENT SUPER ANNUATION               02/08/1996, ZOLA L LOW, JOSEPH T LOW,
MENHINICK, TRUSTEES
                                              SCHEME                                         TRUSTEES
LEWIS TAMAN
                                              LOCAL UNION #124 IBEW PENSION                  LOWE INTERESTS, L.P.
LEWY FAMILY TRUST 4L-210, MARIEL B LEWY,
                                                                                             LOWELL ASSOCIATES LTD PTNSHP
THOMAS J LEWY, TRUSTEES
LFT PARTNERSHIP

                                                                  23

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 229 of 255
LOWELL W. PAXSON CHARITABLE REMAINDER       M K PASCHALL TRUST-IMA, DANIEL BULL,        MAINSTAY VP FUNDS TRUST, AS ISSUER OF A
UNITRUST NUMBER FOUR DATED 2/28/1992,       TRUSTEE                                     SERIES KNOWN AS VP COMMON STOCK
THE NORTHERN TRUST COMPANY, TRUSTEE         M PETER MILLER III TRUST U/A 7/15/83, M     PORTFOLIO A/K/A MAINSTAY VP COMMON
LP MA1 LTD - LATIGO PARTNERS, L.P.          PETER MILLER III, TRUSTEE                   STOCK FUND
LPL FINANCIAL LLC                           M&T BANK F/K/A MANUFACTURERS &              MAINSTAY VP FUNDS TRUST, AS ISSUER OF A
LSV ASSET MANAGEMENT                        TRADERS TRUST CO.                           SERIES KNOWN AS VP MID CAP CORE
LSV ASSET MANAGEMENT - DIVIDEND             M. CHRISTINE JURZYKOWSKI 2005 REVOCABLE     PORTFOLIO A/K/A MAINSTAY VP MIDCAP CORE
PERFORMERS IVS/3407/JOHN HANCOCK FUNDS      TRUST, CURRENT TRUSTEE                      MAINSTAY VP FUNDS TRUST, AS ISSUER OF A
LSV ENHANCED INDEX CORE EQUITY TRUST,       M. DIAMOND FAMILY LP                        SERIES KNOWN AS VP S&P 500 INDEX
CURRENT TRUSTEE                             M.C. TERRELL                                PORTFOLIO A/K/A MAINSTAY VP S&P 500
LSV U.S. LARGE CAP LONG/SHORT FUND L.P.     MACARTHUR FOUNDATION SCV                    INDEX FUND
LUCE FAMILY TRUST U/A DTD 09-01-1999,       MACATAWA BANK                               MAJOR LEAGUE BASEBALL PLAYERS
RANDALL C LUCE, TRUSTEE                     MACONDA BROWN O'CONNOR MANAGEMENT           ASSOCIATION
LUCENT TECHNOLOGIES INC. MASTER PENSION     TRUST, MACONDA B. O'CONNOR, NADINE          MAJOR LEAGUE BASEBALL PLAYERS BENEFIT
TRUST, ALCATEL-LUCENT USA INC., TRUSTEE     TERPSTRA, TRUSTEES                          PLAN
LUCILE MCVEY DUNN TRUST U/A DTD             MACQUARIE INVESTMENT MANAGEMENT             MALIN GIDDINGS
12/19/1991, LUCILE M DUNN, TRUSTEE          LIMITED                                     MALLET GLOBAL ENHANCED LTD.
LUCILLE ANN SODANO IRA, AMERIPRISE TRUST    MACVAL PENSION TRUST OF MCV RET PLAN, A     MALLORY & EVANS INC.
CO ACF                                      GARCIA-SOLA, A ESCUDERO-VIERA, TRUSTEES     MAM SECURITIES LLC
LUCY A O'CONNOR TRUST, BANK OF AMERICA,     MADDOCK INDUSTRIES PENSION PLAN,            MANAGED PORTFOLIO OF THE EQUITRUST
N.A., TRUSTEE                               ANDREW & MATTHEW MADDOCK, TRUSTEE           VARIABLE INSURANCE SERIES FUND
LUIS E LEWIN                                MADELINE I NOVECK                           MANDARIN INC
LUIS E LEWIN 401(K) SAVINGS PLAN            MADGE A L MACNEIL                           MANUFACTURERS & TRADERS TRUST 14
LUIS EDUARDO LEWIN TRUST U/A DTD            MADGE A L MACNEIL 1988 FAMILY TRUST,        0272881, CURRENT TRUSTEE
05/14/1997, LUIS LEWIN, SYLVIA LEWIN,       JOHN BIRD LLOYD JR, TRUSTEE                 MANULIFE (INTERNATIONAL) LIMITED
TRUSTEES                                    MADGE A L MACNEIL TRUST, MADGE A L          (BERMUDA)
LUMINA FOUNDATION FOR EDUCATION INC.        MACNEIL, TRUSTEE                            MANULIFE ASSET MANAGEMENT LIMITED
LVIP SSGA S&P 500 INDEX FUND                MADISON (HITE 2) BUTTERFIELD FUND           F/K/A ELLIOTT & PAGE LIMITED
LYLE ROSENZWEIG                             SERVICES FUND SPC OBO MADISON L/S SEG       MANULIFE FINANCIAL CORP (ML INVST EX FDS
LYNN ANN WESTON                             MADISON PROPRIETARY TRADING GROUP, LLC      CORP.-MIX US LARGE CAP VALUE CLASS)
LYNN R. WOLFSON TRUST, THE NORTHERN         MADISON SQUARE INVESTORS LARGE-CAP          MANULIFE REINSURANCE (BERMUDA) LIMITED
TRUST COMPANY, LYNN R. WOLFSON AND/OR       ENHANCED INDEX COLLECTIVE FUND F/K/A        MANULIFE U.S. EQUITY (ALLIANCE BERNSTEIN
MARK SCOTT, TRUSTEES                        NYLIM LARGE-CAP ENHANCED INDEX              US EQUITY)
LYNNE W SHOTWELL TRUST U/A DATED            COLLECTIVE FUND                             MANULIFE U.S. VALUE EQUITY FUND
5/16/84, LYNNE W SHOTWELL, TRUSTEE          MADISON SQUARE INVESTORS LARGE-CAP          MANVILLE PERSONAL INJURY SETTLEMENT
LYONDELL PETROCHEMICAL CORPORATION          ENHANCED INDEX FUND LP F/K/A NYLIM-QS       TRUST, MANAGING TRUSTEE
DEFINED BENEFIT A/K/A LYONDELL CHEMICAL     LARGE CAP ENHANCED FUND LP                  MAPLE PARTNERS AMERICA INC
CO. DEFINED BENEFIT PLAN LCV                MADISON SQUARE INVESTORS U.S. LARGE-CAP     MARC D HOFFRICHTER IRA, FCC, CUSTODIAN
LYRA INSTITUTIONAL BAKRAM                   CORE 130/30 COLLECTIVE FUND F/K/A NYLIM     MARCELLA A DELUCA IRA C/O RBC CAPITAL
LYXOR ALPHADYNE SPC F/K/A LYXOR STARWAY     US LARGE-CAP CORE 130/30 COLLECTIVE FUND    MARKETS CORP CUST
SPC F/K/A SGAM AI STARWAY SPC               MADISON SQUARE INVESTORS U.S. LARGE-CAP     MARCELLA A LORAINE
LYXOR/BLACK DIAMOND ARBITRAGE FUND          CORE 130/30 FUND LP F/K/A NYLIM US LARGE-   MARCIA FINCH CANNELL
LIMITED                                     CAP CORE 130/30 FUND LP                     MARCIA TINGLEY
LYXOR/CANYON VALUE REALIZATION FUND         MADISON STREET FUND QP FUND LP              MARCUS A ALLEN AND MARY L ALLEN
LIMITED                                     MADISON STREET FUND, L.P.                   MARCUS C BUENABENTA UTMA CA, JULES
M & J INVESTMENT GROUP L.P.                 MAGGIE T CHAU                               GILBERT BUENABENTA, TRUSTEE
M A BARLOW TRUST FBO ALICE B JONES, L.      MAGNIFICENT SEVEN TS, LTD                   MAREN STURM NELSON
THOMAS SLIGER, AUSTIN TRUST COMPANY,        MAHAFFEY MARITAL II TRUST, MARK T           MARGARET A. PALUCH FAMILY TRUST U/A
TRUSTEES                                    MAHAFFEY, TRUSTEE                           DATED 12/17/1976, JOHN D. MARSHALL,
M A BARLOW TRUST FBO GLORIA BOWMAN, L.      MAHESH R BAJAJ MD AND FRANCESCA M BAJAJ     TRUSTEE
THOMAS SLIGER, AUSTIN TRUST COMPANY,        MC                                          MARGARET DURKIN AND JIM ROCHE
TRUSTEES                                    MAHMOUD SEBGHATI IRA, STIFEL NICOLAUS,      MARGARET E CARROLL TRUST U/A DTD
M A BARLOW TRUST FBO J B DIEMAN, L.         CUSTODIAN                                   06/07/2000, MARGARET E CARROLL, TRUSTEE
THOMAS SLIGER, AUSTIN TRUST COMPANY,        MAIN STREET AMERICA ASSURANCE CO.           MARGARET G ARNONE
TRUSTEES                                    MAIN STREET SMALL CAP PORTFOLIO             MARGARET K. CRANE TRUST, MARGARET K.
M A BARLOW TRUST FBO KATHLEEN BARLOW,       MAINSTAY COMMON STOCK FUND F/K/A MCM        CRANE, TRUSTEE
L. THOMAS SLIGER, AUSTIN TRUST COMPANY,     EQUITY INVESTMENT FUND F/K/A MCMORGAN       MARGARET L SINDELAR
TRUSTEES                                    EQUITY INVESTMENT FUND                      MARGARET MCKENZIE, MARGARET MCKENZIE
M A BARLOW TRUST FBO NANCY BARLOW, L.       MAINSTAY FUNDS TRUST, AS ISSUER OF A        LIVING TRUST U/A DTD 02/23/1994 AS
THOMAS SLIGER, AUSTIN TRUST COMPANY,        SERIES KNOWN AS MAINSTAY S&P 500 INDEX      AMENDED AND RESTATED, RICHARD S.
TRUSTEES                                    FUND                                        ARNOLD, SAN PASQUAL FIDUCIARY TRUST CO.,
M A BARLOW TRUST UA G J BARLOW, L.          MAINSTAY FUNDS TRUST, AS ISSUER OF A        TRUSTEES
THOMAS SLIGER, AUSTIN TRUST COMPANY,        SERIES KNOWN AS MAINSTAY U.S. EQUITY        MARGARET P GILLEO REVOCABLE LIVING TRUST
TRUSTEES                                    OPPORTUNITIES FUND F/K/A MAINSTAY 130/30    U/A DTD SEPT 24 1990, MARGARET P GILLEO,
M CHRISTINE JURZYKOWSKI REV TRUST FBO M     CORE FUND                                   TRUSTEE
CHRISTINE JURZYKOWSKI, MILENA CHRISTINE                                                 MARGARET P GUNDLACH REV TRUST DTD
JURZYKOWSKI, CLAUDE D PEPIN, MARK FINSER,                                               3/27/1996, MARGARET P GUNDLACH, TRUSTEE
TRUSTEES
                                                               24

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 230 of 255
MARGARET R CONIGLIO TRUST U/A DTD           MARK C LANDRY                              MARY B. SCHWAB CHARITABLE REMAINDER
08/22/1989, BEVERLY MACKINTOSH, TRUSTEE     MARK DOMAS                                 TRUST, MARY B. SCHWAB, TRUSTEE
MARGARET S RITCH                            MARK EDWARD ROTHERMEL                      MARY BEALES SURV TR, MARY K BEALES, KIRK
MARGARET VERDIRAME                          MARK H. KURTICH                            BEALES, ROSS BEALES, TRUSTEES
MARGERET T. M. JONES, CHARLES PRATT &       MARK HIANIK                                MARY BETH RICHMOND AND JEFFREY S
COMPANY LLC, CUSTODIAN                      MARK I. SEIDEN                             RICHMOND JT WROS
MARGUERITE PAYNE TRUST U/A/D 6/7/61 FBO     MARK M REILLY AND JEANNE M REILLY          MARY BRYSKIER MARITAL DED TRUST U/A/D
VIRGINIA K. TOWNLEY, THE NORTHERN TRUST     MARK METZNER                               07-02-1999, MICHAEL BRYSKIER, TRUSTEE
COMPANY, TRUSTEE                            MARK PETTIJOHN AND GEORGETTE PETTIJOHN     MARY C PARKER ROLLOVER IRA, DCG&T,
MARIAN C FALK FOR ALEXANDRA, BANK OF        MARK R. PATTIS REVOCABLE TRUST UAD         TRUSTEE
AMERICA, N.A., TRUSTEE                      07/30/04, MARK R. PATTIS, TRUSTEE          MARY CONIGLIO TRUST U/A DTD 08/22/89,
MARIAN OTIS CHANDLER TRUST NO. 2, SUSAN     MARK S. & DONNA C. LIES                    BEVERLY MACKINTOSH, TRUSTEE
BABCOCK, JEFFREY CHANDLER, CAMILLA          MARK STRANAHAN                             MARY CONIGLIO TRUST U/A DTD 8/22/1989
CHANDLER FROST, ROGER GOODAN, WILLIAM                                                  GSTT TE TRUST, BEVERLY MACKINTOSH,
                                            MARK W MADIGAN C/F EDWARD P MADIGAN
STINEHART, JR., JUDY C. WEBB, WARREN B.                                                TRUSTEE
                                            UTMA IL
WILLIAMSON, TRUSTEES                                                                   MARY E DAY
                                            MARK W MADIGAN C/F WILLIAM W MADIGAN
MARIAN P. JAMES TR/IMA, CURRENT TRUSTEE                                                MARY ELLEN BEACH ELA TRUST U/A DTD
                                            UTMA/IL UNTIL AGE 21
MARIAN WETTERLING                                                                      04/24/1997, MARY ELLEN BEACH ELA, TRUSTEE
                                            MARK W. MADIGAN AND STEPHANIE A.
MARIANNE R. ATTERBURY TRAD IRA              MADIGAN                                    MARY F BROWN
MARIE CASPER TRUST U/A DTD 01/27/97,        MARKET STREET SECURITIES                   MARY F ROBERTS TRUST FBO GRANDCHILDREN
MARIE CASPER, TRUSTEE                                                                  MARY GREEN
                                            MARLA KRAUSE IRA, NM WEALTH
MARIE EDWARDS FAMILY TRUST U/A DTD          MANAGEMENT CO., CUSTODIAN                  MARY H COOPER
07/13/1994, TILDEN H EDWARDS JR, MARK A                                                MARY J. COLEMAN
                                            MARLENE F SLADE ROLLOVER IRA, NATIONAL
OBERHOFER, TRUSTEES                                                                    MARY JANE F MOELLER TRUST U/A DTD
                                            FINANCIAL SERVICES LLC/FIDELITY
MARILYN R MILLER IRA NATIONAL FINANCIAL     MANAGEMENT TRUST CO, CUSTODIAN             08/07/2006, MARY JANE F MOELLER, TRUSTEE
SERVICES LLC/FIDELITY MANAGEMENT TRUST                                                 MARY JO OSTERMAN TRUST U/A/D 04/04/91,
                                            MARLIS J DAWSON IRA, FCC, CUSTODIAN
CO, CUSTODIAN                                                                          MARY JO OSTERMAN, TRUSTEE
                                            MARNI HORWITZ TRUST DATED JANUARY 22,
MARILYN R ZIRN REVOCABLE TRUST, MARILYN                                                MARY K LAWLER TRUST U/A DTD 06/18/1996,
                                            1998, LOLA LLOYD HORWITZ, THE NORTHERN
R ZIRN, TRUSTEE                                                                        MARY K LAWLER, TRUSTEE
                                            TRUST COMPANY, TRUSTEES
MARILYN R. DIAMOND TRUST DATED 11-11-88,                                               MARY KATHRYN ROBBINS
                                            MARSCO INVESTMENT CORP.
MARILYN R. DIAMOND, TERRY DIAMOND,                                                     MARY L ELSON
                                            MARSHALL R LAVIN
TRUSTEES                                                                               MARY L MCKENNY TRUST, MARY L MCKENNY,
                                            MARSHFIELD CLINIC MASTER TRUST, CURRENT
MARILYN R. GIRSH MARITAL TRUST DATED                                                   TRUSTEE
                                            TRUSTEE
5/26/1998, THE NORTHERN TRUST COMPANY,                                                 MARY L. TUNNEY JUNIOR TRUST, CURRENT
TRUSTEE                                     MARTHA CASSELMAN TRUST, MARTHA
                                            CASSELMAN, TRUSTEE                         TRUSTEE
MARILYN RAPKIN                                                                         MARY LEE YUEN TRUST U/A DTD 05/09/2000,
                                            MARTHA GROSS LIVING TRUST FBO MARTHA
MARILYN Y MAGID                                                                        MARY LEE YUEN, DENNIS JOE YUEN, TRUSTEE
                                            GROSS U/A/D 04/14/1996, JENNIFER GROSS &
MARINE CARPENTERS PENSION FUND                                                         MARY LOU RICOTTA
                                            BERNARD SCHINDER, TRUSTEES
MARINO FAMILY TRUST U/A DTD 09/21/1997, P                                              MARY MAVERICK LLOYD TRUST U/A 5/23/89
                                            MARTHA M ARVEY TRUST U/A DTD 11/13/1992
MARINO & G MARINO, TRUSTEES                                                            FBO MARY MAVERICK LLOYD, MARY LLOYD, W
                                            ACCOUNT A, MARTHA M ARVEY, TRUSTEE
MARIO CAMPANARO IRA DTD 02-09-01,                                                      B LLOYD III, TRUSTEES
                                            MARTHA POPE
MERRILL LYNCH, CUSTODIAN                                                               MARY MCCUNE EDWARDS CHARITABLE LEAD
                                            MARTHA T WENDT REV LIV TRUST U/A/D 03-
MARIO J. GABELLI                                                                       ANNUITY TRUST, JOANNE WELSH, TRUSTEE
                                            30-1992 FBO MARTHA T WENDT, MARTHA T
MARION BARTUSH IRREVOCABLE TRUST UAD,       WENDT, TRUSTEE                             ADVISOR
ADDISON BARTUSH, TRUSTEE                                                               MARY MIHELIC IRRA, MERRILL LYNCH, PIERCE,
                                            MARTHA VUKOV
MARISSA RUDMAN                                                                         FENNER & SMITH, CUSTODIAN FPO
                                            MARTIN BARRY ROSENZWEIG AND SANDRA
MARJORIE B DAVID CGM IRA ROLLOVER, STATE    ARLENE ROSENZWEIG                          MARY NEVILLE HANKEY
STREET BANK AND TRUST COMPANY,                                                         MARY O. NAFTZGER
                                            MARTIN COMPANY-PROXY DEPT A/C SCOTT M
CUSTODIAN                                                                              MARY OWEN ROSENTHAL TRUST U/A DTD
                                            NISWONGER #2
MARJORIE B. PELINO                                                                     OCTOBER 19, 1999, MARY O ROSENTHAL,
                                            MARVIN A REYNOLDS TRUST B U/A DTD
MARJORIE F BRAISTED TRUST U/A DTD           05/16/1988, MARIE O REYNOLDS, SUSAN M      GARNETT COHEN, TRUSTEES
07/15/1992, MARJORIE F. BRAISTED, TRUSTEE   REYNOLDS, TRUSTEES                         MARY R. FENSTERMAKER
MARJORIE ROZMAN TRUST UAD 8/7/85 FBO        MARVIN C RICKLEFS AND MARGARET M           MARY ROSS IRREV TRUST U/A 09/13/99,
AVI J ROZMAN, NANETTE ROSENBERG,            RICKLEFS                                   HOWARD M ROSS, TRUSTEE
MARJORIE ROZMAN, TRUSTEES                                                              MARY ROWENA FENSTERMAKER
                                            MARVIN C SCHNEIDER TRUST DTD 6-5-97,
MARJORIE W ULLMANN TRUST U/A DTD            MARVIN C. SCHNEIDER, TRUSTEE               MARY SHAW MCCUTCHEON TRUST, U/A DTD
05/28/1987, DONALD M ULLMANN, TRUSTEE                                                  10/26/1987, J MCCUTCHEON III, ANNE
                                            MARVIN HOFFENBERG BETTY HOFFENBERG
MARK A BAUN JR IRR TRUST U/A DTD            TRUST UA 09/01/78, MARVIN HOFFENBERG,      MCCUTCHEON LEWIS, MARY SHAW
2/28/2005, CAPRICE WW BAUN, CONSUELO W      BETTY S HOFFENBERG, TRUSTEES               MCCUTCHEON, TRUSTEES
PIERREP, CHARLES L WILSON III, TRUSTEES                                                MARY SUE GATZERT TRUST DATED 9-29-95,
                                            MARVIN L GOODMAN & MELINDA K
MARK A GRABO TRUST U/A DTD 11/11/1998,      GOODMAN REVOCABLE TRUST UTA DTD            CURRENT TRUSTEE
ALBERT BONDS, TRUSTEE                       1/15/92, CURRENT TRUSTEE                   MARY SUTLIFFE LOUCKS TRUST PORTFOLIO
MARK A HUGHES AND DANICA F HUGHES           MARVIN ROBINSON TRUST, MR. AND MRS.        835, MARY SUTLIFFE LOUCKS, TRUSTEE
MARK A. JONES AND DIANE D. JONES            MARVIN ROBINSON, TRUSTEES                  MARYLAND STATE RETIREMENT AGENCY
MARK ALLEN ITKIN TRUST 3/16/2001, MARK A.   MARY A RYAN                                MARYLAND STATE RETIREMENT AND PENSION
ITKIN, TRUSTEE                              MARY ANN LANE                              SYSTEM
MARK C BOE TRUST U/A DTD 07/20/2000,
MARK C BOE, TRUSTEE
                                                               25

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 231 of 255
MARYLAND VOTED RUSSELL 3000 COMMON          MC INVESTMENT PARTNERS LLC                    METHODIST HEALTHCARE (CHANNING CAPITAL
TRUST FUND, STATE STREET BANK AND TRUST     MCAFEE & TAFT PROFIT-SHARING PLAN,            MANAGEMENT)
COMPANY, TRUSTEE                            CURRENT TRUSTEE                               METHODIST HEALTHCARE (LSV ASSET
MASONIC EDUCATION & CHARITY TRUST,          MCGILL UNIVERSITY PENSIONER FUND A/K/A        MANAGEMENT)
CURRENT TRUSTEE                             MCGILL UNIVERSITY PENSION PLAN                METLIFE INVESTMENT FUNDS INC
MASONIC FAMILY HEALTH FOUNDATION            MCMORGAN BALANCED EQUITY MAINSTAY             METLIFE STOCK INDEX PORTFOLIO
MASS MUTUAL-SEPARATES                       FUNDS                                         METRO WATER DIST OF SOUTHERN CA TR
MASSACHUSETTS MUTUAL                        MEADOWBROOK EQUITY FUND UA DEC 01 86          METRO WATER DIST OF SO CA SAV PLAN FBO
MASSMUTUAL PREMIER BALANCED FUND            DECLARATION OF BELL FAMILY TR, GLEN W         JAMES J GINGRICH
MASSMUTUAL PREMIER DISCIPLINED VALUE        BELL, MARTHA BELL, KATHLEEN B FLYNN,          METROPOLITAN LIFE (METLIFE STOCK INDEX II)
FUND F/K/A MASSMUTUAL PREMIER               TRUSTEES                                      METROPOLITAN LIFE INSURANCE CO
ENHANCED INDEX VALUE FUND                   MEA-MESSA-MEA FINANCIAL SERVICES              METROPOLITAN TORONTO PENSION PLAN
MASSMUTUAL PREMIER ENHANCED INDEX           MEGAN R. BOSAU AND ROBERT D. BOSAU            METROPOLITAN TRANSIT AUTHORITY
CORE EQUITY FUND                            DESIGNATED BENE PLAN/TOD                      METZNER FAMILY FOUNDATION
MASSMUTUAL PREMIER SMALL/MID CAP            MEGHAN M FLANNERY                             MEYERHOFF FAMILY TRUSTS CHARITABLE
OPPORTUNITIES FUND F/K/A MASSMUTUAL         MEL L SHULTZ & BETH JANE SHULTZ TRUST DTD     ENTITIES, CURRENT TRUSTEE
PREMIER SMALL COMPANY OPPORTUNITIES         9/5/79, MEL L SHULTZ & BETH J SHULTZ,         MF INDEX FUND LLC
FUND                                        TRUSTEES                                      MH PENSION PLAN - ALLIANCEBERNSTEIN -
MASSMUTUAL PREMIER MAIN STREET SMALL        MEL L SHULTZ AND BETH JANE SHULTZ             MEMORIAL HERMANN HEALTH CARE SYSTEM
CAP FUND                                    MELBA THOMASSON-DEAUTRIELL AND                MIAMI CORPORATION
MASSMUTUAL SELECT DIVERSIFIED VALUE         WILLIAM P. DEAUTRIELL                         MIAMI OIL PRODUCERS INC
FUND                                        MELISSA MONSON                                MICHAEL & ROSALIND KEISER CHARITABLE
MASSMUTUAL SELECT INDEXED EQUITY FUND       MELLON BANK SECURITIES LENDING                TRUST U/A DTD 12/30/90, MICHAEL &
MASTER EQUITIES I LTD (CFEV) TMS/ITS SETT   MELLON CAPITAL MANAGEMENT                     ROSALIND KEISER, TRUSTEES
A/C FOR HITE CRAGMUIR CHAMBERS              MELLON TRANSITION MANAGEMENT                  MICHAEL A HIRSLEY IRA
MASTER EQUITIES I LTD (GAP) TMS/ITS SETT    MELVIN GOODMAN                                MICHAEL A SILVER
A/C FOR HITE CRAGMUIR CHAMBERS              MELVIN W SANDMEYER TRUST DTD 3/31/97, M       MICHAEL BAKWIN
MASTER TRUST BANK OF JAPAN, LTD             SANDMEYER & C SANDMEYER, TRUSTEES             MICHAEL BOURGON
MASTER TRUST BETWEEN PFIZER INC. AND THE    MEMORIAL HERMANN HEALTH CARE SYSTEM           MICHAEL BRYSKIER AND MARY BRYSKIER JT
NORTHERN TRUST COMPANY (AS SUCCESSOR        PENSION TRUST, CURRENT TRUSTEE                WROS
TO WYETH MASTER TRUST), THE NORTHERN        MER ROUGE PROPERTIES, LLC, SERIES A, W        MICHAEL C DONAHUE AND MARTHA D
TRUST COMPANY, TRUSTEE                      JONES, A WILLIAMS, TRUSTEES                   DONAHUE
MATT J. WOLLMAN REVOCABLE TRUST, MATT J     MERCER FUNDS F/K/A MGI FUNDS (MGI US          MICHAEL C. LABONIA AND DEBRA D. LABONIA
WOLLMAN, TRUSTEE                            SMALL/MID CAP VALUE EQUITY FUND)              MICHAEL E. BEE TRUST UAD 10/20/2003,
MATTHEW B FITZSIMONS 2004 TRUST U/A DTD     MERCER GLOBAL INVESTMENTS                     MICHAEL E. BEE, TRUSTEE
08/26/2004, CHRISTINE M FITZSIMONS,         MERRILL L PUGH REV LIV TRUST U/A DTD          MICHAEL E. WEINER
TRUSTEE                                     09/16/2003, MERRILL LESTER PUGH, TRUSTEE      MICHAEL EIGNER AND LINDA EIGNER
MATTHEW BENDER IV                           MERRILL LYNCH FINANCIAL MARKET EQUITY         MICHAEL G. MURPHY AND MARY THERESE
MATTHEW BENDER IV FAMILY LIMITED            FINANCING GROUP                               MURPHY
PARTNERSHIP                                 MERRILL LYNCH FINANCIAL MARKET EQUITY         MICHAEL GLAZER AND LAUREN GLAZER
MATTHEW GERARD HARTMANN AND LISA            FINANCING GROUP - SINGLE STOCK
MARIE HARTMANN JTWROS                                                                     MICHAEL H. GRAFF
                                            MERRILL LYNCH PROFESSIONAL CLEARING           MICHAEL HALLCH
MATTHEW HALBOWER                            CORP. (BROKER DEALER REG T)
MATTHEW J. BOTICA AND CHRISTINE C. BOTICA                                                 MICHAEL J DOLAN AND DOROTHY F DOLAN JT
                                            MERRILL LYNCH PROFESSIONAL CLEARING           TEN
MATTHEW POPE                                CORP. (CUSTOMER SHORT (REG T 1563-3))
                                                                                          MICHAEL J KRAUSE IRA, AMERIPRISE TRUST
MAUD P. BARTON REV TRUST 0396 DTD           MERRILL LYNCH PROFESSIONAL CLEARING           COMPANY, CUSTODIAN
11/13/89, MAUD P. BARTON, RANDOLPH P.       CORP. (PAX DIV)
BARTON, TRUSTEES                                                                          MICHAEL J PALUMBO REVOCABLE LI TRUST U/A
                                            MERRILL LYNCH PROFESSIONAL CLEARING           DTD 11/29/1999, CURRENT TRUSTEE
MAUREEN S. WOODALL, AS SUCCESSOR TO         CORP. (REORG MANDATORY PROCESSING A/C)
DONALD W. WOODALL IRA R/O                                                                 MICHAEL J. & MARY K. POULOS REVOCABLE
                                            MERRILL LYNCH, PIERCE, FENNER & SMITH         MANAGEMENT TRUST, MICHAEL AND MARY K.
MAX L. GARDNER IRA, TD AMERITRADE           INCORPORATED AS SUCCESSOR TO BZW              POULOS, TRUSTEES
CLEARING, CUSTODIAN                         SECURITIES LIMITED
                                                                                          MICHAEL J. LICCAR & COMPANY LLC
MAX S BELL AND JEAN F BELL                  MERRILL LYNCH, PIERCE, FENNER & SMITH
                                                                                          MICHAEL J. O'NEILL
MAXIM T. ROWE PRICE EQUITY/INCOME           INCORPORATED F/K/A 1IA SPX1, A DIVISION OF
PORTFOLIO                                                                                 MICHAEL K REILLY TRUST U/A DTD 09/25/1995,
                                            BANC OF AMERICA SECURITIES LLC
                                                                                          MICHAEL K. REILLY, TRUSTEE
MAXINE R PHILIPSBORN TRUST U/A 2/2/07,      MERRILL LYNCH, PIERCE, FENNER & SMITH
FIFTH THIRD BANK, SUCCESSOR TRUSTEE                                                       MICHAEL KEISER (SPECIAL ACCOUNT)
                                            INCORPORATED F/K/A BANC OF AMERICA
MAY C. GOODAN TRUST NO. 2, SUSAN            SECURITIES LLC                                MICHAEL LOEB
BABCOCK, JEFFREY CHANDLER, CAMILLA          MERRILL LYNCH, PIERCE, FENNER & SMITH         MICHAEL MROCZKOWSKI
CHANDLER FROST, ROGER GOODAN, WILLIAM       INCORPORATED F/K/A BANC OF AMERICA            MICHAEL MUSKAL IRA ROLLOVER, FIDELITY
STINEHART, JR., JUDY C. WEBB, WARREN B.     SECURITIES LLC (SPX PRINCIPAL STRATEGY U.S.   MANAGEMENT TRUST CO CUST
WILLIAMSON, TRUSTEES                        SHARES PROGRAMS)                              MICHAEL P CHMURA FRP PS A/C MICHAEL P
MAYBACH FAMILY, LLC, WILMINGTON TRUST       MERRILL LYNCH, PIERCE, FENNER & SMITH         CHMURA ACCTG CORP, FIDELITY
COMPANY, CUSTODIAN                          INCORPORATED, IN ITS INDIVIDUAL AND           MANAGEMENT TRUST CO, TRUSTEE
MAZUR, HOWARD E                             CUSTODIAL CAPACITIES                          MICHAEL P WHELAN AND MARY ELLEN
MB FINANCIAL BANK, INC.                     MESIROW FINANCIAL, INC.                       WHELAN
M-BAR DRM, US BANK, TRUSTEE                 METCALF X LIMITED                             MICHAEL PLONSKI AND NEDRA PLONSKI
MBNA PENSION - T.ROWE PRICE                 METHODIST HEALTH SYSTEMS
                                                                  26

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 232 of 255
MICHAEL R QUINLAN TRUST U/A DTD             MIP S&P 500 INDEX                           MORGAN STANLEY ASSET - NY13
09/04/1979, MICHAEL R. QUINLAN, TRUSTEE     MIRA LEE TOMEI LORAN                        MORGAN STANLEY SMITH BARNEY LLC
MICHAEL R. LUFRANO                          MIRIAM A. PAWEL                             MORGAN STANLEY TOTAL MARKET INDEX
MICHAEL RICHARD WIDRIG AND JACQUELINE A     MIRIAM SUSAN ZACH                           FUND A/K/A MS TOTAL MARKET INDEX FUND
WIDRIG                                      MISSISSIPPI PUBLIC EMPLOYEES' RETIREMENT    MORRIS R EDDY III
MICHAEL ROSENBERG TRUST U/A DTD             SYSTEM                                      MORTON FIEDLER & SHERMA FIEDLER TRUST
02/23/1981, NANETTE ROSENBERG, MARJORIE     MISSOURI LOCAL GOVERNMENT EMPLOYEES         U/A DTD 10/14/94, MORTON FIEDLER, SHERMA
ROZMAN, TRUSTEES                            RETIREMENT SYSTEM                           FIEDLER, TRUSTEES
MICHAEL S MEADOWS                           MITCHELL WOLFSON SR. TRUST U/W F/B/O        MORTON GOLDFINE AND ADRIENNE M.
MICHAEL S ROSENBLUM                         GRANDCHILDREN, SYLVAN MYERS, TRUSTEE        GOLDFINE
MICHAEL SOBEL PAPER                         MITCHELL WOLFSON, SR FOUNDATION             MOUNT ARARAT CEMETARY INC
MICHAEL SUPERA                              MITSUBISHI UFJ ASSET MANAGEMENT #XX8364     MOUNT VERNON HOSPITAL EMPLOYEES
MICHAEL TARNOFF                             (THROUGH MASTER TRUST BANK OF JAPAN)        RETIREMENT PLAN, AMERICAN STOCK
MICHAEL TIERNEY AND PATRICIA TIERNEY        C/O BANK OF TOKYO-MITSUBISHI UFJ TRUST      TRANSFER & TRUST COMPANY, TRUSTEE
MICHIGAN CATHOLIC CONFERENCE SOCIALLY       COMPANY                                     MP&L MASTER TRUST, US BANK, TRUSTEE
RESPONSIBLE INVESTMENT POOL                 MIZUHO TRUST & BANKING CO. (USA)            MPAMG SECURITY PROCESSING OMNIBUS
MICHIGAN DEPARTMENT OF TREASURY             MIZUHO TRUST & BANKING CO., LTD.            MPF NORTH AMERICA EQUITY INDEX SUB
MICHIGAN EDUCATION ASSOCIATION              ML EQUITY INDEX TRUST, MERRILL LYNCH        FUND
MICHIGAN JUDGES' RETIREMENT SYSTEM          TRUST COMPANY, TRUSTEE                      MS SELECT-VALUE ADDED MARKET
MICHIGAN PUBLIC SCHOOL EMPLOYEES'           ML INDEX 500 V.I. FUND                      MTA NON-UNION PENSION PLAN & T
RETIREMENT SYSTEM                           ML LARGE CAPITALIZATION IN MERRILL LYNCH    MTB EQUITY INDEX FUND
MICHIGAN STATE POLICE RETIREMENT SYSTEM     TRUST COMPANY                               MULTI-STRATEGY, GREENOCK MASTER FUND
MICRO TRADING CAPITAL FUND                  ML STERN & CO. LLC                          LTD, GREENOCK MULTI-STRATEGY FUND LP
MICROSOFT CORPORATION                       MLC INVESTMENTS L.L.C.                      MUNDER INDEX 500 FUND
MID CAP VALUE SUDAN FREE                    MLC INVESTMENTS LTD DIMENSIONAL FUND        MUNI POLICE EMP RET SYS
MID-ATLANTIC REGIONAL COUNCIL OF            ADVISORS                                    MUNICIPAL EMPLOYEES' ANNUITY AND
CARPENTERS PENSION PLAN                     MM TRUST (BVI) F/K/A MORGAN & MORGAN        BENEFIT FUND OF CHICAGO
MIDLAND GUARDIAN COMPANY, US BANK,          TRUST CO. FOR INTERLANDS SA/SICPA           MUNICIPAL FIRE AND POLICE RETIREMENT
TRUSTEE                                     HOLDINGS SA                                 SYSTEM OF IOWA
MIKE & MELISSA PARNELL REV TRUST UA DTD     MMA PRAXIS VALUE INDEX FUND                 MUNICIPALITY OF ANCHORAGE TRUST,
08/27/90, MIKE PARNELL, MELISSA PARNELL,    MML BLEND FUND                              CURRENT TRUSTEE
TRUSTEES                                    MML ENHANCED INDEX CORE EQUITY FUND         MURIEL HYMAN
MIKE EUGENE ABERNETHY                       MML EQUITY INCOME FUND                      MURIEL LEWIS
MILAN E CHILLA                              MML EQUITY INDEX FUND                       MURIEL S HARRIS
MILAN E CHILLA CUSTODIAN FPO IRA            MML SMALL CAP EQUITY FUND                   MURIEL W LEWIS TRUST, RONNA ISAACS
MILES ADRIAN COLLET MURRAY                  MNS, LTD.                                   STOLMAN, TRUSTEE
MILES D WHITE                               MOC CHANDLER TRUST NO. 1 UTA DTD            MURIEL Z PFAELZER-SP91 TRUST U/A DTD
MILES D WHITE 1994 TRUST U/A DTD            6/16/35, SUSAN BABCOCK, JEFFREY CHANDLER,   02/03/1993, MURIEL Z PFAELZER, TRUSTEE
08/24/1994, MILES D WHITE, TRUSTEE          CAMILLA CHANDLER FROST, ROGER GOODAN,       MUSEUM OF FINE ARTS, HOUSTON, AS
MILIKEN STOCK FUND (7R) T ROWE PRICE        WILLIAM STINEHART, JR., JUDY C. WEBB,       BENEFICIARY OF THE ESTATE OF ALFRED C.
TRUST CO                                    WARREN B. WILLIAMSON, TRUSTEES              GLASSELL JR.
MILL SHARES HOLDINGS (BERMUDA) LTD.         MOGAVERO/FELTY JOINT VENTURE - TMS          MUSEUM OF FINE ARTS, ST. PETERSBURG
MILLENCO LLC                                MONICA K. HINMAN                            MUSHIN TRADING LLC #2
MILLENCO LP (OMNI STAT ARB)                 MONTAGUE HACKETT                            MUTUAL OF AMERICA INVESTMENT
MILLENNIUM FUNDING ASSOCIATES LLC           MONTANA BOARD OF INVESTMENTS                CORPORATION
MILLER FAMILY TRUST UAD 3/24/87,            MONTEAGLE VALUE FUNDS                       MYLIN M. SIVATON
MARGARET U MILLER, TRUSTEE                  MONTPELIER REINSURANCE HOLDINGS, LTD.       MYRNA RAMIREZ AND MONSERRATE RAMIREZ
MILTON GOLDWASSER                           MONTPELIER REINSURANCE LTD -                JTWROS
MILTON HIRSCH AND ILENE HIRSCH TEN BY ENT   MINTFLOWER PL                               MYRON L. HENDRIX
MILTON J ROSENBERG TRUST U/A DTD            MONUMENTAL LIFE INSURANCE COMPANY -         NANCY A COOK
12/10/1992, MILTON J ROSENBERG, TRUSTEE     TEAMSTERS SEPARATE ACCOUNT L-23             NANCY B HEINZ FAMILY TRUST, ARTHUR P.
MILTON PARTNERS LLC                         MONUMENTAL LIFE INSURANCE COMPANY           HEINZ, TRUSTEE
MINE SCRIBANTE CRUT-SANIBEL CAPITVA         F/K/A PEOPLES BENEFIT LIFE INSURANCE        NANCY B. HEINZ
MINI TRUST U/A EDWARD H LINDSAY, BANK OF    MORGAN KEEGAN & CO.                         NANCY CROSSMAN
AMERICA, N.A., TRUSTEE                      MORGAN STANLEY                              NANCY D. RAMAGE
MINISTRY OF FINANCE OF THE REPUBLIC OF      MORGAN STANLEY & CO. INTERNATIONAL PLC      NANCY FAY JOHNSON
KAZAKHSTAN                                  F/K/A MORGAN STANLEY & CO.                  NANCY H FEE TRUST U/A DTD 05/15/1998,
MINNESOTA LIFE INSURANCE COMPANY -          INTERNATIONAL LIMITED                       NANCY H FEE, TRUSTEE
SEPARATE ACCOUNT A                          MORGAN STANLEY & CO. INTERNATIONAL PLC      NANCY M WEBER
MINNESOTA LIFE INSURANCE COMPANY -          F/K/A MORGAN STANLEY & CO.                  NANCY M. ROBERTS REVOCABLE TRUST, NANCY
SEPARATE ACCOUNT L                          INTERNATIONAL LIMITED (BNY GCM)             M. ROBERTS, TRUSTEE
MINNESOTA POWER MASTER TRUST SMID,          MORGAN STANLEY & CO. LLC 0201 STOCK         NANCY R SPIEGEL REV TRUST UAD 10/14/89,
CURRENT TRUSTEE                             OPTIONS                                     MICHAEL COTTLE, CHRIS MARDER, TRUSTEES
MINNESOTA STATE BOARD OF INVESTMENT         MORGAN STANLEY & CO. LLC MSCS VA SWAP       NANCY SUE FRIDSTEIN
MINNETTE R. ECKHOUSE TRUST #502 U/W/O       HEDGE                                       NANCY TROHAN DOLLAR
DTD 2/1/74, JAMES H. ECKHOUSE AND JILL E.   MORGAN STANLEY & CO., LLC F/K/A MORGAN      NANCY W. NEWKIRK
BERUBE, TRUSTEES                            STANLEY & CO. INCORPORATED                  NANETTE ROSENBERG
                                                               27

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 233 of 255
NANNO & IRENE MAARSINGH SURVIV TRUST       NEW JERSEY PHYSICIANS LLC                    NOEL CAROLINE MCKISSICK TRUST UNDER
U/A DTD 09/24/1984, IRENE MAARSINGH & J    NEW JERSEY TRANSIT - MTA ALLOCATION          AGREEMENT DTD 3/3/98, NOEL CAROLINE
LUCHTMAN, TRUSTEES                         NEW JERSEY TRANSIT CORPORATION               MCKISSICK, TRUSTEE
NATALIE MCCORMICK MILLER IRREVOCABLE       NEW LIFE INTERNATIONAL TRUST, US BANK,       NOMURA INTERNATIONAL TRUST CO.
PRESENT INTEREST TRUST, DATED DECEMBER     TRUSTEE                                      NOMURA RAFI INTERNATIONAL EQUITY FUND
27, 1983, CHARLES R. PLAYER JR., RICHARD   NEW MEXICO EDUCATIONAL RETIREMENT            NOMURA SECURITIES INTERNATIONAL, INC.
DUFFIELD, TIMOTHY N. GARDNER, TRUSTEES     BOARD                                        NOMURA TRUST AND BANKING CO LTD
NATALIE MCCORMICK MILLER LIVING TRUST      NEW MEXICO STATE INVESTMENT COUNCIL          NONDIMA CHICAGO COMM FDN-FITZSIMONS
U/W 12/27/83 FBO NATALIE MCCORMICK         NEW SCHOOL FOR SOCIAL RESEARCH               NORA E. MORGENSTERN
MILLER, RICHARD DUFFIELD, TRUSTEE          (NEUBERGER BERMAN LLC)                       NORAH K LLOYD TRUST, BANK OF AMERICA,
NATHAN B SANDLER CGM IRA, STATE STREET     NEW YORK CITY DEFERRED COMPENSATION          N.A., TRUSTEE
BANK AND TRUST COMPANY, CUSTODIAN          PLAN                                         NORBERT ROCH
NATHAN H. PERLMAN TRUST B DTD 12-17-68,    NEW YORK CITY DISTRICT COUNCIL OF            NORDEA BANK AB A/K/A NORDEA BANK
MIRIAM NOVICK, ARLINE DOBLIN, TRUSTEES     CARPENTERS PENSION FUND                      SWEDEN AB (PUBL)
NATIONAL ASBESTOS WORKERS PENSION FUND     NEW YORK CITY DISTRICT COUNCIL OF            NORGES BANK INVESTMENT MANAGEMENT
NATIONAL AUTOMATIC SPRINKLER INDUSTRY      CARPENTERS WELFARE FUND                      NORINCHUKIN BANK US EQUITY INDEX FUND
PENSION FUND                               NEW YORK CITY EMPLOYEES RETIREMENT           NORMA B. WEBB
NATIONAL BANK OF KAZAKHSTAN                SYSTEM                                       NORMA JEAN AUTRY
NATIONAL CONSTRUCTION ASSOCIATION          NEW YORK CITY FIRE OFFICER VARIABLE          NORMA R PANE
PENSION FUND                               SUPPLEMENT RETIREMENT SYSTEM - NYC           NORMA R. PHELPS TRUST U/A AGENCY,
NATIONAL ELECTRICAL BENEFIT FUND TRUST,    RETIREMENT SYSTEM                            NORMA R. PHELPS, TRUSTEE
DILLARD R. BORDEN, JR. AND SALVATORE J.    NEW YORK CITY FIRE PENSION FUND              NORMAN ROCHELL FAMILY TRUST U/A/D
CHILIA, TRUSTEES                           NEW YORK CITY FIRE RETIREMENT SYSTEM         10/21/97, CHARLES R BRAUN, NANCY
NATIONAL GEOGRAPHIC SOCIETY (DEFERRED      NEW YORK CITY FIREFIGHTERS' VARIABLE         GILMORE, TRUSTEES
CAPITAL FUND)                              SUPPLEMENTS FUND                             NORMAN W. MITCHELL
NATIONAL GRANGE MUTUAL                     NEW YORK CITY POLICE OFFICERS' VARIABLE      NORMAN X RAIDL REV TRUST U/A/D 05/15/00,
NATIONAL PENSIONS RESERVE FUND             SUPPLEMENTS FUND                             NORMAN X RAIDL, TRUSTEE
COMMISSION                                 NEW YORK CITY POLICE PENSION FUND            NORMANDY HILL MASTER FUND LP
NATIONAL PREARRANGED SERVICES INC.         NEW YORK CITY POLICE RETIREMENT SYSTEM       NORTEL NETWORKS RETIREMENT INCOME
NATIONAL RAILROAD RETIREMENT               NEW YORK CITY POLICE SUPERIOR OFFICERS'      PLAN TRUST, PENSION BENEFIT GUARANTY
INVESTMENT TRUST, CURRENT TRUSTEE          VARIABLE SUPPLEMENTS FUND                    CORPORATION, TRUSTEE
NATIONAL ROOFING INDUSTRY PENSION FUND     NEW YORK CITY TEACHERS RETIREMENT FUND       NORTH CAROLINA S&P 500 - NORTH CAROLINA
NATIONWIDE S&P 500 INDEX FUND, A SERIES    NEW YORK LIFE INSURANCE COMPANY              DEPARTMENT OF TREASURY
OF NATIONWIDE MUTUAL FUNDS                 NEW YORK LIFE INVESTMENT MANAGEMENT          NORTH CENTRAL STATES REGIONAL
NATIXIS FINANCIAL PRODUCTS LLC F/K/A       LLC                                          NORTH DAKOTA STATE INVESTMENT BOARD
NATIXIS FINANCIAL PRODUCTS INC             NEW YORK STATE COMMON RETIREMENT             NORTH DAKOTA STATE INVESTMENT BOARD
NATIXIS SECURITIES AMERICAS LLC F/K/A      FUND                                         INS. TRUST, CURRENT TRUSTEE
NATIXIS BLEICHROEDER LLC                   NEW YORK STATE INSURANCE FUND                NORTH DAKOTA STATE INVESTMENT BOARD
NAUMBURG FAMILY LLC A PARTNERSHIP          NEW YORK STATE OFFICE OF STATE               PENSION TRUST, CURRENT TRUSTEE
NBC SECURITIES, INC.                       COMPTROLLER                                  NORTH SHORE BANK OF COMMERCE
NBCN INC                                   NEW YORK STATE TEACHERS RETIREMENT           NORTHEAST MEDICAL CENTER INVES
NC DEPARTMENT OF STATE TREASURER           SYSTEM                                       NORTHERN ASSURANCE CO. OF AMERICA
NEAL CREIGHTON AND JOAN H CREIGHTON        NEWBROOK CAPITAL ADVISORS                    NORTHERN FUNDS - ENHANCED LARGE CAP
NECA IBEW PENSION                          NEWEDGE USA, LLC                             FUND
NECA IBEW PENSION LSV US EQ NECA           NGM INSURANCE COMPANY                        NORTHERN FUNDS - LARGE CAP VALUE FUND
NECA-IBEW LOCAL UNION NO. 35 P             NICHOLAS F. YOUNG TRUST A SEPT 26 92,        A/K/A NORTHERN LARGE CAP VALUE FUND
NECA-IBEW PENSION TRUST FUND, CURRENT      DAVID D. GRUMHAUS JR, TRUSTEE                NORTHERN FUNDS - MULTI-MANAGER MID
TRUSTEE                                    NICHOLAS GEORGE TRUST, NATHAN M              CAP FUND
NECKAR HOLDINGS LLC                        GROSSMAN, HELEN RUESCH, TRUSTEES             NORTHERN FUNDS - STOCK INDEX FUND A/K/A
NEIL HARKINS                               NICHOLAS H. WERTHMAN                         NORTHERN STOCK INDEX FUND
NEIL J. ROWE & CAROL S. ROWE               NICHOLAS HALLACK                             NORTHERN ILLINOIS BENEFIT FUNDS
NEISSER INVESTMENT LP                      NICHOLAS J SOLLI                             NORTHERN INSTITUTIONAL FUND EQUITY
NETCH FAMILY TRUST U/A DTD 11/28/97,       NICHOLAS P. GOSCHI TRUST B U/A DTD           INDEX PORTFOLIO
CHARLES WILLIAM NETCH, MARY ELIZABETH      08/21/1996 FBO BARBARA V. GOSCHI, PETER E.   NORTHERN TRUST
NETCH, TRUSTEES                            GOSCHI, TRUSTEE                              NORTHERN TRUST COMPANY
NEUBERGER BERMAN INC.                      NICHOLAS STARR                               NORTHERN TRUST CORPORATION
NEVADA PUBLIC EMPLOYEES RETIREMENT         NICHOLAS T. PREPOUSES                        NORTHERN TRUST INVESTMENTS
SYSTEM                                     NICHOLAS VAN HOOGSTRATEN IRA,                NORTHERN TRUST INVESTMENTS N.A. (LARGE
NEW AMERICANS LLC                          AMERIPRISE TRUST COMPANY F/K/A H&R           CAP VALUE)
NEW CASTLE COUNTY DELAWARE (NEW CASTLE     BLOCK FINANCIAL ADVISORS, CUSTODIAN          NORTHERN TRUST INVESTMENTS N.A. (MULTI
COUNTY EMPLOYEES)                          NICK D KLADIS                                DISCIPLINE EQUITY)
NEW CENTURY PARTNERS, L.P.                 NIELSEN SUPERANNUATION PTY LTD               NORTHERN TRUST QUANTITATIVE FUND
NEW DAY DEVELOPMENT LLC                    NINTH STREET PARTNERS LTD.                   PUBLIC LIMITED COMPANY
NEW EAGLE HOLDINGS LLC                     NISSWA MASTER FUND LTD                       NORTHERN TRUST VALUE
NEW ENGLAND HEALTH CARE EMPLOYEES          NJ TRANSIT AMALGAMATED TRANSIT UNION
PENSION FUND
NEW JERSEY HEALTH FOUNDATION
                                                               28

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 234 of 255
NORTHERN TRUST VALUE INVESTORS, A           NUVEEN EQUITY INDEX FUND F/K/A FIRST        ONTARIO PENSION BOARD
DIVISION OF NORTHERN TRUST INVESTMENTS,     AMERICAN EQUITY INDEX, INC.                 OPAL INVESTMENT LIMITED
INC. F/K/A NORTHERN TRUST INVESTMENTS,      NUVEEN EQUITY INDEX FUND F/K/A FIRSTAR      OPERATING ENGINEERS LOCAL 428 DB
N.A.                                        EQUITY INDEX FUND                           (PENSION) LCV
NORTHSHORE UNIVERSITY HEALTHSYSTEM          NUVEEN INVESTMENT SOLUTIONS, INC. F/K/A     OPPENHEIMER & CO., INC.
PENSION PLAN                                RICHARDS AND TIERNEY                        OPPENHEIMER MAIN STREET SELECT FUND
NORTHSHORE UNIVERSITY HEALTHSYSTEM          NVIT S&P 500 INDEX FUND                     F/K/A OPPENHEIMER MAIN STREET
SECOND CENTURY FUND                         NW INDIANA CARPENTERS PENSION FUND LCV      OPPORTUNITY FUND
NORTHWESTERN MUTUAL SERIES FUND INC.        O DALE SMITH FBO SINCLAIR SMITH SIRAGUSA    OPPENHEIMER MAIN STREET SMALL- & MID-
NORTHWESTERN MUTUAL SERIES FUND INC.        UAD 6/20/70, CHARLES A. WOLFIN AND A. C.    CAP FUND F/K/A OPPENHEIMER MAIN STREET
(INDEX 500 PORTFOLIO)                       SMITH, TRUSTEES                             SMALL CAP FUND
NORTHWESTERN MUTUAL SERIES FUND INC.        O.C. SMITH & P.L. PIERCE JOINT REV LIVING   OPPENHEIMER VARIABLE ACCOUNT FUNDS
(SMALL CAP VALUE PORTFOLIO)                 TRUST DTD 7/18/2005, PATRICIA L. PIERCE,    D/B/A OPPENHEIMER MAIN STREET SMALL- &
NORTHWESTERN MUTUAL SERIES FUND, INC.       TRUSTEE                                     MID-CAP FUND/VA, F/K/A OPPENHEIMBER
(EQUITY INCOME PORTFOLIO)                   OAKBROOK (GLASS LEWIS CO)                   MAIN STREET SMALL CAP FUND/VA
NORTHWOOD CEMETERY COMPANY                  O'CONNOR GLOBAL MULTI-STRATEGY ALPHA        OPPENHEIMERFUNDS
NRG SOUTH TEXAS LP AMENDED AND              MASTER LIMITED                              OPPENHEIMERFUNDS, INC
RESTATED DECOMMISSIONING MASTER TRUST       ODDO & CIE AS SUCCESSOR TO BANQUE           OPPORTUNITY PARTNERS LP
NO. 2 FOR THE SOUTH TEXAS PROJECT, NRG      D'ORSAY                                     OPTION OPPORTUNITIES COMPANY
ENERGY, CURRENT TRUSTEE                     OFI INSTITUTIONAL LARGE CAP CORE INDEX      OPTIONSXPRESS, INC.
NSP-MINNESOTA PRAIRIE I RETAIL QUALIFIED    FUND, LLC                                   OPUS TRADING FUND LLC
TRUST, CURRENT TRUSTEE                      OFIPI MAIN STREET SELECT STRATEGY           OPUS TRADING FUND LLC - BBX
NSP-MINNESOTA RETAIL PRAIRIE II QUALIFIED   OGDEN CAP ASSOCIATES, LLC                   ORDER OF FELICIAN SISTERS CS NT OF ST
TRUST, CURRENT TRUSTEE                      OGLE B & J TNTS-COM VALUE-CUST              FRANCIS
NSP-MONTICELLO MINNESOTA RETAIL             OHANA LP                                    OREGON SHEET METAL WORKERS MASTER
QUALIFIED TRUST, CURRENT TRUSTEE            OHIO BUREAU OF WORKERS' COMPENSATION        RETIREMENT TRUST, CURRENT TRUSTEE
NT COLLECTIVE RUSSELL 1000 VALUE INDEX      OHIO CARPENTERS INDEX                       ORPHEUS TRUST, ROBERT LEBERMAN, TRUSTEE
FUND - LENDING                              OHIO CARPENTERS' PENSION PLAN A/K/A OHIO    OSBORNE INTERIM TRUST DTD 2/7/02,
NT COLLECTIVE S&P 500 INDEX FUND LENDING    CARPENTERS' PENSION FUND                    CURRENT TRUSTEE
NT COLLECTIVE S&P 500 INDEX FUND NON        OHIO MEATPACKERS, MEATCUTTERS, AND          OTTO J KOCH TRUST U/A DTD NOV 18 1992,
LENDING                                     BUTCHER WORKMEN PENSION FUND (UFCW          OTTO J KOCH, TRUSTEE
NT COLLECTIVE US MARKETCAP EQUITY INDEX     LOCAL 911)                                  OVERLOOK CAPITAL LLC
FUND - LENDING                              OHIO NATIONAL FUND, INC. BLUE CHIP FUND     P & K BISSINGER REV TRUST, PAUL A.
NTCC ADVISORS FUNDS FOR EMPLOYEE            (STRATEGIC VALUE PORTFOLIO)                 BISSINGER, JR., KATHLEEN B. BISSINGER,
BENEFIT TRUST, THE NORTHERN TRUST           OHIO NATIONAL FUND, INC. S&P 500 INDEX      TRUSTEES
COMPANY OF CONNECTICUT, TRUSTEE             OHIO PUBLIC EMPLOYEES RETIREMENT SYSTEM     P KENT THRUSH MD KEOGH TR, PETER KENT
NTCC CHANNING MID CAP VALUE AFEBT           OHLSON ENTERPRISES                          THRUSH, TRUSTEE
NTCC CHANNING MID CAP VALUE SUDAN FREE      OKABENA US CORE EQUITY FUND, LLC            P L SANKEY
FUND AFEBT                                                                              PACIFIC SELECT FUND - EQUITY INDEX
                                            OLGA L BUENZ MARITAL TRUST 2 U/A DTD
NTGI-QM COLLECTIVE DAILY QUANT INDEX PAN    10/1/2003, JOHN B BUENZ, TRUSTEE            PORTFOLIO
S&P 500 EQUITY FUND - LENDING                                                           PACIFICORP (OTHER TRUSTS), FRANK
                                            OLIFANT FUND LTD.
NTGI-QM COLLECTIVE DAILY S&P 500                                                        BURKHARTSMEYER, TRUSTEE
                                            OLIN CORPORATION PENSION PLANS MASTER
CITIGROUP/VALUE EQUITY INDEX FUND -                                                     PACKAGE DEVELOPMENT CORP.
                                            RETIREMENT TRUST, CURRENT TRUSTEE
LENDING
                                            OLIVIA JEAN WILLIAMS, INDIVIDUALLY AND AS   PACTIV CORPORATION
NTGI-QM COLLECTIVE DAILY S&P 500 SPECIAL
                                            BENEFICIARY OF OLIVIA JEAN WILLIAMS IRA     PALISADES PARTNERS LP
PURPOSE EQUITY INDEX FUND - LENDING
                                            ROLLOVER AND OLIVIA JEAN WILLIAMS IRA       PALMER HOME FOR CHILDREN SCHOLARSHIP
NTGI-QM COLLECTIVE DAILY US MARKET CAP      ROLLOVER DTD 12/19/97                       ENDOWMENT ACCOUNT
EQUITY SPECIAL PURPOSE INDEX FUND -
                                            OMA OPA LLC                                 PALOMA SECURITIES LLC
LENDING
                                            OMAR F. JOHNSON, JR.                        PAMELA KAY PEAVY BRANDT TRUST UAD
NTGI-QM COMMON DAILY LABOR SELECT
                                            OMERS ADMINISTRATION CORP                   12/30/1983, JOHN PEAVY III, TRUSTEE
RUSSELL 3000 EQUITY INDEX FUND - LENDING
                                            OMERS/AACP INVESTORS II, LP                 PAMELA S. LINDBERG, AS BENEFICIARY OF THE
NTGI-QM COMMON DAILY RUSSELL 1000
                                            OMIMEX INVESTMENTS, LLC                     ESTATE OF ALFRED C. GLASSELL JR.
VALUE EQUITY INDEX FUND - LENDING
                                            OMNI, MATCHED BOOK CORPORATES               PANDION II CHARITABLE REMAINDER
NTGI-QM COMMON DAILY S&P 500 EQUITY
                                            OMNI, QVT MAN ACCT                          UNITRUST U/A DTD 12/22/2005, PETER R.
INDEX FUND - LENDING
                                            OMS SUBSID 2 LTD.                           BRINCKERHOFF, TRUSTEE
NTGI-QM COMMON DAILY S&P 500 EQUITY
                                            ONEBEACON AMERICA INSURANCE CO.             PANDORA SELECT PARTNERS, LP
INDEX FUND - NON LENDING
                                            ONEBEACON INSURANCE                         PANOS ENTERPRISES INC ETAL PSP & RET PL
NTGI-QM COMMON DAILY US MARKETCAP
                                            ONEBEACON INSURANCE COMPANY                 U/A DTD 12/31/1973, STEVE PANOS, TRUSTEE
EQUITY INDEX FUND - LENDING
                                            ONEBEACON INSURANCE PENSION PLAN A/K/A      PAPER PRODUCTS, MISCELLANEOUS
NTGI-QM COMMON MONTHLY QUANT INDEX
                                            ONEBEACON PENSION PLAN                      CHAUFFEURS, WAREHOUSEMEN, HELPERS,
PLUS S&P 500 EQUITY FUND - NON LENDING
                                            ONEBEACON INSURANCE SAVINGS PLAN            MESSENGERS, PRODUCTION AND OFFICE
NTGI-QM LABOR SELECT COLLECTIVE DAILY
                                                                                        WORKERS LOCAL 27 PENSION FUND
RUSSELL 3000 EQUITY INDEX FUND - LENDING    ONEBEACON INSURANCE SAVINGS PLAN -
                                            EQUITY 401K                                 PARK AVE INVESTMENT SERVICES PLG
NUANCE COMMUNICATIONS, INC. F/K/A
                                            ONEBEACON INSURANCE SAVINGS PLAN -          PARK NATIONAL CORPORATION
DICTAPHONE CORPORATION
                                            FULLY MANAGED                               PARKER S GATES IR TRUST, BANK OF AMERICA,
NUCLEAR ELECTRIC INSURANCE LIMITED
                                            ONKAR SINGH NARULA IRA ROLLOVER FIDELITY    N.A., TRUSTEE
NUVEEN EQUITY INDEX FUND
                                            MANAGEMENT TRUST CO CUST
                                                               29

2855453.1
                 Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 235 of 255
PAROCHIAL EMPLOYEES RETIREMENT SYSTERM        PAUL M MEISTER 2005 REVOCABLE TRUST U/A     PERRY COUNTY DENTAL GROUP INC FBO
LOUISIANA                                     10/20/05, PAUL M MEISTER, TRUSTEE           LAWRENCE NASH PEN TRUST U/A DTD 10-01-
PARTNERS GROUP ALTERNATIVE STRATEGIES         PAUL M. MAHONEY, PAUL P. MAHONEY TRUST      2006, R.G. HAGY, TRUSTEE
PCC LTD                                       DTD 12/28/1978, PAUL M. MAHONEY, TRUSTEE    PERRY LOUISE LANE AND RICHARD EUGENE
PARTNERS GROUP ALTERNATIVE STRATEGIES         PAUL PAI AND HELENA PAI JT TEN              LANE
PCC LTD – BLACK VEGA CELL                     PAUL R GERKEN                               PERRY PARTNERS L.P.
PARTNERS GROUP ALTERNATIVE STRATEGIES         PAUL SCHINDLER IRRA, MERRILL LYNCH,         PERSHING LLC
PCC LTD – GREY DELTA CELL                     PIERCE, FENNER & SMITH, CUSTODIAN FPO       PERSHING SECURITIES LTD
PARTNERS GROUP ALTERNATIVE STRATEGIES         PAUL W MORRIS IRA, FCC, CUSTODIAN           PETER A BARBER
PCC LTD – YELLOW VEGA CELL                    PAUL W. DILLON GRANDCHILDREN'S TRUST        PETER A NIELSEN
PAT S PHELPS 1935 TRUST FBO RS PHELPS,        DATED 12/6/41 FBO PAUL D. GODDARD, THE      PETER A YOUNG
CURRENT TRUSTEE                               NORTHERN TRUST COMPANY, TRUSTEE             PETER ARNELL AND SARA ARNELL
PATIENCE HUMPHREY                             PAULA L. CURRIE IRA R/O, AMERIPRISE TRUST   PETER C LARDNER
PATRICIA CALLAHAN THRAPP IRA, FIDELITY        COMPANY ACF                                 PETER C LARDNER TRUST DATED 08/06/91,
MANAGEMENT TRUST CO CUST                      PAULA MILLER TRIENENS TRUST DATED 9-18-     PETER C LARDNER, TRUSTEE
PATRICIA CROWE WARREN RESIDUARY TRUST         91, HOWARD J. TRIENENS AND THE NORTHERN     PETER C SCRIVNER & ELLEN M SCRIVNER
NO. 2, SUSAN BABCOCK, JEFFREY CHANDLER,       TRUST COMPANY, TRUSTEES                     PETER DEAN GRUMHAUS GIFT TRUST, KRISTIN
CAMILLA CHANDLER FROST, ROGER GOODAN,         PAULA STANDLEY                              W BRENNAN, TRUSTEE
WILLIAM STINEHART, JR., JUDY C. WEBB,         PAULEY LIVING TRUST U/A DTD 09/23/1988,     PETER F HOWE TRUST U/A DTD 11-20-95,
WARREN B. WILLIAMSON, TRUSTEES                STEPHEN AND MARYLYN PAULEY, TRUSTEES        PETER F HOWE, TRUSTEE
PATRICIA FULTON EEK REV TRUST U/A DTD         PAVERS & ROAD BUILDERS PENSION FUND         PETER G. LAGEN
09/25/1987, NATHANIEL SISSON EEK, TRUSTEE     PCRG A/C FOR XXXX2645                       PETER J FERNALD TRUST U/A 1/13/92, PETER J
PATRICIA I WALSH                              PCRG A/C FOR XXXX2646                       FERNALD, TRUSTEE
PATRICIA J SHAND                              PCRG FUND I, LLC                            PETER JADROSICH IRA NATIONAL FINANCIAL
PATRICIA J SMITH, MSSB, CUSTODIAN             PEAK 6 PERFORMANCE MGMNT LLC                SERVICES LLC/FIDELITY MANAGEMENT TRUST
PATRICIA L. STEWART F/K/A PATRICIA STEWART    PEAK6 INVESTMENTS A/C 8PK PEAK6 ADVISORS    CO, CUSTODIAN
HAYES                                         PEAK6 PERFORMANCE MANAGEMENT LLC            PETER KNAPP AND JENNIFER KNAPP
PATRICIA S. PHELPS 1935 TRUST FBO CYNTHIA     PEAPACK GLADSTONE BANK                      PETER KOCH
L. PHELPS, JAMES C. WALDO, TRUSTEE            PEARL F SCHALLER TRUST U/W, HARRY D.        PETER R MARINO IRA ROLLOVER, CHARLES
PATRICIA S. PHELPS 1935 TRUST FBO NINA P.     SCHALLER, TRUSTEE                           SCHWAB & CO INC, CUSTODIAN
GORNY, JAMES C. WALDO, TRUSTEE                PEARL LAWRENCE REVOCABLE TRUST UA MAR       PETER RIZZO AND KIMBERLY RIZZO
PATRICIA S. PHELPS 1935 TRUST FBO STEWART     30, 1990, PEARL LAWRENCE, TRUSTEE           PETER W. KING
PHELPS, JAMES C. WALDO, TRUSTEE               PECARO FAMILY TRUST DTD 04-12-02, DANIEL    PG&E POSTRETIREMENT MEDICAL PLAN TRUST,
PATRICIA SORM, MS&CO, CUSTODIAN               D PECARO AND OFELIA R PECARO, TRUSTEES      THE BANK OF NEW YORK MELLON, TRUSTEE
PATRICIA W BERNHARDT                          PENINSULA MOTOR CARS INC                    PG&E QUAL CPUC NDT PARTNERSHIP
PATRICK G RYAN                                PENNSYLVANIA GENERAL INSURANCE CO.          PHILIP B CHASE REVOCABLE TRUST, U/A/D
PATRICK H. DOHERTY III                        PENNSYLVANIA MUNICIPAL RETIREMENT           07/28/94, CHASE L LEAVITT, TRUSTEE
PATRICK J SLOYAN IRA ROLLOVER FIDELITY        SYSTEM                                      PHILIP B DOHERTY TRUST U/A DTD 04/28/2000,
MANAGEMENT TRUST CO CUST                      PENNSYLVANIA PUBLIC SCHOOL EMPLOYEES        PHILIP B. DOHERTY, TRUSTEE
PATRICK J. MCGLINN IRA, PATRICK J. MCGLINN,   RETIREMENT SYSTEM                           PHILIP B LLOYD CAMBRIDGE SAVINGS BANK
RBC DAIN RAUSCHER, CUSTODIANS                 PENSIOENFONDS HORECA & CATERING             PHILIP CHANDLER RESIDUARY TRUST NO. 2,
PATRICK L OCONNOR R/O IRA, FCC, CUSTODIAN     PENSION COMMINGLE FUND, SUMITOMO            SUSAN BABCOCK, JEFFREY CHANDLER, CAMILLA
PATRICK M. SCHLEDER AND CHRISTINE S           MITSUI TRUST BANK, LIMITED, TRUSTEE         CHANDLER FROST, ROGER GOODAN, WILLIAM
SCHLEDER                                      PENSION FUND ASSOCIATION FOR LOCAL          STINEHART, JR., JUDY C. WEBB, WARREN B.
PATRICK MOONEY TRAD IRA, WFBNA,               GOVERNMENT OFFICIALS                        WILLIAMSON, TRUSTEES
CUSTODIAN                                     PENSION FUND OF THE CHRISTIAN CHURCH        PHILIP H SLESUR AND DAVID P SLESUR JT TEN
PATRICK S MAGUIRE TRUSTMARK SERVICES CO       (DISCIPLES OF CHRIST)                       PHILIP HALPIN
PLAN FBO, FIDELITY MANAGEMENT TRUST CO,       PENSION FUND OF THE INTL UNION OF           PHILIP HULSIZER AND MARY HULSIZER
TRUSTEE                                       OPERATING ENGRS LCL 14-14B                  PHILIP S STYLIANOS
PATRICK T. HACKETT AND JANIENNE HACKETT       PENSION RESERVES INVESTMENT TRUST FUND,     PHILIP V MANN
PATTON ALBERTSON                              PENSION RESERVES INVESTMENT                 PHILIPS ELECTRONICS N.A. CORP MASTER
PAUL C ROMANAZZI JR.                          MANAGEMENT BOARD, TRUSTEE                   RETIREMENT TRUST, CURRENT TRUSTEE
PAUL C. KONRAD AND KIRSTEN KONRAD             PENSION TRUST FUND LOCAL UNION #27,         PHILLIP W GREER IRA, FIDELITY MANAGEMENT
PAUL D BORMAN                                 CURRENT TRUSTEE                             TRUST CO CUST
PAUL F. GISSEL ATLANTIC TRUST ACCOUNT,        PENSIONSKASSE SYNGENTA                      PHOEBE P BENDER
CURRENT TRUSTEE                               PENTWATER CREDIT PARTNERS FUND LTD          PHYLLIS G ROTH
PAUL G EITNER                                 PENTWATER GROWTH FUND LTD                   PHYLLIS M ANDERSON IRA, AMERIPRISE TRUST
PAUL H DEAN MARITAL TRUST A, SHIRLEY H        PEOPLE'S BENEFIT LIFE TEAMSTERS ACCOUNT     COMPANY, CUSTODIAN
DEAN & STACY DEAN YOCHUM, TRUSTEES            PEOPLES BENEFIT LIFE TEAMSTERS DVP          PHYLLIS W FAGIN TRUST U/A DTD 6/2/95,
PAUL H DEAN RESIDUARY TRUST B U/A DTD         ACCOUNT                                     DEBRA F MASCHINO, TRUSTEE
12/07/89, SHIRLEY H DEAN AND STACY DEAN       PEOPLES SECURITIES INC                      PHYSICAL, INDEX ARB EXCH FOR IDA KIERAN
YOCHUM, TRUSTEES                              PEPPERDINE UNIVERSITY                       KILKENNY BRYAN CROSS
PAUL HARVEY AURANDT TRUST UA 11/13/90         PEQUOT CREDIT OPPORTUNITIES FUND LP         PICTET & CIE
M-B, CURRENT TRUSTEE                          PEQUOT DIVERSIFIED MASTER FUND, LTD.        PICTET & CIE (EUROPE) S.A. LUXEMBOURG
PAUL I COHEN                                  PERCEVAL INVESTMENT PARTNERS P, L.P.        PIM EQUITY AVERAGE PRICE ACCT
PAUL J. KENKEL                                PERMAL TB VALUE LTD.                        PINES EDGE VALUE INVESTORS LP
PAUL KUAI YU LEONG

                                                                 30

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 236 of 255
PINNACLE HEALTH SYSTEM BOARD                 PRINCETON THEOLOGICAL SEMINARY             PUTNAM LOVELL NBF SECURITIES INC
DESIGNATED LCV                               PRINCIPAL FUNDS INC-LARGECAP BLEND FUND    PUTNAM S&P 500 FUND
PINNACLE HEALTH SYSTEM PENSION PLAN          II                                         PUTNAM S&P 500 INDEX FUND, PUTNAM
PIPEFITTERS LOCAL 274 ANNUITY                PRINCIPAL VARIABLE CONTRACTS FUNDS INC.-   FIDUCIARY TRUST COMPANY, TRUSTEE
PIPEFITTERS LOCAL 274 PENSION FUND           LARGE CAP BLEND ACCOUNT II                 PVA-3233/RHUMBLINE ADVISORS
PITNEY BOWES, INC.                           PRISCILLA G POWELL LVG TRUST U/A DTD       Q4 PARTNERS LP
PITT COUNTY MEMORIAL HOSPITAL                4/25/97, PRISCILLA G POWELL, TRUSTEE       QC CO.
PITTMAN TRUST, RIDGE PITTMAN, TRUSTEE        PRISM PARTNERS I, L.P.                     QCM ABSOLUTE RETURN FUND
PJM CHARITABLE FOUNDATION INC                PRISM PARTNERS II OFFSHORE FUND            QUANTITATIVE MASTER SERIES LLC F/K/A
PL PIERCE SURVIVING SPS'S TRUST DTD 09-17-   PRISM PARTNERS III LEVERAGED LP            QUANTITATIVE MASTER SERIES TRUST (MASTER
2005, PL PIERCE, TRUSTEE                     PRISM PARTNERS IV LEVERAGED OFFSHORE       S&P 500 INDEX SERIES), CURRENT TRUSTEE
PLAN B TRUSTEES LIMITED                      FUND                                       QUENTIN KUENZLI ADMIN TR, ERMAGARD E.
PLATINUM GROVE CONTINGENT CAPITAL            PRISM PARTNERS OFFSHORE FUND               KUENZLI, TRUSTEE
MASTER FUND LTD.                             PRO SHARES ULTRA S&P 500                   QUIET LIGHT SECURITIES, LLC
PLEASANT T. ROWLAND REVOCABLE TRUST,         PRODUCER-WRITERS GUILD OF AMERICA          QUINN MARTIN DOLAN
RHONA VOGEL, TRUSTEE                         PENSION TRUST/PENSION PLAN, MICHAEL        QUIXOTE CAPITAL MANAGEMENT LLC
PLEIADES INVESTMENT PARTNERS - G, L.P.       KOLLER, TRUSTEE                            QUIXOTE CAPITAL PARTNERS LP
PLEIADES TRUST, ROBERT LEBERMAN, TRUSTEE     PROGRESS COMMON TRUST, BEVERLY PASLEY-     QUIXOTE FOUNDATION
PLM FOUNDATION TRUST, PHILIP L. MILSTEIN &   HARRISON, TRUSTEE                          QVT FUND LP
CHERYL G. MILSTEIN, TRUSTEES                 PROGRESS ENERGY INC.                       QVT FUND LP AND QUINTESSENCE FUND L.P.
PLUMBERS & PIPEFITTERS LOCAL 123 PENSION     PROGRESS ENERGY SERVICE CO                 QWEST DEFINED BENEFIT/DEFINED
LCV                                          PROGRESS ENERGY, INC. MASTER               CONTRIBUTION MASTER TRUST, CURRENT
PLUMBERS & PIPEFITTERS NATIONAL PENSION      DECOMMISSIONING TRUST - BRUNSWICK UNIT     TRUSTEE
FUND                                         NO. 1 QUALIFIED FUND - EQUITY, PROGRESS    QY7 JOINT ACCOUNT (G-BAR LIMITED
PLUMBERS AND PIPEFITTERS LOCAL 501 F/K/A     ENERGY SERVICE COMPANY, TRUSTEE            PARTNERSHIP)
PLUMBERS AND PIPEFITTERS LOCAL 507           PROGRESS ENERGY, INC. MASTER               R AND E VANDER MEER 95 REV TRUST, R
PLUMBERS LOCAL 101 PEN PLAN                  DECOMMISSIONING TRUST - BRUNSWICK UNIT     VANDER MEER, TRUSTEE
PLUMBERS LOCAL UNION NO. 519 PENSION         NO. 2 QUALIFIED FUND - EQUITY, PROGRESS    R CHARLES RASHID II
FUND                                         ENERGY SERVICE COMPANY, TRUSTEE            R DANIEL SOULES
PME GLOBAL VALUE                             PROGRESS ENERGY, INC. MASTER               R F FOUNDATION
PNC BANK NATIONAL ASSOCIATION                DECOMMISSIONING TRUST - HARRIS UNIT NO.
                                                                                        R JAMES MACALEER
                                             1 QUALIFIED FUND - EQUITY, PROGRESS
PNC BANK, NATIONAL ASSOCIATION F/K/A                                                    R K MELLON CTF #3
                                             ENERGY SERVICE COMPANY, TRUSTEE
BANK OF LANCASTER COUNTY NA                                                             R OSBORNE UAD 10/10/2006, RICHARD C
                                             PROGRESS ENERGY, INC. MASTER
POLICEMEN'S ANNUITY AND BENEFIT FUND OF                                                 OSBORNE, TRUSTEE
                                             DECOMMISSIONING TRUST - ROBINSON UNIT
CHICAGO                                                                                 R. DEAN JOLLAY, JR
                                             NO. 2 QUALIFIED FUND - EQUITY, PROGRESS
POLLY H. HOWELLS                                                                        R. J. BROOKS COMMUNITY PROPERTY TRUST,
                                             ENERGY SERVICE COMPANY, TRUSTEE
POLLY H. WERTHMAN IRREVOCABLE TRUST UA,                                                 THE NORTHERN TRUST COMPANY, TRUSTEE
                                             PROGRESSIVE CASUALTY INSURANCE -
BANK OF AMERICA, N.A. AND PIERCE ATWOOD                                                 R. KENT ERICKSON
                                             PROGRESSIVE-HALCYON INS CO
LLP, TRUSTEES                                                                           R. MARK MALLORY 401(K) SAVINGS PLAN
                                             PROSPECTOR PARTNERS LLC
POND VIEW CREDIT (MASTER) LP - TRADI                                                    R. MARK MALLORY, R. MARK MALLORY TRUST
                                             PROSPECTOR SUMMIT FUND, L.P.
POOL WIOF U.S. VALUE EQUITY                                                             U/A DTD 12/30/1999, R. MARK MALLORY,
                                             PROXY GOVERNANCE, INC. - JMR&MCG/DE8
PORTER ORLIN LLC F/K/A PORTER, FELLEMAN,                                                TRUSTEE
                                             PRUDENTIAL INVESTMENT MANAGEMENT, INC.
INC.                                                                                    RABO CAPITAL SERVICES, INC.
                                             PRUDENTIAL INVESTMENT PORTFOLIOS 3
PORTFOLIO STRATEGIES INCORPORATED                                                       RADHARANI GUPTA
                                             (PRUDENTIAL STATEGIC VALUE FUND)
POSEN FAMILY LIMITED PARTNERSHIP                                                        RADIOLOGY CONSULTANTS PC 401K
                                             PRUDENTIAL INVESTMENT PORTFOLIOS 8 -
POSER INVEST INC RET TRUST UAD 09/29/1995,                                              RAE F PATTERSON SELF TRUST, RAE F
                                             PRUDENTIAL STOCK INDEX FUND F/K/A
WALTER L POSER, TRUSTEE                                                                 PATTERSON, TRUSTEE
                                             DRYDEN INDEX SERIES FUND
POWER AUTHORITY OF THE STATE OF NEW                                                     RAFAEL ORDONEZ REVOCABLE LIVING TRUST
                                             PRUDENTIAL INVESTMENT PORTFOLIOS 8
YORK                                                                                    DTD. JUNE 9, 2009, RAFAEL A. ORDONEZ,
                                             (PRUDENTIAL STOCK INDEX FUND)
POWERSHARES BUYBACK ACHIEVERS                                                           TRUSTEE
                                             PRUDENTIAL INVESTMENTS LLC
PORTFOLIO, A SERIES OF POWERSHARES                                                      RAFI GLOBAL EQUITY FUND
                                             PRUDENTIAL PENSIONS LIMITED
EXCHANGE TRADED FUND TRUST                                                              RALPH D. LOWENSTEIN JR
                                             PRUDENTIAL RETIREMENT INSURANCE AND
POWERSHARES FTSE RAFI CONSUMER                                                          RALPH GOETTING JR
                                             ANNUITY COMPANY
SERVICES SECTOR PORTFOLIO                                                               RALPH H GIBSON AND MARY E JUNCK
                                             PRUDENTIAL RETIREMENT SA LV5 LCV
POWERSHARES FTSE RAFI US 1000 PORTFOLIO,                                                RALPH LOUCKS TRUST, RALPH B LOUCKS,
A SERIES OF POWERSHARES EXCHANGE             PSP FOREIGN EQUITY FUND
                                             PTR FOUNDATION                             TRUSTEE
TRADED FUND TRUST                                                                       RALPH W GOETTING JR 2000 TRUST, RALPH W
PRADEEP MEHRA & BHAVIKA MEHRA                PUBLIC EMPLOYEE RETIREMENT SYSTEM OF
                                             IDAHO                                      GOETTING JR, TRUSTEE
PRAMOD J. SHAH                                                                          RALPH W GOETTING JR ROLLOVER IRA, TD
PRESSMAN'S PUBLISHERS PENSION FUND           PUBLIC EMPLOYEES RETIREMENT ASSOCIATION
                                             OF NEW MEXICO                              AMERITRADE INC, CUSTODIAN
PRIAC FUNDS                                                                             RAMACHANDRA N KURUP IRA ROLLOVER,
                                             PUBLIC EMPLOYEES RETIREMENT SYSTEM OF
PRIDEAUX-BRUNE TRUST UA 07 17 87,                                                       FIDELITY MANAGEMENT TRUST CO CUST
                                             NEVADA
ROWLAND & GENEVIEVE PRIDEAUX-BRUNE,                                                     RAMIRO BARRERA III
TRUSTEES                                     PUBLIC SCHOOL TEACH PEN RE
                                             PUBLIC SCHOOL TEACHERS' PENSION AND        RAMIUS SECURITIES, LLC
PRIME ANN L DECD TRUST U/W RES TR,                                                      RAMONA G HOWARD LIV TRUST U/A 1/18/96,
CURRENT TRUSTEE                              RETIREMENT FUND OF CHICAGO
                                             PUBLIC SECTOR PENSION INVESTMENT BOARD     RAMONA G HOWARD, TRUSTEE
PRIMEVEST FINANCIAL SERVICES, INC.                                                      RAMONA R DIAZ AND BONITA DIAZ
                                                                31

2855453.1
                 Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 237 of 255
RANDALL GLENN PIANT AND JULIE ANN PIANT      RED GIANTS PRODUCTIONS INC                   RICHARD & GAYLE LANDUYT TRUST U/A DTD
RANDALL M TOIG MD TR, RANDALL M TOIG         REDACTED AT REQUEST OF OFFICE OF TEXAS       11/16/1991, G LANDUYT & R LANDUYT,
MD, TRUSTEE                                  ATTORNEY GENERAL                             TRUSTEES
RANJIT MATHODA                               REDBOURN PARTNERS LTD                        RICHARD A GREENWOOD IRA SEPP, THE
RANSON WEBSTER AND NORMA WEBSTER             REDWOOD MASTER FUND LTD                      NORTHERN TRUST COMPANY, CUSTODIAN
RAPPAPORT FAMILY TRUST U/A DTD               REED ELSEVIER US RETIREMENT PLAN             RICHARD A PITINO
06/04/1992, NANETTE ROSENBERG, MARJORIE      REFORM PENSION BOARD LCV                     RICHARD A. ASNT-PAYNE
ROZMAN, TRUSTEES                             REGENCE BLUE CROSS/BLUE SHIELD OF            RICHARD A. FORSYTHE REVOCABLE TRUST UA
RAY A. ANDERSON IRA, FCC, CUSTODIAN          OREGON                                       DATED JANUARY 22, 1985, RICHARD A.
RAYMOND & ANNA SCHROER TRUST U/A DTD         REGENCE BLUESHIELD                           FORSYTHE, TRUSTEE
09/28/2006, ANNA B SCHROER, SUSAN F          REGENTS OF THE UNIVERSITY OF MICHIGAN        RICHARD ASKIN AND CAROL ASKIN, ASKIN
FREDERICK, TRUSTEES                          REGENTS OF UNIVERSITY OF CALIFORNIA          FAMILY TRUST U/A DTD 09/27/1990, RICHARD
RAYMOND A ECKHART AND MARGARET E             REGIONS BANK                                 ASKIN, CAROL ASKIN, TRUSTEES
ECKHART JT TEN                               REGIONS MORGAN KEEGAN SELECT MID CAP         RICHARD B. COHEN REVOCABLE TRUST,
RAYMOND A. UZANAS CGM ROTH                   VALUE FUND                                   RICHARD B. COHEN, TRUSTEE
CONVERSION IRA, STATE STREET BANK AND        REHABILITATION HOSPITAL OF THE PACIFIC DEF   RICHARD BURRELL MADDOX IRA, TD
TRUST COMPANY, CUSTODIAN                     BEN PENS PL                                  AMERITRADE CLEARING, CUSTODIAN
RAYMOND DELESCAILLE                          REICHHOLD, INC. (REICHHOLD CHEMICALS INC.)   RICHARD C. FREEDMAN AND LYNDA M.
RAYMOND E JANCZAK IRA NATIONAL                                                            FREEDMAN
                                             RELATIVE VALUE LTD - HIGHBRIDGE EVENT
FINANCIAL SERVICES LLC/FIDELITY              DRIVEN                                       RICHARD COOLEY AND BERNADETTE COOLEY
MANAGEMENT TRUST CO, CUSTODIAN               RELIANCE TRUST CO.                           RICHARD D DUDLEY
RAYMOND F FALK                               REMPEL BROTHERS                              RICHARD DARDEN
RAYMOND GENE NOVELLY                         RENAISSANCE FUND ADVISORS                    RICHARD DEAN LEWIS AND CAROLYN LEE LEWIS
RAYMOND GENE NOVELLY SEPP IRA FIDELITY       RENATE J. TUCKER REVOCABLE LIVING TRUST,     RICHARD ENGBERG AND DOROTHY ENGBERG
MANAGEMENT TRUST CO CUST                     RENATE J. TUCKER, TRUSTEE                    RICHARD ERNST AND LORRAINE ERNST
RAYMOND J ALLEN LIVING TRUST U/A DTD         RENEE E CASTELLUZZO TRUST U/A DTD            RICHARD G BROWN
06/06/88, RAYMOND J ALLEN, TRUSTEE           01/14/2000, RENEE E CASTELLUZZO, TRUSTEE     RICHARD GERING
RAYMOND J MCCUTCHEON                         RENEE H MILLER LIVING TRUST U/A DTD          RICHARD H COPP REV LIV TRUST U/A DTD
RAYMOND J MCCUTCHEON AND AUDREY E            12/13/97, RENEE H MILLER, TRUSTEE            03/25/92, RICHARD H COPP, TRUSTEE
MCCUTCHEON                                   RENEE H. MILLER LIVING TRUST, RENEE H        RICHARD H SCHWAMB
RAYMOND J STANCY IRA ROLLOVER, CHARLES       MILLER, TRUSTEE                              RICHARD H. RICCIARDI & CHER DELLIN
SCHWAB & CO INC, CUSTODIAN                   REPUBLIC BANK AND TRUST CO.                  RICCIARDI
RAYMOND JAMES & ASSOCIATES INC               RESIDUARY TRUST B-2 UNDER THE 1986           RICHARD HAIGLER
RAYMOND JOHN FRANK REVOCABLE TRUST UA        SANDRETTI LIVING TRUST, RONALD A.            RICHARD J HOFFMAN
03/07/00, RAYMOND JOHN FRANK, TRUSTEE        SANDRETTI, TRUSTEE                           RICHARD J ORTHWEIN REV TRUST DTD 3/13/01,
RAYMOND M LUTHY TRUST, ELAINE A LUTHY,       RETIREMENT PROGRAM PLAN FOR EMPLOYEES        C/O RICHARD J ORTHWEIN OR CURRENT
TRUSTEE                                      OF CERTAIN EMPLOYERS AT THE U.S.             TRUSTEE
RAYMOND R COFFEY TRAD IRA JPMORGAN           DEPARMENT OF ENERGY FACILITIES AT OAK        RICHARD J WOODY IRA, RAYMOND JAMES &
CHASE BANK CUST                              RIDGE, TENN.                                 ASSOCIATES, INC., CUSTODIAN
RAYMOND SALVATORE IRA ROLLOVER               RETIREMENT SYSTEM OF ALABAMA                 RICHARD J WOSTICK
ACCOUNT, PERSHING LLC, CUSTODIAN             REUBEN E CALOW LIVING TRUST UA 11/03/98,     RICHARD J. MOONEY IRA, FCC, CUSTODIAN
RAYTHEON MASTER PENSION TRUST (LARGE         BARBARA A CALOW, REUBEN E CALOW,             RICHARD JAMES BAMISH
CAP/LONG/SHORT/MARKET NEUTRAL),              TRUSTEES                                     RICHARD JOHN DEFOE
CURRENT TRUSTEE                              REV SHELDON COOPER INS TRUST U/A 4/25/67,    RICHARD KALLENBERGER AND NANCY
RB&W/GAMCO                                   SHELDON COOPER, MARY H. COOPER,              KALLENBERGER JT WROS
RBC CAPITAL MARKETS, LLC F/K/A FERRIS        TRUSTEES                                     RICHARD L GOLDSTEIN
BAKER WATTS, INC.                            REX L STURM IRA, RBC CAPITAL MARKETS,        RICHARD L. PHILLIPS
RBC CAPITAL MARKETS, LLC F/K/A RBC CAPITAL   CUSTODIAN                                    RICHARD M ADER
MARKETS CORPORATION                          REX L STURM TRUST DTD 7/15/99, REX L         RICHARD M VANDER MEER
RBC DEXIA INVESTOR SERVICES BANK S.A.        STURM, TRUSTEE                               RICHARD M VANDER MEER AND ELLEN J
RBC DISB/MIGROS AST US.                      REX LOGAN STURM, JR                          VANDER MEER
RBC DOMINION SECURITIES, INC.                REX R MULL AND NANCY B MULL                  RICHARD M. BASOCO AND CARYL W. BASOCO
RBC O'SHAUGHNESSY CANADIAN EQUITY FUND       REXNORD-ZURN HOLDINGS INC. MASTER            JT WROS
RBC O'SHAUGHNESSY U.S. VALUE FUND            TRUST                                        RICHARD MAK AND HOA AI TU
RBS CITIZENS N.A.                            RGM FOR GA MATTESON III 12/30/70 BANK OF     RICHARD MORABITO CGM IRA ROLLOVER,
RBS DEP SKANDIA SF US EQ FD QMA              AMERICA, N.A., TRUSTEE                       STATE STREET BANK AND TRUST COMPANY,
RBS SECURITIES INC.                          RHETA R. SMITH                               CUSTODIAN
RCCI MANAGEMENT, LLC                         RHETT BUTLER, AGENT                          RICHARD MOY IRA, MERRILL LYNCH, PIERCE,
RE GINNA NUCLEAR POWER PLANT LLC             RHS FAMILY PARTNERSHIP LTD                   FENNER & SMITH INCORPORATED, CUSTODIAN
MASTER DECOMMISSIONING TRUST,                RHUMBLINE S.A. FREE S&P INDEX                RICHARD O KEARNS REVOCABLE TRUST,
CONSTELLATION ENERGY NUCLEAR GROUP,          RIC DIVERSIFIED EQUITY                       RICHARD O. KEARNS AND THE NORTHERN
CURRENT TRUSTEE                              RICHARD & DESPINA HAIGLER LIVING TRUST UA    TRUST COMPANY, TRUSTEES
READER'S DIGEST ASSOCIATION INC.             11/04/91, RICHARD HAIGLER AND DESPINA        RICHARD P. SIMMONS
RETIREMENT PLAN                              HAIGLER, TRUSTEES                            RICHARD PANIAGUA
REBECCA B SANDA                              RICHARD & DIANE KUCERA TRUST U/A/D 03-23-    RICHARD R. SCHMALTZ
REBECCA VANDER VEEN                          2007, RICHARD A. KUCERA, DIANE A KUCERA,     RICHARD ROTT
RED DIAMOND PASS US EQ LTD-INV ADV           TRUSTEES                                     RICHARD RYAN, TRUSTEE OF RESERVATIONS
                                                                32

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 238 of 255
RICHARD S. CATALANO                          ROBERT C. NEWMAN AND JUDITH S. NEWMAN       ROBERT M WORSFOLD IRA ROLLOVER, FIDELITY
RICHARD T. GARRETT CGM IRA, STATE STREET     ROBERT C. PALMER IRA R/O, DELAWARE          MANAGEMENT TRUST CO CUST
BANK AND TRUST COMPANY, CUSTODIAN            CHARTER GUARANTEE & TRUST, CUSTODIAN        ROBERT M. KAHN CGM IRA ROLLOVER, STATE
RICHARD T. YU IRA, PERSHING LLC, CUSTODIAN   ROBERT CHASE                                STREET BANK AND TRUST COMPANY,
RICHARD T. YU, AMERITRADE INC, CUSTODIAN     ROBERT D H HARVEY                           CUSTODIAN
RICHARD TRIEST LVG TRUST U/A DTD 2-29-96,    ROBERT D SPARR                              ROBERT M. STEINER, ROTHSCHILD INVESTMENT
RICHARD R TRIEST, TRUSTEE                    ROBERT D. BOSAU DESIGNATED BENE             CORP. EMPLOYEE PROFIT SH PLAN DESIGNATED
RICHARD W WATTS IRA, FIRST CLEARING LLC,     PLAN/TOD                                    INV ACCT FBO
CUSTODIAN                                    ROBERT DISHON FAMILY TRUST, 1ST SOURCE      ROBERT M. TREBOUX
RICHARD W. MCINTOSH AND JENIFER B.           BANK, TRUSTEE                               ROBERT MOSBERG
BOOTH F/K/A JENIFER B. MCINTOSH              ROBERT E LA BLANC & ELIZABETH ANNE LA       ROBERT O'BRIEN, EXECUTOR U/W CHARLOTTE
RICHARD Y CHAO INTERESTS LTD                 BLANC FOUNDATION                            O'BRIEN
RICHMAN GREER PA 401K PROFIT SHARING         ROBERT E MATTHEWS AND DIANNE S              ROBERT PARRILLO TRUST, U/A DTD
PLAN                                         MATTHEWS                                    12/27/1990, ROBERT PARRILLO, TRUSTEE
RICHMOND CAPITAL MASTER FD LTD               ROBERT E. LA BLANC                          ROBERT R BLEND, BLEND DECEDENT'S TRUST,
RICHMOND ENHANCED CAPITAL LP                 ROBERT EDWARD BELLACK                       UAD 12/2/99, ROBERT R BLEND, THOMAS R
RICK L COLYER                                ROBERT EVANS                                BLEND, TRUSTEES
RIEF RMP LLC                                 ROBERT EVANS AND NANCY FEIGENBAUM           ROBERT R CULL TRUST U/A 1/14/98, ROBERT R
RIEF TRADING LLC                             ROBERT EVANS IRA                            CULL, TRUSTEE
RIP INVESTMENTS, LP                          ROBERT F FUSON IRA ROLLOVER, CHARLES        ROBERT R. MCCORMICK FOUNDATION
RISK FACIL 99: CLOSE/RISK - U.S. SHARES      SCHWAB & CO INC, CUSTODIAN                  ROBERT RAMSEY
PROGRAMS                                     ROBERT F. SHANNON                           ROBERT ROSENBERG TRUST U/A DTD
RIVERSOURCE ABSOLUTE RETURN FUND LLC         ROBERT F. WALSH AND GLORIA E. WALSH         11/02/1977, NANETTE ROSENBERG, MARJORIE
                                                                                         ROZMAN, TRUSTEES
RIVERSOURCE ABSOLUTE RETURN FUND LP          ROBERT FARRINGTON ROLLOVER ACCOUNT,
                                             PERSHING LLC, CUSTODIAN                     ROBERT S EVANS
RIVERSOURCE ENHANCED ABSOLUTE RETURN
                                             ROBERT G SCHLOERB TRUST DATED MAY 01 91,    ROBERT S LA MANTIA
RIVERSOURCE EQUITY INDEX BASE FUND
                                             ROBERT G SCHLOERB, TRUSTEE                  ROBERT S MORRISON, ROBERT S MORRISON
RIVERSOURCE LARGE CAP SERIES, INC.
                                             ROBERT G WITT IRA FIDELITY MANAGEMENT       2000 TRUST U/A/D 11/30/2000, ROBERT S
(COLUMBIA LARGE CAP INDEX FUND A/K/A
                                             TRUST CO CUST                               MORRISON, TRUSTEE
RIVERSOURCE DISCIPLINED EQUITY FUND)
                                             ROBERT G. SPECK                             ROBERT S SPLITHOFF TRUST U/A/D 05-27-1992,
RIVERSOURCE LARGE CAP SERIES, INC.
                                                                                         ROBERT S. SPLITHOFF, TRUSTEE
(COLUMBIA LARGE CORE QUANTITATIVE FUND       ROBERT H CARRIER IRA ROLLOVER, TD
F/K/A RIVERSOURCE LARGE CAP EQUITY FUND)     AMERITRADE CLEARING, CUSTODIAN              ROBERT S. GLEASON, SR.
RIVERSOURCE STRATEGIC ALLOCATION SERIES,     ROBERT H FARRINGTON MARITAL TRUST UAD       ROBERT V FATTIBENE AND MILDRED W
INC. (COLUMBIA STRATEGIC ALLOCATION FUND     09/05/05, ROBERT H FARRINGTON AND           FATTIBENE
F/K/A RIVERSOURCE STRATEGIC INCOME           ROBERT F FARRINGTON, TRUSTEES               ROBERT VANDEWATER CR SHEL TRUST U/W/O
ALLOCATION FUND)                             ROBERT H HARPER                             R VANDEWATER, ELIZABETH P VANDEWATER,
RIVERSOURCE VP – DYNAMIC EQUITY FUND                                                     NOEL DECORDOVA JR, TRUSTEES
                                             ROBERT H HUFFMAN III IRA, FIDELITY
RIVERSOURCE VP S&P 500 INDEX FUND            MANAGEMENT TRUST CO CUST                    ROBERT W & MARGARET A EDER REV LIVING
                                                                                         TRUST UA DTD 05/02/03, MARY MADDEN,
RMH INDEX FUND LLC                           ROBERT H HUFFMAN III REV TRUST U/A
                                                                                         TRUSTEE
ROBECO INSTITUTIONAL ASSET MANAGEMENT        3/12/90, ROBERT H HUFFMAN III, TRUSTEE
                                                                                         ROBERT W BAIRD CO. INC.
BV                                           ROBERT H TACKETT IRA, FCC, CUSTODIAN
                                                                                         ROBERT W HASKINS LIVING TR
ROBERT & EVELYN DEBES FAMILY TRUST UA        ROBERT J BROOKES TRUST U/A 3/10/87 FBO
9/30/85, ROBERT CARL DEBES, EVELYN MAURIC    ROBERT J BROOKES AND VALENTINE M            ROBERT W YOUNG
DEBES, TRUSTEES                              BROOKES, ROBERT J BROOKES, TRUSTEE          ROBERT WESLEY THORNBURGH FIDUCIARY
ROBERT & HANNAH CROOKS REV TRUST U/A         ROBERT J GUNTERBERG                         MGT. ASSOC. LLC 401K, KATHRYN VORISEK,
2/16/06, ROBERT W CROOKS, HANNAH C                                                       TRUSTEE
                                             ROBERT J KERR
CROOKS, TRUSTEES                                                                         ROBERT/LOIS ERBURU LIV TRUST U/A
                                             ROBERT J VARECHA
ROBERT & MILDRED HARRIS TRUST 7H-249,                                                    03/19/96, ROBERT F ERBURU, LOIS STONE
                                             ROBERT J WHITE TRUST U/A/D 06/16/99,
CLAUDIA HARRIS BROWN, TRUSTEE                                                            ERBURU, TRUSTEES
                                             ROBERT JOSEPH WHITE, TRUSTEE
ROBERT A GERNAND AND DIANA L GERNAND                                                     ROBERTSON FIVE, INC.
                                             ROBERT J. KUHN DECL OF TRUST DTD 4-6-92,
ROBERT A HABERMANN REVOCABLE TRUST                                                       ROBIN LLOYD
                                             THOMAS J. KUHN, TRUSTEE
U/A DTD 4/20/99, ROBERT A HABERMANN,                                                     ROBIN WOOD ORTHOPEDIC SPECIALISTS
                                             ROBERT J. LEONARD AND JANE E. LEONARD
TRUSTEE                                                                                  BENEFIT TRUST, CURRENT TRUSTEE
                                             ROBERT J. PASSANEAU
ROBERT A LANGE                                                                           ROBSON INTERESTS, LTD.
                                             ROBERT JOSEPH WHITE TRUST U/A/D 06/16/99,
ROBERT A STRUTZEL DECLR TRUST U/A                                                        ROBYN L. MOTLEY
                                             ROBERT J WHITE, TRUSTEE
9/28/04, ROBERT A STRUTZEL, TRUSTEE                                                      ROCCA LIMITED LIABILITY CO
                                             ROBERT K KRAFT
ROBERT A STRUTZEL IRA ROLLOVER, FIDELITY                                                 ROCK SOLID INVESTMENTS LLC
                                             ROBERT K. URBAIN AND JEANETTE C. URBAIN
MANAGEMENT TRUST CO CUST                                                                 ROCKWOOD INVESTMENT PARTNERS LP
                                             ROBERT KUHN
ROBERT A. FOX & ESTHER G. FOX                                                            RODMAN W. MOORHEAD, III
                                             ROBERT L MANUEL AND FRANCES E MANUEL
ROBERT A. SIMINS AND JAMIE A. SIMINS                                                     RODOLFO V GIL
                                             ROBERT L. DRUMMEY AND DORIANN C.
ROBERT B DOLD AND EILEEN C NORRIS            DRUMMEY ATBE                                ROGER BARE
ROBERT B GREENE JR TRUST U/A 11/06/86,       ROBERT L. FROELICH                          ROGER D ELLIOTT
ROBERT B GREENE JR, TRUSTEE                  ROBERT L. NEWTON CGM IRA, STATE STREET      ROGER GOODAN AND KRISTINE JONES
ROBERT C & NANCY LOBDELL FAMILY TRUST UA     BANK AND TRUST COMPANY, CUSTODIAN           GOODAN, A WASHINGTON MARITAL
08/20/96, NANCY LOBDELL, TRUSTEE                                                         COMMUNITY
                                             ROBERT L. OAKUM AND SUSANN OAKUM
ROBERT C VICKERS AND MARY T VICKERS                                                      ROGER H JOHNSON
                                             ROBERT M BERGER
ROBERT C. & LAURENA P. HUBER                                                             ROGER WILLIAMS UNV ED GROWTH EQ

                                                                33

2855453.1
                 Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 239 of 255
ROGERS F WORTHINGTON                          RUSSELL 3000 INDEX FUND COMMON TRUST          RYDEX ETF TRUST, RYDEX S&P 500 PURE VALUE
ROMANO BROTHERS & CO.                         FUND, STATE STREET BANK AND TRUST             ETF
ROMANS 85 LLC                                 COMPANY, TRUSTEE                              RYDEX ETF TRUST, RYDEX S&P EQUAL WEIGHT
RONALD CANN TRUST UAD 11-22-04, RONALD        RUSSELL 3000 INDEX NON-LENDING COMMON         CONSUMER DISCRETIONARY ETF
E. CANN, TRUSTEE                              TRUST FUND, STATE STREET BANK AND TRUST       RYDEX ETF TRUST, RYDEX S&P EQUAL WEIGHT
RONALD G HEIBER IRA, FCC, CUSTODIAN           COMPANY, TRUSTEE                              ETF
RONALD H. GALOWICH                            RUSSELL 3000 SCREENED INDEX NON-LENDING       RYDEX SERIES FUNDS, ABSOLUTE RETURNS
RONALD H. GALOWICH IRA R/O, DELAWARE          COMMON TRUST FUND, STATE STREET BANK          STRATEGIES FUND
CHARTER GUARANTEE & TRUST, CUSTODIAN          AND TRUST COMPANY, TRUSTEE                    RYDEX SERIES FUNDS, LARGE CAP VALUE FUND
RONALD J BOEHM                                RUSSELL E ATHA JR DONOR TRUST U/A DTD         RYDEX SERIES FUNDS, MULTI-HEDGE
RONALD L BORNHUETTER                          09/10/1999, RUSSELL E ATHA, CAROLEE ATHA,     STRATEGIES FUND
                                              TRUSTEES                                      RYDEX SERIES FUNDS, S&P 500 PURE VALUE
RONALD RETTAGLIATA AND BARBARA
RETTAGLIATA                                   RUSSELL EQUITY I FUND                         FUND
RONALD SHINDLER                               RUSSELL F STEPHENS JR TRUST U/A DTD           RYDEX VARIABLE TRUST, ABSOLUTE
                                              02/10/1992, RUSSELL F STEPHENS JR, TRUSTEE    STRATEGIES RETURN FUND
RONDA PURDY
                                              RUSSELL INVESTMENT COMPANY                    RYDEX VARIABLE TRUST, LARGE CAP VALUE
RONDRA MATTHEWS AND KEITH MATTHEWS
                                              RUSSELL INVESTMENT COMPANY DIVERSIFIED        FUND
RONIN CAPITAL LLC
                                              EQUITY FUND                                   RYDEX VARIABLE TRUST, MULTI-HEDGE
ROSALIE BECKENBAUGH
                                              RUSSELL INVESTMENT COMPANY PLC                STRATEGIES FUND
ROSANNE LEGANO IRA AMERIPRISE TRUST CO
                                              RUSSELL INVESTMENT GROUP                      RYDEX VARIABLE TRUST, S&P 500 PURE VALUE
ACF
                                              RUSSELL P KELLEY JR TRUST, RUSSELL P KELLEY   FUND
ROSE HANCOCK AND JIMMY HANCOCK ATBE
                                              JR, TRUSTEE                                   S & P 500 EQUITY INDEX WEIGHTED FUND LP
ROSE M HOWELLS
                                              RUSSELL RUSTICI                               A/K/A S & P 500 INDEX EQUAL WEIGHT -
ROSE MARIE BOYD
                                              RUSSELL T. STERN TRUST B, THE NORTHERN        ADVISORY RESEARCH INC
ROSE T. BOSAU DESIGNATED BENE PLAN/TOD
                                              TRUST COMPANY, RUSSELL T. STERN JR.,          S CHARLES BAER JR TRUST U/A DTD JULY 1
ROSEMARY E SKAPLEY IRA ROLLOVER, FIDELITY     PATRICIA STERN ROSS, TRUSTEES                 1992, S CHARLES BAER JR, TRUSTEE
MANAGEMENT TRUST CO CUST
                                              RUSSELL US CORE EQUITY FUND                   S KEATING AND CAROL RHOADS TRUST U/A
ROSEMARY T. COX REVOCABLE TRUST DTD                                                         DTD 11/07/1994, S KEATING RHOADS AND
                                              RUTH A. BOHANNON CGM IRA ROLLOVER,
5/21/2004, ROSEMARY T. COX, TRUSTEE                                                         CAROL RHOADS, TRUSTEES
                                              STATE STREET BANK AND TRUST COMPANY,
ROSEMARY V. GILLESPIE                         CUSTODIAN                                     S&P 500 EQUAL WEIGHT COMMON TRUST
ROSENBAUM LIV TRUST U/A DTD 5/7/98, MAX       RUTH B ZARITSKY                               FUND, STATE STREET BANK AND TRUST
ROSENBAUM, MITZI ROSENBAUM, TRUSTEES                                                        COMPANY, TRUSTEE
                                              RUTH B. BARKER IRREVOCABLE TRUST DATED
ROSENBERG REVOCABLE TRUST, LOUISE             1/11/78 CREATED UNDER THE EMILY B.            S&P 500 EQUITY INDEX WEIGHTED FUND LP
ROSENBERG, TRUSTEE                            BALDWIN TRUST, THE NORTHERN TRUST             S&P 500 FLAGSHIP COMMON TRUST FUND,
ROSLYN FURTH TRUST U/A DTD 11/16/2004,        COMPANY, TRUSTEE                              STATE STREET BANK AND TRUST COMPANY,
NANCY YACYSHYN SUCC, TRUSTEE                  RUTH C. VON PLATEN TRUST NO. 2, SUSAN         TRUSTEE
ROSS & JUNE REEVES JT LIV TRUST U/A           BABCOCK, JEFFREY CHANDLER, CAMILLA            S&P 500 INDEX COMMON TRUST FUND, STATE
11/30/09, ROSS N REEVES III, JUNE D REEVES,   CHANDLER FROST, ROGER GOODAN, WILLIAM         STREET BANK AND TRUST COMPANY, TRUSTEE
TRUSTEES                                      STINEHART, JR., JUDY C. WEBB, WARREN B.       S&P 500 INDEX E.W.F., LP
ROSS DAVID CAHN                               WILLIAMSON, TRUSTEES                          S&P 500 INDEX FUND - UBS GLOBAL ASSET
ROVENSKY TRUST U/D FBO AJLR 62GSX,            RUTH EISEN                                    MANAGEMENT (AMERICAS) INC.
CURRENT TRUSTEE                               RUTH EISEN TRUST 7E-121, RUTH EISEN,          S&P 500 INDEX FUND, A SERIES OF SEI
ROY J. CARVER CHARITABLE TRUST, CURRENT       TRUSTEE                                       INSTITUTIONAL MANAGED TRUST
TRUSTEE                                       RUTH F TALAMO TRUST DTD 01/24/06, RUTH        S&P 500 SCREENED SL COMMON TRUST FUND,
ROY V NOLTING AND CAROL M NOLTING             TALAMO, S CHARLES TALAMO, TRUSTEES            STATE STREET BANK AND TRUST COMPANY,
ROYAL TRUST CORPORATION OF CANADA             RUTH M TANKERSLY REV TRUST AMD                TRUSTEE
ROYCE W NATION AND NELL NATION                6/16/2000 U/A 10/6/92, RUTH M TANKERSLEY,     S&P 500 STOCK MASTER PORTFOLIO
RS S&P 500 INDEX VIP SERIES                   TRUSTEE                                       S&P 500 TOBACCO FREE COMMON TRUST
RUANWIL LLC                                   RUTH MCCORMICK TANKERSLEY REVOCABLE           FUND, STATE STREET BANK AND TRUST
RUBEN J. CORNEJO CGM IRA, STATE STREET        TRUST DATED OCTOBER 6, 1992, RUTH             COMPANY, TRUSTEE
BANK AND TRUST COMPANY, CUSTODIAN             MCCORMICK TANKERSLEY, TRUSTEE                 S&P CONSERVATIVE INDEX COMMON TRUST
RUSSELL 1000 ALPHA TILTS B -- RLBCORE         RUTH STEIF SUPPORT TRUST FOR WILLIAM U/A      FUND, STATE STREET BANK AND TRUST
RUSSELL 1000 ALPHA TILTS FUND BL              DTD 01/02/1980, WILLIAM STEIF, TRUSTEE        COMPANY, TRUSTEE
RUSSELL 1000 INDEX FUND                       RUTH STEIN DISCRETIONARY TRUST FOR JOAN S     S.E.I.U. LOCAL #25 PENSION FUND
RUSSELL 1000 VALUE COMMON TRUST FUND          FREEHLING UAD 1/2/80, CURRENT TRUSTEE         S.E.I.U. LOCAL #25 PENSION TRUST, JIM
RUSSELL 1000 VALUE FUND                       RUTH TANKERSLEY TRUST U/A DTD                 MCARDLE, TRUSTEE
RUSSELL 1000 VALUE FUND B                     12/03/1990, MCKIM N BARNES, TRUSTEE           SA FUNDS-INVESTMENT TRUST (S.A. U.S.
RUSSELL 1000 VALUE INDEX NL QP COMMON         RUTH WOTTGE                                   MARKET FUND)
TRUST FUND, STATE STREET BANK AND TRUST       RUTHELLYN MUSIL 401(K) SAVINGS PLAN           SA FUNDS-INVESTMENT TRUST (S.A. U.S. VALUE
COMPANY, TRUSTEE                              RUTHELLYN MUSIL, RUTHELLYN MUSIL TRUST        FUND)
RUSSELL 1000 VALUE SL COMMON TRUST            U/A DTD 07/27/2001, RUTHELLYN MUSIL,          SACRAMENTO COUNTY EMPLOYEES
FUND, STATE STREET BANK AND TRUST             TRUSTEE                                       RETIREMENT SYSTEM
COMPANY, TRUSTEE                              RWB FUNDS - INVESTMENT TRUST                  SACRED HEART UNIVERSITY
RUSSELL 2500 INDEX FUND                       RYAN SKLENICKA JT REV TRUST U/A DTD,          SAHARA INVESTMENTS, LLC
RUSSELL 3000                                  RICHARD M. RYAN & CAROL J. SKLENICKA,         SAINT LOUIS UNIVERSITY
RUSSELL 3000 INDEX FUND                       TRUSTEES                                      SALEH H. AL HUMAIDAN
                                              RYDEX DYNAMIC TRUST, S&P 500 2X STRATEGY      SALISBURY BANK &TRUST CO.
                                              FUND                                          SALLY B O'KEEFE
                                                                  34

2855453.1
                 Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 240 of 255
SALLY B O'KEEFE 1999 RESTATED TRUST U/A/D     SARGEANT & LUANN JOYS LIVING TRUST U/A      SDG&E NUC FACILITIES NQ CPUC DECOM
5/12/1999, SALLY B O'KEEFE, TRUSTEE           DTD 09/23/2001, SARGEANT E JOYS & LUANN G   MASTER TRUST FOR SONGS, SEMPRA ENERGY,
SALLY H CONTANT TRUST U/A DTD 10/13/1983,     JOYS, TRUSTEES                              TRUSTEE
SALLY H CONTANT, TRUSTEE                      SAUDI ARABIAN MONETARY AGENCY               SDG&E QUALIFIED NUCLEAR
SALLY M DIXON IRA ROLLOVER FIDELITY           SAVANNAH RIVER NUCLEAR SOLUTIONS LLC        DECOMMISSIONING TRUST PARTNERSHIP,
MANAGEMENT TRUST CO CUST                      MASTER TRUST, CURRENT TRUSTEE               SEMPRA ENERGY, TRUSTEE
SALLY S SHELDEN TRUST U/A 12/21/99, SALLY S   SBC MASTER PENSION TRUST, CURRENT           SEASONS SERIES TRUST - FOCUS VALUE
SHELDEN, TRUSTEE                              TRUSTEE                                     PORTFOLIO
SALOMON J DAYAN TRUST U/A DTD 11/08/78,       SBL FUND SERIES H                           SEASONS SERIES TRUST - LARGE CAP VALUE
SALOMON J DAYAN, TRUSTEE                      SBL FUND, SERIES N                          PORTFOLIO
SAM J AZZARELLO TRUST U/W, FRANK              SBL FUND, SERIES O                          SEASONS SERIES TRUST - MID CAP VALUE
MAGGIO, TRUSTEE                               SC BLACKROCK SMALL CAP INDEX FUND F/K/A     PORTFOLIO
SAMBASIVAN NARAYANAN                          SC OPPENHEIMER MAIN STREET CAP FUND         SECURIAN FUNDS TRUST F/K/A ADVANTUS
SAMCO CAPITAL MKTS                            SC EDISON NUCLEAR FACILITIES QUALIFIED      SERIES FUND, INC. (INDEX 500 PORTFOLIO)
SAMPENSION INVEST                             CPUC DECOM MASTER TRUST, CURRENT            SECURITIES LENDING OPS LOAN COLLATERAL
SAMPLE H FOR D HILL                           TRUSTEE                                     ACCOUNT
SAMPLE P L FOR REBECCA                        SCB CANADA TRUST DIVERSIFIED (SANFORD C.    P&L 74878
SAMUEL CLEMENT REV 10/05 CP & CO,             BERNSTEIN)                                  SECURITY BENEFIT LIFE INSURANCE COMPANY
CURRENT TRUSTEE                               SCG BALA EQUITY OPTIONS (SUSQUEHANNA        SECURITY BENEFIT/RYDEX
SAMUEL H FRANKEL TRUST U/A/D 01/28/80,        CAPITAL GROUP)                              SECURITY BENEFIT/RYDEX SBL N MANAGED
SAMUEL H FRANKEL, TRUSTEE                     SCHAEFER-NEVADA INC                         ASSET ALLOCATION SERIES
SAMUEL J MEYER GST EXEP TRUST M423 U/A        SCHEER ROWLETT & ASSOCIATES                 SEEING EYE FOUNDATION
11/10/85 AMD 9/20/91, PATRICIA M              SCHEIERMANN LIVING TRUST, U/A DTD           SEI GLOBAL INVESTMENTS FUND - GLOBAL
LIVINGSTON, JOSEPH B GLOSSBERG, TRUSTEES      08/28/1997, ANNE SCHEIERMANN, TRUSTEE       UNCONSTRAINED ALPHA FUND
SAMUEL P RECKFORD                             SCHOOL BOARD OF MARTIN COU U/A DTD          SEI GLOBAL MASTER FUND PLC - US LARGE
SAMUEL S MOORE TRUST U/A DTD 10/11/1988,      02/03/1989, S WILCOX, L GAYLORD, TRUSTEE    COMPANIES FUND
SAMUEL MOORE, TRUSTEE                         SCHOOL EMPLOYEES RETIREMENT SYSTEM OF       SEI INSTITUTIONAL INVESTMENTS TRUST LARGE
SAMUEL T. PESUSICH TRUST U/A DTD              OHIO - LSV US LRG                           CAP
11/19/1990, SAMUEL T. PESUSICH, ZANDRA L.     SCHOOL EMPLOYEES RETIREMENT SYSTEM OF       SEI INSTITUTIONAL INVESTMENTS TRUST LCV
HALSTEAD, TRUSTEES                            OHIO - SSGA PASSIVE                         SEI INSTITUTIONAL MANAGED TRUST LARGE
SAMUEL ZELL                                   SCHULER TRUST UTD 01/18/88, CURRENT         CAP
SAN FRANCISCO EMPLOYEES' RETIREMENT           TRUSTEE                                     SEI INSTITUTIONAL MANAGED TRUST LCV
SYSTEM A/K/A SAN FRANCISCO CITY & COUNTY      SCHULMAN FINANCIAL L P SS-908, CUSTODIAN    SEI INSTITUTIONAL MANAGED TRUST TAX
EMPLOYEES' RETIREMENT SYSTEM                  SCHULTZE APEX MASTER FUND LTD               MANAGED
SAN FRANCISCO LADIES' PROTECTION AND          SCHULTZE ASSET MANAGEMENT, LLC (A/C         SEI INSTITUTIONAL MANAGED TRUST TAX
RELIEF SOCIETY D/B/A THE HERITAGE             ARROW DISTRESSED FUND)                      MANAGED LARGE CAP
SANDELMAN PARTNERS MULTI-STRATEGY             SCHULTZE MASTER FUND LTD                    SEI INSTITUTIONAL MANAGED TRUST TAX-
MASTER FUND                                   SCHURZ COMMUNICATIONS INC. DEFINED          MANAGED LARGE CAP FUND
SANDERS MORRIS HARRIS, INC. A/K/A SMH         BENEFIT                                     SEI INVESTMENTS CANADA COMPANY (U.S.
CAPITAL INC                                   SCHWAB 1000 INDEX FUND                      LARGE COMPANY EQUITY FUND)
SANFORD BERNSTEIN COMPANY, INC.               SCHWAB CAPITAL TRUST                        SEI PRIVATE TRUST COMPANY
SANFORD C BERNSTEIN FUND INC - ALLIANCE       SCHWAB FUNDAMENTAL US LARGE COMPANY         SEIU LOCAL 36 BOLR PENSION FUND
BERNSTEIN INVESTOR SERVICES                   INDEX FUND A/K/A SCHWAB FUNDAMENTAL         SEIU MASTER TRUST A/K/A SEIU MASTER
SANFORD C BERNSTEIN FUND INC - ALLIANCE       US LARGE COMPANY                            PENSION TRUST
BERNSTEIN LP                                  SCHWAB MARKETTRACK GROWTH PORTFOLIO         SELF-INSURANCE RESERVE FUND - MASTER
SANFORD C. BERNSTEIN & CO., LLC               (2M28)                                      TRUST INVESTMENT ACCOUNTS (CHRISTIANA
SANFORD C. BERNSTEIN FUND, INC.               SCHWAB S&P 500 INDEX FUND (2M32)            CARE HEALTH SERVICES, INC.), WILMINGTON
SANIBEL CAPTIVA TRUST CO.                     SCHWAB S&P 500 INDEX FUND F/K/A SCHWAB      TRUST COMPANY, TRUSTEE (CHRISTIANA CARE
SANO INVESTMENTS LLC                          INSTITUTIONAL SELECT S&P 500 FUND (2M37)    UNRESTRICTED INVESTMENT FUND)
SANTA BARBARA COUNTY EMPLOYEES                SCHWAB S&P 500 INDEX PORTFOLIO (2M46)       SEMPRA ENERGY PENSION MASTER TRUST,
RETIREMENT SYSTEM                             SCHWAB TOTAL STOCK MARKET INDEX FUND        SEMPRA ENERGY, TRUSTEE
SANTA CLARA UNIVERSITY                        (2M40)                                      SENTINEL INVESTMENT PARTNERS LTD
SANTA FE ART FOUNDATION                       SCOTIA CAPITAL INC.                         SENTRY SELECT CAPITAL INC.
SANTA FE G VWAP (EQ722)                       SCOTT C SMITH                               SESLIA SECURITIES
SARA A LIGHTBOURN                             SCOTT C SMITH 401(K) SAVINGS PLAN           SETH A THAYER
SARA J NEWMAN LIVING TRUST U/A/D              SCOTT C SMITH TRUST U/A DTD 04/16/1983,     SEYMOUR LIBRARY FOUNDATION INC
04/14/89, SARA J NEWMAN, TRUSTEE              SCOTT C SMITH, TRUSTEE                      SG AMERICAS SECURITIES, LLC
SARA JOYCE TRUST U/A DTD 1/7/2005, M.         SCOTT GOODMAN AND NANCY GOODMAN             SGAM AI EQUITY FUND - RENAISSANCE
JOYCE & S. JOYCE TRUSTEES                     SCOTT KLARQUIST                             INSTITUTIONAL EQUITY
SARA L WEBER AND ROBERT P LANGAN              SCOTT R COOK                                SGIF LARGE CAP VALUE FUND (R1V ENHANCED)
SARAH A O'BRIEN TRUST DTD 8-18-03, KEVIN D    SCOTTRADE, INC.                             SHAPIRO LIVING TRUST UAD 06/12/1996,
O'BRIEN AND SARAH A O'BRIEN, TRUSTEES         SCRIPPS FAMILY REV. TRUST U/A/D 02-16-      STEVE TALMUD, TRUSTEE
SARAH FRANCES COWLES STEWART TRUST FBO        2006/SB, BARRY H. AND GAIL D. SCRIPPS,      SHAREBUILDER SECURITIES CORP
DOUGLAS BABCOCK, PHILIP BABCOCK, TRUSTEE      TRUSTEES                                    SHARON B. CHRISTHILF A/K/A SHARON ANNE
SARAH FRANCES COWLES STEWART TRUST FBO        SDA LARGECAP EQUITY INDEX CL A              BRADFORD
PHILIP BABCOCK, PHILIP BABCOCK, TRUSTEE
SARAH LEE BALDWIN

                                                                 35

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 241 of 255
SHARON B. ZELL, SHARON B. ZELL FAMILY      SIRIUS INTERNATIONAL INSURANCE                SOUTHWEST CARPENTERS PENSION TRUST
TRUST #2 DTD 1/21/94 RESTATED 5/10/96,     CORPORATION                                   RUSSELL 3000 (736), CURRENT TRUSTEE
SHARON B. ZELL, TRUSTEE                    SISTERS OF CHARITY OF LEAVENWORTH NOT-        SOUTHWEST SECURITIES, INC.
SHARON L. BOULTINGHOUSE TRUST, SHARON      FOR-PROFIT MASTER CUSTODY AGREEMENT           SOVEREIGN BANK
H. BOULTINGHOUSE, TRUSTEE                  SISTERS OF SAINT CASIMIR                      SOWOOD ALPHA FUND LP
SHARON ROSENHAUSE                          SISTERS OF THE BLESSED VIRGIN                 SOWOOD ALPHA FUND, LTD.
SHARON SPEAR                               SISTERS SERVANTS OF IMMACULATE HEART OF       SOWOOD CAPITAL MANAGEMENT
SHEET METAL WORKERS LOCAL 104              MARY FUND                                     SPDR DOW JONES TOTAL MARKET ETF
SUPPLEMENTAL PENSION PLAN, KAUFMAN &       SIX SIS AG                                    SPDR S&P 500 ETF
GOBLE SECURITY TRUST COMPANY,              SJ MEMORIAL HOSPITAL -NORTHERN TRUST          SPDR S&P MIDCAP 400 ETF TRUST A/K/A SPDR
CUSTODIAN                                  SJC CAPITAL LLC                               MIDCAP 400 TRUST, THE BANK OF NEW YORK
SHEET METAL WORKERS' LOCAL 73 PENSION      SJL MOORE LTD                                 MELLON, TRUSTEE
FUND A/K/A SHEET METAL WORKERS' LOCAL 73   SJUNDE AP-FONDEN PREMIUM SAVINGS FD           SPECTRUM TRADING LLC - MICHAEL M. TARPY
PENSION TRUST, CURRENT TRUSTEE             AP7/CUSTODY SERVICES                          JBO
SHEET METAL WORKERS NATIONAL PENSION       SKANDIA INVESTMENT MANAGEMENT LIMITED         SPECTRUM TRADING LLC - ZACHARY
FUND                                       SKANDINAVISKA ENSKILDA BANKEN AB              SHOWALTER JBO
SHEET METAL WORKERS PENSION TRUST OF       SKYLAWN ENDOWMENT CARE FUND UTA               SPENCER W BEARD AND SHARRON R BEARD
NORTH CALIFORNIA ATPA, CURRENT TRUSTEE     DATED 02/09/1969                              SPIEGEL & SPIEGEL PA MPP U/A 1/1/91, SAM
SHEILA L PELLEGRINI 1961 REV, BANK OF      SLOYAN LIVING TRUST U/A 03/03/00, PATRICK J   SPIEGEL, SIMONE SPIEGEL, TRUSTEES
AMERICA, N.A., TRUSTEE                     SLOYAN, PHYLLIS H. SLOYAN, TRUSTEES           SPINDLE LIMITED PARTNERSHIP
SHELDON GRAY                               SMITH AND REILLY FAMILY FOUNDATION U/A        SPINNING WHEEL LP
SHELDON GRAY (PHL)                         7/14/99, SCOTT C SMITH, MARTHA R SMITH,       SPRINT CORPORATION
SHELDON S. FISCHER                         TRUSTEES                                      SPRINT CORPORATION MASTER TRUST,
SHELL CONTRIBUTORY PENSION FUND ("SCPF")   SMITH, MOORE & CO.                            CURRENT TRUSTEE
SHELL OVERSEAS CONTRIBUTORY PENSIONS       SMOKE RISE FOUNDATION, INC.                   SR LATIGO MASTER MA LTD CITCO FUND
FUND ("SOCPF")                             SOBRATO FAMILY HOLDINGS, LLC                  SVS(CAYMAN ISLANDS) LTD
SHERRIE M ARGIRION REV TRUST U/A DTD NOV   SOCIETE EUROPEENE DE BANQUE                   SR LOEB ARBITRAGE MASTER MA LTD
13, 1996, SHERRIE M ARGIRION, TRUSTEE      LUXEMBOURG S.A.                               SS&C TECHNOLOGIES, INC. F/K/A COGENT
SHERRY L LONDON IRA ROLLOVER, FIDELITY     SOCIETE GENERALE ASSET MANAGEMENT             MANAGEMENT INC.
MANAGEMENT TRUST CO CUST                   ALTERNATIVE INVESTMENTS                       SSB EXCHANGE FUND - CONFIDENTIAL CLIENT
SHERRY P. BRODER IRA A/K/A SHERRY P.       SOCIETE GENERALE ASSET MANAGEMENT CO.         SSB EXCHANGE FUND (STATE STREET GLOBAL
BRODER TRUST U/A DTD 1/1/94, SHERRY        (THROUGH MASTER TRUST BANK OF JAPAN)          ADVISORS)
BRODER, TRUSTEE                            SOCIETE GENERALE SECURITIES SERVICES          SSB-TRUST CUSTODY
SHERRY P. BRODER IRA, DELAWARE CHARTER     SOCIETY FOR THE DANISH OLD PEOPLES HOME       SSCSIL RIC II US VALUE - TACOMA (RUSSELL
GUARANTEE & TRUST, CUSTODIAN
                                           SOCIETY OF PHOTO OPTICAL                      INVESTMENTS)
SHERWIN A. ZUCKERMAN IRA, PERSHING LLC,
                                           SOHIER WILLIAM D FBO ELEANOR ETAL-TR, BNY     SSGA IAM SHARES FUND (STATE STREET
CUSTODIAN
                                           MELLON NA, TRUSTEE                            GLOBAL ADVISORS)
SHIRLEY C. BEAL GEGENHEIMER
                                           SOL DIAMOND TRUST DATED 12/4/72, TERRY        SSGA JAPAN CO LTD (STATE STREET GLOBAL
SHIRLEY J SPERLING AND SUSAN J MARTIN      AND MURIEL DIAMOND, TRUSTEES                  ADVISORS)
SHIRLEY MIKA IRA ROLLOVER IRA SPOUSAL      SOLOTKIN INV LTD, A PARTNERSHIP               SSGA S&P 500 INDEX FUND
ROLLOVER, CHARLES SCHWAB & CO INC,
                                           SONDRA FETNER                                 SSGA S&P 500 INDEX FUND CTF
CUSTODIAN
                                           SOPHIA A BANAKIS TRUST UA 11/27/00,           SSGA WORLD FUNDS (STATE STREET GLOBAL
SHIRO HIGASHI LIVING TRUST UA 04/10/96,
                                           SOPHIA A BANAKIS, TRUSTEE                     ADVISORS)
SHIRO HIGASHI, TRUSTEE
                                           SOPHIE & MALCOLM MCCONNELL                    SSIHM CHARITABLE TRUST U/A 6/3/88, S
SHUNDE THEE WONG
                                           SOUTH CAROLINA RETIREMENT SYSTEM              SATTLER, HELEN E INGLES, TRUSTEE
SI TRUST SERVICING
                                           SOUTH DAKOTA RETIREMENT SYSTEM                SSM HEALTH CARE
SICAV STATE STREET BANQ, PARIS
                                           SOUTH SHORE HOSPITAL CORPORATION              ST. BARNABAS HOSPITAL & BRAKER MEMORIAL
SIDNEY J SILVER WBNA COLLATERAL ACCOUNT                                                  HOME EMPLOYEES CUSTODY
                                           SOUTHERN CALIFORNIA EDISON COMPANY
SIGMUND HSIAO AND JY-HWA YING                                                            ST. FRANCIS FRIENDS OF THE POOR, INC
                                           NUCLEAR FACILITIES QUALIFIED CPUC
SIG-SS CBOE JOINT ACCOUNT, SUSQUEHANNA     DECOMMISSIONING MASTER TRUST                  ST. GREGORY COLLEGE PREPARATORY SCHOOL
INVESTMENT GROUP, CUSTODIAN
                                           SOUTHERN CALIFORNIA UNITED FOOD AND           ST. IGNATIUS COLLEGE PREP
SIL 1 LTD                                  COMMERCIAL WORKERS UNION AND FOOD             ST. JOSEPH INVESTMENT FUND LCV
SILVER POINT CAPITAL FUND L.P.             EMPLOYERS JOINT PENSION FUND                  ST. PETERSBURG COLLEGE FOUNDATION INC
SILVER POINT CAPITAL OFFSHORE FUND, LTD.   SOUTHERN CALIFORNIA UNITED FOOD AND           STACEY LYNN ARTANDI IRA ROLLOVER,
SIMIN N. ALLISON                           COMMERCIAL WORKERS UNIONS AND FOOD            CHARLES SCHWAB & CO INC, CUSTODIAN
SIMON WOTTGE                               EMPLOYERS JOINT PENSION TRUST FUND,           STACIE ELIZABETH FORD, ACTING TRUSTEE AND
SIMPSON FAMILY TRUST U/A 02/24/97, JAMES   CURRENT TRUSTEE                               BENEFICIARY OF THE ALFRED C. GLASSELL JR.
R SIMPSON, SUSAN J SIMPSON, TRUSTEES       SOUTHERN COMPANY SYSTEM MASTER                CHILDREN'S TRUST FOR STACIE ELIZABETH
SINCLAIR ELEVATOR 401K PROFIT SHARING      RETIREMENT TRUST, CURRENT TRUSTEE             FORD
TRUST DTD 12-29-1980, ROGER BAKER,         SOUTHERN ELECTRICAL RETIREMENT FUND           STAFFORD INVESTMENT MANAGEMENT LLC
TRUSTEE                                    DTD 8/22/1975, PAUL GASS & LANNY SMITH,       STANFORD STODDARD IRR TRUST UA,
SINCLAIR SMITH SIRAGUSA FM TRUST DATED     TRUSTEES                                      STANFORD C STODDARD, TRUSTEE
4/17/75, CURRENT TRUSTEE                   SOUTHERN NEVADA CULINARY & BARTENDERS         STANLEY CZERWIEN AND BRIDGET GAWENDA
SIRAGUSA ENTERPRISES LP                    PENSION TRUST FUND BARTENDERS LOCAL #         JT WROS
SIRAGUSA FOUNDATION                        165, CURRENT TRUSTEE                          STANLEY FREEHLING
SIRAGUSA HOLDINGS INC                      SOUTHWEST CARPENTERS PENSION TRUST            STANLEY G. HARRIS CHARITY TRUST 6/13/45,
                                           MCV, CURRENT TRUSTEE                          BMO HARRIS BANK, N.A., TRUSTEE
                                                               36

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 242 of 255
STANLEY G. HARRIS CYNTHIA TRUST 6/13/45,    STATE STREET GLOBAL ADVISORS, INC.           STEVEN C ROBERTS & EVA LOUISE FRAZER
BMO HARRIS BANK, N.A., TRUSTEE              STATE STREET GLOBAL ADVISORS, INC. -         STEVEN DAVID LEVITT AND JEANNETTE LEVITT
STANLEY G. HARRIS MAR TRUST 6/17/65, BMO    RUSSELL 1000 VALUE CTF                       STEVEN G. BOOTH
HARRIS BANK, N.A., TRUSTEE                  STATE STREET MANAGEMENT S.A.                 STEVEN J LOTZ IRA CONTRIBUTORY, CHARLES
STANLEY G. HARRIS MARIAN TRUST 6/13/45,     STATE STREET TRUST AND BANKING CO. LTD.      SCHWAB & CO INC, CUSTODIAN
BMO HARRIS BANK, N.A., TRUSTEE              STATE TEACHERS RETIREMENT SYSTEM OF          STEVEN M MILLER ALCATEL-LUCENT SAVINGS
STANLEY G. HARRIS RUTH TRUST 6/13/45, BMO   OHIO A/K/A STRS OHIO RETIREMENT BOARD        PLAN FBO, FIDELITY MANAGEMENT TRUST CO,
HARRIS BANK, N.A., TRUSTEE                  STATE UNIVERSITIES RETIREMENT SYSTEM         TRUSTEE
STANLEY G. HARRIS TRUST 6/10/46, BMO        STATIONARY ENGINEERS LOCAL 39 PENSION        STEVEN M MILLER AND SUSAN CAROL MILLER
HARRIS BANK, N.A., TRUSTEE                  TRUST FUND, CURRENT TRUSTEE                  STEVEN M. SHIPKA FAMILY TRUST U/A, STEVEN
STANLEY J. GRADOWSKI, JR. TRUST DTD 3-26-   STAVROU PARTNERS LP                          M SHIPKA, TRUSTEE
97, STANLEY J. GRADOWSKI, JR., TRUSTEE      STEAMFITTERS LOCAL 420                       STEVEN RAPKIN
STANLEY K FRIEDMAN                          STEFANO CARBONIN                             STEVEN SOSNICK
STANLEY L WALSKI                            STEINMETZ, ROBERT C                          STEVEN U LEE AND JUNG E LEE
STANLEY LANE AND MILLIE LANE TIC            STELLARONE BANK                              STEVEN W. MORRIS
STANTON R. COOK - STANTON R. COOK           STEPHAN P ROTHERMEL                          STEVEN WINKLER AND ANDE-ELLEN WINKLER
CHARITABLE REMAINDER TRUST, CURRENT         STEPHANIA G FUSICK                           STEWARD FUNDS, INC. (STEWARD MULTI-
TRUSTEE                                     STEPHANIE B FLYNN TRUST U/A DTD 11/14/62,    MANAGER EQUITY FUND)
STARK & ROTH INC AS SUCCESSOR TO            STEPHANIE B. FLYNN & WILLIAM J. BYRNES,      STEWARD FUNDS, INC. (STEWARD MULTI-MGR
DEEPHAVEN CAPITAL MANAGEMENT LLC            TRUSTEES                                     E)
STARK GLOBAL OPPORTUNITIES MASTER FUND      STEPHANIE CAHN                               STICHTING BEDRIJFSPENSIONENFONDS
LTD                                         STEPHANIE F. HANSEN                          METALEKTRO
STARK MASTER FUND LTD                       STEPHANIE MURRAY LIVING TRUST, STEPHANIE     STICHTING BEDRIJFSTAKPENSIOENFONDS
STATE FARM FIRE & CASUALTY INSURANCE        MURRAY, TRUSTEE                              BEROEPSVERVOER US LARGE CAP EQUITY
COMPANY                                     STEPHANIE S ABRUTYN, MS&CO, CUSTODIAN        STICHTING PENSIOENFONDS ABP
STATE FARM INSURANCE COMPANIES              STEPHANIE TANSOR REV DEED OF TRUST UA        STICHTING PENSIOENFONDS CAMPINA LCV
EMPLOYEE RETIREMENT TRUST, CURRENT          DTD 12/1/2008, STEPHANIE TANSOR, TRUSTEE     STICHTING PENSIOENFONDS HOOGOVENS
TRUSTEE                                                                                  STICHTING PENSIOENFONDS IBM NEDERLAND
                                            STEPHEN D CARVER
STATE FARM LARGE CAP INDX                                                                A/K/A IBM NETHERLANDS MSCI US
                                            STEPHEN D CARVER IRA, NATIONAL FINANCIAL
STATE FARM LIFE INSURANCE COMPANY           SERVICES LLC/FIDELITY MANAGEMENT TRUST       STICHTING PENSIOENFONDS MEDISCHE
STATE FARM MUTUAL AUTOMOBILE                CO, CUSTODIAN                                SPECIALISTEN
INSURANCE COMPANY                           STEPHEN E QUAST IRA 12/31/1995, STEPHEN E.   STICHTING PENSIOENFONDS OCE
STATE FARM VARIABLE PRODUCT TRUST           QUAST, TRUSTEE                               STICHTING PENSIOENFONDS STORK
(LARGE CAP EQUITY INDEX FUND), CURRENT      STEPHEN HERBERT KAELBER                      STICHTING PENSIOENFONDS VAN DE ABN
TRUSTEE                                                                                  AMRO BANK N.V.
                                            STEPHEN HERBERT KAELBER IRA ROLLOVER
STATE GENERAL RESERVE FUND OF THE           FIDELITY MANAGEMENT TRUST CO CUST            STICHTING PENSIOENFONDS VOOR HUISARTEN
MINISTRY OF FINANCE OF SULTAN OF OMAN                                                    - DOCTORS PENSION FUND SERVICES
                                            STEPHEN J DONNELLY & CONSTANCE R
STATE OF ALASKA SBS                         DONNELLY                                     STICHTING PENSIOENFONDS ZORG EN WELZIJN
STATE OF ARIZONA                            STEPHEN J DONNELLY IRA NATIONAL              STICHTING SHELL PENSIOENFONDS
STATE OF CONNECTICUT                        FINANCIAL SERVICES LLC/FIDELITY              STICHTING SHELL PENSIOENFONDS LCV
STATE OF MICHIGAN EMPLOYEES' RETIREMENT     MANAGEMENT TRUST CO, CUSTODIAN               STIFEL NICOLAUS & CO. INC.
SYSTEM                                      STEPHEN JAMES ROTHERMEL                      STINEHART LIVING TRUST UA DTD 05/19/89,
STATE OF WYOMING                            STEPHEN L. O'CONNOR, STEPHEN L. O'CONNOR     WILLIAM STINEHART, JR. AND PATRICIA K.
STATE STREET BANK - GBL ALPHA EDGE          TRUST, BANK OF AMERICA, N.A., TRUSTEE        STINEHART, CO-TRUSTEES
COMMON TRST FD & TRUST COMPANY              STEPHEN M WEST TRAD IRA, WFBNA,              STIX ENTERPRISES, LLC
STATE STREET BANK & TRUST BKR 997           CUSTODIAN                                    STOCK BORROW
STATE STREET BANK & TRUST CO PORTFOLIO      STEPHEN M. CHAPLIN AND CAROL M. CHAPLIN      STOCK INDEX FUND, A SERIES OF VALIC
#2769                                       STEPHEN MANHEIMER                            COMPANY I F/K/A AIG RETIREMENT COMPANY I
STATE STREET BANK & TRUST CO. AS            STEPHEN MAUZER IRA DTD 02/11/02, THE         STOCK INDEX PORTFOLIO, A SERIES OF THE
SUCCESSOR TO INVESTORS BANK & TRUST         NORTHERN TRUST COMPANY, CUSTODIAN            PRUDENTIAL SERIES FUND, INC.
COMPANY                                     STEPHEN P. HOLMES AND BONNIE HOLMES TIC      STRATEGIC FUNDS, INC. - DREYFUS ACTIVE
STATE STREET BANK & TRUST CO., TRUSTEE OR   STEPHEN R MILLER IRA NATIONAL FINANCIAL      MIDCAP FUND
CUSTODIAN FOR CLOSED FUNDS                  SERVICES LLC/FIDELITY MANAGEMENT TRUST       STRATEGIC OPPORTUNITIES MASTER FUND LP
STATE STREET BANK & TRUST CO., TRUSTEE OR   CO, CUSTODIAN                                STRATEGY MASTER FUND (TRADEWORX, INC.)
CUSTODIAN FOR CONFIDENTIAL CLIENT 1         STEPHENS INC.                                STRONGBOW FUND LTD
STATE STREET BANK & TRUST CO., TRUSTEE OR   STERLING FINANCIAL TRUST COMPANY             STUART E CORLISS ROTH IRA, FIDELITY
CUSTODIAN FOR CONFIDENTIAL CLIENT 2
                                            STERN INVESTMENTS, LLC                       MANAGEMENT TRUST CO, CUSTODIAN
STATE STREET BANK & TRUST COMPANY
                                            STERNE AGEE & LEACH, INC.                    STUART JAY AND NANCY HOPE BABENDIR
STATE STREET BANK LUXEMBOURG, S.A.
                                            STEVE H. KAGAN IRA ROLLOVER ACCOUNT,         SUBSIDIZED SCHOOLS PF / SSGA
STATE STREET EQUITY 500 INDEX PORTFOLIO     VANGUARD FIDUCIARY TRUST CO, CUSTODIAN       SUC CO TUA ORTHWEIN FND APPRECIA
(STATE STREET GLOBAL ADVISORS)
                                            STEVEN A TANANBAUM                           SUC TUW RICHARD KLINE FB BARBARA KLINE,
STATE STREET EQUITY 500 INDEX PORTFOLIO
                                            STEVEN A. BALLMER                            SUSAN KINSELLA, TRUSTEES
A/K/A STATE STREET AMR
                                            STEVEN BACKER IRA, MERRILL LYNCH, PIERCE,    SUDHIR K. JAIN
STATE STREET GLOBAL
                                            FENNER & SMITH, CUSTODIAN FPO                SUMITOMO MITSUI TRUST BANK (U.S.A.)
STATE STREET GLOBAL ADVISORS FUND
                                            STEVEN BALLARD HUNTLEY IRA ROLLOVER,         LIMITED F/K/A SUMITOMO TRUST & BANKING
STATE STREET GLOBAL ADVISORS INDEX FUNDS    VANGUARD FIDUCIARY TRUST CO, CUSTODIAN       CO. (U.S.A.)
SICAV
                                            STEVEN BURGER                                SUMITOMO MITSUI TRUST BANK, LIMITED
                                                                37

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 243 of 255
SUMITOMO MITSUI TRUST BANK, LIMITED         SUZANNE ROSENTSWIEG                         TD ASSET MANAGEMENT INC (TD EMERALD
F/K/A THE SUMITOMO TRUST & BANKING CO.      SUZANNE ROSENTSWIEG REVOC TRUST U/A/D       POOLED U.S. FUND)
LTD. STB PEN XXX-XXXXX-0018-P, SUMITOMO     10-18-2010, SUZANNE ROSENTSWIEG, TRUSTEE    TD ASSET MANAGEMENT INC (TD U.S. INDEX
MITSUI TRUST BANK, LIMITED, TRUSTEE         SWISS AMERICAN SECURITIES INC.              FUND)
SUMITOMO MITSUI TRUST BANK, LIMITED         SWISS NATIONAL BANK (BANQUE NATIONALE       TD BANK, NA
F/K/A THE SUMITOMO TRUST & BANKING CO.      SUISSE)                                     TD EMERALD HEDGED U.S. EQUITY POOLED
LTD. STB PEN XXX-XXXXX-0059-K, SUMITOMO     SWISS RE FINANCIAL PRODUCTS CORP.           FUND TRUST, CURRENT TRUSTEE
MITSUI TRUST BANK, LIMITED, TRUSTEE         SWOPE ENTERPRISES INC                       TD EMERALD U.S. MARKET INDEX FUND
SUMITOMO MITSUI TRUST BANK, LIMITED         SYBIL JINX ROBINSON SEPARATE PROPERTY       TD OPTIONS LLC
F/K/A THE SUMITOMO TRUST & BANKING CO.      TRUST U/A DTD 07/03/07, SYBIL JINX          TD SECURITIES S&P 500 INDEX
LTD. STB-PEN XXX-XXXXX-0004-C, SUMITOMO     ROBINSON, TRUSTEE                           TD U.S. LARGE CAP VALUE FUND
MITSUI TRUST BANK, LIMITED, TRUSTEE         SYKEHJELPS-OG PENSJONSORDNING FOR LEGER     TD WATERHOUSE CANADA INC.
SUMITOMO MITSUI TRUST BANK, LIMITED         (SOP)                                       TE CALEL PORTFOLIO, LTD
F/K/A THE SUMITOMO TRUST & BANKING CO.      SYMETRA FINANCIAL CORPORATION               TEACHERS' RETIREMENT SYSTEM OF LOUISIANA
LTD. STB-PUB XXX-XXXXX-0001, SUMITOMO
                                            SYMETRA LIFE INSURANCE CO.                  TEACHERS' RETIREMENT SYSTEM OF LOUISIANA
MITSUI TRUST BANK, LIMITED, TRUSTEE
                                            SYNERGISTIC ASSETS A PARTNERSHIP            (INTL. LG. VALUE)
SUN CREATIVE INVESTMENTS LP
                                            SYNERGY CAPITAL MANAGEMENT LLC              TEACHERS' RETIREMENT SYSTEM OF TEXAS
SUN LIFE OF CANADA (OPPENHEIMER FUNDS
                                            SYNOVUS TRUST COMPANY, N.A.                 TEACHERS' RETIREMENT SYSTEM OF THE CITY
INC.)
                                            SYSTEMATIC MANAGED ACCOUNTS (BEAR           OF NEW YORK
SUNAMERICA ASSET MANAGEMENT CORP.
                                            STEARNS)                                    TEACHERS RETIREMENT SYSTEM OF THE STATE
SUNAMERICA SERIES TRUST - EQUITY
                                            T BANK LCV QP                               OF ILLINOIS
OPPORTUNITIES PORTFOLIO
                                            T BANK-LCV-PT                               TEAMSTERS JOINT COUNCIL NO 83 OF VIRGINIA
SUNAMERICA SERIES, INC. - SUNAMERICA
                                            T ROWE PRICE ASSOCIATES A/K/A               PENSION FUND
STRATEGIC VALUE PORTFOLIO F/K/A FOCUSED
VALUE PORTFOLIO                             SPINNINGROD & CO                            TEAMSTERS LOCAL 639 EMPLOYERS PENSION
                                            T ROWE PRICE INSTL COM TRUST FD EQY INDEX   TRUST FUND
SUNGARD - CENTRAL TRUST & INVESTMENT CO
                                            TRUST                                       TEKTRONIX 401 K PLAN TRUST, FRANK T.
SUNGARD - NORTH FORK BK & TR
                                            T ROWE PRICE STRUCTURED RESEARCH TRUST,     MCFADEN, TRUSTEE
SUNGARD BROKERAGE & SECURITIES SERVICES
                                            T ROWE PRICE TRUST COMPANY, TRUSTEE         TEKTRONIX CASH BALANCE PLAN TR, CURRENT
LCC F/K/A ASSENT LLC
                                            T. MICHAEL OSTERMAN                         TRUSTEE
SUNTRUST BANK
                                            T. ROWE PRICE                               TELFORD CORPORATION
SUNTRUST RETIREMENT 500 INDEX FUND
                                            T. ROWE PRICE ASSOCIATES, INC.              TELLURIDE CAPITAL MASTER FUND
SUPERANNUATION FUNDS MANAGEMENT
                                            T. ROWE PRICE BALANCED FUND - LARGE CAP     TENNESSEE CONSOLIDATED RETIREMENT
CORPORATION OF SOUTH AUSTRALIA
                                            CORE FUND, INC.                             SYSTEM
SURVIVOR'S TRUST U/A DTD 04/19/1991,
                                            T. ROWE PRICE BALANCED FUND, INC.           TENSOR OPPORTUNITY LIMITED
AUDREY C. SMALL, TRUSTEE
                                            T. ROWE PRICE CAPITAL OPPORTUNITY FUND,     TERENCE B. BRITTON
SURVIVOR'S TRUST, BETTY H ROELAND,
TRUSTEE                                     INC.                                        TERENCE RHODEN
SURVIVORS'S TRUST CR 9/30/01 UA CHARLES R   T. ROWE PRICE DIVIDEND GROWTH FUND, INC.    TERI LEICHENGER
& ELIZABETH F REDMOND TRUST DTD             A/K/A SHERBET + CO                          TERRA NOVA FINANCIAL, LLC
05/20/87, ELIZABETH F REDMOND, TRUSTEE      T. ROWE PRICE EQUITY INCOME FUND A/K/A      TERRENCE R MCGOVERN AND BARBARA T
SUSAN A. JOHNSON                            TASKFORCE & CO                              MCGOVERN
SUSAN B MAHAR TRUST U/A DTD 01/05/2000,     T. ROWE PRICE EQUITY INCOME PORTFOLIO       TERRENCE TOOHEY
SUSAN B MAHAR, KAREN L MAHAR, TRUSTEES      T. ROWE PRICE EQUITY INCOME TRUST           TERRENCE W REEDER IRA ROLLOVER, FIDELITY
SUSAN B. HEYMANN                            T. ROWE PRICE EQUITY INDEX TRUST            MANAGEMENT TRUST CO CUST
SUSAN COONEY KUHN                           T. ROWE PRICE EQUITY SERIES, INC. A/K/A     TERRILL F COX & LORRAINE M COX TRUST U/A
SUSAN D. KING                               FOULARD AND CO                              DTD 3/31/98, TERRILL F COX, LORRAINE M COX,
                                            T. ROWE PRICE INDEX TRUST, INC. (T. ROWE    TRUSTEES
SUSAN GAIL HARWOOD TRUST U/A DTD 8-22-
94, SUSAN GAIL HARWOOD, TRUSTEE             PRICE EQUITY INDEX 500 FUND)                TERRY D. DIAMOND TRUST DTD 5/7/86, TERRY
                                            T. ROWE PRICE INDEX TRUST, INC. (T. ROWE    DIAMOND, TRUSTEE
SUSAN H SHANE TRUST U/A DTD 08/09/1991,
SUSAN H SHANE, TRUSTEE                      PRICE TOTAL EQUITY MARKET INDEX FUND)       TERRY DIAMOND IRA, THE NORTHERN TRUST
                                            T. ROWE PRICE INTERNATIONAL                 COMPANY, CUSTODIAN
SUSAN J CELLMER
                                            T. ROWE PRICE MID-CAP VALUE FUND, INC.      TEWKSBURY INVESTMENT FUND LIMITED
SUSAN K CUNNINGHAM
                                            T. STANTON ARMOUR TR. 2/10/66, BMO          TEWKSBURY INVESTMENT FUND LTD.
SUSAN K. LIPMAN
                                            HARRIS BANK, N.A., TRUSTEE                  TEXAS CHRISTIAN UNIVERSITY
SUSAN L HOUGH HENRY PHD
                                            T.H. MCNABB TRUST UNDER WILL OF T.H.        TEXAS EDUCATION AGENCY
SUSAN LYNN OSTERMAN
                                            MCNABB, BETTY M. RICH, TRUSTEE              TEXAS GUARANTEED STUDENT LOAN CORP
SUSAN M MITCHELL
                                            TAFT BROADCASTING COMPANY                   MPP & TRUST U/A/D 7/1/80, CAL ABBOTT,
SUSAN M RODGERS TRUST U/A DTD
                                            TALIESIN CAPITAL PARTNERS LP                TRUSTEE
01/08/1991, SUSAN M. RODGERS, TRUSTEE
                                            TALLEYRAND OFFSHORE MASTER FD LTD           TEXAS METHODIST FOUNDATION
SUSAN S WHITE
                                            TALON OPPORTUNITY PTNRS LP                  TEXAS PRESBYTERIAN FOUNDATION
SUSAN S. STRECKER FAMILY TRUST 5/1/98,
                                            TAMAR SECURITIES INC                        TEXAS SCOTTISH RITE HOSPITAL FOR CRIPPLED
SUSAN S. STRECKER, TRUSTEE
                                            TANGLEY C LLOYD                             CHILDREN
SUSQUEHANNA CAPITAL GROUP
                                            TANGLEY LLOYD 1935 TRUST NO. 1, TANGLEY     TEXAS UTILITIES QUAL NDT PARTNERSHIP
SUSQUEHANNA INVESTMENT GROUP
                                            LLOYD, TRUSTEE                              TEXTRON INC MASTER TRUST, ELLEN HAYES,
SUTTONBROOK CAPITAL PORTFOLIO LP
                                            TAO HUANG AND XIAOMEI HUANG                 TRUSTEE
SUZANNE C HUTCHINS TRUST UAD 01/16/1974,
                                            TAX MANAGED OPPORTUNITY FUND LLC            THE 2000 PECKHAM FAMILY TRUST U/A/D 07-
SUZANNE C HUTCHINS, TRUSTEE
                                            TBK PARTNERS, LLC                           14-2000, GEORGE J. PECKHAM, IMOGENE S.
SUZANNE GROSSINGER GOULD                                                                PECKHAM, TRUSTEES
                                            TD AMERITRADE CLEARING, INC.
                                                                 38

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 244 of 255
THE A W K LIMITED PARTNERSHIP DATED        THE FRANCISCAN MISSIONARY UNION             THE NORTHWESTERN MUTUAL LIFE INSURANCE
1/5/95                                     THE GABELLI EQUITY TRUST INC                COMPANY
THE ALICIA P. GUGGENHEIM TRUST, CURRENT    THE GDL FUND F/K/A GABELLI GLOBAL DEAL      THE OPPENHEIMER FAMILY FDN
TRUSTEE                                    FUND                                        THE PENNSYLVANIA STATE UNIVERSITY
THE ALLIANCEBERNSTEIN PORTFOLIOS           THE GLASSELL FAMILY FOUNDATION INC., AS     MASTER TRUST, PENNSYLVANIA STATE
(ALLIANCEBERNSTEIN TAX-MANAGED FUNDS)      BENEFICIARY OF THE ESTATE OF ALFRED C.      UNIVERSITY, TRUSTEE
THE ALTERNATIVE FUND                       GLASSELL JR.                                THE PENSION BOARDS - UNITED CHURCH OF
THE AMERICAN ELECTRIC POWER MASTER         THE GLENMEDE TRUST COMPANY, N.A.            CHRIST, INC.
RETIREMENT TRUST                           THE GLOVER TRUST DTD 01-19-90, CAROL T      THE PEOPLES BANK
THE ANGERMAN TRUST U/A DTD 03/05/1991,     GLOVER, TRUSTEE                             THE PETERS CORPORATION
ALEXANDER ANGERMAN, JUDITH ANGERMAN,       THE GOVERNOR AND COMPANY OF THE BANK        THE PNC FINANCIAL SERVICES GROUP, INC.
TRUSTEES                                   OF IRELAND                                  F/K/A NATIONAL CITY BANK
THE AUTOMOTIVE MECHINISTS PENSION          THE GRACE TRUST, DUANE SHELTON TYDINGS,     THE PRESIDENT AND FELLOWS OF HARVARD
TRUST FUND                                 JOHN HEALEY, TRUSTEES                       COLLEGE
THE BANK OF NEW YORK MELLON                THE GUARDIANS OF NEW ZEALAND                THE PRIVATEBANK AND TRUST COMPANY
CORPORATION                                SUPERANNUATION AS MANAGER AND               THE PROMOTION AND MUTUAL AID
THE BANK OF NEW YORK MELLON                ADMINISTRATOR OF THE NEW ZEALAND            CORPORATION FOR PRIVATE SCHOOLS OF
DECOMMISSIONING COLLECTIVE TRUST           SUPERANNUATION FUND                         JAPAN, RESONA BANK, LIMITED, TRUSTEE
INVESTMENT PLAN–DT BROAD MARKET STOCK      THE HARTFORD FINANCIAL SERVICES GROUP,      THE PRUDENTIAL INSURANCE COMPANY OF
INDEX FUND, THE BANK OF NEW YORK           INC. (COLI POOLED S & P 500)                AMERICA
MELLON, TRUSTEE                            THE HARTMARX RETIREMENT INCOME              THE READER'S DIGEST ASSOCIATION, INC.
THE BANK OF NEW YORK MELLON EMPLOYEE       PLAN/TRUST, PENSION BENEFIT GUARANTEE       RETIREMENT PLAN, THE NORTHERN TRUST
BENEFIT COLLECTIVE INVESTMENT FUND PLAN,   CORPORATION, SUCCESSOR TRUSTEE              COMPANY, TRUSTEE
THE BANK OF NEW YORK MELLON, TRUSTEE       THE HELEN HAY WHITNEY FOUNDATION            THE RESNICK FAMILY LP
THE BANK OF NEW YORK MELLON, IN ITS        THE HENSHEL FOUNDATION SPECIAL ACCOUNT      THE ROMAN CATHOLIC ARCHBISHOP OF LOS
INDIVIDUAL AND CUSTODIAL CAPACITIES        THE JACOB & CHARLOTTE LEHRMAN               ANGELES
THE BANK OF NOVA SCOTIA                    FOUNDATION                                  THE ROWAN FAMILY TRUST SURVIVORS SHARE
THE BOARD OF TRUSTEES OF THE LELAND        THE KAPLEN FOUNDATION                       U/A DTD 03/23/1993, MARILYN ROWAN,
STANFORD JUNIOR UNIVERSITY                 THE KROGER COMPANY MASTER RETIREMENT        TRUSTEE
THE BOEING COMPANY EMPLOYEES               TRUST, CURRENT TRUSTEE                      THE ROYAL BANK OF SCOTLAND N.V. F/K/A ABN
RETIREMENT PLANS MASTER TRUST, CURRENT     THE L/S MARKET NEUT FD, A SEP               AMRO BANK N.V.
TRUSTEE                                    THE LATTNER FAMILY FOUNDATION               THE ROYAL BANK OF SCOTLAND PLC (ROYAL
THE BURROUGHS WELLCOME FUND LCV            THE LIGHTHOUSE FOR THE BLIND, INC. MASTER   BANK OF SCOTLAND FINANCIAL MARKETS)
THE CANADIAN MEDICAL PROTECTIVE            RETIREMENT TRUST, THE NORTHERN TRUST        THE RSZ TRUST U/A/D 06/02/99, RICHARD S
ASSOCIATION                                COMPANY, TRUSTEE                            ZIMAN, TRUSTEE
THE CANYON VALUE REALIZATION MASTER        THE MAINSTAY FUNDS, AS ISSUER OF A SERIES   THE S.O.G. FUND - INTERNATIONAL
FUND, L.P. (AS ASSIGNEE OF THE CANYON      KNOWN AS MAINSTAY COMMON STOCK FUND         THE SALVATION ARMY - CENTRAL TERRITORY
VALUE REALIZATION FUND (CAYMAN) LTD.)      THE MAINSTAY FUNDS, AS ISSUER OF A SERIES   THE SALVATION ARMY - SOUTHERN TERRITORY
THE CARMELITE FATHERS INC                  KNOWN AS MAINSTAY EQUITY INDEX FUND         THE SCHWAB TRUST A CHARITABLE U/A DTD
THE CATALYST STRATEGIC EVENT               THE MARITAL TRUST OF THE DE GOLDSMITH       05/23/1995, MARY B SCHWAB, TRUSTEE
THE CHURCH PENSION FUND, IN ITS            FAMILY TRUST, ERIC DE GOLDSMITH, MURIEL     THE SEAWATER FOUNDATION
INDIVIDUAL AND TRUSTEE CAPACITIES          DE GOLDSMITH, TRUSTEES                      THE SEEING EYE, INC.
THE COLLECTORS FUND LP                     THE MARYKNOLL SISTERS OF ST DOMINIC INC-    THE SERVANTS OF RELIEF FOR INCURABLE
THE CONNABLE OFFICE, INC.                  MARYKNOLL NY                                CANCER
THE CONSOLIDATED EDISON RETIREMENT         THE MCCONNELL FOUNDATION                    THE SOCIETY OF JESUS OF NEW ENGLAND
PLAN, STATE STREET BANK AND TRUST          THE MEDVIN FAMILY TRUST U/A/D 02/03/88,     THE SOLIDAGO FOUNDATION
COMPANY, TRUSTEE                           ALVIN G. MEDVIN, DEBORAH R. MEDVIN,         THE SOUTHERN COMPANY SYSTEM MASTER
THE DAN MURPHY FOUNDATION                  TRUSTEES                                    RETIREMENT TRUST, CURRENT TRUSTEE
THE DANISH HOME 8D-101, CUSTODIAN          THE MERGER FUND (WESTCHESTER CAPITAL        THE SPURGEON FAMILY LIMITED PARTNERSHIP
THE DCLA FUNDS LLC                         MANAGEMENT)                                 THE STATE BOARD OF ADMINISTRATION OF
THE DFA GROUP TRUST                        THE MERGER FUND VL (WESTCHESTER CAPITAL     FLORIDA, AS INVESTMENT FIDUCIARY FOR: THE
THE DFA INVESTMENT TRUST COMPANY -- TAX-   MANAGEMENT)                                 FLORIDA RETIREMENT SYSTEM TRUST FUND,
MANAGED U.S. EQUITY SERIES                 THE MICHAEL ARGIRION REVOCABLE TRUST        THE LAWTON CHILES ENDOWMENT FUND, THE
THE DFA INVESTMENT TRUST COMPANY -- TAX-   UNDER AGREEMENT DATED NOV 13, 1996,         FLORIDA EDUCATION FUND, THE FLORIDA
MANAGED U.S. MARKETWIDE VALUE SERIES       MICHAEL ARGIRION, TRUSTEE                   STATE UNIVERSITY RESEARCH FOUNDATION,
THE DFA INVESTMENT TRUST COMPANY -- U.S.   THE MINNESOTA STATE BOARD OF                AND THE DIVISION OF BLIND SERVICES
LARGE CAP VALUE SERIES                     INVESTMENT                                  THE THEOSOPHICAL INVESTMENT TRUST,
THE DIAMOND FAMILY FOUNDATION              THE NBLN LIMITED PARTNERSHIP                FLOYD KETTERING, TRUSTEE
THE DREYFUS CORPORATION                    THE NEW CHURCH INVESTMENT FUND              THE TRUST OF MARY I BALDWIN RESTATED
THE DREYFUS/LAUREL FUNDS INC. (DREYFUS     THE NEW YORK PROVINCE OF THE SOCIETY OF     U/A/D 02/07/95, MARY ISAACS BALDWIN,
BSC S&P 500 ST INDX FD)                    JESUS                                       TRUSTEE
THE EASTERN BAND OF CHEROKEE INDIANS       THE NORTHERN TRUST COMPANY OF               THE TRUSTEES OF RESERVATIONS
MINORS & INCOMPETENCE FUND                 CONNECTICUT AFGT MID CAP VALUE FUND         THE UNIVERSITY OF MISSOURI RETIREMENT,
THE EFFIE AND WOFFORD CAIN FOUNDATION      THE NORTHERN TRUST COMPANY OF               DISABILITY AND DTH BENEFIT PLAN, CURATORS
THE FBO DUNAWAY FAMILY TRUST U/A/D 07-     CONNECTICUT EBT MCV                         OF THE UNIVERSITY OF MISSOURI, TRUSTEE
05-1991, MICHAEL W DUNAWAY, TRUDY V        THE NORTHERN TRUST COMPANY PENSION          THE UNIVERSITY OF TENNESSEE
DUNAWAY, TRUSTEES                          TRUST, KIM SOPPI, TRUSTEE                   THE VANGUARD GROUP, INC.

                                                              39

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 245 of 255
THE VANTAGEPOINT FUNDS (VANTAGEPOINT        THOMAS J BURKE JR IRA, DELAWARE CHARTER       TIMOTHY L O'ROURKE IRA, FIDELITY
500 STOCK INDEX FUND)                       GUARANTEE & TRUST, CUSTODIAN                  MANAGEMENT TRUST CO CUST
THE VANTAGEPOINT FUNDS (VANTAGEPOINT        THOMAS J PENCE                                TIMOTHY LANDON
ASSET ALLOCATION FUND)                      THOMAS J. MAJORANA CGM IRA, STATE STREET      TIMOTHY LANDON AND ELIZABETH LANDON
THE VANTAGEPOINT FUNDS (VANTAGEPOINT        BANK AND TRUST COMPANY, CUSTODIAN             TIMOTHY M DONAHUE AND JAYNE N
BROAD MARKET INDEX FUND)                    THOMAS J. OSTERMAN TRUST U/A/D 04/04/91,      DONAHUE
THE VANTAGEPOINT FUNDS (VANTAGEPOINT        THOMAS J. OSTERMAN, TRUSTEE                   TIMOTHY R. KENNEDY
EQUITY INCOME FUND)                         THOMAS LEACH                                  TIMOTHY R. KENNEDY AND SUSAN M.
THE VANTAGEPOINT FUNDS (VANTAGEPOINT        THOMAS LEACH AND TRACY LEACH                  KENNEDY
GOLDMAN)                                    THOMAS M. OWENS                               TIMOTHY S. PECARO AND SUSAN S. PECARO
THE VANTAGEPOINT FUNDS (VANTAGEPOINT        THOMAS P O'KEEFE                              TINTINA INVESTMENT INC
MELLON CAPITAL MANAGEMENT)                  THOMAS READ                                   TLCD LIST LP
THE VANTAGEPOINT FUNDS (VANTAGEPOINT T.     THOMAS S ANDERSON                             TLCD LTD
ROWE PRICE)                                 THOMAS SCHUBA AND JUDITH SCHUBA               TMI
THE WALT DISNEY COMPANY                     THOMAS T BYRD TRUST UA 01/25/82 HARRY F       TMVH EMPLOYEE RETIREMENT PL RPM003, AST
THE WALTERS ART GALLERY, INC. D/B/A THE     BYRD JR REVOCABLE TRUST, HARRY F BYRD JR,     CAPITAL TRUST CO, TRUSTEE
WALTERS ART MUSEUM                          TRUSTEE                                       TOA REINSURANCE
THE WALTERS ART GALLERY, INC. D/B/A THE     THOMAS W BEILKE                               TOMMIE L CORDERO TRUST UA 12/09/90,
WALTERS ART MUSEUM A/K/A WALTERS ART        THOMAS WHALEN REV. TRUST U/A/D                DOROTHY FLIBBERT, TRUSTEE
GALL EES CON TRP, CURRENT TRUSTEE           12/21/96, THOMAS J. WHALEN, TRUSTEE           TOMPKINS FINANCIAL CORPORATION F/K/A
THE WORKERS COMPENSATION BOARD -            THOMASYNE C. HUBERT TOD THOMAS G.             TOMPKINS TRUSTCO, INC.
ALBERTA                                     HUBERT                                        TORO TRADING LLC
THE ZOOLOGICAL SOCIETY OF THE PALM          THOMPSON E FLETCHER AND SUSAN A               TORONTO DOMINION BANK
BEACHES, INC.                               FLETCHER                                      TOURO INFIRMARY FOUNDATION
THEDACARE, INC. PENSION PLAN                THOMPSON TRUST UA 09 26 12, DEVERE            TOWER NORTH AMERICAN EQUITY FUND
THELMA B. AND THOMAS P. HART                BENDIXEN, SAM O'BRIEN, G THOMAS               TOWER TRUST COMPANY
FOUNDATION                                  SULLIVAN, TRUSTEES                            TOWERVIEW LLC
THELMA ORSHEK TESTAMENTARY TRUST, US        THORN DALE S&P 500 INDEX, LLC                 TRACK DATA SECURITIES CORPORATION
BANK N.A., TRUSTEE                          THRIFT PLAN FOR THE EMPLOYEES OF THE          TRADELINK HOLDINGS LLC A/K/A TRADELINK
THEODORE D NOVAK IRA ROLLOVER, THE          FEDERAL RESERVE SYSTEM                        LLC
NORTHERN TRUST COMPANY, CUSTODIAN           THRIVENT FINANCIAL FOR LUTHERANS F/K/A        TRADESTATION SECURITIES, INC.
THEODORE D NOVAK REVOC TRUST U/A            LUTHERAN BROTHERHOOD
12/12/90, THEODORE D NOVAK, TRUSTEE                                                       TRADEWORX ULTRA SELECT LP
                                            THRIVENT SERIES FUND, INC., THRIVENT          TRAITS OMNI
THEODORE ROTHSTEIN                          BALANCED PORTFOLIO
THERESE M CUSHING AND JAMES E CUSHING JR                                                  TRANSAMERICA PARTNERS MID VALUE
                                            THRIVENT SERIES FUND, INC., THRIVENT LARGE    PORTFOLIO F/K/A TRANSAMERICA PARTNERS
THIRD AVENUE SPECIAL SITUATIONS MASTER      CAP INDEX PORTFOLIO                           MID-CAP VALUE F/K/A DIVERSIFIED INVESTORS
FUND LP                                     TIAA -SEPARATE ACCOUNT VA-1 STOCK INDEX       MID-CAP VALUE
THIRD MILLENNIUM TRADING LLC                ACCOUNT                                       TRANSAMERICA SERIES TRUST, AS ISSUER OF
THOMAS B O'KEEFE                            TIAA-CREF FUNDS                               THE SERIES TRANSAMERICA BLACKROCK LARGE
THOMAS B. SHERRILL, III                     TIAA-CREF FUNDS TIAA-CREF EQUITY INDEX        CAP VALUE VP F/K/A AEGON/TRANSAMERICA
THOMAS C HUNT                               FUND                                          T. ROWE PRICE EQUITY INCOME VP
THOMAS C. MCKENNY, TRUSTEE MANAGED          TIAA-CREF FUNDS TIAA-CREF LARGE CAP VALUE     TRAUB TRADING LLC
THOMAS CARTTER LUPTON TRUST U/W FBO         INDEX FUND                                    TRE PENSION EFT ACCOUNT PENSION
JOHN T. FONTAINE & ISSUE, BRETT W ROUSCH,   TIAA-CREF FUNDS TIAA-CREF MID-CAP BLEND       PAYMENT SYSTEM
TRUSTEE                                     INDEX FUND                                    TREASURER OF STATE OF OHIO - BUREAU OF
THOMAS D LEACH 401(K) SAVINGS PLAN          TIAA-CREF FUNDS TIAA-CREF MID-CAP VALUE       WORKERS' COMPENSATION
THOMAS D. UTZ & DARLENE M. UTZ              INDEX FUND                                    TREASURER OF THE STATE OF N.C.
THOMAS DECEDENT'S TRUST U/D/T 6/12/1981,    TIAA-CREF FUNDS TIAA-CREF S&P 500 INDEX       TREASURER OF THE STATE OF NC INDEX, FIRST
WILLIAM F. THOMAS, TRUSTEE                  FUND                                          CITIZENS BANK, TRUSTEE
THOMAS E BAK IRA R/O, MESIROW FINANCIAL,    TIAA-CREF FUNDS TIAA-CREF SOCIAL CHOICE       TREDEGAR CORPORATION MASTER TRUST,
INC, CUSTODIAN                              EQUITY FUND                                   CURRENT TRUSTEE
THOMAS E MCGIVERN IRA R/O, FCC,             TIAA-CREF INSTITUTIONAL MUTUAL FUNDS          TREDJE AP-FONDEN
CUSTODIAN                                   TIAA-CREF LIFE FUNDS - SOCIAL CHOICE EQUITY   TREVOR GRAY AND EDNA GRAY JTWROS
THOMAS E. EHLMANN AND KELLY LA CHANCE       FUND                                          TRIBUNE COMPANY 401(K) SAVINGS PLAN
EHLMANN                                     TIAA-CREF LIFE FUNDS STOCK INDEX FUND         TRIBUNE COMPANY MASTER RETIREMENT
THOMAS E. MITCHELL                          TIAN F RONG                                   SAVINGS TRUST, CURRENT TRUSTEE
THOMAS E. MITCHELL, III                     TIDEN DESTINY MASTER FUND LIMITED             TRIBUNE EMPLOYEE STOCK OWNERSHIP PLAN
THOMAS E. SCHAEFER IRA, AMERIPRISE TRUST    TIF LLC                                       TRINITY DERIVATIVES GROUP LLC
COMPANY F/K/A H&R BLOCK FINANCIAL           TILLMAN FAMILY TRUST U/A 07/29/1980, INA      TRINITY HEALTH CORPORATION
ADVISORS, CUSTODIAN                         TILLMAN, JONATHAN TILLMAN, EUGENE             TRINITY HEALTH PENSION PLAN
THOMAS E. SCHAEFER REV TRUST U/A/D          TILLMAN, TRUSTEES
                                                                                          TROON & CO A PARTNERSHIP
12/16/96, THOMAS E SCHAEFER, TRUSTEE        TIMBER HILL LLC
                                                                                          TROWEL TRADES S&P 500 INDEX FUND
THOMAS G DUBIN REVOCABLE TRUST UA           TIME WARNER INC. MASTER PENSION TRUST,
10/19/99, THOMAS G. DUBIN, TRUSTEE                                                        TRUST & CUSTODY SERVICES BANK, LTD.
                                            CURRENT TRUSTEE
THOMAS G. AYERS TRUST, JOHN S. AYERS AND                                                  TRUST COMPANY OF ILLINOIS
                                            TIMES MIRROR SAVINGS PLUS PLAN
CATHERINE A. ALLEN, TRUSTEES                                                              TRUST COMPANY OF THE SOUTH - SANIBEL
                                            TIMOTHY J LANDON 401(K) SAVINGS PLAN
                                                                                          CAPTIVA TRUST CO.
                                                                                          TRUST COMPANY OF TOLEDO, N.A.
                                                                40

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 246 of 255
TRUST D FOR A PORTION OF THE ASSETS OF       UBS SECURITIES LLC AS SUCCESSOR TO UBS      US BANK PENSION PLAN EQUITY INDEX
THE KODAK RET INC FD PLN, CURRENT TRUSTEE    SECURITIES INC                              US EQUITY FUND, THE ROYAL BANK OF
TRUST FOR THE BENEFIT OF MARY ANNE           UHS/BERNSTEIN LARGE CAP, FIRST CITIZENS     SCOTLAND PLC, AS HOLDER OF ACCOUNTS
VYDRA U/A/D 03-10-2006, MARY ANNE VYDRA,     BANK, TRUSTEE                               US EQUITY MARKET FUND A
TRUSTEE                                      ULYSSES CHENG                               US EQUITY MARKET FUND B
TRUST FUND NUMBER 2381011, STATE STREET      UMB BANK, N.A.                              US EQUITY PASSIVE 2 OF GLOBAL EQUITY
TRUST AND BANKING CO. LTD., TRUSTEE          UMC BENEFIT BOARD, INC                      INVESTMENT TRUST
TRUST U/A DATED 12/13/76, CHARLES JOSEPH     UMWA 1974 PENSION TRUST, CURRENT            US EQUITY VALUE POOL
DE SIEYES, FIDUCIARY TRUST COMPANY           TRUSTEE A/K/A UMWA HEALTH AND               US PHARMACOPEIAL CONVENTION, INC.
INTERNATIONAL, UNITED STATES TRUST           RETIREMENT                                  US VALUATION TILTED STRATEGY COMMON
COMPANY OF NEW YORK, TRUSTEES                UNICO ASSET MANAGEMENT                      TRUST FUND, STATE STREET BANK AND TRUST
TRUST U/A DATED 12/13/76, DAVID C. DE        UNION BANK & TRUST COMPANY                  COMPANY, TRUSTEE
SIEYES, FIDUCIARY TRUST COMPANY              UNION BANK, N.A. F/K/A UNION BANK OF        USA FUND LIMITED PARTNERSHIP
INTERNATIONAL, UNITED STATES TRUST           CALIFORNIA                                  USA FUND LLLP
COMPANY OF NEW YORK, TRUSTEES                UNION ELECTRICAL INDUSTRY MASTER TRUST,     USAA INVESTMENT COMPANY
TRUST U/A DATED 12/19/77, JOHN T. RISLEY,    TINA THOMAN, TRUSTEE                        USAA INVESTMENT MANAGEMENT COMPANY
FIDUCIARY TRUST COMPANY INTERNATIONAL,       UNION INVEST LUXEMBOURG S.A.                USAA MUTUAL FUND INC. (USAA INCOME
UNITED STATES TRUST COMPANY OF NEW
                                             UNIONTOWN HOSPITAL                          STOCK FUND)
YORK, TRUSTEES
                                             UNISYS MASTER TRUST, BANK OF NEW YORK       USAA MUTUAL FUND, INC.
TRUST U/W THE GREENLEAF TRUST, PRIVATE
                                             MELLON, TRUSTEE                             USAA MUTUAL FUNDS TRUST, CURRENT
TRUST CORP LTD, TRUSTEE
                                             UNITARIAN UNIVERSALIST ASSOCIATION          TRUSTEE
TRUSTEES OF BOSTON COLLEGE
                                             UNITE HERE NATIONAL RETIREMENT FUND         USHER CHARITABLE FOUNDATION
TRUSTEES OF ST. PATRICK'S CATHEDRAL LCV
                                             UNITED AIR LINES, INC. PILOTS' DIRECTED     USUF, FLORENCE HENDRICK WRAY, EDWIN
TRUSTEES OF WATCH HOUSE TRUST
                                             ACCOUNT PLAN                                NEWTON WRAY, LOIS WRAY ROWE
TUDOR G VWAP
                                             UNITED ASSOCIATION OF JOURNEYMEN AND        UTAH RETIREMENT SYSTEMS
TWEEDY BROWNE VALUE FUND                     APPRENTICES OF THE PLUMBING AND PIPE        UTICA MUTUAL INSURANCE COMPANY
TWEEDY, BROWNE FUND INC.                     FITTING INDUSTRY OF THE UNITED STATES AND   V DAVIS HUNT, SANDRA GRAY HUNT POA
TWIN CITY PIPE TRADES PENSION FUND LCV       CANADA                                      V H ENERGY LLC
TWIN DISC INC. LCV                           UNITED ASSOCIATION S&P 500 INDEX FUND -     VALDEMAR DANIELSON MARITAL TRUST 32223,
TWIN SECURITIES, INC.                        ADVISORS INNER CIRCLE FUND                  JEAN ANDERSON, TRUSTEE
TYGH CAPITAL MANAGEMENT, INC.                UNITED AUTO WORKERS LOCAL UNION NO.         VALUE FUND, A SERIES OF FIRST INVESTORS
U OF A HEALTH SERVICES FOUNDATION            259                                         EQUITY FUNDS
U.A. LOCAL 63/353 JOINT PENSION TRUST        UNITED BANK INC                             VALUE FUND, A SERIES OF FIRST INVESTORS
FUND, CURRENT TRUSTEE                        UNITED BROTHERHOOD OF CARPENTERS            LIFE SERIES FUNDS
U.E. DECOM MO                                UNITED DEFENSE L.P. MASTER PENSION TRUST,   VALUE GROWTH PORTFOLIO OF THE
U.S. ALL CAP FUND, FAMILY LIMITED            CURRENT TRUSTEE                             EQUITRUST VARIABLE INSURANCE SERIES FUND
PARTNERSHIP                                  UNITED FOOD & COMMERCIAL WORKERS            VALUE LINE INCOME & GROWTH FUND, INC.
U.S. BANK NATIONAL ASSOCIATION               INTERNATIONAL UNION - INDUSTRY PENSION      F/K/A VALUE LINE INCOME FUND
U.S. CONFERENCE OF CATHOLIC BISHOPS          FUND                                        VANDERBILT PARTNERS, LLC.
U.S. EQUITY MARKET SUDAN FREE EQUITY         UNITED FOOD & COMMERCIAL WORKERS            VANGUARD FENWAY FUNDS (VANGUARD
INDEX FUND                                   INTERNATIONAL UNION INDUSTRY PENSION        EQUITY INCOME FUND)
U.S. LARGE COMPANY EQUITY FUND               FUND                                        VANGUARD FIDUCIARY TRUST COMPANY
U.S. LARGE COMPANY PORTFOLIO OF              UNITED FOOD & COMMERCIAL WORKERS            (EMPLOYEE BENEFIT INDEX FUND)
DIMENSIONAL INVESTMENT GROUP INC.            UNIONS AND EMPLOYERS MIDWEST PENSION        VANGUARD FIDUCIARY TRUST COMPANY
UA S & P 500 INDEX FDSEI GLOBAL              FUND                                        (RUSSELL 1000 INDEX TRUST)
INVESTMENTS                                  UNITED STATES MSC COMMON TRUST FUND,        VANGUARD FIDUCIARY TRUST COMPANY
UBS (LUXEMBOURG) S A                         STATE STREET BANK AND TRUST COMPANY,        (RUSSELL 3000 INDEX TRUST)
UBS AG - UBS (CH) IF EQUITIES USA PASSIVE    TRUSTEE
                                                                                         VANGUARD FIDUCIARY TRUST COMPANY
UBS AG - UBS (CH) IF2 EQUITIES USA PASSIVE   UNITED TEAMSTERS PENSION FUND "A" LCV       (VANGUARD COMPANY STOCK 21)
UBS AG (SWISS PORTFOLIO XXXX3200)            UNITED TECHNOLOGIES CORP. MASTER            VANGUARD FIDUCIARY TRUST COMPANY
UBS AG (SWISS PORTFOLIO XXXX4400)            RETIREMENT TRUST, CURRENT TRUSTEE           (VANGUARD TOTAL STOCK MARKET INDEX
UBS AG (SWISS PORTFOLIO XXXX5700)            UNIVERSITY OF ALASKA FOUNDATION             FUND)
UBS AG (SWISS PORTFOLIO XXXX6900)            UNIVERSITY OF INDIANAPOLIS ENDOWMENT        VANGUARD FIDUCIARY TRUST COMPANY, AS
UBS AG (SWISS PORTFOLIO XXXX7700)            UNIVERSITY OF MIAMI GROWTH POOL             TRUSTEE OF ITS SPONSORED AND MANAGED
UBS AG (SWISS PORTFOLIO XXXX8500)            UNIVERSITY OF MINNESOTA                     COLLECTIVE INVESTMENT FUNDS
UBS AG, STAMFORD BRANCH (AS CUSTODIAN        UNIVERSITY OF MINNESOTA FOUNDATION          VANGUARD INDEX FUNDS (VANGUARD INDEX
FOR UBS AG LONDON)                           UNIVERSITY OF MISSOURI RET DSBLTY & DTH     500 FUND)
UBS BANK AG, JERSEY BRANCH                   BEN PL, UNIVERSITY OF MISSOURI BOARD OF     VANGUARD INDEX FUNDS (VANGUARD LARGE
UBS BANK AG, NEW YORK BRANCH                 CURATORS, TRUSTEES                          CAP INDEX FUND)
UBS ETF MARKET MAKING                        UNIVERSITY OF TORONTO MASTER TRUST,         VANGUARD INDEX FUNDS (VANGUARD MID-
                                             GOVERNING COUNCIL OF UNIVERSITY OF          CAP INDEX FUND)
UBS EVENT DRIVEN PRG
                                             TORONTO, TRUSTEE                            VANGUARD INDEX FUNDS (VANGUARD MID-
UBS FINANCIAL SERVICES, INC.
                                             UNIVEST                                     CAP VALUE INDEX FUND)
UBS GLOBAL ASSET MANAGEMENT UBS S&P
                                             US BANCORP INVESTMENTS, INC.                VANGUARD INDEX FUNDS (VANGUARD TOTAL
500 INDEX FUND
                                             US BANCORP PENSION PLAN, U.S. BANK          STOCK MARKET INDEX FUND)
UBS GLOBAL EQUITY
                                             NATIONAL ASSOCIATION, TRUSTEE               VANGUARD INDEX FUNDS (VANGUARD VALUE
UBS LIFE USA TRACKER FUND
                                             US BANK - FIRST AMERICAN EQUITY INDEX       INDEX FUND)
UBS MULTI-MANAGER LARGE CAP VALUE
                                                                41

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 247 of 255
VANGUARD INSTITUTIONAL INDEX FUNDS           VIOLA R KOENIG TRUST U/A DTD 09/22/1999,      WARREN R & PATRICIA M PHELPS REVOCABLE
(VANGUARD INSTITUTIONAL INDEX FUND)          VIOLA R. KOENIG, TRUSTEE                      TRUST 07/06/89 U-A, WARREN R PHELPS,
VANGUARD INSTITUTIONAL INDEX FUNDS           VIOLET PAYNE AND LESLIE PAYNE                 PATRICIA M PHELPS, TRUSTEES
(VANGUARD INSTITUTIONAL TOTAL STOCK          VIOLET R MARGLY                               WARREN R PHELPS AND PATRICIA M PHELPS
MARKET INDEX FUND)                           VIP INDEX 500 FUND, A SERIES OF VARIABLE      WASHINGTON AREA CARPENTERS PENSION
VANGUARD MALVERN FUNDS (VANGUARD             INSURANCE PRODUCTS FUND II                    FUND
ASSET ALLOCATION FUND)                       VIRGIL SMITH RAY                              WASHINGTON MUTUAL, INC. CASH B
VANGUARD QUANTITATIVE FUNDS                  VIRGINIA B. SALL                              WATERMAN BROADCASTING CORP EMPLOYEE
(VANGUARD GROWTH & INCOME FUND)              VIRGINIA COLLEGE SAVINGS PLAN                 PROFIT SHARING PLAN U/A 01/01/1974
VANGUARD QUANTITATIVE FUNDS                  VIRGINIA KEARNS REVOCABLE TRUST, VIRGINIA     WATERMAN BROADCASTING CORPORATION
(VANGUARD STRUCTURED LARGE-CAP EQUITY        A. KEARNS AND THE NORTHERN TRUST              WATERMAN BROADCASTING INVESTMENT
FUND)                                        COMPANY, TRUSTEES                             CORPORATION
VANGUARD SCOTTSDALE FUNDS (VANGUARD          VIRGINIA M CERULLI LIVING TRUST U/A DTD       WAVERING FAMILY CHARITABLE FOUNDATION
FIDUCIARY TRUST COMPANY, RUSSELL 1000        05/03/2000, V CERULLI & C CERULLI, TRUSTEES   DATED 07/24/1990, THE NORTHERN TRUST
VALUE)                                       VIRGINIA PEERY IRR TRUST UA, VIRGINIA         COMPANY, TRUSTEE
VANGUARD TAX-MANAGED FUNDS                   PEERY, TRUSTEE                                WAYNE AND GRACE WILLEMS MANAGEMENT
(VANGUARD TAX MANAGED GROWTH &               VIRGINIA POPE                                 TRUST, WAYNE AND GRACE WILLEMS,
INCOME FUND)                                 VIRGINIA RETIREMENT SYSTEM                    TRUSTEES
VANGUARD VALLEY FORGE FUNDS (VANGUARD        VIRGINIA SONNENSCHEIN TRUST, VIRGINIA         WAYNE BANK
BALANCED INDEX FUND)                         SONNENSCHEIN, TRUSTEE                         WAYNE D. REID, II
VANGUARD VALUE INDEX FUND EQUITY INDEX       VITO CREMONA                                  WAYNE F DOMAZ IRA, FCC, CUSTODIAN
VANGUARD VARIABLE INSURANCE FUNDS            VIVIAN B. LARSSON TRUST, THE NORTHERN         WAYNE HUMMER TRUST CO NA
(VANGUARD VVIF EQUITY FUND INDEX)            TRUST COMPANY, TRUSTEE                        WAYNE R. WEIGAND
VANGUARD VARIABLE INSURANCE FUNDS            VIVIAN PAPPAS IRA ROLLOVER, THE NORTHERN      WEALTH MANAGEMENT SERVICES
(VANGUARD VVIIF MIDCAP INDEX FUND)           TRUST COMPANY, CUSTODIAN                      WEDBUSH SECURITIES, INC. F/K/A WEDBUSH
VANGUARD VARIABLE INSURANCE FUNDS            VMI INVESTMENT HOLDINGS LLC                   MORGAN SECURITIES, INC.
(VVIF-EQUITY INCOME VGI)                     C/O VMI FOUNDATION                            WEED LIV TRUST U/A DTD 08-01-90, ROBERT N
VANGUARD WHITEHALL FUNDS (VANGUARD           VTRADER PRO, LLC                              WEED, MARJORIE L WEED, MARGO WEED,
HIGH DIVIDEND YIELD INDEX FUND)                                                            TRUSTEES
                                             W B BROWDER JR
VANGUARD WINDSOR FUNDS (VANGUARD                                                           WEEGE FAMILY TRUST U/A 6/21/89, REINHOLD
                                             W ELLIS GIDDENS LIVING TRUST UAD, WILLIAM
WINDSOR II FUND)                                                                           WEEGE AND SHELLEY WEEGE, TRUSTEES
                                             WILLIS GIDDENS, TRUSTEE
VANGUARD WORLD FUNDS (VANGUARD                                                             WEINSTEIN FAMILY CHARITABLE FOUNDATION
                                             W. JEROME FRAUTSCHI LIVING TRUST, RHONA
CONSUMER DISCRETIONARY INDEX FUND)                                                         WEINTRAUB CAPITAL MANAGEMENT
                                             VOGEL, TRUSTEE
VANGUARD WORLD FUNDS (VANGUARD FTSE                                                        WEISS FAMILY FOUNDATION
                                             W. MILTON JR. TRUST U/W FBO ANNA
SOCIAL INDEX FUND)
                                             LIVINGSTONE, M&T BANK, TRUSTEE                WEISS MULTI-STRATEGY PARTNERS LLC
VARIABLE ANNUITY LIFE INSURANCE CO.
                                             W. WRIGLEY JR CHRISTMAS TRUST, WILLIAM        WELCH & FORBES LLC
VEBA PARTNERSHIP N LP                        WRIGLEY, JR., TRSUTEE                         WELLMARK HEALTH PLAN OF IOWA, INC.
VEBA PARTNERSHIP X L.P.                      W.G. LASSITER, JR. AND ANEICE R. LASSITER     WELLMARK, INC.
VERIZON INVESTMENT MANAGEMENT CORP.          W.L. PUTNAM PRIZE FUND                        WELLPOINT, INC. F/K/A WELLPOINT HEALTH
VERIZON MASTER SAVINGS TRUST, CURRENT        W.P. LAUGHLIN, W.P. LAUGHLIN TRUST,           NETWORKS INC. D/B/A CALIFORNIACARE
TRUSTEE                                      MICHIGAN TRUST BANK, TRUSTEE                  HEALTH PLANS
VERMONT STATE EMPLOYEES RETIREMENT           WABASH/HARVEST PARTNERS, L.P. F/K/A           WELLS FARGO ADVANTAGE ASSET ALLOCATION
SYSTEM                                       WABASH HARVEST PARTNERS LP                    FUND
VERN M STRICKLER                             WALTER B. GLADSTONE                           WELLS FARGO ADVANTAGE DIVERSIFIED STOCK
VERNA R. HARRAH, VERNA R. HARRAH TRUST       WALTER BAUM                                   PORTFOLIO
SPECIAL ACCOUNT DTD 9/5/86, VERNA                                                          WELLS FARGO ADVANTAGE INDEX PORTFOLIO
                                             WALTER C J PANG & CAROL L PANG
HARRAH, TRUSTEE
                                             WALTER E LANG IRA, JPMCC CUST                 WELLS FARGO BANK, N.A.
VERVOERFGR/LSV/US LCV
                                             WALTER K GRAHAM TRUST U/A DTD                 WELLS FARGO BANK, N.A. F/K/A WACHOVIA
VESTER T HUGHES JR                                                                         BANK, N.A.
                                             10/16/2000, ANNE G TAYLOR, TRUSTEE
VICIS CAPITAL MASTER FUND                                                                  WELLS FARGO BANK, N.A. F/K/A WACHOVIA
                                             WALTER K GRAHAM TRUST U/A DTD
VICKI S. BENJAMIN                            10/16/2000, WALTER E GRAHAM, TRUSTEE          BANK, N.A. CMC-NORTHEAST
VICTOR F. GANZI AND PATRICIA M. GANZI        WALTER L MEAGHER IRA ROLLOVER, TD             WELLS FARGO FUNDS TRUST (DISCIPLINED
VICTOR GROSSI TRUST UA DTD 05/08/98 FBO      AMERITRADE CLEARING, CUSTODIAN                SMALL-MID VALUE)
VICTOR GROSSI, VICTOR GROSSI, TRUSTEE        WALTER LANG                                   WELLS FARGO FUNDS TRUST (EVERGREEN
VICTORIA BADALI DEC OF LIVING FAMILY TRUST   WAMU PENSION PLAN MASTER TRUST,               EQUITY INDEX FUND)
UAD 12/9/98, VINCENT A BADALI AND VINCENT    CURRENT TRUSTEE                               WELLS FARGO FUNDS TRUST (EVERGREEN
A G BADALI, TRUSTEES                                                                       MARKET INDEX FUND)
                                             WARD L QUAAL REVOCABLE TRUST UA
VICTORIA H. SCOTT TRUST DATED 12-01-2000,    09/02/1993, BMO HARRIS BANK, N.A., TRUSTEE    WELLS FARGO FUNDS TRUST (EVERGREEN
VICTORIA H. SCOTT, TRUSTEE                                                                 MARKET INDEX VALUE)
                                             WAREHOUSE EMPLOYEES LOCAL 570 PENSION
VIKRAM PARVATANENI                           LCV                                           WELLS FARGO INVESTMENTS, LLC
VILMA L CHANTILES AND NICHOLAS G             WARREN B. WILLIAMSON                          WELLSPAN HEALTH MASTER TRUST, CURRENT
CHANTILES                                                                                  TRUSTEE
                                             WARREN CEREGHINO
VINCENT ADONE IRA, VANGUARD FIDUCIARY                                                      WENDI POWER AND SCOTT POWER
                                             WARREN F BATEMAN REVOCABLE TRUST
TRUST CO, CUSTODIAN                                                                        WENDY & NATALIE TRUST UW WALTER BLUM,
                                             DATED 8/14/91, WARREN BATEMAN, TRUSTEE
VINCENT CAMUTO GABELLI VALUE                                                               DAVID R COGGINS JR, TRUSTEE
                                             WARREN F BATEMAN TRUST U/A DTD
VINCENT J SCHODOLSKI                         08/16/1991, WARREN F BATEMAN, TRUSTEE         WENDY L. KAISER
VINCENT T TURITTO                            WARREN J EIDE                                 WENDY PYE ENTERPRISES LTD
                                                                 42

2855453.1
                Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 248 of 255
WENDY S AYRES                               WILLIAM D MAC DONALD & NANCY L MAC           WILLIAM RAMSEY REVOC TRUST U/A DTD
WERNER H JEAN TRUST U/A DTD 07/22/1994,     DONALD TRUST UA 7 21, NANCY L. MAC           12/27/2000, WILLIAM RAMSEY, TRUSTEE
WERNER H JEAN, TRUSTEE                      DONALD, TRUSTEE                              WILLIAM RANDOLPH AND MARGARET MAY
WESBANCO BANK, INC.                         WILLIAM D. & JESSIE B. JERNIGAN              WALTON
WESTHAB RETIREMENT PLAN, ROBERT L.          WILLIAM DEAN HOWELLS AND CHRISTINA           WILLIAM S O'REILLY AND DANIEL JOSEPH
MILLER, KENNETH BELFER, TRUSTEES            HOWELLS                                      O'REILLY MD, TRUSTEES
WESTWAYS LIVING TRUST, JOHN R. AND          WILLIAM DEAN HOWELLS TRUST, WILLIAM          WILLIAM S O'REILLY TRUST U/A 6/23/04 FBO
BARBARA Z. WILSON, TRUSTEES                 DEAN HOWELLS, BENITHA C. HOWELLS,            WILLIAM S O'REILLY, WILLIAM S O'REILLY,
WG TRADING COMPANY LP, ROBB EVANS &         TRUSTEES                                     TRUSTEE
ASSOCIATES LLC, RECEIVER                    WILLIAM E STEIGER AND BEVERLY STEIGER        WILLIAM SANDERSON TWADDELL
WHEELS COMMON INVESTMENT FUND               WILLIAM E WOLF IRA                           WILLIAM SANDERSON TWADDELL
WHI GROWTH FUND QP LP                       WILLIAM E. WITSBERGER                        IRREVOCABLE PRESENT INTEREST TRUST,
WHITE MOUNTAINS INSURANCE GROUP, LTD        WILLIAM EFFRON KATZIN IRA ROLLOVER,          DATED DECEMBER 27, 1983 (A/K/A WILLIAM H.
WHITE MOUNTAINS RE BERMUDA LTD              CHARLES SCHWAB & CO INC, CUSTODIAN           TWADDELL REV LIVING TRUST U/A DTD
WHITE MOUNTAINS REINSURANCE COMPANY         WILLIAM F CULLERTON, MSSB, CUSTODIAN         05/10/2004 AND WILLIAM S. TWADDELL UTMA
OF AMERICA                                  WILLIAM F. WELCH                             DC), WILLIAM H TWADDELL, TRUSTEE
WHITE MOUNTAINS REINSURANCE COMPANY         WILLIAM G MOLLER III IRA, FCC, CUSTODIAN     WILLIAM STEIF
OF AMERICA F/K/A FOLKSAMERICA               WILLIAM G. LYCAN REVOCABLE LIVING TRUST,     WILLIAM STEINER LIVING TRUST U/A 3/16/02,
REINSURANCE COMPANY                         WILUAM G. LYCAN, TRUSTEE                     WILLIAM STEINER, TRUSTEE
WHITEBOX CONVERTIBLE ARBITRAGE              WILLIAM G. PARZYBOK JR.                      WILLIAM STEINER LIVING TRUST U/A 8/16/06,
PARTNERS, LP                                WILLIAM G. RUPP                              WILLIAM STEINER, TRUSTEE
WHITEBOX CREDIT ARBITRAGE PARTNERS, L.P.    WILLIAM H JOHNSON TRUST #92 U/A/D            WILLIAM V MONOPOLI AND MARY K
WHITEBOX DIVERSIFIED CONVERTIBLE            04/29/92, WILLIAM H JOHNSON, TRUSTEE         MONOPOLI JT WROS
ARBITRAGE FUND, LP                          WILLIAM H. BROWNE                            WILLIAM W. HOWELLS
WHITEBOX HIGH YIELD FUND, LP                WILLIAM I BROCKMAN                           WILLIE H. SHERROUSE
WHITTIER TRUST COMPANY                      WILLIAM J SMALL                              WILLIS & ELSIE SHENK FOUNDATION
WILFRED H NELTNER AMENDED RESTATED          WILLIAM J. BROWN                             WILLOW CREEK CAPITAL PARTNERS
TRUST AGREEMENT U/A DTD 7/9/82, WILFRED     WILLIAM J. BYRNES TRUST U/A DTD 11/14/62,    WILLOW CREEK LONG BIASED FUND
NELTNER, TRUSTEE                            WILLIAM J. BYRNES, STEPHANIE B. FLYNN,       WILLOW CREEK OFFSHORE FUND
WILL K. WEINSTEIN, WILL K. WEINSTEIN        TRUSTEES                                     WILLOWLAKE DEVELOPMENT CORPORATION
REVOCABLE TRUST U/A DTD 2-27-90, WILL K.    WILLIAM J. HALPIN                            WILMA GOETCH AND JAMES GOETCH
WEINSTEIN, TRUSTEE                          WILLIAM J. REINKE                            WILMINGTON LARGE CAP STRATEGY FUND
WILLIAM & JANE HAYS CHARITABLE              WILLIAM JAMES BELL 1993 TRUST U/A 8/23/93,   F/K/A WILMINGTON MULTI-MANAGER MID-
REMAINDER UNITRUST, US BANK, TRUSTEE        WILLIAM J BELL, TRUSTEE                      CAP FUND
WILLIAM A CAREY AND JANET S CAREY TRUST     WILLIAM JAMES BELL TRUST, WILLIAM J BELL,    WILMINGTON MID CAP GROWTH FUND F/K/A
U/A 4/16/90, WILLIAM A CAREY, TRUSTEE       TRUSTEE                                      MTB MID CAP STOCK FUND F/K/A M&T BANK
WILLIAM A GRIFFITHS IRA, RAYMOND JAMES &    WILLIAM K MCGEE JR                           VISION MID CAP STOCK FUND
ASSOCIATES, INC., CUSTODIAN                 WILLIAM K. SCHAEFER                          WILMINGTON MID CAP MULTI MANAGER
WILLIAM A OSBORN, WILLIAM A OSBORN 2004                                                  SERIES
                                            WILLIAM L & BEVERLY J BREYFOGLE TRUST OF
TRUST U/A 9/9/04, WILLIAM A OSBORN,         2010 U/A DTD AUG 25, 2010, WILLIAM L         WILMINGTON TRUST CO.
TRUSTEE                                     BREYFOGLE, BEVERLY J BREYFOGLE, TRUSTEES     WILMINGTON TRUST CO. AS OWNER AND
WILLIAM A. JOBSON III                       WILLIAM L HARKE SR R/O IRA, FCC, CUSTODIAN   TRUSTEE OF FORRESTAL FUNDING MASTER
WILLIAM APFELBAUM                                                                        TRUST
                                            WILLIAM M DAVENPORT TRUST UNDER WILL
WILLIAM B AYRES IRA, FCC, CUSTODIAN         OF THOMAS CARRTER LUPTON, BRETT W            WILSHIRE MUTUAL FUNDS, INC. (WILSHIRE
WILLIAM B DENHART NONQUALIFYING TRUST       ROUSCH, TRUSTEE                              5000 INDEX FUND)
UNDER WILL OF WILLIAM B DENHART, US         WILLIAM M VANNEMAN TRUST AMENDED             WILSHIRE VARIABLE INSURANCE TRUST EQUITY
BANK, TRUSTEE                               6/1/2007 U/A 5/6/92, W M VANNEMAN, W         FUND
WILLIAM BLAIR & CO.                         VANNEMAN JR, TRUSTEES                        WILSHIRE VARIABLE INSURANCE TRUST
WILLIAM BROSS LLOYD JR. NEW YORK TRUST      WILLIAM M. BRACHFELD                         SOCIALLY RESPONSIBLE FUND
DATED JULY 18, 1968, THE NORTHERN TRUST     WILLIAM MEYER IRRA, MERRILL LYNCH, PIERCE,   WILSON MEDICAL CENTER INC.
COMPANY, TRUSTEE                            FENNER & SMITH, CUSTODIAN FPO                WINCHESTER EVENING STAR INC.
WILLIAM BROSS LLOYD JR. VERMONT TRUST       WILLIAM MURPHY & BARBARA MURPHY              WINFIELD H JAMES TR/IMA, WINFIELD H
DATED JULY 18, 1968, THE NORTHERN TRUST     WILLIAM O HOWE IRA, VANGUARD FIDUCIARY       JAMES, TRUSTEE
COMPANY, TRUSTEE                            TRUST CO, CUSTODIAN                          WINSTON B. & KATHRYN M. DITTO TRUST,
WILLIAM C HATCH TRUST U/A/D 07/11/96,       WILLIAM P MUMMA AND KATHLEEN A               KATHRYN M DITTO, TRUSTEE
WILLIAM C HATCH, TRUSTEE                    MUMMA                                        WINTON EVOLUTION PORTFOLIO SPC FBO
WILLIAM CALDWELL CLAY JR LUCAS FAMILY       WILLIAM P WEBER TRUST U/A/D 11-02-2007,      WINTON EVOLUTION SEGREGATED PORTFOLIO
TRUST U/A DTD 05/01/1967, JEANNETTE C       WILLIAM P WEBER, TRUSTEE                     NO 1
LUCAS, TRUSTEE                              WILLIAM P. HAMMOND TRUST U/A DTD             WIRTZ CORPORATION
WILLIAM CAPLICE REVOCABLE TRUST U/A/D       08/11/1992, WILLIAM P. HAMMOND, TRUSTEE      WISCONSIN CARPENTERS PENSION FUND
3/10/1987, JEANNE CAPLICE, TRUSTEE          WILLIAM P. JORDAN AND DORIAN S. JORDAN       WISCONSIN REINSURANCE CORP
WILLIAM CARTER                              WILLIAM R HOUGH CHARITABLE REMAINDER         WM T BURNETT RET PL-HARG
WILLIAM CHOSLOVSKY                          TRUST U/A DTD 12/21/2001, JEFFREY P          WOLVERINE ARBITRAGE FUND A/K/A
WILLIAM D ARVEY TRUST U/A DTD 11/13/1992,   MCCLANATHAN, TRUSTEE                         WOLVERINE CONVERTIBLE ARBITRAGE FUND
WILLIAM D ARVEY, TRUSTEE                    WILLIAM R. BARTON                            WOLVERINE TRADING LLC
WILLIAM D BOYETT AND THERLENE B BOYETT      WILLIAM R. HOUGH                             WOMEN'S DIVISION OF THE UNITED
WILLIAM D JERNIGAN AND JESSIE B JERNIGAN    WILLIAM R. LUMMIS, SR.                       METHODIST BOARD OF GLOBAL MINISTRIES

                                                                43

2855453.1
               Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 249 of 255
WOO B CHOI ROLLOVER IRA, TD AMERITRADE   WR MULTI STRATEGY MASTER FUND WR          YIELD STRATEGIES FUND I LP
INC, CUSTODIAN                           MARKET NEUTRAL MASTER FUND LTD            YNEZ VIOLE O'NEILL
WOODMONT INVESTMENTS LTD                 WSJ ENTERPRISES INC PRFT SHRNG UAD        YVONNE A MCCARTER TRAD R/O IRA
WOODS FUND OF CHICAGO                    10/10/75, WILLIAM S SAPP & DOLORES SAPP   JPMORGAN CHASE BK CUST
WOODS/MITCHELL FAMILY TRUST U/A DTD      TRUSTEES                                  YVONNE SANDERS
01/25/1999, BRENT WOODS AND LAURIE       WSLLC-NICK SHERMAN                        ZEBRA MULTI-STRATEGY MASTER FUND LTD.
MITCHELL, TRUSTEES                       WYETH                                     ZIEGELMAN PARTNERS LP
WOOJIN CHOI PRINCIPAL                    WYETH MASTER RETIREMENT TRUST, CHRISTI    ZIEGLER FAMILY TRUST A, CURRENT TRUSTEE
WORLDWIDE TRANSACTIONS LIMITED           FALLON, TRUSTEE                           ZOLTAN HORVATH AND LIDIA HORVATH
WPG ERICOTT MERGER ARBITRAGE OVERSEAS    XIUZHEN KONDOR                            ZOOLOGICAL SOCIETY OF SAN DIEGO
LP - MASTER FEEDER                       YEOMANS FAMILY TRUST U/A 2/22/92,         ZUCK FAMILY TRUST, HOWARD ZUCK, BETTY B
WPML LIMITED PARTNERSHIP                 PATRICIA H YEOMANS, TRUSTEE               ZUCK, TRUSTEES




                                                            44

2855453.1
                                                                                              Exhibit B

                                                                                                       Subsidiary D&O Defendants 1


       Subsidiary
       Guarantors




                                                   Finke
                                                                                              Hiller
                                                                                                                                                                         Smith
                                                                                                                                                                                             Waltz




                                          Carver
                                                                                     Hianik
                                                                                                                  Knight
                                                                                                                           Landon
                                                                                                                                    Malone




                                                                                                         Kenney
                                                                                                                                                      Quimby




                                Bigelow
                                                                                                                                                               Reardon




                                                                                                                                             Monsma
                                                                                                                                                                                                     Williams



                                                                                                                                                                                 Vitanovec




                                                                        Gremillion

                                                           FitzSimons
                                                                                                                                                                                                                Worthington




5800 Sunset Productions Inc.     O                                                      O                 D,O                                                    O
The Baltimore Sun Company        O                                           D          O                 D,O                                                            D2
California Community News
                                 O                                                      O       O         D,O
Corporation
Channel 39, Inc.                 O                                           O          O                 D,O                                                  D,O                 D
Channel 40, Inc.                 O                                                      O                 D,O                                                  D,O                 D
Chicago National League
                                 O                            D                         O                 D,O
Ball Club
Chicago Tribune Company          O                            D                         O                D2,O                       O                                    D,O
Chicagoland Publishing
                                 O                                                      O                 D,O                                                             D
Company
Chicagoland Television
                                 O                                                      O                 D,O                                                  D,O        D
News, Inc.
Courant Specialty Products,
                                 O        D,O                                D          O                 D,O
Inc.
The Daily Press, Inc.            O                                                      O                 D,O                                                             D                   D
Distribution Systems of
                                 O                                                      O                 D,O     D,O                                                     D
America, Inc.
Eagle New Media
                                 O                                                      O                   O
Investments, LLC 3
Eagle Publishing
                                 O                                                      O                   O
Investments, LLC 4
ForSaleByOwner.com Corp          O                 D,O                                  O                   O               D
Forum Publishing Group,
Inc.                             O                                           D          O                 D,O                                                             D
Gold Coast Publications, Inc.    O                                           D          O                 D,O                                                             D
The Hartford Courant
                                 O        D,O                                D          O                 D,O
Company
Homeowners Realty, Inc.          O                 D,O                                  O                   O               D
                                                                                                                                                                                                                              Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 250 of 255




Homestead Publishing                                                                                        2
                                 O                                                      O                D ,O                                         D,O                 D2                                    D,O
Company
Hoy Publications, LLC 5          O                                                      O                   O
                                                                                                       Subsidiary D&O Defendants 1


       Subsidiary
       Guarantors




                                                   Finke
                                                                                              Hiller
                                                                                                                                                                         Smith
                                                                                                                                                                                             Waltz




                                          Carver
                                                                                     Hianik
                                                                                                                  Knight
                                                                                                                           Landon
                                                                                                                                    Malone




                                                                                                         Kenney
                                                                                                                                                      Quimby




                                Bigelow
                                                                                                                                                               Reardon




                                                                                                                                             Monsma
                                                                                                                                                                                                     Williams



                                                                                                                                                                                 Vitanovec




                                                                        Gremillion

                                                           FitzSimons
                                                                                                                                                                                                                Worthington




Internet Foreclosure Service,
                                 O                 D,O                                  O                   O               D
Inc.
KIAH Inc.                        O                                                      O                   D,O                                                D,O                 D
KPLR, Inc.                       O                                                      O                   D,O                                                D,O                 D
KSWB Inc.                        O                                                      O                   D,O                                                D,O                 D
KTLA Inc.                        O                                                      O                   D,O                                                D,O
KWGN Inc.                        O                                                      O                   D,O                                                D,O                 D
Los Angeles Times
                                 O                            D                         O     D,O           O                                                             D
Communications LLC
The Morning Call, Inc.           O                                                      O                    O                                                            D                  D,O
New Mass Media, Inc.             O        D,O                                D          O                   D,O
Orlando Sentinel
                                 O                            D                         O                   O                                                             D                  D,O
Communications Company
Patuxent Publishing
                                 O                                                      O                   O                                         D,O                 D2                                    D,O
Company
Southern Connecticut
                                 O                                                   D2,O                   D,O     D                        D 6,O
Newspapers, Inc.
Star Community Publishing
                                 O                                                      O                   O       O
Group, LLC 7
Stemweb, Inc.                    O                 D,O                                 O                     O              D
Sun-Sentinel Company             O                            D              D         O                     O                                                            D
TMLH2, Inc.                      O        D,O                                D         O                    D,O
TMLS1, Inc.                                                                            D2                    D      D                          D6
TMS Entertainment Guides,
                                 O                                                      O                   D,O                                                           D                          D,O
Inc.
Tower Distribution Company       O                                                      O                   D,O                                                  D                 D
Tribune Broadcast Holdings,
                                 O                                                      O                   D,O                                                D,O                 D
Inc.
Tribune Broadcasting
                                 O                            D                         O                   O                                                  D,O                 O
Company
Tribune Broadcasting
                                                                                                                                                                                                                              Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 251 of 255




                                 O                                                      O                   O
Holdco, LLC 8
Tribune California
                                 O                                                      O                   D,O                                                D,O
Properties, Inc.

                                                                                                        2
                                                                                                          Subsidiary D&O Defendants 1


          Subsidiary
          Guarantors




                                                      Finke
                                                                                                 Hiller
                                                                                                                                                                            Smith
                                                                                                                                                                                                Waltz




                                             Carver
                                                                                        Hianik
                                                                                                                     Knight
                                                                                                                              Landon
                                                                                                                                       Malone




                                                                                                            Kenney
                                                                                                                                                         Quimby




                                   Bigelow
                                                                                                                                                                  Reardon




                                                                                                                                                Monsma
                                                                                                                                                                                                        Williams



                                                                                                                                                                                    Vitanovec




                                                                           Gremillion

                                                              FitzSimons
                                                                                                                                                                                                                   Worthington




    Tribune Direct Marketing,
                                    O                                                      O                   D,O                     D6                                    D2
    Inc.
    Tribune Entertainment
                                    O                                                      O                   D,O                                                  D                 D
    Company
    Tribune Finance, LLC 9          O                                                      O                    O
    Tribune Los Angeles, Inc.       O                                                      O       O           D,O
    Tribune Manhattan
                                    O                                                      O                   D,O     O
    Newspaper Holdings, Inc.
    Tribune MD, Inc.                O                                                      O                   D,O     O
    Tribune Media Net, Inc.         O                            D                         O                   D,O                                                           D
    Tribune Media Services, Inc.    O                                                      O                   D,O                                                           D                          D,O
    Tribune New York
                                    O                                                      O                   D,O     D
    Newspaper Holdings, LLC
    Tribune Television Company      O                                                      O                   D,O                                                D,O               D,O
    Tribune Television Holdings,
    Inc.                            O                                                      O                   D,O                                                D,O                 D
    Tribune Television New
                                    O                                                      O                   D,O                                                D,O                 D
    Orleans, Inc.
    Tribune Television
                                    O                                                      O                   D,O                                                D,O                 D
    Northwest, Inc.
    Virginia Gazette Companies,
                                    O                                                      O                   D,O                                                           D2                  D
    LLC
    WDCW Broadcasting, Inc.         O                                                      O                   O                                                  D,O                 D
    WGN Continental
                                    O                                                      O                   D,O                                                D,O                 D
    Broadcasting Company
    WPIX, Inc.                      O                                                      O                   D,O                                                D,O
    WTXX Inc.                       O                                                      O                   D,O                                                D,O




1
  Legend: D = Director as of June 4, 2007 and December 20, 2007, unless otherwise noted; O = Officer from at least June 4, 2007 through at least December 20,
                                                                                                                                                                                                                                 Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 252 of 255




2007.
2
  This defendant was not a director as of June 4, 2007.

                                                                                                           3
3
  Tribune is the sole manager of Eagle New Media Investments, LLC. Kenney authorized the Subsidiary Guarantees on behalf of Eagle New Media Investments,
LLC.
4
  Tribune is the sole manager of Eagle Publishing Investments, LLC. Kenney authorized the Subsidiary Guarantees on behalf of Eagle Publishing Investments,
LLC.
5
  Tribune is the sole member of Hoy Publications, LLC. Kenney authorized the Subsidiary Guarantees on behalf of Hoy Publications, LLC.
6
  This defendant was not a director as of December 20, 2007.
7
  Distribution Systems of America is the managing member, and Newport Media, Inc. (now known as Tribune MD, Inc.) is also a member, of Star Community
Publishing Group, LLC. Knight authorized the Subsidiary Guarantees on behalf of Star Community Publishing Group, LLC.
8
  Tribune is the sole member of Tribune Broadcasting Holdco, LLC. Kenney authorized the Subsidiary Guarantees on behalf of Tribune Broadcasting Holdco,
LLC.
9
  Tribune is the sole member of Tribune Finance, LLC. Kenney authorized the Subsidiary Guarantees on behalf of Tribune Finance, LLC.
                                                                                                                                                             Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 253 of 255




                                                                            4
              Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 254 of 255
                                                                  ([KLELW&
                                                          /LVWRI,QVLGHU3D\PHQWV



   Defendant                      Date       Transferor                    Form of Transfer/No.   Basis For Transfer*    Total
                                             Tribune Company/Tribune
          Amsden, Harry A.          12/27/07 Publishing Company            ACH/3902954            Success Bonus              $150,000.00
 1 Amsden, Harry A. Total                                                                                                    $150,000.00
          Bigelow, Chandler        12/27/07 Tribune Company                ACH/3903517            Excise Tax Gross Up        $309,825.00
          Bigelow, Chandler        12/27/07 Tribune Company                ACH/3903517            Success Bonus              $400,000.00
 2 Bigelow, Chandler Total                                                                                                   $709,825.00
          FitzSimons, Dennis J.    12/27/07 Tribune Company                ACH/3903505            Excise Tax Gross Up      $5,276,633.00
          FitzSimons, Dennis J.    12/27/07 Tribune Company                ACH/3903505            Executive Transition    $10,657,500.00
          FitzSimons, Dennis J.    12/27/07 Tribune Company                ACH/3903505            Phantom Equity           $2,916,666.67
 3 FitzSimons, Dennis J. Total                                                                                            $18,850,799.67
                                             Tribune Company/Tribune
          Gremillion, Robert J.     12/27/07 Publishing Company            ACH/3902951            Success Bonus              $250,000.00
 4 Gremillion, Robert J. Total                                                                                               $250,000.00
          Grenesko, Donald C.       12/27/07 Tribune Company               ACH/3903507            Success Bonus              $400,000.00
          Grenesko, Donald C.        3/28/08 Tribune Company               ACH/4021582            Excise Tax Gross Up        $817,090.00
          Grenesko, Donald C.        3/28/08 Tribune Company               ACH/4021582            Phantom Equity           $2,083,333.33
          Grenesko, Donald C.        4/11/08 Tribune Company               ACH/4039776            Excise Tax Gross Up      $1,888,034.00
          Grenesko, Donald C.        4/11/08 Tribune Company               ACH/4039776            Executive Transition     $4,403,250.00
 5 Grenesko, Donald C. Total                                                                                               $9,591,707.33
          Hianik, Mark W.          12/27/07 Tribune Company                ACH/3903542            Success Bonus              $175,000.00
 6 Hianik, Mark W. Total                                                                                                     $175,000.00
                                             Tribune Company/LA Times
                                             Communications LLC (Tribune
          Hiller, David Dean         7/25/08 Los Angeles, Inc.)            Check/1117911          Excise Tax Gross Up        $918,570.00
                                             Tribune Company/LA Times
                                             Communications LLC (Tribune
          Hiller, David Dean         7/25/08 Los Angeles, Inc.)            Check/1117911          Phantom Equity           $2,083,333.33
                                             Tribune Company/LA Times
                                             Communications LLC (Tribune
          Hiller, David Dean          8/8/08 Los Angeles, Inc.)            Check/1120029          Excise Tax Gross Up      $1,746,940.00
                                             Tribune Company/LA Times
                                             Communications LLC (Tribune
           Hiller, David Dean         8/8/08 Los Angeles, Inc.)            Check/1120029          Executive Transition     $3,960,000.00
 7 Hiller, David Dean Total                                                                                                $8,708,843.33
           Kazan, Daniel G.        12/27/07 Tribune Company                ACH/3903502            Excise Tax Gross Up        $276,226.00
           Kazan, Daniel G.        12/27/07 Tribune Company                ACH/3903502            Success Bonus              $350,000.00
 8 Kazan, Daniel G. Total                                                                                                    $626,226.00
           Kenney, Crane H.        12/27/07 Tribune Company                ACH/3903545            Success Bonus              $600,000.00
 9 Kenney, Crane H. Total                                                                                                    $600,000.00
                                             Tribune Company/Tribune
          Knight, Timothy P.        12/27/07 Media Net, Inc.               ACH/3903099            Success Bonus              $250,000.00
          Knight, Timothy P.          8/8/08 Tribune Company               ACH/4200922            Excise Tax Gross Up        $735,785.00
          Knight, Timothy P.          8/8/08 Tribune Company               ACH/4200922            Phantom Equity           $1,666,666.67
          Knight, Timothy P.         8/22/08 Tribune Company               ACH/4219349            Excise Tax Gross Up        $965,061.00
          Knight, Timothy P.         8/22/08 Tribune Company               ACH/4219349            Executive Transition     $1,936,000.00
10 Knight, Timothy P. Total                                                                                                $5,553,512.67
          Landon, Timothy J.       12/27/07 Tribune Company                ACH/3903250            Success Bonus              $300,000.00
          Landon, Timothy J.        2/29/08 Tribune Company                Check/1088625          Excise Tax Gross Up        $644,747.00
          Landon, Timothy J.        2/29/08 Tribune Company                Check/1088625          Phantom Equity           $1,666,666.67
          Landon, Timothy J.         3/7/08 Tribune Company                ACH/3992031            Excise Tax Gross Up        $823,691.00
          Landon, Timothy J.         3/7/08 Tribune Company                ACH/3992031            Executive Transition     $1,826,000.00
11 Landon, Timothy J. Total                                                                                                $5,261,104.67
          Leach, Thomas D.         12/27/07 Tribune Company                ACH/3903503            Success Bonus              $400,000.00
          Leach, Thomas D.          2/15/08 Tribune Company                ACH/3964387            Excise Tax Gross Up        $711,600.00
          Leach, Thomas D.          2/15/08 Tribune Company                ACH/3964387            Phantom Equity           $1,666,666.67

          Leach, Thomas D.           2/29/08 Tribune Company               Manual Check/1008113   Excise Tax Gross Up      $1,114,356.00

          Leach, Thomas D.          2/29/08 Tribune Company                Manual Check/1008113   Executive Transition     $2,209,680.00
12 Leach, Thomas D. Total                                                                                                  $6,102,302.67




                                                                  Page 1 of 2
              Case 1:12-cv-02652-DLC Document 1052 Filed 08/02/13 Page 255 of 255
                                                                       ([KLELW&
                                                               /LVWRI,QVLGHU3D\PHQWV



   Defendant                        Date       Transferor                        Form of Transfer/No.       Basis For Transfer*    Total
          Lewin, Luis E.              12/27/07 Tribune Company                   ACH/3903525                Success Bonus                $50,000.00
          Lewin, Luis E.               3/28/08 Tribune Company                   ACH/4021664                Excise Tax Gross Up         $894,221.00
          Lewin, Luis E.               3/28/08 Tribune Company                   ACH/4021664                Executive Transition      $2,415,600.00
13 Lewin, Luis E. Total                                                                                                               $3,359,821.00
          Mallory, R. Mark            12/27/07 Tribune Company                   ACH/3903510                Success Bonus                $75,000.00
          Mallory, R. Mark             5/16/08 Tribune Company                   Check/1106176              Executive Transition        $978,000.00
          Mallory, R. Mark             5/23/08 Tribune Company                   ACH/4094149                Executive Transition            $500.00
14 Mallory, R. Mark Total                                                                                                             $1,053,500.00
          Malone, Richard H.           5/30/08 Tribune Company                   ACH/4100992                Executive Transition      $1,200,000.00
15 Malone, Richard H. Total                                                                                                           $1,200,000.00
                                               Tribune Company/Tribune
          Reardon, John E.            12/27/07 Broadcasting Company              ACH/3903307                Success Bonus               $200,000.00
                                               Tribune Company/Tribune
          Reardon, John E.             2/22/08 Broadcasting Company              Check/1087309              Excise Tax Gross Up         $628,023.00
                                               Tribune Company/Tribune
          Reardon, John E.             2/22/08 Broadcasting Company              Check/1087309              Phantom Equity            $1,500,000.00
                                               Tribune Company/Tribune
          Reardon, John E.             2/29/08 Broadcasting Company              Manual Check/1014043       Excise Tax Gross Up       $1,636,582.00
                                               Tribune Company/Tribune
         Reardon, John E.              2/29/08 Broadcasting Company              Manual Check/1014043       Executive Transition      $3,708,000.00
16 Reardon, John E. Total                                                                                                             $7,672,605.00
                                               Tribune Company/Tribune
          Smith, Scott C.              7/11/08 Publishing Company                Check/1115739              Excise Tax Gross Up         $780,176.00
                                               Tribune Company/Tribune
          Smith, Scott C.              7/11/08 Publishing Company                Check/1115739              Phantom Equity            $2,083,333.33
                                               Tribune Company/Tribune
          Smith, Scott C.               8/1/08 Publishing Company                ACH/4182344                Excise Tax Gross Up       $1,731,357.00
                                               Tribune Company/Tribune
          Smith, Scott C.               8/1/08 Publishing Company                ACH/4182344                Executive Transition      $4,619,940.00
17 Smith, Scott C. Total                                                                                                              $9,214,806.33
                                               Tribune Company/Tribune
          Vitanovec, John J.          12/27/07 Broadcasting Company              ACH/3903308                Success Bonus               $300,000.00
                                               Tribune Company/Tribune
          Vitanovec, John J.           9/12/08 Broadcasting Company              ACH/4241251                Excise Tax Gross Up         $500,782.00
                                               Tribune Company/Tribune
          Vitanovec, John J.           9/12/08 Broadcasting Company              ACH/4241251                Phantom Equity            $1,250,000.00
                                               Tribune Company/Tribune
          Vitanovec, John J.           9/26/08 Broadcasting Company              ACH/4259228                Excise Tax Gross Up         $917,934.00
                                               Tribune Company/Tribune
         Vitanovec, John J.            9/26/08 Broadcasting Company              ACH/4259228                Executive Transition      $1,981,450.00
18 Vitanovec, John J. Total                                                                                                           $4,950,166.00
                                               Tribune Company/Orlando
                                               Sentinel Communications
          Waltz, Kathleen M.          12/27/07 Company                           ACH/3903188                Success Bonus               $100,000.00
                                               Tribune Company/Orlando
                                               Sentinel Communications
          Waltz, Kathleen M.           2/29/08 Company                           Check/1088627              Phantom Equity              $416,667.00
                                               Tribune Company/Orlando
                                               Sentinel Communications
          Waltz, Kathleen M.           3/10/08 Company                           Manual Check/1010891       Executive Transition      $1,636,800.00
19 Waltz, Kathleen M. Total                                                                                                           $2,153,467.00




* Amounts shown for Excise Tax Gross Up reflect only amounts that are attributable to Success Bonus, Executive Transition, and/or Phantom Equity
claims (collectively, the “SEP Transfers”). Therefore, where a defendant received an Excise Tax Gross Up payment that included amounts attributable
to both SEP Transfers and non-SEP Transfers, the amount of such payment shown herein has been reduced to exclude the non-SEP Transfer portion.




                                                                       Page 2 of 2
